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                Exhibit 19
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                             Declaration of Marshall Gibbs, D.D.S.

I, Marshall Gibbs, pursuant to 28 U.S.C. § 1746, declare as follows

       1.      I am over the age of 21 and a resident of Cheney, Washington. I make this

declaration based upon my personal knowledge. If called to testify, I could and would

competently testify to the following facts.

       2.      I became acquainted with Jason Jongeward in approximately 2018 when I bought

the home in which I currently live from Jongeward. Jongeward later moved into home he built in

my neighborhood.

       3.      In late 2020, during a conversation I had with Jongeward while walking in the

neighborhood, Jongeward told me that he would like to share an investment opportunity that, in

his words, “changed his life.” In a couple of subsequent telephone conversations in November or

December 2020, Jongeward told me that the investment opportunity he referenced in our prior

conversation was offered through J & J Consulting Services, Inc. (“J&J Consulting”), and

involved investments in “settlement contracts” for “slip and fall claims.” During these

conversations, Jongeward told me that Jeffrey Judd operated the business with an attorney named

Matthew Beasley, and that Jongeward’s long-time friend, Shane Jager, was also involved. Also

during these conversations, Jongeward told me that the “settlement contracts” involved plaintiffs

who had settlements with insurance companies for slip and fall claims and who wanted a portion

of their settlement money quickly without waiting for the insurance company to pay. During

these conversations, Jongeward told me my investment, as with other investors’ investments,

would enable these plaintiffs to get money quickly, and that I would receive investment returns

as the plaintiffs repaid the principal, plus interest, once the insurance companies paid the

settlements. Jongeward further told me that there was, in his words, “little to no risk” on the

investment since the investment would involve cases in which insurance companies had already

entered the settlements with the plaintiffs.
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       4.      In these conversations in November or December 2020, Jongeward also told me

the following: that the settlement contracts were $80,000 or $100,000 each, and paid 25%

returns every 90 days; that Judd kept half of the returns and gave the remaining 12.5% to the

investors; and that Judd was willing to give 12.5% of the 25% return to investors as a way to

“pay it forward” to help others. Thus, Jongeward said, I would get 12.5% return every 90 days

on my investment, for an annual return of 50%. Jongeward also said in these conversations that I

could “split” a contract with another investor if I wanted to invest less than $80,000. Jongeward

told me in these conversations that at the end of each contract’s term of 90 days, I would receive

payment of 12.5% and my principal would “roll” into a new settlement contract with a different

slip and fall victim. He further told me that I could get my principal back if I gave notice at least

three weeks before the expiration of the current 90-day settlement contract. In December 2020 I

decided to make my first investment. He instructed me that I should invest through a limited

liability company. Relying on Jongeward’s instruction, I invested through my limited liability

company Crestview Capital. My initial investment was for $70,000 in December 2020. I invested

additional money at various points for a total of $940,000.

       5.      On December 20, 2020, Jongeward emailed me the wiring instructions. He

instructed me to wire the money to the Beasley Law Group IOLTA account at Wells Fargo Bank

with “Jager” in the “wire line memo.” The wiring instructions for my additional investments

stayed the same until September 13, 2021, when Jongeward instructed me by email that there

were “NEW wire instructions” and that I should now wire my investment money to a Wells

Fargo account in the name of J and J Consulting Services instead, with an address of 9 Sky Arc

Ct., Henderson Nevada. True and correct copies of Jongeward’s emails dated December 20,

2020 and September 13, 2021 are attached as Exhibit 1 and Exhibit 2. Shortly after getting the

new wire instructions in September 2021 and before I wired another investment using the new

wire instructions, I asked Jongeward why the wire instructions changed. Jongeward replied that

too much money was flowing through a single bank account and the bank would not allow it, so

they needed to have investments flow through other bank accounts.
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       6.      Beginning with my first investment in December 2020 and continuing to January

5, 2022, Jongeward provided me two-page documents stating that my entity Crestview Capital

would be purchasing portions of “Purchase Agreements,” named according to the purported

name of the tort plaintiff. Attached as Exhibit 3 is true and correct copy of one of these

documents along with Jongeward’s email sending it to me.

       7.      On January 5, 2022, Jongeward told me in an email that going forward, he would

no longer provide me written contracts like Exhibit 3 for each investment, and would instead

just send me emails stating that my contracts had been “replaced,” and stating the last names of

the slip and fall victims for the prior contract and the “replacement” contract, along with the

amount of my investment. A true and correct copy of Jongeward’s January 5, 2022 email is

attached as Exhibit 4.

       8.      I spoke with Jongeward numerous times because he was my neighbor. In various

conversations I had with him, the specific dates of which I do not recall, Jongeward also told me

additional details about the investment. He suggested that investors should not contact Judd or

Jager. He said investors were prohibited from contacting any of the attorneys or individuals who

were parties to the settlement contracts. Jongeward also suggested that investors should not

disclose to anyone the way that the investments worked, and the reason for nondisclosure was

that they did not want someone else to start a competing business. He said this type of business

was competitive. Jongeward characterized this as a “gentleman’s investment club.” Jongeward

said that he received payment from Jager for finding new investors. He never told me how much

Jager paid him for finding new investors, but he said sometime in the winter of 2021-2022 that

the payments, in his words, were “more than he felt he deserved for the amount of work he did.”

       9.      After investing, I always received my interest payments on time. My interest

payments came from a variety of bank accounts, including JL2 Investments LLC and Stirling

Consulting, LLC. Jongeward told me that Stirling Consulting, LLC was Shane Jager’s entity and

JL2 Investments LLC was Jongeward’s entity. Jongeward told me in an email dated December

13, 2021 that I would receive Forms 1099 from both JL2 Investments LLC and Stirling
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Consulting LLC. On February 2, 2021, Jongeward forwarded to me and other “undisclosed

recipients” an email from Jager reiterating that we would receive Forms 1099 from those two

entities. A true and correct copy of that February 2, 2021 email is attached as Exhibit 5.

       10.     I never requested the return of any of my investment.

       11.     On July 7, 2021, Jongeward emailed a non-disclosure agreement to me and other

“undisclosed recipients,” saying that we must sign the NDA to participate in the investment.

True and correct copies of Jongeward’s July 7, 2021 email and the attached NDA are attached

hereto as Exhibit 6.

       12.     On October 16, 2021, Jongeward emailed a document entitled “Update for

Owners of Settlement Liens,” a true and correct copy of which is attached as Exhibit 7.

       13.     In October and November 2021, Jongeward sent additional emails to me and

other investors stating that “J & J Consulting Group” was undergoing a “Business Review.” True

and correct copies of Jongeward’s emails to me and others on October 4, November 5, and

November 17, 2021 are attached as Exhibit 8, Exhibit 9, and Exhibit 10.

       14.     On December 18, 2021, Jongeward sent me two emails, attaching documents for a

new entity called J&J Purchasing, LLC: a Private Placement Memorandum; Non-Compete,

Non-Disclosure and Non-Solicitation Agreement; Mutual Confidentiality and Non-Disclosure

Agreement, and a Confidential Subscription Agreement. True and correct copies of his emails

and the attachments are attached as Exhibits 11 and 12.

       15.     At various points in 2021 and 2022, Jongeward would introduce other investment

opportunities to me. For example, in an email dated February 8, 2021 that Jongeward sent to me

and other “undisclosed recipients,” Jongeward forwarded documents regarding an investment

opportunity in a company called “SkyBell.” Attached as Exhibit 13 are true and correct copies

of this email and its attachments. On September 6, 2021, Jongeward sent an email to me and

other “undisclosed recipients” regarding an investment opportunity in a project called the “Grand

Desert Behavioral Hospital” and mentioning investments in other companies called “Magic

spoon, Kinder beauty box, and others.” A true and correct copy of the September 6, 2021 email
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is attached as Exhibit 14. On November 5, 2021, Jongeward sent an email to me and other

“undisclosed recipients” regarding an investment opportunity in a company called Spacestation

Mining, a true and correct copy of which is attached as Exhibit 15. On January 14, 2022,

Jongeward sent an email to me and other “undisclosed recipients” regarding an investment

opportunity in a company called Eco Battery, a true and correct copy of which is attached as

Exhibit 16. Jongeward sent additional emails about the Eco Battery investment (including wire

instructions) in January, February, and March 2022 as well. True and correct copies of

Jongeward’s additional emails about Eco Battery are attached as Exhibit 17 (January 27, 2022),

Exhibit 18 (February 24, 2022), Exhibit 19 (February 24, 2002, second email), 1 and Exhibit 20
(March 3, 2022).

          16.    In the winter of 2021-2022, Jongeward and his family moved out of their home in

our neighborhood in Cheney, Washington. Jongeward told me he was moving to the St. George,

Utah area. I kept in touch with him by email and telephone after he moved away, and Jongeward

would also periodically travel to Washington State and visit me. I saw him in January or

February 2022 during one of his visits. At that time, he told me that he thought the settlement

contract investment program had about 2-5 years more, but he did not think it would continue

indefinitely. He said it was becoming management-intensive, and that Matthew Beasley had

made suggestions about not wanting to continue as the attorney. Jongeward said that if Beasley

decided not to continue, they would just look for another attorney. He pitched me the investment

in a different company called Eco Battery. He also said he was thinking of taking some of his

money out of the settlement contract investment to move it into the Eco Battery investment

instead.

          17.    A week or two after the meeting in January or February 2022, on a phone call

with Jongeward, Jongeward and I were discussing how long it would take for Jongeward to place

an additional $400,000 investment from me into new settlement contracts with slip and fall


1
    Portions of Exhibit 19 have been redacted to hide the private information of another investor.
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plaintiffs. Jongeward suggested that I could consider buying out another investor’s settlement

contracts if I wanted to invest more money into settlement contracts faster. Jongeward also said

that he was considering having his settlement contracts bought out by other investors to free up

cash to place in the Eco Battery investment.

       18.     On March 8, 2022, Jongeward emailed me and other investors about the FBI

standoff with Matthew Beasley. A true and correct copy of that email is attached as Exhibit 21.

This is how I learned that the FBI shot Beasley.

       19.     Jongeward sent additional update emails to me and other investors on March 11,

March 13, and March 22, 2022. True and correct copies of these emails are attached as Exhibits

22, 23, and 24 respectively.

       20.     On March 17, 2022, Jongeward visited me in my home in Cheney. Jongeward

said he had driven up from St. George, Utah. Jongeward said that he had multiple phone

conversations with Jager, and that Jager had said he was considering selling his assets so he

could start paying some “restitution” to investors. Jongeward said that his wife and children were

in Mexico on a family trip, but that Jongeward chose to stay behind to “take care of some

things.” He mentioned that if he were in an investor’s shoes, he would likely not reach out to

speak with authorities about the investment, saying something to the effect that he himself would

not want to talk to the FBI or SEC because it may complicate things. Jongeward showed me a

purported settlement agreement on the screen of his smart phone, and claimed that he thought it

was legitimate. He said that it would be easy for him to start up a settlement contract investment

business again. He said “we” still have many settlement agreements that “we” were able to
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recover. He claimed that some of the attorneys whose names appear on the settlement

agreements purportedly confirmed that they had worked with Beasley in the past. He said he

never got paid for finding new investors for the settlement agreements, which was contrary to

what he had previously told me. He also continued to pitch the Eco Battery investment to me.



I declare under penalty of perjury that the foregoing is true and correct.



Executed in Cheney, Washington on April 4, 2022




                                              Marshall Gibbs (Apr 4, 2022 08:02 PDT)
                                              Marshall Gibbs
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                  Exhibit 1
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  From: Jason Jongeward <jason.jcd@gmail.com>
  Date: December 20, 2020 at 4:33:11 PM PST
  To:
  Subject: Fwd: Wire instructions




  Marshall, Here is the wiring instructions for the contract investment. You should
  receive the investor agreement by Tuesday for your review. Please have your
  captial wired by 12 noon tomorrow. Remember to put "Jager" in the wire line
  memo. LMK if you have any q’s.


              Wells Fargo Bank
              Routing/swift code: 121000248
              420 Montgomery St.
              San Francisco CA, 94104

              Beasley law Group IOLTA
              Acct#        5598
              3090 s. Durango Drive
              Las Vegas, NV 89117




                
              Jason Jongeward
              509-768-4990
              www.jcdspokane.com  


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                   Exhibit 2
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                   Exhibit 3
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                   Exhibit 4
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  From: Jason Jongeward <jason.jcd@gmail.com>
  Date: January 5, 2022 at 6:01:41 AM PST
  To: Marshall Gibbs                      >
  Subject: Contract replacement 1-6-22 - Hirschman 40k and trager 100


  Hi Marshall, Your contracts have been replaced this week. The Hirschman 40 is
  now the Kuschel 40 and the Trager 100 is now the Williamson 100. Both
  payments have been sent this morning. We will now simply send an email with
  contract names and dates for your records. The subscription addendum will be
  used when you add or subtract from you invested amount. Take Care,   Jason

  Sent from my iPad
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                   Exhibit 5
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                   Exhibit 6
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                  NON-COMPETE, NON-DISCLOSURE AND NO

                            SOLICITATIONAGREEMENT


       This Non-Compete, Non-Disclosure and Non-Solicitation Agreement
(hereinafter referred to as the “Agreement”) is entered into this day of
                                      , by and between J & J Consulting Services,
Inc. (hereinafter referred to as the “Business”) and                 (hereinafter
referred to as the “Potential Investor”). The Business and the Potential Investor
are sometimes referred to hereinindividually as a “Party” and collectively as the
“Parties”.

                                         TERMS

       For good consideration and as an inducement for the Business to
disclose valuable and confidential information to the Potential Investor, the
undersignedPotential Investor hereby agrees as follows:

Non-Compete:

       The Potential Investor understands that the Business operates throughout the
United States. As such, the Potential Investor agrees not to directly or indirectly
compete with the Business and its successors and assigns within the United States for
aperiod of two (2) years following the communication of the confidential information
tothe Potential Investor.

       The term “not to directly or indirectly compete” as used herein shall mean
thatthe Potential Investor shall not own, manage, operate, consult or be employed
in a business substantially similar to or competitive with, the Business or such other
business activity in which the Business may substantially engage.

       The Potential Investor acknowledges that the Business shall or may in reliance
ofthis Agreement provide the Potential Investor access to trade secrets, customers,
attorneys, and other confidential data and/or information and good will. Potential
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 Investor agrees to retain said information as confidential and not to use said
 information on his/her own behalf or disclose the same to any third-party.

        This non-compete agreement shall be binding upon and inure to the benefit
 ofthe Parties, their successors, assigns and personal representatives.

Non-Disclosure:

        Confidential information as it relates to this Agreement refers to all
 information,whether provided in writing or verbally, that is not generally known to
 the public.
 Confidential information includes, but is not limited to the Business’s trade secrets,
 customers, customer lists, attorneys, attorney lists, vendors, good will, financial
 information, concepts, techniques, manuals, syllabi, designs, data, computer programs
 and business activities and operations.

        The Potential Investor agrees that the confidential information to be provided
bythe Business constitutes valuable information and is the exclusive property of the
Business. Potential Investor agrees not to directly, or indirectly, without the express
written consent of the Business, communicate, copy, disclose or make available any
confidential information provided by the Business or relating to the Business. The
Potential Investor further agrees to not use any of the confidential information for
his/her purposes or on his/her own behalf for any purpose whatsoever.

        The Potential Investor agrees that the term of this Non-Disclosure portion of
thisAgreement is for a period of ten (10) years unless cancelled in writing by the
Business.

 Non-Solicitation:

        Potential Investor agrees that after receiving the confidential information
 fromthe Business and/or during the term of this Agreement, that he/she will not
 engage, employ, solicit for employment, interfere with, or endeavor to entice away
 from the Business, directly or indirectly, any employee, independent contractor,
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attorney, vendor, client, student, or any and all other person(s) with any affiliation
whatsoeverwith the Business.

       The Potential Investor agrees that the term of this Non-Solicitation portion of
theAgreement is for a period of ten (10) years unless cancelled in writing by the
Business.

Miscellaneous Terms:

       (a)      The Parties agree and acknowledge that they have carefully read and
fullyunderstand all of the terms and provisions of this Agreement and have reviewed
the same with their attorney of choice, if any, prior to execution of this Agreement.

       (b)      The Parties agree and acknowledge that this Agreement was
determinedafter negotiations and that the Parties’ attorney, if any, participated in
the drafting of this Agreement, and as such, should not be strictly construed for or
against any of the Parties hereto.

       (c)      The Parties agree and acknowledge that they are knowingly
andvoluntarily agreeing to all of the terms set forth in this Agreement.

       (d)      The Parties agree and acknowledge that they knowingly and
voluntarilyintend to be legally bound by the same and that they entered into this
Agreement voluntarily and not as a result of coercion, duress, or undue influence.

       (e)      The Parties agree and acknowledge that this Agreement shall
become binding and effective as of the date and time that it is fully executed by
both Parties.

       (f)      The Parties agree and acknowledge that this Agreement may be
executedin counterparts, and each executed counterpart shall have the efficacy and
validity of asigned original and with the same effect as if all Parties hereto had
signed the same document. All counterparts so executed shall be deemed to be an
original, shall be construed together and shall constitute the entire Agreement.
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Photographic copies of such executed counterparts may be used in lieu of the
original.

       (g)     The Parties agree and acknowledge that this Agreement shall be
binding upon the Parties hereto and upon their heirs, administrators, representatives,
executors,successors, and assigns, and shall inure to the benefit of said Parties and
each of them and to their heirs, administrators, representatives, executors, successors,
and assigns.

       (h)     The Parties agree and acknowledge that this Agreement constitutes the
complete and entire agreement between the Parties and supersedes any and all prior
communications, agreements and understandings, written or oral, between the
Parties.

       (i)     The Parties agree and acknowledge that this Agreement may not be
altered, amended, supplemented, modified or otherwise changed in any way
whatsoever, except by a separate written agreement authorized and executed by
allParties.

       (j)     The Parties agree and acknowledge that this Agreement shall be
governedby and construed in accordance with the laws of the State of Nevada, without
regard toconflict of law principles.

       (k)     The Parties agree and acknowledge that in executing this Agreement
theydid not rely upon any representation or statement made by either Party or by any
of theParties agents, attorneys, or representatives with regard to the subject matter,
basis, or effect of this Agreement or otherwise other than those specifically stated in
this written Agreement.

       (l)     The Parties agree and acknowledge that should any term and/or
provision of this Agreement be declared or determined by a Court of competent
jurisdiction to be wholly or partially illegal, invalid or unenforceable as a result of
any action or proceeding, the validity of the remaining terms, releases and provisions
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shall not be affected and said illegal or invalid term, release or provision shall be
deemed notto be a part of this Agreement.

       (m)    The Parties agree and acknowledge that the waiver by either of the
Partieshereto of any term, release or provision of this Agreement shall not be
construed as a waiver of any other or subsequent term, release or provision.

       (n)    The Potential Investor understands that his/her failure to comply with
this Agreement in any way will cause the Business irreparable harm. As such,
PotentialInvestor agrees that the Business is entitled to immediate injunctive relief
should any such violation of this Agreement occur.



DATED this day of                     .
J & J CONSULTING SERVICES, INC.




By: JEFFREY JUDD, President                       By: Potential Investor
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                   Exhibit 7
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10-16-21

Update for Owners of Settlement Liens,

As J&J Consulting (Jeff Judd) Settlement Lien business has matured, Jeff has consulted with an
attorney who has worked for the SEC. Jeff is in the process of implementing the following
modifications:

   ● All purchasers of settlement liens, aka “contract investment”, need to become an
     “Accredited Investor”. If you have any questions regarding the definition of an
     Accredited Investor you will need to consult with your accountant (I have included a link
     for your reference below). Jeff is having a document prepared which will need to be
     signed by anyone who wants to remain a purchaser of settlement liens. If you are unable
     to sign the document(s) as an accredited investor, your capital will be returned at the
     expiration of your Buyer’s Agreements.

   ● https://www.investopedia.com/terms/a/accreditedinvestor.asp

   ● There will also be language either in the same document or an additional document
     indicating that the funds used to purchase settlement liens are from a legitimate/legal
     source.

   ● Stirling Consulting pays the weekly settlement lien returns to JL2 Investments LLC and
     will provide JL2 Investments LLC a Form 1099 for the 2021 Tax Year. Likewise, JL2
     Investments LLC will generate a Form 1099 for you.

   ● Weekly payments from Stirling Consulting to JL2 Investments LLC now exceed Wells
     Fargo’s Business Direct $250,000 maximum daily transfer limit. Sterling has and will
     continue to request Wells Fargo to increase that limit but in the interim payments to JL2
     Investments LLC will be split and paid over two days. This will delay payments to lien
     owners by 1-3 days. Investors should expect payment no later than Friday afternoon.

Thank you,

Jason Jongeward
jason.jcd@gmail.com
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                   Exhibit 8
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                 Exhibit 11
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                 J AND J PURCHASING, LLC
          CONFIDENTIAL SUBSCRIPTION AGREEMENT
THE INVESTMENT OFFERED HEREIN HAS NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF
1933, AS AMENDED, OR THE SECURITIES LAWS OF ANY STATE. THE TRANSFERABILITY OF THE
INVESTMENT IS SUBJECT TO ABSOLUTE RESTRICTIONS.
IT IS IMPOSSIBLE TO ACCURATELY FORECAST TO A PURCHASER THE RESULTS FROM AN
INVESTMENT IN PARTIAL BENEFICIAL INTERESTS UNDER THIS OFFERING.
NO ONE CAN PREDICT WHETHER OR TO WHAT EXTENT THE COMPANY’S PROPOSED BUSINESS
MIGHT BE SUCCESSFUL. THE INVESTMENT IN THE COMPANY INVOLVES A HIGH DEGREE OF RISK
AND SHOULD BE CONSIDERED ONLY BY PERSONS WHO CAN BEAR THE RISK OF AN ENTIRE LOSS
OF THEIR INVESTMENT.

Unless otherwise indicated, the terms used herein shall have the meanings set forth in the Private Placement
Memorandum issued on behalf of the Company dated January 1, 2022 (the “Memorandum”), the Company’s
Operating Agreement, the Company’s Code of Ethics and Business Conduct, and Company Policies
(collectively, the “Subscription Documents”).
References herein to the “Subscriber” has the same meaning as “Investor” and means the individual or entity
executing this Subscription Agreement as the Subscriber and which defined term is not meant to include his or
her spouse or any Third Party or other interest holder, if any, unless his or her spouse or Third Party or other
interest holder is specifically referenced herein and becomes bound to and certifies all relevant documents
evidencing the Subscriber’s investment described herein including all Subscription Documents and as satisfying
all other Company Due Diligence matters.
The undersigned Subscriber understands that J and J Purchasing, LLC, organized pursuant to the laws of the
State of Florida (the “Company”) is offering for Investment such Partial Beneficial Interests in Purchase Contracts
germane to Third-Party Beneficiary Insurance Settlement Agreements in the increment amounts of $80,000.00
or $100,000.00 for each such Partial Beneficial Interest with a minimum amount to be invested of $80,000.00 as
further described herein and pursuant to the governance established by the Company’s Operating Agreement
(the “Operating Agreement”) which the Subscriber joins (as Investor and not Member) concurrent to this
Subscription Agreement.
The Partial Beneficiary Interests are being offered to Subscriber pursuant to the Memorandum at the investment
price set forth in the Memorandum to be paid in exchange for the Investment Return and a Right of Redemption,
which exchange will be designated through the “Closing.” The Subscriber acknowledges its receipt and review
of the Memorandum and Subscription Documents, including the Company Operating Agreement and Code of
Business Ethics and Business Conduct, and understands that the Partial Beneficiary Interest in Purchase
Contracts is offered only pursuant to the terms and conditions and in the manner described herein and all
Subscription Documents.
The Subscriber acknowledges that it, he, or she is not acting based on anyone’s oral representations,
certifications, or warranties and understands that this Offering is being made without registration of the Partial
Beneficial Interests under the Securities Act of 1933, as amended (the “Securities Act”), or any securities, “blue
sky” or other similar laws of any state (“State Securities Laws”). The Subscriber further understands and
acknowledges that the Partial Beneficial Interests are being offered by the Company acting through its principals
only and that the opportunity to invest in Partial Beneficial Interests is offered by the Company with no commission
or other remuneration paid to any person, directly or indirectly, for solicitation of Investors or otherwise for the
offering and sale of Partial Beneficial Interests under the Offering/the Subscription Documents. Any “Finder”
directly or indirectly affiliated with the Company may not serve or act in any way as a financial or investment
advisor, any of which act would be prohibited under the Act or any other SEC limitations, including without
limitation that any Finder may not: (1) provide investment advice or recommendations to potential investors; (2)
negotiate any of the terms of this offer; (4) create or modify the materials related to this offering; (4) have
substantial prior involvement in the sale of securities, either by affiliation with a registered broker-dealer or in any

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other capacity; (5) receive, directly or indirectly, possession or custody of any funds in connection with the issuer
transaction.
If any Finder may be related to the Company or this offering, such Finder may or will have to provide to any
potential accredited investor such advisable or required disclosures; provide services as a Finder only under a
written agreement explicitly defining the role of the Finder and the compensation; the Finder may not engage in
general solicitation; the Finder will only relate to potential investors that are “accredited investor” as defined in
Rule 501 of Regulation D or the Finder has a reasonable belief that the potential investor is an “accredited
investor;” the Finder is not an associated person of a broker-dealer; and, the Finder is not subject to statutory
disqualification, as that term is defined in Section 3(a)(39) of the Exchange Act, at the time of his or her
participation.
The expected beneficial interest inuring to Investor under Purchase Contracts (the “Partial Beneficial Interest”)
for the Investment Return is offered to Subscriber at a price and the variable increment amounts of $80,000.00
or $100,000.00 for each such Partial Beneficial Interest with a minimum amount to be invested of $80,000.00.
(1) Subscription. Subject to this Subscription Agreement’s terms and conditions and the provisions of the
Memorandum, the Company Operating Agreement, the Investor Questionnaire and as satisfying all other
Company Due Diligence matters:
   (A) The Subscriber elects to invest in __x__ $ 80,000.00 and/or _x_ $ 100,000.00 incremental Partial
Beneficial Interests (enter number of Partial Beneficial Interests to be purchased in accordance with the
minimum set out in this PPM and as singularly or collectively relevant to the amount(s) of the relevant
Purchase Contract) with a total Investment Principal cash investment of $ NEED AMOUNT.
    (B) The Subscriber hereby tenders: (1) one completed and signed copy of this Subscription Agreement
(the “Subscription Agreement”), (2) a completed Investor Questionnaire, (3) if applicable, a completed
Purchaser Representative Questionnaire, (4) a joinder to the Company Operating Agreement in the form
attached as Exhibit B to the Memorandum, and [after Company has certified its Due Diligence and Investor is
informed that this Subscription Agreement has been accepted and countersigned] (5) confirmation of the wired
Investment Principal in the amount equal to the number of Partial Beneficial Interests being subscribed for
hereunder and made payable to J and J Purchasing, LLC to the following Well Fargo Bank NA (Nevada)
Routing Number: 121000248, Account Name, Beasley Law Group IOLTA (noting that, upon the Company’s
acceptance by Company of the Subscription Documents, an authorized Company officer will inform the
prospective Investor of the Account Number).
(2) Acceptance of Subscription. The Subscription and all other items in Section 1(B) above will be deemed
accepted by the Company only after review, acceptance, and execution of all relevant items by the Company.
(3) Subscriber’s Adoption of the Company Operating Agreement and Grant of Power of Attorney. The
Subscriber hereby ratifies, adopts, accepts, and agrees to be bound by all the sections, terms, and provisions of
the Company Operating Agreement and to perform all obligations therein imposed, including but not limited to,
with respect to the Partial Beneficial Interests to be negotiated and secured by Company through Purchase
Contracts. Moreover:
     (A) The Subscriber hereby consents to the disposition of the proceeds from the Offering of the Partial
Beneficial Interests as described in the Memorandum. Upon acceptance of this Subscription by the Company
and the satisfaction of the conditions set forth in this Subscription Agreement, including Para. 1(B) above, the
Subscriber will become a Partial Beneficial Interest beneficiary under the Investor specific Purchase Contract,
provided however, the Company retains the right, in its sole discretion and for any reason whatsoever,
to modify, amend, and/or withdraw all or a portion of the Offering and/or to accept or reject, in whole or
in part, any prospective Partial Beneficial Interest investment or to allot to the Subscriber fewer than the
number of Investment Partial Beneficial Interests that the Subscriber desires to Subscribe. The Company
will have no liability whatsoever to the Subscriber if any of the foregoing occurs.
     (B) The Subscriber hereby makes, constitutes and appoints the Company, its successors and assigns, with
full power of substitution and re-substitution, the Subscriber’s agent and true and lawful attorney-in-fact to sign
on the Subscriber’s behalf and to sign, execute, certify, acknowledge, file and record any other instruments that
may be required of the Company by law including as germane to Purchase Contracts, the Transacting of Partial
Beneficial Interests/Insurance Settlement Agreements, the issuance of Investment Return, the effectuating of

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any Right of Redemption and the admission of additional or substituted Investors, provided such admission or
substitution is in accordance with the terms of the Company Operating Agreement, resolution, or as allowed by
law. The Subscriber authorizes Company as attorney-in-fact to take any further action as Company will consider
necessary or advisable in connection with the foregoing, hereby giving such attorney-in-fact full power and
authority to act to the same extent as if the Subscriber were personally present, and hereby ratifying and
confirming all that such attorney-in-fact will lawfully do or cause to be done by virtue hereof. The power of attorney
granted hereby is a special power of attorney coupled with an interest, is irrevocable, and will survive the death,
insanity, or incapacity of the Subscriber. Execution of any document by the Company as attorney-in-fact for the
Subscriber will be deemed by Third Parties to be conclusive evidence of the authority of the Company to so act.
(4) Representations, Covenants, Agreements, and Warranties of the Subscriber. Acknowledging and
certifying that the Company intends to and shall rely on the Subscriber’s Representations, Certifications,
Covenants, Agreements, and Warranties (collectively the “Subscriber’s Representations and Warranties”) —
which will survive any acceptance of the subscription and admission of the Subscriber as Partial Beneficial
Interest Investor — the Subscriber hereby represents, certifies, covenants, agrees, and warrants to the Company
as follows:
    (A) Representation of Subscriber by Purchaser Representative. The Subscriber certifies that:
      1. __________________________________ has acted as his, her, or its “Purchaser
Representative” as defined in Regulation D promulgated under the Securities Act of 1933, as amended
[complete if Subscriber used a Purchaser Representative, otherwise insert “n/a”];
       2. The Subscriber has relied upon the advice of such Purchaser Representative as to the merits of an
investment in the Company and the suitability of that investment for the Subscriber; and
        3. Such Purchaser Representative has heretofore disclosed to the Subscriber in writing during this
transaction any past, present, or future relationship, actual or contemplated, between the Purchaser
Representative and his, her, or its affiliates and the Company. Subscriber certifies that the Purchaser
Representative has disclosed no such relationship.
    (B) Restrictions on Transfer, Hypothecation, Sale or any Transfer of a Partial Beneficial Interest or
part of a Partial Beneficial Interest or Investment.
         1. The Subscriber acknowledges and certifies that: (a) the Company is relying on the Subscriber’s
Representations and Warranties as well as Subscribers’ acknowledgements, certifications, and agreements
contained in this Subscription Agreement and otherwise (and any supplemental or amended information
germane to the preceding) for the purpose of determining whether this transaction meets the requirements of
this Offering and/or for such exemption as required by the Securities Act; and (b) the offer and sale of the Partial
Beneficial Interests have not been registered under the Securities Act by reason of specific exemptions under
the provisions thereof which depend in part upon the investment intent of the Subscriber and of the other
Representations and Warranties made by the Subscriber in this Subscription Agreement or as germane to the
Company Operating Agreement; and
         2. The Subscriber acknowledges and certifies that the Partial Beneficial Interests in Purchase Contracts
will be deemed to constitute a restricted security under (a) the Securities Act, (b) the rules and regulations of the
Securities and Exchange Commission promulgated thereunder, and (c) state securities laws and regulations.
According to such deemed restrictions, the Subscriber acknowledges that Subscriber may dispose of the Partial
Beneficial Interest in Purchase Contract only pursuant to this Memorandum and the terms of the Company
Operating Agreement. The Subscriber acknowledges that the Company has made no representation regarding
the registration of any Partial Beneficial Interest invested for hereunder and the Company shall not be obliged to
so register the Partial Beneficial Interest any time; and
        3. The Subscriber understands that it is deemed that there exists no public market for the Partial
Beneficial Interests in Purchase Contract which may only be transacted by the President of the Company or his
designee. Moreover, the Subscriber understands that it is deemed that no public market for the Partial Beneficial
Interests in Purchase Contract will develop. The Subscriber certifies his agreement that he shall bear all economic
risks of the investment in the Partial Beneficial Interests, including pursuant to any Event of Default. The
Subscriber acknowledges that no term or condition of this Subscription Agreement or the Company Operating
Agreement allows Subscriber to expect or require repurchase the Subscriber’s Partial Beneficial Interests and

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Right of Redemption except as described in this Memorandum, specifically, that Investors retain an absolute right
to call back (“Redeem” through a “Right of Redemption”) their Investment Principal any time after the expiration
of the 90-day Placement Period through this Offering, subject to an Event of Default. Any redemption will be
made and settled as soon as reasonably practicable which means five (5) business days after the Placement
Period and when Investor informs Company in writing of their exercise of their Right of Redemption and as
concomitant to the Investor’s receipt of the Investment Return.
         4. The Subscriber shall not — nor make any attempt to — sell, assign, pledge, give, transfer or
otherwise dispose, alienate, or diminish any Partial Beneficial Interest or part of a Partial Beneficial Interest, or
Investment subscribed for herein. The Company shall in no case be required to recognize any such transfer or
attempted transfer of any Partial Beneficial Interest or part of a Partial Beneficial Interest, or Investment until and
except upon compliance of all legal and Company Operating Agreement requirements, including, at the
discretion and approval of the Company’s President.
         5. Stop transfer restrictions may be issued with respect to the Partial Beneficial Interests to restrict the
resale, pledge, hypothecation, or other transfer thereof, subject to the further terms hereof, including pursuant to
the Subscription Documents. During the existence or term of the Company, such restrictions and stop transfer
instructions described above shall be placed upon any relevant document that may issue hereafter.
         6. The Subscriber has not offered or sold any portion of any Partial Beneficial Interest or part of a Partial
Beneficial Interest or Investment subscribed for hereunder and has no past, present or future intention of dividing
any Partial Beneficial Interest or part of a Partial Beneficial Interest or Investment with any other person or entity
or of reselling or otherwise disposing of any Partial Beneficial Interest or part of a Partial Beneficial Interest or
Investment either currently or after the passage of a fixed or determinable period of time or upon the occurrence
or nonoccurrence of any predetermined event or circumstance. Accordingly, the Partial Beneficial Interests for
which the Subscriber hereby subscribes are and will be acquired only and specifically for his, her, or its own
account for investment and not with the view toward resale or redistribution or partition of any kind, and he, she,
or it does not presently have any reason to anticipate any change in his, her, or its circumstances or other
particular occasion or event that would cause him, her, or it to sell, alienate or otherwise transfer Subscriber’s
interest in any Partial Beneficial Interest in a Purchase Contract or part of a Partial Beneficial Interest in a
Purchase Contract or the Investment.
     (C) Financial Ability to Bear Loss Risk. The Subscriber has (or, if applicable, the Subscriber and his, her,
or its Purchaser Representative have) such significant and material knowledge and experience in financial and
business matters that he, she, or it is (or are) capable of evaluating the merits and risks of an investment in the
Partial Beneficial Interests in Purchase Contracts and the Investment in this Offering and the suitability of same
as an investment for the Subscriber and the Subscriber is able to fully bear the economic risk of an Investment
hereunder and that:
       1. The Subscriber’s total Investment (including the full amount of any personal guarantees required in
connection therewith) does not exceed 10% of Subscriber’s net worth (excluding house, home furnishings and
automobiles); and
        2. The Subscriber meets all additional suitability standards and financial requirements that may be
required in the jurisdiction in which the Subscriber resides or is purchasing in a fiduciary capacity for a Person
meeting such suitability standards and/or financial requirements and the Subscriber is not a minor; and
        3. The Subscriber has and will retain the ability to bear the economic risks of Subscriber’s prospective
investment, including a complete loss of the Investment, Investment Principal, and Investment Return. The
Subscriber has and will retain the ability to bear the economic risk of the Investment hereunder because the
Subscriber has sufficient net worth to sustain a loss of the any Investment Return without economic hardship if
such loss should occur; and
        4. The Subscriber has not been offered the Partial Beneficial Interests or Investment by any form of: (a)
advertisement, article, notice, or other communication published in any newspaper, magazine, or similar media
or broadcast over television or radio, or any seminar or meeting whose attendees have been invited by any such
media, or (b) through any direct or indirect financial benefit as offered by any person or entity; and




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         5. The Subscriber understands that no federal agency, including the Securities and Exchange
Commission, and no state securities regulatory agency has approved or disapproved the Partial Beneficial
Interests in Purchase Contracts or Investment set for in this Memorandum, passed upon or endorsed the merits
of the offering or the accuracy or adequacy of the Memorandum or made any finding or determination as to the
fairness of the Partial Beneficial Interests or Investment set out herein; and
         6. The Subscriber and its Purchaser Representatives, if any, have been solely responsible for the Due
Diligence or any other investigation of the Company and its management and business, for Subscriber’s own
analysis of the merits and risks of this investment, the Partial Beneficial Interests in Purchase Contracts, activities
of and relationship to the Company or its President, all Conflicted Parties matters, and for Subscriber’s own
analysis of the fairness and desirability of the terms of the Investment. In taking any action or performing any role
relative to the proposed Investment, the Subscriber has acted solely in Subscriber’s own interest, and the
Subscriber (or any of its agents or employees) has not acted as an agent of the Company.
     (D) Subscriber’s Acknowledgements Regarding Reliance on the Memorandum and Company
Operating Agreement. The Subscriber has not relied on any representations or warranties from the Company,
its President or its employees or agents, other than those contained in — or any supplement or addenda to —
the Memorandum, the Company Operating Agreement, this Subscription Agreement, or Investor Questionnaire,
and:
          1. The Subscriber has received, read, and is fully familiar with the Company Operating Agreement and
Memorandum, including the exhibits attached thereto and any amendments, supplements thereof, and confirms
that all documents, records, and books pertaining to the proposed investment in the Company have been made
available to the Subscriber and/or Subscriber’s Purchaser Representative; and
        2. The Subscriber and/or its Purchaser Representative have had an opportunity to ask questions
regarding: (a) the various matters discussed in the Company Operating Agreement and Memorandum and any
amendments or supplements thereof, (b) the terms and conditions of this Subscription Agreement and the Partial
Beneficial Interests and the Investment, (c) the business prospects of the Partial Beneficial Interests in Purchase
Contracts germane to Third-Party Beneficiary germane Insurance Settlement Agreements, Mr. Jeffrey Judd and
the Company, and (d) any such other questions as the Subscriber, Subscriber’s legal, financial, tax, investment
or other representative, and anyone has or may have had deemed necessary to Subscriber’s investment
decision with respect to the Partial Beneficial Interests and Investment pursuant to this Offering (and that all such
questions have been answered to the full satisfaction of the Subscriber). The Subscriber has not relied on any
representation or statement by anyone associated with the Company, including its President, Mr. Jeffrey Judd.
Indeed, in making a decision to invest in the Partial Beneficial Interests/this Investment/germane to the securing
of Purchase Contracts germane to Third-Party Beneficiary Insurance Settlement Agreements, the Subscriber
has relied solely on independent investigations by the Subscriber including Subscriber’s legal, investment,
financial and tax counselor’s or representative’s review of the Memorandum, Company Operating Agreement,
this Subscription Agreement and all other addenda or supplements to these documents and all other relevant
information; and
         3. The Subscriber has had called to Subscriber’s attention, both in the Memorandum and by those
individuals with whom the Subscriber has dealt in connection with this Offering’s Investment that: (a) an
investment hereby in Partial Beneficial Interests as germane to the securing of Purchase Contracts involving
Third-Party Beneficiary Insurance Settlement Agreements by the Company involves a substantial degree of risk
and is suitable only for Investors with adequate means who have no need for liquidity for their investments all of
which may be subject to loss pursuant to an Event of Default, (b) the sale or any transfer of the investment
germane to Partial Beneficial Interests is restricted and it is deemed that there is no market for the sale or transfer
of Partial Beneficial Interests and none may be expected, and (c) the fact that the Subscriber meets the suitability
standards described herein and in the Memorandum does not necessarily mean that the purchase of an interest
in the Company is a suitable investment for the Subscriber; and
        4. The Subscriber represents that: (a) no assurances are being made or have been made regarding
the tax advantages or disadvantages that may inure to the benefit or detriment of the Investor and no assurance
has been made that existing tax laws and regulations will not be modified in the future, potentially denying to the
Investor of the Company any relevant or tax benefits that may presently be available under existing tax laws and
regulations, and (b) no assurances are or have been made concerning cash or other Investment Return or

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payments by the Company to the Investor; and
         5. The Subscriber acknowledges that the Company has made available to the Subscriber or
Subscriber’s Purchaser Representative the opportunity to obtain additional information to verify the accuracy of
the information contained in the Memorandum and to evaluate the merits and risks of this investment including,
but not limited to, the income or other tax consequences of the Investment and holding or benefiting or loss of
the benefit of or in Partial Beneficial Interests. The Subscriber without reservation confirms that Subscriber has
consulted with legal, investment, financial and tax advisors regarding the Partial Beneficial Interests and
Investment herein, the Company Operating Agreement and the documents relating thereto. The Subscriber
represents that Subscriber has made other investments of a similar nature and, by reason of Subscriber’s
significant and material business and financial experience and the business and financial experience of those
persons the Subscriber has retained to advise Subscriber with respect Subscriber’s investment pursuant to this
Offering and has acquired the capacity to protect Subscriber’s own interest in investments of this nature. In
reaching the conclusion that the Subscriber desires to invest in this Offering, the Subscriber has carefully
evaluated the financial resources and investment position of the Subscriber, and the risks associated with this
investment and represents that Subscriber is able to bear the economic risks of this investment.
    (E) Subscriber’s Representations and Warranties.
         1. FINANCIAL DUE DILIGENCE MATTERS.
             (a) Subscriber has not received or been offered (directly or indirectly) loans or any financial or
property benefit of any kind — from: (i) the Company, or (ii) its Manager, Managing Member President, Treasurer
or Secretary, or (iii) any person affiliated with the Company, or (iv) from any potential, current or former Company
Member or Owner, or (v) any person or entity holding a direct or indirect, individually or entity held ownership in
interest in any Member, or (vi) any current or past Investor in the Company — for the purpose of enabling or
otherwise promoting such Subscriber to invest in the Company or otherwise; and
             (b) Subscriber has: (i) not filed or is planning to file for any type of bankruptcy, (ii) no outstanding
arrest warrant; and (iii) not been criminally convicted of, or pled guilty or nolo contendere to, any state or federal
felony or misdemeanor offense of moral turpitude or related in any way to the purchase or sale of any security in
the last ten (10) years from the time of signing this Agreement; and
             (c) Subscriber is not subject to any order, judgment, or decree, entered within the last five years, that
restrains or enjoins Subscriber (i) from any conduct or practice related to the purchase or sale of any security, (ii)
as related to the making of any false filing with the SEC, or (iii) arising out of the conduct of the business of the
Subscriber as, but not limited to, an underwriter, broker, or dealer of securities; and
            (d) Subscriber is not subject to any order of: (i) a state securities commission; (ii) a state authority
that supervises or examines banks or similar institutions; (iii) a state insurance commission; (iv) a federal banking
agency; or (v) the National Credit Union Administration; and
            (e) Subscriber is not subject to an SEC order entered pursuant to section 15(b) or 15B(c) of the
Securities Exchange Act of 1934 [15 U.S.C. 78o(b) or 78o-4(c)) or section 203(e) or (f) of the Investment Advisers
Act of 1940 (15 U.S.C. 80b-3(e) or (f)] and Subscriber has never acted in violation of any investment advisor or
financial advisor laws or regulations; and
            (f) Subscriber has not been suspended or expelled from membership in, or suspended or barred
from association with a member of a registered national securities exchange or a registered national or affiliated
securities association; and
             (g) Subscriber has not filed (as a registrant or issuer), or was not named as an underwriter in, any
registration statement filed with the SEC that, within five years before such relevant sale, was the subject of any
action, investigation or proceeding and Subscriber is not subject to a US Postal Service false representation
order; and
            (i) Subscriber acknowledges and certifies their understanding of restrictions of transferability of
Partial Beneficial Interests.




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         2. NO CONFLICTED SOURCE OF ANY FUNDS TRANSFERRED.
             (a) Investor has reviewed the Company’s Code of Ethics and Business conduct and AML Policies
and adopts both in all respects regarding this Offering and their Investment. Investor certifies that no aspect of
Investor’s investment under this Offering will violate any content in the Subscription Documents and that all
information certified in Investor’s Questionnaire or otherwise is complete and accurate and further certifies that
Subscriber has never acted directly or indirectly as a financial or investment advisor germane to any Third Party
at any time and will not do so in the future unless Subscriber is legally allowed to do so under all applicable laws
and regulations.
            (b) Subscriber further certifies that any investment made in Partial Beneficial Interests or funds that
Subscriber may transfer germane to this Offering are sourced solely as consistent with Subscriber’s
representations and warranties under this Subscription Agreement and the underlying Investor Questionnaire
which is fully incorporated into this Subscription Agreement and otherwise, and whether as germane to
Subscriber’s certified status as an Accredited Investor or otherwise, Subscriber’s certifications remain true and
accurate that any source of investment funds relating directly or indirectly to any Partial Beneficial Interest is
compliant with all of Subscriber representations and warranties made herein and the Investor Questionnaire.
            (c) Subscriber warrants to Company that any funds or amounts that Subscriber transfers to
Company for investment germane to Partial Beneficial Interests shall be consistent with all, without limitation,
Accredited Investor status and Anti-Money Laundering warranties and certifications that Subscriber certifies or
makes otherwise in this and any other document relevant to the Offering.
              (c) Subscriber warrants that any funds, however or from wherever sourced, that Subscriber transfers
to the Company shall only be sourced and originate from an Accredited Investor and that directly or indirectly,
however sourced, the Accredited Investor is in compliance with all Anti-Money Laundering standards, warranties
and certifications set out as a condition of this Offering and as consistent with Company’s Compliance Program,
and further all of which Subscriber will transparently disclose to the Company if any action by Subscriber, or fact
or circumstance, deviates from the preceding standards. Nonetheless, Subscriber certifies to Company that any
funds transferred to Company under this Offering do not conflict with the Company’s compliance program, as
not subject to forfeiture by any Government or any other Third Party and have no connection to any criminal
activity or violation by anyone, anywhere, anytime.
     (F) Additional Representations and Warranties. The Subscriber certifies that Subscriber will as soon
possibly notify the Company of any material fact or circumstance that causes in the future or would cause any
acknowledgement, representation, covenant, agreement, certification, acts or actions, warranty, or any statement
of the Subscriber in this Subscription Agreement, as germane to the Company Operating Agreement or any
other supplement or addendum to same be untrue, incomplete, or misleading, and furthermore:
        1. The Subscriber certifies that no person or entity has offered or given, directly or indirectly, anything of
value for the Subscriber’s investment in the Company; and
        2. The Subscriber certifies that by reason of Subscriber’s significant and material knowledge and
experience in financial and business matters in general, and investments in particular, the Subscriber and
Subscriber’s legal, investment, financial and tax advisors can evaluate the merits and risks of the investment in
the Partial Beneficial Interests. Nonetheless, the Subscriber acknowledges that none of the information or
discussion contained in the Memorandum constitutes or is to be construed as legal advice or financial or
investment advice; and
      3. THE SUBSCRIBER ACKNOWLEDGES AND AGREES THAT THE COMPANY’S OUTSIDE LEGAL
COUNSEL HAS PARTICIPATED IN THE PREPARATION OF THE MEMORANDUM AND EXHIBITS
THERETO. SUBSCRIBER UNDERSTANDS THAT THE CREATION OF SUBSCRIBER’S DOCUMENTS,
INCLUDING THE PRIVATE PLACEMENT MEMORANDUM, THE QUESTIONNAIRE, THE SUBSCRIPTION
AGREEMENT, AND THE COMPANY OPERATING AGREEMENT, CODE OF ETHICS AND BUSINESS
CONCUT AND ANY OTHER DOCUMENTATION AND, IF ANY, COMMUNICATIONS BETWEEN OUTSIDE
COUNSEL AND PROSPECTIVE, ACTUAL, OR PAST INVESTOR TO COMPANY, DO NOT CREATE AN
ATTORNEY-CLIENT RELATIONSHIP BETWEEN ANY SUBSCRIBER OR INVESTOR AND SUCH LEGAL
COUNSEL.SUCH LEGAL COUNSEL DOES NOT PURPORT TO HAVE MADE ANY INVESTIGATION OR
TO HAVE ACTED INDEPENDENTLY ON BEHALF OF THE SUBSCRIBER OR INVESTOR OR MADE ANY

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INDEPENDENT INVESTIGATION OF THE PARTICULARS, VALIDITY OR POTENTIAL OUTCOMES OF
ANY INVESTMENT PURSUANT TO THIS OFFERING. EACH SUBSCRIBER MUST CONSULT WITH HIS
OR HER OWN LEGAL, FINANCIAL, INVESTMENT, AND TAX COUNSEL IN CONNECTION WITH AN
INVESTMENT IN THE COMPANY; and
        4. As of the date of this Subscription Agreement and at the Closing, the Subscriber has and shall have
all requisite legal power and authority to enter into — and perform Subscriber’s obligations under — this
Subscription Agreement and the as germane to the Company Operating Agreement all of which constitute valid
and binding obligations inuring to the Subscriber and enforceable against Subscriber in accordance with their
terms except as relevant and limited by applicable bankruptcy, insolvency, reorganization, fraudulent
conveyance, moratorium or other laws of general application relating to or affecting rights and remedies of
creditors generally and to general legal principles (regardless of whether in equity or at law; and
        5. No consent, approval, or authorization of or designation, declaration, registration, qualification or filing
with any governmental or professional authority on the part of the Subscriber is required in connection with the
valid execution and delivery of this Agreement; and
      6. THE SUBSCRIBER HAS BEEN ADVISED THAT CONFLICTS OF INTERESTS MAY OR DO EXIST
BETWEEN THE SUBSCRIBER’S INTERESTS AND THOSE OF THE COMPANY, THE PRESIDENT, ITS
OFFICERS, THE COMPANY’S OTHER INVESTOR OR OWNERS OF SUCH INVESTOR EITHER HOLDING
A DIRECT OR INDIRECT AND INDIVIDUALLY OR ENTITY HELD OWNERSHIP INTEREST IN OTHER
BUSINESS VENTURES OR AFFILIATED ENTITIES OR OTHER AFFILIATES OF THE COMPANY AND AS
INVESTOR OF PARTIAL BENEFICIAL INTERESTS OR AS GERMANE TO COMPANY ALL OF WHICH
RELATIONSHIPS AND CONFLICTS HAVE BEEN FULLY DISCLOSED TO SUBSCRIBER TO THE
SUBSCRIBER’S FULL SATISFACTION; and
        7. The Subscriber certifies that the Company’s Memorandum, Company Operating Agreement,
Business Plan, Subscription Agreement and any supplements or addenda thereto constitute strictly confidential
documents and information all of which are subject to Subscriber’s and Company’s prior executed Non-
Disclosure Agreement.
(5) Indemnification. The Subscriber acknowledges that Subscriber understands the meaning and legal
consequences of the representations and warranties in this Subscription Agreement, and in particular Para. 4
hereof, and the Investor Questionnaire, and hereby agrees to indemnify and hold harmless the Company, the
Company’s Director, President, Treasurer or Secretary and any other Investor, and the Company’s agents and
employees, from and against any and all loss, damage, or liability due to or arising out of a breach of any
Representation and Warranty. Notwithstanding the foregoing, however, no representation, warranty,
acknowledgment, or agreement made herein by the Subscriber will in any manner be deemed to constitute a
waiver of any rights granted to the Subscriber under federal or state securities laws.
(6) Limitation on Transfer of Interests. The Subscriber acknowledges that Subscriber is aware that there are
restrictions on the transferability of any Partial Beneficial Interests. Since the Partial Beneficial Interests will not
be, and the Subscriber has no right to require that they be, registered under the Securities Act, Florida securities
laws or the securities laws of any other state or jurisdiction, the Partial Beneficial Interests may not be, and the
Subscriber agrees that they will not be, sold unless such sale is exempt from registration under said Act and laws
or the applicable securities laws of any other state or other jurisdiction. The Subscriber further acknowledges that
the Partial Beneficial Interests may not be sold and the purchaser substituted, except in accordance with the
Company Operating Agreement and pursuant to Director, President, Treasurer or Secretary’s approval, which
includes mandates that in any divorce or other action whereby an interest of another person or entity may
encroach on the valuation of the ownership of any Partial Beneficial Interest, that the Subscriber shall not deviate
from required action to protect such Partial Beneficial Interests. Accordingly, the Subscriber confirms that if
married, the Subscriber shall cause his or her spouse joins the Company Operating Agreement (infra). The
Subscriber also acknowledges that the Subscriber will be responsible for compliance with all conditions of transfer
imposed by any federal or state blue sky or securities law or regulation and for any expenses incurred by the
Company for legal or accounting services in connection with reviewing such a proposed transfer.




J AND J PURCHASING, LLC – SUBSCRIPTION AGREEMENT                                                                  8
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(7) Cooperation. Each Subscriber must cooperate with any financial or other institutions providing financing for
the Company and must make every reasonable effort to support the overall efforts of the Company and its
Investors in securing such financing. In furtherance of this objective, each Subscriber’s obligations include, but
are not limited to, providing financial statements and other documentation required for the lending institution’s
credit analysis as may be relevant to the purchase of Insurance Settlement Agreements.
(8) Compliance and Interstate Disclosure of Adverse Legal Risk. The Subscriber and/or Subscriber’s
Representative hereby certify that Subscriber has had the opportunity to and did seek independent legal and tax
counsel regarding the entirety of Memorandum and enters into this relationship, Subscription Agreement and
Company Operating Agreement and executes all pursuant to such legal and tax advice. In addition, pursuant to
the Subscriber’s independent legal counsel’s review of this Memorandum’s Interstate Disclosure of Adverse
Legal Risk, Subscriber and their legal counsel have concluded to their satisfaction that — regarding or in the
State in which subscriber resides, in the case of an entity investor, the State in which the investor does business
in or is incorporated, the Investor, through his or her or its investment in the Company or in relation to the business
activities of the Company as related to the Investor or otherwise — all questions regarding federal or state laws
and any other applicable statute, laws, rules, regulations, or case law have been answered to the full satisfaction
of the Subscriber and/or its Representative prior to making this investment.
(9) Investor Representative. If Subscriber is an entity, the Subscriber hereby designates
_____________________ as the “Investor Representative” under Subscription Agreement or as germane to
Subscriber’s joinder to the Company Operating Agreement (the “Investor Representative”). By signing this
Subscription Agreement, the Investor Representative accepts such designation and unconditionally agrees to
abide by, and be subject to, the provisions of the Company Operating Agreement, including but not limited to the
representations and warranties, covenants and obligations set forth in Article VII of the Company Operating
Agreement, as applicable. The Investor Representative may only be changed or replaced with the prior written
approval of the Company.
(10) Representations and Warranties of the Investor Representative. The Investor Representative
represents and warrants to the Company as follows:
    (A) The Investor Representative controls or is the main beneficiary of the Subscriber and, as such, he will
receive direct and indirect benefits derived from the subscription of the Partial Beneficial Interests by the
Subscriber;
    (B) The Investor Representative understands that he will have no rights whatsoever to the Partial Beneficial
Interests or as a Member or otherwise in the Company; and
    (C) The Investor Representative has received a copy of the Company Operating Agreement and recognizes
and acknowledges the joinder obligations, covenants, limitations, and restrictions as the Investor Representative
pursuant to the same. The Investor Representative expressly acknowledges and represents that he or she fully
understands the scope of such obligations, covenants, limitations, and restrictions and agrees to abide by the
same.
(11) Survival. All representations, warranties, and covenants contained in this Subscription Agreement and the
indemnification contained herein will survive: (a) the acceptance of the Subscription hereunder pursuant to the
offer described in the Memorandum, (b) changes in the transactions, documents, and instruments described in
the Memorandum that are not material, and (c) the bankruptcy or dissolution of the Subscriber.




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J AND J PURCHASING, LLC – SUBSCRIPTION AGREEMENT                                                                 9
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(12)     Subscriber Contact Information. The Subscriber’s contact information is as follows:

 Legal Name of Holder of Interest:

 Tax Identification Number (i.e., SSN or EIN):

 Primary Address:                                      Mobile:

                                                       Email:

 Please send the following information to my PRIMARY ADDRESS (check all applicable boxes):
 □____________□Tax Information

 Secondary Address:                                     Mobile:

                                                        Email:

 Please send the following information to my SECONDARY ADDRESS (check all applicable boxes):
 □_____________ □ Tax Information

13. Investor Representative Contact Information

 Full Name:

 Tax Identification Number (i.e., SSN or EIN):

 Primary Address:                                       Mobile:

                                                        Email:

(14)   Adoption of the Company Operating Agreement. The Subscriber, by execution of this Subscription
Agreement, accepts and agrees to be bound by all of the terms and provision of the Company Operating
Agreement and does hereby agree to perform all obligations therein imposed upon Subscriber of the Company
and germane to Partial Beneficial Interests, Investment Return, and any Right of Redemption.
(15)     Governing Law, Jurisdiction and Venue. The Subscriber acknowledges and certifies Subscriber’s
agreement that the primary place of business of the Company shall be its corporate offices in Florida. This
Agreement is governed by and will be construed in accordance with the law of the State of Florida, excluding any
conflict-of-laws rule or principle that might refer the governance or the construction of this Agreement to the law
of another jurisdiction. Unless otherwise mutually agreed to by the parties, Florida shall be — and the parties
agree to submit themselves to Florida. personal and subject matter jurisdiction — the exclusive venue for any
proceeding involving the Subscriber and the Company that may be brought, or arise out of, or in connection with
or by reason of this Subscription Agreement including its interpretation, construction, and enforcement. The
parties hereby waive the claim or defense that the Courts of Florida constitute an inconvenient or inappropriate
forum or venue.
(16)   No Assignment. This Subscription Agreement is not assignable by the Subscriber, and may not be
modified, waived, or terminated except by an instrument in writing signed by the party against whom enforcement
of such modification waiver or termination is sought. Any attempted assignment of this subscription by the
Subscriber without obtaining the prior written consent of the Company shall be null and void. The fact that the
Company refuses to consent to an assignment will not give rise to any claim for damages against the Company,
its Members, or any of their respective Director, President, Treasurer or Secretary or officers, agents, or
representatives, and any such claims against the Company, its Members, or any of their respective Director,
President, Treasurer or Secretary or officers, agents or representatives are hereby expressly waived by the
Subscriber.

J AND J PURCHASING, LLC – SUBSCRIPTION AGREEMENT                                                             10
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(17)     Notification Regarding Any Change. The Subscriber agrees and covenants to notify the Company
immediately upon the occurrence of any event prior, during, and after the Closing that would cause any
certification, acknowledgement, representation, covenant, agreement, and/or warranty of the Subscriber in this
Subscription Agreement or other statement contained in this Subscription Agreement to be false or incorrect.
(18)    Notices. Unless otherwise provided in this Subscription Agreement all communications, notices,
approvals, requests or consents under this Agreement or under any statute or other law shall be in writing and
shall be deemed to have been duly given when received by the Company. All communications to the Company
shall be addressed to the Company’s interim office at J AND J PURCHASING, LLC 9 SKY ARC COURT,
HENDERSON, NV 89012 - ATTN: MR. JEFFREY JUDD – PRESIDENT.
(19) No Cancellation. The Subscriber certifies that Subscriber shall not cancel, terminate, or revoke this
Subscription Agreement or any agreement of the Subscriber made hereunder. This Subscription Agreement or
any agreement of the Subscriber made hereunder will survive the death or disability of the Subscriber and will
be binding upon the Subscriber’s heirs, executors, administrators, successors, and assigns.
(20)    Binding Effect. Except as otherwise provided herein, this Subscription Agreement shall be binding upon
and inure to the benefit of the parties and their heirs, executors, administrators, successors, legal representatives
and assigns, and the agreements, representations, warranties, and acknowledgments contained herein shall be
deemed to be made by and be binding upon such heirs, executors, administrators, successors, legal
representatives, and assigns. If the Subscriber is more than one person, the obligations of the Subscriber shall
be joint and several and the Representations, Covenants, Agreements, Warranties, agreements, and
acknowledgements contained herein shall be deemed to be made by and be binding upon each such person
and his or her heirs, executors, administrators, and successors.
(21)     Entire Agreement. This Agreement, including the Exhibits hereto (each of which is incorporated herein
by this reference), constitutes the entire agreement of relating to the internal affairs of the Company and
supersedes all prior contracts or agreements with respect to the internal affairs of the Company, whether oral or
written.
(22)     Explicit Waiver of Damages. Each Subscriber explicitly and irrevocably waives damages under this
Subscription Agreement including but not limited to incidental, punitive, exemplary, consequential, special, or
indirect damages of any nature (including damages associated with lost profits, business interruption and loss of
goodwill) arising at any time, whether in tort (including negligence or gross negligence), warranty, strict liability,
or by contract or statute.
(23)      Severability. If any provision of this Agreement would, under applicable law, be invalid or unenforceable
in any respect, such provision shall (to the extent permitted by applicable law) be construed by modifying or
limiting it so as to be valid and enforceable to the maximum extent compatible with and possible under applicable
law. The provisions hereof are severable, and in the event any provision hereof should be held invalid or
unenforceable in any respect, it shall not invalidate, render unenforceable or otherwise affect any other provision
of this Agreement.
(24)    Counterparts. This Agreement may be executed in multiple counterparts, each of which shall be
deemed to be an original copy of this Agreement and all of which, when taken together, shall be deemed to
constitute one and the same agreement.




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J AND J PURCHASING, LLC – SUBSCRIPTION AGREEMENT                                                                11
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Name of Prospective Investor: _______________________________________________

                               J & J PURCHASING, LLC
                                                (“THE COMPANY”)
  A LIMITED LIABILITY COMPANY FORMED UNDER THE LAWS OF FLORIDA
           CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM
               AGGREGATE OFFERING AMOUNT: UNLIMITED
                                                 JANUARY 1, 2022
                                              (“EFFECTIVE DATE”)

THE COMPANY OFFERS TO PROSPECTIVE INVESTORS ("INVESTORS") PURSUANT TO THIS
PRIVATE PLACEMENT MEMORANDUM ("MEMORANDUM") AN OPPORTUNITY TO INVEST IN
A PARTIAL BENEFICIAL INTEREST OF A “PURCHASE CONTRACT.” PURCHASE CONTRACTS
ARE NEGOTIATED BY COMPANY AND ENTERED INTO WITH “THIRD-PARTY BENEFICIARIES”
OF CERTAIN “INSURANCE SETTLEMENT AGREEMENTS.” THE CONSIDERATION FOR A
COMPANY NEGOTIATED AND SECURED PURCHASE CONTRACT IS FUNDED BY THE
INVESTOR’S $80,000.00 OR $100,000.00 “INVESTMENT PRINCIPAL.” THIS OFFERING IS ONLY
OPEN TO “ACCREDITED INVESTORS” AND SUBJECT TO ALL COMPANY SUBSCRIPTION DUE
DILIGENCE STANDARDS.
A PURCHASE CONTRACT TIED TO AN INSURANCE SETTLEMENT AGREEMENT IS
NEGOTIATED AND SECURED BY COMPANY IN $80,000.00 OR $100,000 VALUES.
ACCORDINGLY, THE MINIMUM SUBSCRIPTION INVESTMENT UNDER THIS OFFERING IS
EIGHTY THOUSAND DOLLARS ($80,000.00) (THE “MINIMUM OFFERING AMOUNT”) AND UP TO
THE MAXIMUM SUBSCRIPTION INVESTMENT OF FIVE HUNDRED THOUSAND DOLLARS
($500,000.00) (THE “MAXIMUM OFFERING AMOUNT”) (COLLECTIVELY, THE "OFFERING"). THE
COMPANY’S MANAGING MEMBER/PRESIDENT HAS THE SOLE DISCRETION TO ACCEPT
INVESTMENTS UNDER THIS OFFERING IN ANY PARTICULAR AMOUNT OR REQUIRE A
HIGHER AMOUNT ALL OF WHICH MATTERS ARE SUBJECT TO COMPANY’S DUE DILIGENCE
UNDER ITS COMPLIANCE PROGRAM.
AN INVESTOR UNDER THIS OFFERING, AND AS RELEVANT TO A PURCHASE CONTRACT,
INVESTS IN A “PARTIAL BENEFICIAL INTEREST.” SPECIFICALLY, A PARTIAL BENEFICIAL
INTEREST IN THE REVENUE SECURED UNDER THE TERMS OF THE PURCHASE CONTRACT.
THE INVESTOR’S PARTIAL BENEFICIAL INTEREST IS EQUAL TO THE “INVESTMENT RETURN”
WHICH, AFTER THE EXPIRATION OF THE “PLACEMENT PERIOD,” THE INVESTOR WILL
RECEIVE IN A LUMP SUM. AT THAT TIME, THE INVESTOR MAY CHOOSE TO EXERCISE THE
“RIGHT OF REDEMPTION” FOR THE REFUND OF THEIR INVESTMENT PRINCIPAL. IF SO
EXERCISED, THE INVESTOR WILL CEASE TO BE AN INVESTOR. AT SUCH TIME, THE
INVESTOR MAY, IN COMPANY’S DISCRETION, AND AS FURTHER DESCRIBED IN THE
MEMORANDUM, HAVE THE BENEFIT OF THE “OPTION TO REINVEST” THE INVESTMENT
PRINCIPAL. THE OPTION TO REINVEST IS NOT AUTOMATIC AND IS SUBJECT TO COMPANY
APPROVAL. ALL PROFITS OR REVENUES CAPTURED OR OTHERWISE SECURED UNDER
THE TERMS OF ANY PURCHASE CONTRACT, OTHER THAN THE INVESTMENT PRINCIPAL
AND INVESTMENT RETURN, WILL BELONG SOLELY TO THE COMPANY.

                             INVESTOR NOTICES AND DISCLOSURES



J AND J PURCHASING, LLC – PRIVATE PLACEMENT MEMORANDUM                          1
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THIS PRIVATE PLACEMENT MEMORANDUM CONTAINS CONFIDENTIAL INFORMATION. BY ACCEPTING DELIVERY OF THE
MEMORANDUM, AS CONSISTENT WITH YOUR PRIOR EXECUTED NON-DISCLOSURE AGREEMENT(S), YOU AGREE NOT TO
COPY, DISTRIBUTE, OR DISCLOSE ITS CONTENTS TO UNAUTHORIZED PERSONS OR ENTITIES. SPECIFICALLY, YOU
AGREE THAT ANY REPRODUCTION OR DISCLOSURE FOR ANY PURPOSE OTHER THAN FOR THE NAMED PROSPECTIVE
INVESTOR’S CONSIDERATION OF AN INVESTMENT UNDER THE OFFERING DESCRIBED HEREIN IS STRICTLY PROHIBITED.
IF THE NAMED PROSPECTIVE INVESTOR DECIDES NOT TO PARTICIPATE IN THIS OFFERING, OR IF COMPANY
TERMINATES THIS OFFERING, YOU MUST PROMPTLY RETURN THIS MEMORANDUM AND ANY OTHER MATERIAL THE
COMPANY MAY SUBSEQUENTLY OR CONCOMITANTLY PROVIDE TO YOU AND TO THE ADDRESS NOTED HEREIN.


THE INVESTMENT DESCRIBED IN THIS CONFIDENTIAL MEMORANDUM PURSUANT TO THIS OFFERING IS SPECULATIVE
AND INVOLVES A HIGH DEGREE OF RISK. THIS MEMORANDUM SETS OUT THE MATERIAL RISKS IN CONNECTION WITH AN
INVESTOR’S INVESTMENT UNDER THIS OFFERING FOR THE PARTIAL BENEFICIAL INTEREST IN COMPANY NEGOTIATED
AND SECURED PURCHASE CONTRACTS TIED TO THIRD-PARTY BENEFICIARY INSURANCE SETTLEMENT AGREEMENTS.
THE INVESTOR’S INVESTMENT (THE “INVESTMENT PRINCIPAL”) WILL BE USED AS CONSIDERATION FOR A “PURCHASE
CONTRACT” (SEE GENERALLY, EXHIBIT C) AND, UNDER ITS TERMS AND THOSE OF THIS OFFERING, A PARTIAL BENEFICIAL
INTEREST RELEVANT TO SUCH THIRD-PARTY INSURANCE PAID CLAIMS UNDER SUCH THIRD PARTIES’ INSURANCE
SETTLEMENT AGREEMENT. NO SUCH THIRD-PARTY CLAIMS UNDER ANY INSURANCE SETTLEMENT AGREEMENTS STEM
FROM CURRENT COURT LITIGATION, BUT RATHER FROM SETTLEMENT OF SUCH CLAIMS BEFORE ANY RELEVANT
LAWSUIT IS FILED BY SUCH THIRD PARTIES. FROM THE PROFITS AND REVENUES SECURED UNDER THE TERMS OF A
PURCHASE CONTRACT FUNDED BY THE INVESTOR’S INVESTMENT PRINCIPAL, THE INVESTOR MAY EXPECT TO RECEIVE
BACK ONLY THEIR “INVESTMENT PRINCIPAL” AND THE “INVESTMENT RETURN.” SPECIFICALLY, UNDER THIS OFFERING,
THE INVESTOR MAY ONLY EXPECT TO RECEIVE THE INVESTMENT PRINCIPAL AND INVESTMENT RETURN WITH THE
COMPANY RETAINING ALL OTHER PROFIT OR OTHER AMOUNTS REALIZED BY COMPANY OR OTHERWISE SECURED
UNDER THE TERMS OF ANY PURCHASE CONTRACT OR GERMANE TO THE CLAIMS SETTLED IN THE RELEVANT
INSURANCE SETTLEMENT AGREEMENT (SEE “RISK FACTORS AND OTHER DISCLOSURES”).

THE INVESTMENT, UPON EXECUTION AND ACCEPTANCE OF THE ENCLOSED SUBSCRIPTION DOCUMENTS, HAVE NOT
BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”), THE LAWS OF THE
STATE OF FLORIDA OR THE SECURITIES LAWS OF ANY OTHER STATE AND IS BEING OFFERED AND SOLD IN RELIANCE
ON EXEMPTIONS FROM THE REGISTRATION REQUIREMENTS OF SUCH JURISDICTIONS AND LAWS. MOREOVER, THE
INVESTMENT HAS NOT BEEN APPROVED OR DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION, THE
FLORIDA DIVISION OF SECURITIES, THE FLORIDA SECURITIES AND INVESTOR PROTECTION ACT, OR ANY OTHER STATE
SECURITIES COMMISSION OR OTHER REGULATORY AUTHORITY, NOR HAVE ANY OF THE FOREGOING AUTHORITIES
PASSED UPON OR ENDORSED THE MERITS OF THIS OFFERING OR THE ACCURACY OR ADEQUACY OF THIS
MEMORANDUM. ANY REPRESENTATION BY ANYONE TO THE CONTRARY IS UNAUTHORIZED AND UNLAWFUL. THE
OFFERING DESCRIBED HEREIN IS BEING MADE ONLY TO ACCREDITED INVESTORS AS DEFINED IN RULE 501 OF
REGULATION D OF THE SECURITIES ACT OF 1933, AS AMENDED AND SUBJECT TO COMPANY’S COMPLIANCE PROGRAM
DUE DILIGENCE.


SUBJECT TO THE INVESTOR QUALIFICATION REQUIREMENTS AND VARIOUS OTHER DUE DILIGENCE CONDITIONS
DESCRIBED HEREIN, THIS MEMORANDUM CONSTITUTES AN OFFER ONLY TO THE PERSON TO WHOM THE MEMORANDUM
IS PURPOSEFULLY DISTRIBUTED BY THE COMPANY. THE COMPANY DOES NOT, UNDER ANY CIRCUMSTANCES, INTEND
THIS MEMORANDUM TO CONSTITUTE AN OFFER TO SELL, OR A SOLICITATION OF AN OFFER TO BUY, TO ANYONE IN ANY
STATE IN WHICH SUCH OFFER OR SOLICITATION IS NOT AUTHORIZED, OR TO ANY PERSON TO WHOM IT IS UNLAWFUL TO
MAKE SUCH AN OFFER OR SOLICITATION. THE COMPANY RESERVES THE RIGHT, IN ITS SOLE DISCRETION, TO: (A) MODIFY,
AMEND, OR WITHDRAW ANY PORTION OF THE OFFERING, OR (B) TO ACCEPT OR REJECT IN WHOLE OR IN PART ANY
PROSPECTIVE INVESTMENT UNDER THIS OFFERING, OR (C) TO ALLOT TO ANY PROSPECTIVE INVESTOR LESS THAN THE
AMOUNT OF INVESTMENT SUCH PROSPECTIVE INVESTOR DESIRES TO INVEST. IN CASE ANY OF THE FOREGOING
OCCURS, THE COMPANY SHALL HAVE NO LIABILITY WHATSOEVER TO ANY PROSPECTIVE INVESTOR/SUBSCRIBER.


THE INVESTMENT FOR PARTIAL BENEFICIAL INTERESTS DESCRIBED IN THIS MEMORANDUM IS SUBJECT TO ABSOLUTE
RESTRICTIONS ON TRANSFERABILITY OR RESALE OR REFUND AND MAY NOT BE TRANSFERRED OR RESOLD WITHOUT
EXPLICIT APPROVAL OF COMPANY, WHICH, IF EVER PERMITTED MUST BE COMPLIANT AND PURSUANT ALL STATE AND
FEDERAL LAWS AND REGULATIONS AND THE SECURITIES ACT AND APPLICABLE STATE SECURITIES LAWS, PURSUANT
TO REGISTRATION OR EXEMPTION THEREFROM AND PURSUANT TO COMPANY MANAGING MEMBER’S/PRESIDENT’S
APPROVAL. THE INVESTMENT AND INVESTMENT PRINCIPAL IS FURTHER SUBJECT TO CERTAIN RETENTION AND
ILLIQUIDITY RESTRICTIONS PURSUANT TO THE SUBSCRIPTION DOCUMENTS AND THE COMPANY’S OPERATING
AGREEMENT AND ANY SUPPLEMENT OR AMENDMENT THERETO. PROSPECTIVE INVESTORS SHOULD BE AWARE THAT
THEY MIGHT BE REQUIRED TO BEAR FINANCIAL RISKS OF THIS INVESTMENT FOR THE DURATION OF THEIR INVESTMENT.

IN ACCORDANCE WITH THE TERMS OF THIS MEMORANDUM, ALL INVESTMENTS ARE STRICTLY SUBJECT TO THE
COMPANY’S ACCEPTANCE OF PROSPECTIVE INVESTOR’S SUBSCRIPTIONS TO INVEST. ANY DISTRIBUTION OR
REPRODUCTION OF THIS MEMORANDUM, IN WHOLE OR IN PART, OR THE DIVULGENCE OF ANY OF ITS CONTENTS TO
OTHER THAN SUCH PROSPECTIVE INVESTOR OR HIS, HER OR ITS ADVISORS, IS STRICTLY PROHIBITED. NEITHER THE


J AND J PURCHASING, LLC – PRIVATE PLACEMENT MEMORANDUM                                                    2
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DELIVERY OF THIS MEMORANDUM, NOR ANY INVESTMENT MADE PURSUANT HERETO, WILL IMPLY THAT THE
INFORMATION CONTAINED HEREIN IS CORRECT AS OF ANY TIME SUBSEQUENT TO THE DATE SET FORTH ON THE COVER
HEREOF. HOWEVER, COPIES OF THE MEMORANDUM DELIVERED AFTER THE OCCURRENCE OF ANY SUCH MATERIAL
CHANGE WILL BE AMENDED OR SUPPLEMENTED ACCORDINGLY.

NO OFFERING LITERATURE SHALL BE USED IN CONNECTION WITH THIS OFFERING EXCEPT THE INFORMATION
CONTAINED IN THIS MEMORANDUM. NO PERSON HAS BEEN AUTHORIZED BY THE COMPANY TO MAKE ANY
REPRESENTATIONS OR GIVE ANY INFORMATION WITH RESPECT TO THE INVESTMENT EXCEPT THE INFORMATION
CONTAINED HEREIN. IN NO CASE MAY ANY COMPANY REPRESENTATIVE SERVE AS AN INVESTMENT OR FINANCIAL
ADVISOR TO ANYONE, AND NO THIRD-PARTY MAY ACT AS SUCH IN RELATION TO THE COMPANY.

IN MAKING AN INVESTMENT DECISION, PROSPECTIVE INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF THE
COMPANY, ITS EXPECTED BUSINES OPERATIONS, AND THE TERMS OF THIS OFFERING, INCLUDING THE MERITS AND
RISKS INVOLVED. PROSPECTIVE INVESTORS MAY NOT CONSTRUE THE CONTENTS OF THIS MEMORANDUM OR ANY
OTHER DOCUMENTS DELIVERED HEREWITH AS INVESTMENT, TAX, ACCOUNTING, FINANCIAL, OR LEGAL ADVICE. THIS
MEMORANDUM, AS WELL AS THE NATURE OF ANY INVESTMENT, SHOULD BE REVIEWED BY EACH PROSPECTIVE
INVESTOR AND SUCH INVESTOR’S INVESTMENT, TAX, LEGAL, ACCOUNTING AND OTHER ADVISORS AS A FUNCTION OF
THE INVESTOR’S RELATIONSHIP TO SUCH ADVISORY INDIVIDUALS OR ENTITIES AND NO ONE ELSE.

BY ACCEPTING DELIVERY OF THIS MEMORANDUM, THE PROSPECTIVE INVESTOR CERTIFIES AN OBLIGATION PURSUANT
TO A PRIOR EXECUTED NON-DISCLOSURE AGREEMENT AND FURTHER AGREES TO: (I) KEEP THE MEMORANDUM AND ITS
CONTENTS CONFIDENTIAL, (II) NOT DISSEMINATE THE MEMORANDUM OR DISCLOSE ITS CONTENT OR TERMS TO ANY
THIRD PARTY, (III) NOT USE THE MEMORANDUM OR ITS CONTENT OR TERMS FOR ANY PURPOSE OTHER THAN
EVALUATION BY SUCH PROSPECTIVE INVESTOR OF A POTENTIAL PRIVATE INVESTMENT IN THE COMPANY. MOREOVER,
THE PROSPECTIVE INVESTOR AGREES TO RETURN THE MEMORANDUM TO THE COMPANY AS FOLLOWS: C/O MR.
JEFFREY JUDD, PRESIDENT, J AND J PURCHASING, LLC AT 9 SKY ARC COURT, HENDERSON, NV 89012. IF: (A) THE
PROSPECTIVE INVESTOR DOES NOT SUBSCRIBE PURSUANT TO THE TERMS HEREOF, (B) THE PROSPECTIVE
INVESTOR’S SUBSCRIPTION IS NOT ACCEPTED BY THE COMPANY, OR (C) THE OFFERING IS TERMINATED OR
WITHDRAWN. THE SUMMARIES AND DESCRIPTIONS OF DOCUMENTS IN THIS MEMORANDUM DO NOT PURPORT TO BE
COMPLETE AND THE FULL TEXT OF SUCH DOCUMENTS IS EITHER ATTACHED AS EXHIBITS HERETO OR AVAILABLE FOR
INSPECTION THOUGH COMPANY’S PRESIDENT, MR. JEFFREY JUDD.

THERE IS NO TRADING MARKET FOR A PARTIAL BENEFICIAL INTEREST AND THERE IS CURRENTLY NONE EVER
ANTICIPATED. MOREOVER, ANY BENEFICIAL INTEREST DOES NOT HAVE AN ESTABLISHED PUBLIC MARKET NOR WILL ANY
SUCH MARKET DEVELOP ANY OF WHICH IS NONETHELESS RESTRICTED PURSUANT TO THE TERMS OF THIS OFFERING.
PROSPECTIVE INVESTORS MUST CONSIDER THIS INVESTMENT TO BE ILLIQUID FOR THE THREE-MONTH “PLACEMENT
PERIOD” AND THE UP TO FIVE (5) BUSINESS DAY INVESTMENT PRINCIPAL RETURN PERIOD SUBSEQUENT INVESTOR’S
EXERCISE OF INVESTOR’S RIGHT OF REDEMPTION. INVESTMENT IN THE SECURITIES IS SUITABLE ONLY FOR PERSONS
WITH SUBSTANTIAL FINANCIAL RESOURCES WHO HAVE NO NEED FOR LIQUIDITY IN THEIR INVESTMENT AND WHO CAN
AFFORD A TOTAL LOSS OF THEIR INVESTMENT. SEE CONFLICTS OF INTEREST AND INVESTOR SUITABILITY STANDARDS.


THE INVESTMENT UNDER THIS OFFERING FOR ONE OR MORE PARTIAL BENEFICIAL INTERESTS WILL BE OFFERED AND
SOLD SOLELY TO ACCREDITED INVESTORS WHO REPRESENT THAT THE PARTIAL BENEFICIAL INTEREST(S) ARE BEING
ACQUIRED FOR HIS, HER, OR ITS OWN ACCOUNT FOR INVESTMENT ONLY AND NOT WITH A VIEW TOWARD THE SALE OR
DISTRIBUTION THEREOF. COMPANY EXPECTS AND HIGHLY RECOMMENDS THAT INVESTORS HAVE SUFFICIENT
KNOWLEDGE AND EXPERIENCE IN BUSINESS AND FINANCIAL MATTERS TO EVALUATE THE MERITS AND RISKS OF THIS
INVESTMENT, AND NONETHELESS, INVESTORS SHOULD SEEK SEPARATE AND INDEPENDENT LEGAL, FINANCIAL,
ACCOUNTING, INVESTMENT AND TAX ADVICE. EACH INVESTOR SHOULD BE ABLE TO BEAR THE SUBSTANTIAL ECONOMIC
RISKS OF THIS INVESTMENT AND AT THE PRESENT TIME CAN AFFORD A COMPLETE LOSS OF SUCH INVESTMENT.
THIS OFFERING CAN BE MODIFIED, WITHDRAWN OR TERMINATED AT ANY TIME WITHOUT NOTICE AND ANY OFFER IS
SPECIFICALLY MADE SUBJECT TO THE CONDITIONS DESCRIBED IN THIS MEMORANDUM. IN CONNECTION WITH THE
OFFERING AND SALE OF THE PARTIAL BENEFICIAL INTERESTS, COMPANY RESERVES THE RIGHT, IN PRESIDENT’S SOLE
DISCRETION, TO REJECT ANY SUBSCRIPTION IN WHOLE OR IN PART, AND TO ALLOT TO ANY PROSPECTIVE INVESTOR
LESS THAN THE NUMBER OF PARTIAL BENEFICIAL INTERESTS WHICH SUCH INVESTOR INVESTS FOR (SEE CONFLICTS OF
INTEREST IN THIS MEMORANDUM) OR WISHES FOR COMPANY TO PLACE UNDER PURCHASE CONTRACTS. COMPANY
MAY REJECT ANY SUBSCRIPTION FOR ANY REASON.




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THIS CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM AND THE EXHIBITS AND APPENDICES THERETO MAY CONTAIN
REFERENCES TO OR SUMMARIES OF MATERIAL DOCUMENTS. ALTHOUGH SUCH SUMMARIES ARE BELIEVED TO BE
ACCURATE, THEY DO NOT PURPORT TO BE A COMPLETE DESCRIPTION OF EVERY TERM AND CONDITION AND
REFERENCE IS HEREBY MADE TO THE ACTUAL DOCUMENTS FOR COMPLETE INFORMATION CONCERNING THE RIGHTS
AND OBLIGATIONS OF THE PARTIES THERETO. THE SUMMARIES ARE QUALIFIED IN THEIR ENTIRETY BY THIS REFERENCE.
ALL DOCUMENTS RELATING TO THIS INVESTMENT WILL BE MADE AVAILABLE FOR INSPECTION BY THE PROSPECTIVE
INVESTOR OR HIS REPRESENTATIVES AND OTHER ADVISORS THROUGH COMPANY’S PRESIDENT AND UPON NOTICE TO
PRESIDENT.
NO OFFERING LITERATURE OR ADVERTISING, IN WHATEVER FORM, MAY BE RELIED ON BY THE POTENTIAL INVESTOR IN
EVALUATING THE OFFERING OF THESE PARTIAL BENEFICIAL INTERESTS OTHER THAN THIS CONFIDENTIAL PRIVATE
OFFERING MEMORANDUM AND THE APPENDICES AND EXHIBITS THERETO. NO PERSON HAS BEEN AUTHORIZED TO MAKE
REPRESENTATIONS, OR GIVE ANY INFORMATION, WITH RESPECT TO THIS OFFERING OR THE INVESTMENT THEREIN,
EXCEPT THE INFORMATION CONTAINED HEREIN, AND ANY INFORMATION OTHER THAN THAT CONTAINED HEREIN MUST
NOT BE RELIED UPON AS HAVING BEEN AUTHORIZED BY COMPANY OR ANY OF OUR AUTHORIZED OFFICER
REPRESENTATIVES. ANY PREDICTIONS AND REPRESENTATIONS, WRITTEN OR ORAL, WHICH DO NOT CONFORM TO
THOSE CONTAINED IN THE MEMORANDUM SHOULD BE DISREGARDED AND THEIR USE IS A VIOLATION OF THE LAW. THE
PRESIDENT AND ANY AFFILIATED PERSON SHALL NEVER SERVE AS A FINANCIAL OR INVESTMENT ADVISOR, WITH THE
CONTENTS OF THIS MEMORANDUM BEING THE SOLE SOURCE OF INFORMATION FROM WHICH ANY INVESTOR MAY RELY
ON. THE LAW FIRM THAT DRAFTED THIS MEMORANDUM DISCLAIMS ALL LIABILITY FOR THE CONTENTS OF THIS
MEMORANDUM AND DOES NOT SERVE TO VERIFY ANY CONTENT OF SAME OR THAT OF THE COMPANY’S OPERATIONS.

THE INFORMATION CONTAINED IN THE OFFERING DOCUMENT MAY CHANGE AFTER ISSUE AND THE COMPANY ACCEPTS
NO FORMAL OBLIGATION TO UPDATE THE INFORMATION CONTAINED IN THIS OFFERING DOCUMENT EXCEPT TO
CORRECT ANY MEMORANDUM MISSTATEMENT OR ANY INFORMATION THAT BECOMES UNTRUE.

THE CONTENT OF THIS OFFERING DOCUMENT AND ANY OTHER PRIOR OR SUBSEQUENT COMMUNICATIONS FROM OR
WITH THE COMPANY OR ANY OF ITS REPRESENTATIVES, OR ANY PERSON, FIRM OR ENTITY ASSOCIATED WITH THE
OFFERING DOES NOT CONSTITUTE LEGAL, INVESTMENT, TAX OR ANY OTHER FORM OF PROFESSIONAL ADVICE NOR
IMPLIES OR CREATES ANY RELATIONSHIP THEREWITH.
YOU MUST CONSULT YOUR OWN COUNSEL, ACCOUNTANT, AND BUSINESS, FINANCIAL OR INVESTMENT ADVISOR AS TO
LEGAL, TAX, AND OTHER MATTERS RELATING TO THE INVESTMENT IN THE PARTIAL BENEFICIAL INTEREST(S). PRIOR TO
SIGNING THE SUBSCRIPTION AGREEMENT, ANY PROSPECTIVE INVESTOR MAY ASK QUESTIONS OF AND RECEIVE
ANSWERS FROM THE PRESIDENT OF THE COMPANY CONCERNING (A) THE TERMS AND CONDITIONS OF THE OFFERING,
AND (B) ANY ADDITIONAL RELEVANT INFORMATION IN THE COMPANY’S POSSESSION. YOU MUST RELY ONLY UPON WHAT
IS CONTAINED IN THIS MEMORANDUM UNLESS ADDITIONAL INFORMATION IS PROVIDED TO YOU IN DOCUMENTED FORM
RESULTING FROM CONVERSATIONS YOU MAY HAVE WITH THE AUTHORIZED REPRESENTATIVES OF THE COMPANY IN
REGARD TO THIS OFFERING.

INVESTORS IN THIS OFFERING ARE BEING PROVIDED WITH A SPECULATIVE PROJECTION OR ESTIMATE OF
PERFORMANCE. AS A NEW COMPANY, AUDITED FINANCIAL STATEMENTS OF THE COMPANY ARE NOT AVAILABLE.
PROJECTIONS AND ASSUMPTIONS CONTAINED HEREIN ARE BASED UPON MANAGEMENT ESTIMATES AS OF THE DATE
OF THIS MEMORANDUM. WE CAN PROVIDE NO ASSURANCES THAT MANAGEMENT ESTIMATES OF FINANCIAL
PERFORMANCE, MARKETPLACE AVAILABILITY, AND ASSUMPTIONS GERMANE TO ANY PURCHASE CONTRACT OR THE
AVAILIABILITY THEREOF WILL BE PROVEN CORRECT.
ACCORDINGLY, RELIANCE ON PROJECTIONS IS SPECULATIVE. SEE “RISK FACTORS AND OTHER DISCLOSURES.” NO
REPRESENTATIONS OR WARRANTIES OF ANY KIND ARE INTENDED OR SHOULD BE INFERRED WITH RESPECT TO THE
PROJECTED ECONOMIC RETURN, I.E., THE INVESTMENT RETURN WHICH MAY ACCRUE TO INVESTORS. PROSPECTIVE
INVESTORS ARE NOT TO CONSTRUE THE CONTENTS OF THIS CONFIDENTIAL MEMORANDUM AS LEGAL, TAX OR
INVESTMENT ADVICE. EACH INVESTOR SHOULD CONSULT THE INVESTOR’S OWN COUNSEL AND ACCOUNTANT AND
FINANCIAL ADVISER AS TO LEGAL, FINANCIAL, TAX AND RELATED MATTERS CONCERNING THIS INVESTMENT.




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                               II.      REQUIREMENTS FOR INVESTORS
PROSPECTIVE INVESTORS FOR THE INVESTMENT AND INVESTMENT RETURN UNDER THIS
OFFERING SHOULD GIVE CAREFUL CONSIDERATION TO VARIOUS RISK FACTORS DESCRIBED
UNDER THE “RISK FACTORS AND OTHER DISCLOSURES” SECTION OF THIS MEMORANDUM AND
ESPECIALLY TO THE SPECULATIVE NATURE OF THIS INVESTMENT AND THE LIMITATIONS
DESCRIBED UNDER THAT CAPTION WITH RESPECT TO THE LACK OF A READILY AVAILABLE
MARKET FOR THE INTEREST SECURING/PLACEMENT/ASSIGNMENT/PURCHASE HEREUNDER AND
THE RESULTING 3 MONTH PLACEMENT PERIOD TERM OF ANY INVESTMENT IN THE COMPANY, OR
AS RESTRICTED BY COMPANY’S OR ITS PRESIDENT’S, PARTNER OR OWNER’S PREFERENTIAL
INDEPENDENT INVESTMENT IN INSURANCE SETTLEMENT AGREEMENT INTERESTS AHEAD OF
INVESTOR. THIS OFFERING IS AVAILABLE ONLY TO SUITABLE ACCREDITED INVESTORS, HAVING
ADEQUATE MEANS TO ASSUME SUCH RISKS AND OF OTHERWISE PROVIDING FOR THEIR
CURRENT NEEDS AND CONTINGENCIES. ACCREDITED INVESTORS SHOULD CONSIDER THEIR
INVESTMENT THROUGH THIS OFFERING FOR THE PLACEMENT OF PARTIAL BENEFICIAL
INTEREST(S) IN PURCHASE CONTRACT(S) TO REQUIRE THE FOLLOWING:
A. GENERAL SUITABILITY STANDARDS. The investment in Partial Beneficial Interests will not be afforded to any
prospective Investor unless the Subscriber or Subscriber’s duly authorized representative represents in writing to the
Company in a Subscription Agreement that:
    (1) The prospective purchaser has adequate means of providing for his or her current needs and personal
contingencies and has no need for liquidity in the investment, subject to their Redemption Rights under this Offering.
     (2) The prospective purchaser’s overall commitment to investments which are not readily marketable is not
disproportionate to Subscriber’s net worth and the investment through this Offering will not cause such overall commitment
to become excessive.
    (3) The prospective purchaser is an “Accredited Investor” (as defined below) suitable for investment under this
Offering.
     (4) Each person acquiring a Partial Beneficial Interest in Partial Beneficial Interests hereunder will be required to
represent that such person is investing for his, her, or its own account for investment purposes and not with a view to resale
or transfer.
B. ACCREDITED INVESTORS. The Company will conduct the Offering in such a manner that the Partial Beneficial Interest
may be sold to “Accredited Investors as that term is defined in Rule 501(a) of Regulation D promulgated under the Securities
Act of 1933 (the “Securities Act”).
     In summary, a prospective investor will qualify as an “Accredited Investor” if the prospective investor meets the following
criteria as further described in the Subscription Documents:
    (1) Any natural person whose individual net worth, or joint net worth with that person’s spouse, at the time of this
purchase, exceeds $1,000,0000 excluding the value of the primary residence of such natural person;
      (2) Any natural person who had an individual income in excess of $200,000 in each of the two most recent years or
joint income with that person’s spouse in excess of $300,000 in each of those years and who has a reasonable expectation
of reaching the same income level in the current year; and
    (3) Any entity in which all the equity owners are Accredited Investors.
C. OTHER REQUIREMENTS. No subscription for the Partial Beneficial Interests will be accepted from any investors unless
the investor is acquiring the Partial Beneficial Interests for his/her own account (or accounts as too which he/she has sole
investment discretion), for investment and without any view to sale, distribution, or disposition thereof. Each prospective
investor in the Partial Beneficial Interests may be required to furnish such information as the Company may need to determine
whether any person or entity so investing is an Accredited Investor and any other certifications required of the Investor under
the Company’s compliance program.




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                             III.      FORWARD-LOOKING STATEMENTS
This Memorandum contains certain forward-looking statements, as defined in the private Securities Litigation Reform Act of
1995, including or related to the Company’s future results (including certain future projections), including but not limited to
those pro forma projections, if any, set forth in Section IX hereto. (See, “Financial Projections”).
These and other statements are based largely on current expectations, beliefs, estimates, projections, and assumptions of
the Company and are subject to a number of risks and uncertainties that could cause actual results to differ materially from
those contemplated by such forward-looking statements. These risks and uncertainties include, among others, those
described in Section III, “Risk Factors and other Disclosures.”
Assumptions relating to forward-looking statements involve judgments with respect to future economic, competitive and
market conditions and future business decisions, all of which are difficult or impossible to predict accurately and subject to
the Conflict of Interest disclosures in this Memorandum. Although the Company believes that assumptions underlying any
forward-looking statements are reasonable, any of the assumptions could prove to be inaccurate and there can therefore be
no assurance that the results contemplated in the forward-looking information will be realized. In light of the significant
uncertainties inherent in the forward-looking information herein, the inclusion of such information should not be regarded as
the Company’s representation that any business objectives will be achieved.
These along with other risks, which are described under “Risk Factors and Other Disclosures” may be described in future
communications with Investor. The Company makes no representation and undertakes no obligation to update the forward
looking statements to reflect actual results or changes in assumptions or other factors that could affect those statements.




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                                                  IV.       THE BUSINESS
Executive Summary
The Company operates as the Florida Limited Liability Company “J and J Purchasing, LLC.” The Company’s Management
structure is set out in the Company’s Operating Agreement, to which all Investors and separately the Company Members are bound.
The Company will engage in the business of: (1) receiving, certifying and managing the Investments Proceeds from this Offering
for Partial Beneficial Interests; (2) effectuate the potential securing/placement/assignment/purchase of Insurance settlement
Agreement interests from the Investment Proceeds of this Offering, (3) provide Investors a monthly statement germane to their
relevant Partial Beneficial Interests and pay to Investors the Investment Return for placed Investments, and (4) Comply with
Investor’s right to redeem their Investment Principal pursuant to Investor’s retained Right of Redemption.
The Company offers Investors a 12.5% Investment Return for each Partial Beneficial Interest placed by their Investment in a
Purchase Contract. When Investor submits their Investment Documentation and funds their Investment, the President will place the
Investment to fund the securing/placement/assignment/purchase of potentially and at least one $80,000.00 or $100,000.00
Purchase Contract from which the Investor retains a Partial Beneficial Interest which is equal to the Investment Return
and their Investment Principal and no more. All other revenue, profit or realized revenue germane to any Purchased Purchase
Contract will belong solely to the Company.
The time period between the receipt of the Investor’s Investment and such assignment/purchase of a Purchase Contract germane
to an Insurance Settlement Agreement is expected to range from 24 to 72 hours after the Investment Principal is transferred. On the
expiration of the 90-Day Placement Period the Investor is expected to receive a lump sum payment of the Investment Return. In
the unexpected case that the Investor’s Investment is not placed pursuant to a Purchase Contract, such Investment Principal
transferred to Company will be returned to the Investor. During the Placement Period, no interest will accrue or issue.
At the expiration of the Placement Period, each Partial Beneficial Interest will, if no Event of Default occurs, earn the Investment
Return, which specifically means that each $ 80,000.00 Investment/each Partial Beneficial Interest is expected to secure $10,000.00
paid to Investor within five (5) business days after the expiration of the Placement Period or for each $100,000.00 Investment/each
Partial Beneficial Interest is expected to secure $12,500.00 paid to Investor within five (5) business days after the expiration of the
Placement Period. Company will issue and forward to each Investor a yearly 1099 Tax reporting form setting out amounts paid to
Investor.
For purposes of establishing the exact date the Investor can expect to receive Investment Return, and for example, if an Investor’s
Investment is made on January 1, 2022, and such Investment is immediately placed, then the Investment Return will be due and
paid on the expiration of five (5) business days after 90 days after January 1, 2022.
Similarly, and for example, if the same Investor exercises their Right of Redemption after the Placement Period and on April 1,
2022, and the President effectuates the Right of Redemption — pursuant to be determined procedures and consistent with the
refunding, terminating or other terms germane to any Insurance Settlement Agreement/any Partial Beneficial Interest so funded, the
Investment Return (along with the Investment Principal) will be paid to Investor within five (5) business days after the expiration of
the Placement Period.
Investors may exercise an absolute Right of Redemption on the Investment Principal invested under this Offering but only after
the expiration of the Placement Period. The Right of Redemption is exercised by Investor notifying President in writing and
President shall refund to Investors their Investment Principal within five (5) business days from the Investor’s Right of Redemption
notice.
Subject to the disclosures in this Offering, Company’s President or services provider will negotiate and secure a Purchase Contract
tied to the Investment Principal in the form generally as is found in Exhibit C.
Company’s President explicitly discloses that there may exist circumstances where Third-Party Beneficiary Insurance Settlement
Agreements are depleted in the marketplace. In such a case: (a) Investor’s Investment Principal may not be applied/converted to
any Partial Beneficial Interest under a Purchase; in effect, the Placement Period will not begin. Accordingly, if Investor’s Investment
Principal is unable to be converted to a Partial Beneficial Interest, then President will return the Investment Principal to the Investor
as soon as commercially practicable and terminate Investor as a Company Investor, without further recourse by Investor. No
Investment Return will be due under this circumstance noting that the Placement Period has not been met; or (b) In cases where
the one or more Investment Principal have been converted to Partial Beneficial Interests under this Offering, the President retains
sole discretion to exercise the President’s right to return part or all of Investor’s Investment along with any partially earned Investment
Return, as determined in the President’s sole discretion and if any, and terminate Investor’s Partial Beneficial Interest(s) without
further recourse by Investor. Without limitation, the preceding may relate to Company Due Diligence efforts at any time, which efforts
may reveal information regarding Investor that establishes a violation of the Company’s compliance program.
The Company’s operations will be consistent with applicable State and Federal law and this Memorandum and the Company’s
Operating Agreement (See, this Memorandum, “Risk Factors and Related Disclosures). The Company expects to encounter
competition in the form of similar businesses existing within the same market. The Company cannot forecast the level of competition
the Company will have to manage or endure.




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                       V.       RISK FACTORS AND OTHER DISCLOSURES
INVESTMENT IN A PARTIAL BENEFICIAL INTERESTS OFFERED UNDER THIS OFFERING INVOLVES
SIGNIFICANT RISKS DESCRIBED BELOW. PROSPECTIVE INVESTORS SHOULD CONSIDER CAREFULLY THE
FOLLOWING RISK FACTORS — TOGETHER WITH ALL OTHER INFORMATION SET FORTH IN THIS
MEMORANDUM — PRIOR TO INVESTING FOR THE PARTIAL BENEFICIAL INTERESTS OFFERED HEREBY. THE
COMPANY CAN MAKE NO ASSURANCE THAT ITS FINANCIAL CONDITION WILL NOT BE ADVERSELY
AFFECTED IN THE FUTURE BY ONE OR MORE OF THE RISK FACTORS OR OTHER RISK FACTORS NOT
ENUMERATED.
A. RISKS RELATED TO THE COMPANY.
      1. The Company Has No Operating History. The Company can provide no assurances that the Company will be
able to place the Investor’s Investment Principal under the Offering. Generally, the President anticipates that the Company
will initially generate cash deficits, which may or may not be overcome. For example, the Company may fail to: (i) generate
sufficient business, (ii) meet contractual relationships with third party entities or individuals, and/or (iii) negotiate for the
securing/placement/assignment/purchase of Purchase Contracts tied to Insurance Settlement Agreements and the
associated Partial Beneficial Interest on behalf of the Investor.
     2. Events of Default. The investment in Partial Beneficiary Interests in Purchase Contracts — which beneficial interest
payout is tied to the payout of the source Third-Party Beneficiary Insurance Settlement Agreement at the end of the
Placement Period — could fail and may constitute an Event of Default. In short, if the source Third-Party Beneficiary Insurance
Settlement Agreement fails to fund, which in turn would cause a Default Event as to its relevant Purchase Contract, then the
entire Investment Principal may be lost in addition to the Investment Return. While not expected, any such Event of Default
is not possible to predict, and its occurrence will result in the Investor losing the Investment Principal and Investment Return.
If such Event of Default occurs, it may also lead to the Company not being able to continue to operate. Additional Event of
Default circumstances include Referral Source or Third Party Beneficiary of Insurance Settlement Agreement
misrepresentation, and as to any, whether negligent, reckless, knowing or willful fraud. Additionally, any claim so settled in a
Third party Beneficiary Insurance Settlement Agreement may be breached or withdrawn by such Third Parties for a variety
of reasons, including but not limited to, fraud in the inducement of the Insurance Settlement Agreement, bankruptcy of the
insurance payor, or other circumstances whereby an Insurance Settlement Agreement fails to fund, including recission by
any Third Parties.
     3. No Assurance of Insurance Settlement Agreement Marketplace Availability. The success of the Company’s
Investor operations will depend in part upon availability in the marketplace of Third-Party Beneficiary Insurance Settlement
Agreements. Indeed, any Company Investment Return may be adversely affected by the market pressures in or regarding
the geographic area the Company serves and furthermore, such cost and other factors over which the Company has or may
have no control. Moreover, the Company’s ability to pay Investment Returns will result from the number and kinds of Purchase
Contracts it can negotiate and secure and the types and amounts of Third-Party Beneficiary Insurance Settlement Agreement
interests it can identify. The identification and availability of Third-Party Beneficiary Insurance Settlement Agreements is not
secured. Such identification and availability are subject to market pressures, Third Party relationships, marketing and sales
activities, local laws and regulations, among others. If an Investor’s Investment Principal is not placed with a Purchase
Contract, the Investor will not be entitled to any Investment Return, only to the return of the Investment Principal.
     4. Present and Future Competitors. There is no assurance that competitors will not, presently or in the future, provide
similar investment opportunities in competition with the Company and which competition is explicitly disclosed to Investors
separately and significantly by the Conflicted Parties as to their own and superior activities to secure for themselves any
beneficial marketplace interest in Partial Beneficial Interests (i.e., ahead of Investors).
     Nonetheless, any such future competition could lead to a decrease in Company profitability any of which, including
Events of Default, could lead to Company not being able to continue operations. Moreover, there is no guarantee that the
target market, whether as a source of Third-Party Beneficiary Insurance Settlement Agreements or otherwise, will not prefer
Purchase Contract relationships with present or future competitors who may or do offer, whether to such Third-Party
Beneficiaries or other Third Parties, more cost-effective investment opportunities or Purchase Contract terms and conditions
than those to be potentially acceded to or negotiated or provided by the Company. Accordingly, some potential outcomes
include that Third-Party Beneficiaries may prefer other Third Parties with which to execute Purchase Contracts or similar
undertakings; in short, the Company could lose business to these competitors and/or the Conflicted Parties. Many of the
Company’s existing and potential competitors may have greater financial and other resources than the Company and there
can be no assurance that the Company will be able to compete successfully against those competitors.
         At all times, the Conflicted Parties are deemed in no way limited to invest on their own account and secure beneficial
interests in Purchase Contracts ahead of Investors (the Conflicted Parties can invest their own funds to secure Purchase
Contracts on their own account). Company, President, or their owners, partners or affiliated individuals have no fiduciary or
other duty to Investors to preferentially place Investor’s Investments ahead of their own investment activities.

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    5. The Company May Incur Losses and Negative Cash Flow. The Company may incur negative cash flow. There
can be no assurance that the Company will eventually operate profitably. The marketplace cannot assure the provision of
Investment Returns. Investors must remember that they are not and will never be Company Members or own any part of the
Company and therefore have no Voting Rights in Company.
     6. The Availability of Additional Working Capital Is Uncertain. The Company believes that the proceeds from the
Offering will allow the Company to implement its proposed business plan and to satisfy expected Investment Returns cash
requirements. However, the Company’s continued operations thereafter will be dependent on the availability of revenue from
its operations. In the event there is insufficient cash flow from operations, the Company may be required to obtain additional
financing. There can be no assurance that such financing will be available or, if available, that the financing will be on terms
satisfactory to the Company. If financing is needed, but is not available, the Company may not be able to operate successfully
and any investment made may be lost, for example, concomitant an Event of Default.
     7. The Company May Undertake Leverage in Order to Fund its Operations. With the approval of the Majority in
Interest (as defined in the Company Operating Agreement), the Company may incur indebtedness. While the Company
anticipates that cash generated from operations will enable the Company to repay any indebtedness in accordance with its
terms, lower-than-anticipated revenues, greater-than-anticipated expenses, or delays in commencing operations could result
in the Company failing to make payments of Investment Principal or Investment Return when due under indebtedness
circumstances. In such events and/or concomitant an Event of Default, the Investor could lose their entire investment.
     8. Competition - Projected Profits of the Company Are Based upon Assumptions that May Be Incorrect.
Section IX (Financial Projections), if any, sets out the potential financial status from the Company’s operations. If any, such
projections are based upon a great number of variables, estimates, and judgments on matters over which the Company will
have no control including, without limitation: (i) the market for the Company’s proposed business operations, (ii) economic
conditions generally, (iii) insurance costs, (iv) the effects of competition, and (v) the legal and regulatory environment. Such
projections are principally intended for use as objectives and are not intended, and should not be taken, as assurance that
the Company will accomplish such projections. Nonetheless, the Company will encounter direct competition in the form of
similar businesses existing within the same market. Indeed, some of these competitors may be well capitalized and may
presently control a significant market share. Moreover, such competitors may enjoy long established and better market
relationships. Accordingly, the Company cannot forecast the level of competition the Company will have to manage or endure.
As a result of this competition, the Company cannot guarantee that it will achieve be able to grow, establish or maintain
market share or become profitable. Concomitant any Event of Default, the Company may have to stop operations altogether.
     9. Conflicts of Interest. The activities of the Company will give rise to numerous immediate and potential conflicts of
interest between the Company and certain of the Investors or their affiliates, some of which may be partially owned by such
Investor or Member owners (See, Conflicts of Interests, Section F, below). As disclosed herein and as established in the
Company Operating Agreement, President will have significant authority to manage the Company’s business and decisions
may be taken by President contrary to desires of Investor. Thus, the President may make decisions with which the other
Investor may disagree.
     10. Contract Negotiations. As part of the Company’s operations, it will be necessary for the Company to negotiate and
maintain services contracts with Third Parties. The Company will not be able to guarantee the continuation or quality of such
relationships. The Company’s failure to maintain any such relationships means that the Company cannot guarantee that
relationships may be even established. Accordingly, the potential inability of the Company to negotiate and maintain
agreements on favorable terms could reduce its revenues and adversely affect its operations.
    11. Lack of Diversification. Because the Company may only provide, or may continue to provide, a limited number of
investment opportunities, the Company may not be competitive in the target market. Moreover, due to a lack of diversification,
the Company is or may be subject to a greater risk than would be the case with a more diversified business.
    12. No Participation in Management. The Company Operating Agreement provides that its President maintains
unhindered and broad day-to-day and discretionary management over Company activities. Investors are not Members of the
Company and retain solely the right to receive the Investment Return and maintain their Right of Redemption if no Event of
Default occurs.
     13. Participation in the Management of the Company by Investor Is Non Existent. As set forth in the Company
Operating Agreement, the powers of the Company will be exercised by — and under the authority and direction of — the
President. Neither the President nor the Company’s employees are required to devote their full time to the Company’s affairs.
The President intends to devote time and effort in organizing and operating other businesses or ventures throughout the
United States that may be similar to the Company. Nonetheless, the President will devote such time to the Company’s
business and affairs as deemed necessary and appropriate in the exercise of reasonable judgment but unforeseen
circumstances may require the President to devote more time to other activities to the detriment of the Company and may
include President’s activities as a Conflicted Party.


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     14. Member Liability. Generally, because the Company is a Limited Liability Company, a Member is not individually
liable for the Company’s debts or negligence in the course of Company business arising from the acts or omissions of another
Member of the Company (including agents or employees) who is not working under the supervision or direction of the
President. A Member may be individually liable if the Member: (i) was directly involved in the specific activity in which the
errors, omissions, negligence, incompetence, or malfeasance were committed by the other Member or representative; or (ii)
had notice or knowledge of the errors, omissions, negligence, incompetence, or malfeasance by the other Member or
representative at the time of occurrence and then failed to take reasonable steps to prevent or cure the errors, omissions,
negligence, incompetence or malfeasance.
     15. Business Sources. The Company’s operations will depend upon establishing and maintaining relationships with
Third Parties including individuals and entities any of which may be Referral Sources. Such Third-Party business may depend
on the Company being perceived as providing, among others, reasonable, convenient, cost effective or quality Third-Party
Insurance Settlement Agreement benefits as secured under Purchase Contracts. The Company foresees that a significant
amount of business will have to be sourced from Insurance Settlement Agreement germane professionals and industry
ventures in the target market area. Should the Company’s business sources decline or if the Company fails to manage such
relationships, the Company could be significantly and adversely affected. The Company makes no guarantee that any federal
or state laws or any regulatory, whether professional licensing or otherwise, may make or limit the availability of Settlement
Insurance Agreements or Company’s negotiation of same via Purchase Contracts.
      16. The Company May Be Affected by Operating Risks Beyond its Control. The costs of operating the Company
may be affected by factors beyond the Company’s control including Events of Default and other environmental problems,
fire, strikes, energy shortages, inflation, adverse weather conditions (including Acts of God, such as tornadoes, hail, flooding,
and other risks), and other unknown contingencies. Moreover, income may be adversely affected by various changing local
factors such as an increase in local unemployment, a change in the characteristics or demographics of the target market,
governmental regulations, various uninsurable risks, and unforeseen changes in the Insurance Settlement Agreement
industry. Indeed, there can be no assurance that the Company will generate sufficient revenues whether tied directly to the
revenues under Purchase Contracts or otherwise, for example, concomitant Events of Default. In addition, the Company will
have normal business risks including disruptions from malfeasance or embezzlement by the Company’s employees or
contractors, malfeasance or embezzlements, or lawsuits brought by Third Parties against the Company and/or any agent,
employee, contractor, or person acting on behalf of the Company. The Company will have general liability risks in that any of
those types of disruptions could cause material change in the Company’s ability to operate and any of which may place the
Investor’s Investment Principal and Investment Return in peril of complete loss.
    17. The Company May Be Sold. The Company and other affiliates companies may be sold in the future. There is no
guarantee, however, that such an event will generate a net profit for the Company or its Members, but in any case, such
event shall NOT result in any benefit germane to or for any existing Investor noting that Investors do not and shall not hold
any ownership interest in the Company or its Units. In particular, Jeffrey Judd may sell any or all of his Units in the Company
without prior consent or notice of Members or Investors (who have no voting rights or ownership rights in the Company) or
any distribution of any profits from such sale to Members or Investors. Any future Members in addition to Mr. Judd may be
compelled to sell some or all of their Units upon the occurrence of various events as described in the Company Operating
Agreement.
    18. The Company may be Subject to Leasehold Risks. The Company may be subject to all of the risks inherent in
being a tenant under a lease of real property, including risks of additional costs, delays, and possible complete loss of
investment due to matters such as compliance with governmental laws and regulations, new or increased fees or charges
imposed on leasehold improvements or ownership, termination of the leasehold interest following a casualty or
condemnation, new or increased real estate taxes, restrictive governmental rules or actions, and outside forces, such as flood
or earthquakes, which may result in irreparable damage or insured losses and termination of a lease. The occurrence of any
such events could have a material adverse effect on the Company.
     19. No Transferability and Illiquidity of Investments. Transferability of the Partial Beneficial Interests is explicitly
proscribed during the Placement Period by the Company Operating Agreement and the Subscription Agreement executed
by the Subscriber. No public market for the Partial Beneficial Interests exists and none is expected to develop even if President
so approves. The Company will be under no obligation to allow the transfer of Partial Beneficial Interests or otherwise take
any action that would enable, without limitation, the assignment or transfer of any Partial Beneficial Interests. Thus, an Investor
will not be able to liquidate an investment in the Partial Beneficial Interests during the Placement Period in the event of an
emergency or otherwise and the Partial Beneficial Interests may not be pledged, without limitation, as collateral for loans or
otherwise. Accordingly, the placement of Partial Beneficial Interests must be considered a term and illiquid investment during
the Placement Period. Additionally, Investors may not pledge, hypothecate, assign, sell, or use their Partial Beneficial
Interest/Investment Principal refund/or Investment Return and may not transfer any Partial Beneficial Interests except as
permitted by the Company Operating Agreement.
     20. There Is No Prior Public Market for Partial Beneficial Interests in the Company. There has been no prior market
for the any Partial Beneficial Interests and no such transfer is allowed under the Operating Agreement. The Company
J AND J PURCHASING, LLC – PRIVATE PLACEMENT MEMORANDUM                                                                          17
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does not expect that a trading market will develop in the foreseeable future and transfer, or resale of the Partial Beneficial
Interests is severely restricted under the Company Operating Agreement. There can be no assurance that any such trading
market will develop, or if such trading market develops, that it will be sustained or allowed to be accessed by the President.
     21. The Failure to Retain Key Management Personnel Could Adversely Impact the Company. The President may
elect, appoint, or hire officers to manage the Company and perform certain operational duties on behalf of the Company. The
Company may be largely dependent upon the resources and efforts of such individuals to provide governance of the
Company. Such individuals may have limited experience in managing business such as that of the Company. The inability
or failure of such individuals to adequately perform those duties could have a material effect on the Company and any
investment in Partial Beneficial Interests.
     Similarly, the President may contract with Third Party services providers to perform certain operational duties on behalf
of the Company. The Company may be largely dependent upon the resources and efforts of such Third Party services
providers to, without limitation, secure business opportunities on behalf of the Company. Such Third Party services providers
may fail to secure business opportunities. The inability or failure of such Third Party services providers to adequately perform
those duties could have a material effect on the Company or any investment in Partial Beneficial Interests.
     22. The Company’s Cash Flow and Operating Results Could Be Adversely Affected by Legal Actions.
Companies providing services germane to the Insurance Settlement Agreement marketplace/industry can be subject to legal
actions. The Company may be named as a defendant in any cause of action arising from, without limitation, alleged, or actual
tortuous interference, breach of contract, and fraud, which actions may be brought by competitors or other Third Parties or
Governments. These actions may involve large monetary claims and significant defense costs. Additionally, there can be no
assurance that insurance maintained by the Company, if any, will adequately cover any liabilities that may occur.
     23. The Company Has Not Provided Advice Regarding Tax and Legal Risks Related to Investing in the Partial
Beneficial Interests. The Company and its legal or other advisors have not advised potential Investors with respect to any
tax or legal risk or consequences of an investment in beneficial interests in Partial Beneficial Interests. The Company has not
advised potential investors with respect to any legal risks or consequences of an investment in beneficial interests germane
to Partial Beneficial Interests. Accordingly, potential Investors are encouraged and expected to consult with their own legal,
tax, financial, investment, and other counsel regarding potential legal issues.
      24. The Terms of this Offering May Be Amended or Withdrawn by the Company. The Company reserves the right,
in its sole discretion and for any reason whatsoever, to modify, amend, and/or withdraw all or a portion of the Offering and/or
to accept or reject in whole or in part any prospective investment or to allot to any prospective Investor less than the number
of investment that such Investor desires to purchase.
     25. Conflicts of Interest by Investors and Cross-Ownership of Other Ventures. Investors are expected to avoid
conflicts of interest, to secure and maintain the integrity and confidentiality of Company operations, Investment Return, and
management in full consideration and awareness of their respective beneficial interest and deemed accompanied duties of
loyalty and care, under, without limitation, the Investor’s and Company’s non-disclosure obligations.
      Accordingly, the Company Operating Agreement explicitly states that Investors, are barred from directly or indirectly,
alone or with others, to develop, own, manage, operate, license, control, or serve as a partner, employee, principal, agent,
consultant or otherwise contract with, or have any financial interest (in any manner including but not limited to equity, debt, or
bond financing) that offers or provides any of the investment services offered by the Company (See, the Confidentiality
Agreement and Company Operating Agreement). A breach by an Investor of the Company Operating Agreement will cause,
at its discretion, to return such Investor’s Investment Principal and institution of legal action against the Investor.
B. LEGAL - REGULATION.
    (1) Introduction. The matters set out in this Memorandum represents the President’s and Company’s current
understanding of the legality of its business model. Nonetheless, in light of the complexity, unpredictability, and ever evolving
nature of businesses and applicable rules, no statement herein may be construed as a representation or guarantee as to any
present or future legal position(s) that the federal or a state Government, regulators or any other adjudicative, ethical, or other
body might take in relation to the Company, its President, its business, Investors, if any, or the investments set out herein. All
explanations herein are subject to and may be limited by future legislation, case law, and enforcement of either. Accordingly,
the statements are limited to the matters stated herein, and no opinion is implied or may be inferred beyond the matters
expressly stated.
      (12) The Company Could Become Involved in a Proceeding. At any time, the Company, its President or its officer or
affiliates may be subject to litigation, regulatory or enforcement actions, or other proceedings (a “Proceeding”) any of which
may brought by varied individuals or entities including, but not limited to, federal, state, or local Governments, potential or
actual competitors, or Investors. Any such Proceeding could delay the commencement of or suspend the operations of the
Company temporarily or indefinitely regardless of the Proceeding’s merit. If such a Proceeding is successful, the Company
or its President, officers or affiliates could be permanently prevented from operating the business as described in this
Memorandum or the Company Operating Agreement or lack the financial means to commence or continue operations.
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Nonetheless, each Investor certifies — in their Subscription and Company Operating Agreement — their agreement to
support the Company in such Proceeding, (i) either when holding a Partial Beneficial Interest or after termination of same, or
(ii) during the existence, or after the dissolution, of the Company.
     (13) If the Company Fails to Comply with Applicable Laws and Regulations, the Company Could Suffer
Sanctions and Be Required to Dissolve or Make Significant Changes to its Operations. While Investors will not manage
or otherwise be involved as owners/Member of the Company the Company nonetheless notes that Company’s operations
are subject to Government regulation. As such, the ability of the Company to operate legally and be profitable may be
adversely affected by changes in governmental regulations on a federal, state, and municipal level. Any Government law or
regulation may adversely affect the economic viability of the Company. These laws are broad in scope, and interpretations
by courts have been limited, inconsistent, and tailored to specific facts that may vary from case to case. Implementation of
these laws or regulations could subject the Company, its President, its officers, any affiliate and the Investor to Government
scrutiny and/or prosecution and punishment.
C. INSURANCE.
      (1) Liability. The Company may purchase and maintain insurance, at its expense, to protect itself and any person who
is or may be entitled to indemnification against any expense, liability, or loss, whether or not the Company would have the
ability to indemnify such person.
      (2) The Company’s Liability Insurance May Not Be Sufficient to Cover All Potential Liability. The Company may
be liable for damages to persons or property for activities that occur in the Company’s offices or on the Company’s premises.
Although the Company may attempt to obtain and maintain adequate insurance coverage for personal injury, property
damage, general and professional liability, officer and director insurance, workers compensation insurance, the Company
will not be able to obtain coverage in amounts sufficient to cover all potential liability. Since most insurance policies contain
various exclusions, the Company will not be insured against all possible occurrences.
   (3) No Insurance to Protect Investors from Events of Default of any Purchase Contract or otherwise. A Purchase
Contract may default and the Company and Investor will not receive any revenue for same. THE COMPANY WILL NOT
SECURE INSURANCE COVERAGE FOR ANY PURCHASE CONTRACT OR THIRD-PARTY BENEFICIARY
INSURANCE SETTLEMENT AGREEMENT EVENT OF DEFAULT. THE POTENTIAL OF ANY EVENT OF DEFAULT
WILL NOT BE INSURED BY THE COMPANY AND IF SUCH EVENT OF DEFAULT OCCURS, THE INVESTOR’S
ENTIRE INVESTMENT PRINCIPAL AND INVESTMENT RETURN MAY BE LOST
D. BACKGROUND OF COMPANY PRESIDENT - MR. JEFFREY JUDD
    Mr. Jeffrey Judd is the current Managing Member and President of J and J Purchasing, LLC. Prior to serving as
Company President, Jeffrey worked in various industries. His first job out of college was with Bristol Myers as a
Pharmaceutical Sales Representative. Jeffrey held this same position with Schering Plough. In the early 2000’s the real
estate sector was the place to be for someone like Jeffrey who excelled at sales, so he left the Pharmaceutical Industry and
took a position with Countrywide Home Loans. When the bubble burst in 2009, Jeffrey took an ownership position in Partell
Specialty Pharmacy serving as Vice - President of Sales and Marketing.
     Jeffrey was born and raised in Las Vegas, Nevada. He received a Bachelor of Science from the University of Nevada
Las Vegas in 1998, where he met his wife of 27 years, Jennifer Rowland Judd, also born and raised in Las Vegas. Jeffrey
and Jennifer have 4 children and one daughter in law — Parker an insurance agent, Preston a professional soccer player in
LA Galaxy system, Rachel Utley Judd, Preston’s wife, who is studying to be a nurse, Kennedy an esthetician and the baby
of the family Khloe who is a fantastic singer and performer.
E. ACTUAL OR POTENTIAL CONFLICTS OF INTEREST.
     (1) Transactions with the Company. In his discretion, the President may cause the Company to enter into agreements
with companies and service entities that may be totally or partially controlled by Members of the Company or President of the
Company (the “President or Member Affiliated Entity(ies)”). President or Member affiliated entities or Members and their
owners, affiliates, or representatives may: (i) provide operational support to the Company and may engage its affiliates to
perform certain services, (ii) be paid or reimbursed by the Company the out-of-pocket costs (including, but not limited to, legal
or other professional expenses) incurred with respect to establishing the Company or its operations; (iii) have interests in
other programs, organizations, or ventures that may compete with the Company, (iv) be involved in other operations of
ventures, including entities that have the exact same or similar business operating plan and operate exactly or similarly as
the Company, and may continue to develop additional beneficial interests offers germane to Insurance Settlement
Agreements ventures in the future. When the Company or President enter such arrangements, the President is not required
to assure they are consistent with arrangements that would be obtainable from unaffiliated Third Parties. Prospective
Investors who have questions concerning the duties of the President should consult with their own counsel.




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     (2) Investors under this Offering Invest only for the potential Investment Return and Right of Redemption and
will receive no other benefit. ALL PROFITS OR REVENUE BY COMPANY OR OTHERWISE REALIZED BEYOND
WHAT IS DUE INVESTORS UNDER THEIR RIGHT TO RECEIVE THE POTENTIAL INVESTMENT RETURN, IS
RESERVED TO AND OWNED BY COMPANY (AND ITS OWNERS OR PARTNERS) AND WHETHER AS
BENEFICIARY INTEREST RECIPIENT UNDER A PURCHASE CONTRACT OR OTHERWISE. THIS MEANS THAT
ANY PROFIT OR REVENUE REALIZED AT ANY TIME BEYOND WHAT IS DUE INVESTORS (THEIR INVESTMENT
RETURN) SHALL NEVER BE DUE INVESTORS AND SHALL BE RETAINED FOR THE BENEFIT OF COMPANY AND
THEIR MEMBERS OR PARTNERS.
     Company retains all other profit or revenue that may be associated with a Purchase Contract funded by Investor under
this Offering. Specifically, this means that any profit or revenue beyond the Investment Return and Right of Redemption due
to Investors is owned by Company and Investor has no right to such profits or revenues. Moreover, any additional profits or
revenues realized by Company (and whether as part of any services agreement, or the President’s, Member’s, or affiliated
individuals’ or entity’s separate investments in Third-Party Beneficiary Insurance Settlement Agreements) will never be due
to Investors. Any of the preceding-sentence-described activities or purchases or activities may or will be treated as preferential
to the placement of any Partial Beneficial Interests so secured on behalf of Investor any of which activities of Company, or as
to either their owners, partners or officers may so choose and are unrestricted to so pursue. In short, when an Investor’s
Partial Beneficiary Interest is negotiated and funded by the Investor’s Investment Principal, the Investor retains no expectancy
in the future as to any other Purchase Contract not funded by Investor, but nonetheless subject to any Event of Default.
    An Investment under this Offering can only be understood to be potentially placed by Company, but not assured to be
so placed. As Company is and remain be self-funded (i.e., separate from any Investment made under this Offering which are
potentially designated to fund the potential Partial Beneficial Interest on behalf of the Investor) Company, and its owners,
managers, and/or partners (collectively, “Conflicted Parties”) may invest on their own behalf with their own funds and
negotiate and secure beneficial interests in Third-Party Beneficiary Insurance Settlement Agreement on their own account
and for their own benefit except that at no time will any Investment Principal hereunder be comingled with or used by the
Conflicted Parties to secure any such personal beneficial interests.
     What the Investor can expect is that their Investment Principal will be utilized to negotiate and secure one or more Partial
Beneficial Interests in one or more Purchase Contracts in and at the discretion of President (and as may be consistent with
the availability of same in the marketplace and the amount of the Investment Principal Subscribed under this Offering), which
does not guarantee that President will at any time preferentially place the Investor’s Investment ahead of the Conflicted
Parties’ interest in securing a beneficial interest under a Purchase Contract of the very Insurance Settlement Agreement
interest that Investor may otherwise want to Invest in and that could be secured on behalf of an Investor.
     The Conflicted Parties are not restricted to fulfil their individual and separate business or investment goals (except that
the Conflicted Parties shall never utilize any Investor’s Investment Principal or Investment Return realized under this Offering
to secure Insurance Settlement Agreement beneficial interests for themselves or under their own account).
   THE PRESIDENT DISCLAIMS ANY FIDUCIARY OR OTHER DUTY TO PLACE INVESTOR’S INVESTMENT
PRINCIPAL AHEAD OF COMPANY, OR PRESIDENT’S OR THEIR OWNERS’ PERSONAL FUNDS TO
SECURING/PLACEMENT/ASSIGNMENT/PURCHASE OF PURCHASE CONTRACTS GERMANE TO INSURANCE
SETTLEMENT AGREEMENT INTERESTS FOR, AS RELEVANT, THEIR INDIVIDUAL BENEFIT AND AHEAD OF
INVESTORS. COMPANY AND PRESIDENT CERTIFY THAT AT NO TIME WILL ANY INVESTMENT PRINCIPAL
UNDER THIS OFFERING BE APPLIED TO ANY SUCH INDIVIDUAL OR SEPARATE ACTIVITY.
     (3) Competition With the Company. Company’s President, Members, Investors, and owners of Members or Investors
(whether directly or indirectly or individually or through entity held interests), officers, directors and affiliates of the Company
or the Member or Investor, will provide or may provide services or products to, and intend in the future to continue to own or
provide services or products to other businesses or operating entities, some of which may have the same or similar
investment objectives or business activities as the Company or otherwise may compete with the Company and Investors’
interest in having their Investment Principal placed. The Company Operating Agreement does not prohibit these activities
and does not impose any duty or obligation on President or any entity Member or his its officers, directors, investor or affiliates
or the President to disclose or offer to the Company or the Members or Investor any venture, opportunity, activity, or interest
therein, including the acquisition, financing, operation, or sale of other competing businesses or Partial Beneficial
Interests/Personal interests. The President, Jeffrey Judd and certain other Investors or other Third Parties may engage in
activities of any nature or description. Accordingly, the Company may be in competition with other entities formed or managed
by Jeffrey Judd or his affiliates.




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                                                  VII.     TAX STATUS
An investor’s basis is expected to be his or her Investment Principal and noting that the Partial Beneficial Interests will equal
the amount paid for that Partial Beneficial Interest. Investors may or will recognize a taxable event on the revenue germane
to the Investor Partial Beneficial Interests equal to the difference between the investor’s basis in the Investor Partial Beneficial
Interests and the amount the investor realizes on the revenue of those Investor Partial Beneficial Interests, if any. An investor
is advised to seek tax counsel from either its attorney or certified public accountant before investing in the Investor Partial
Beneficial Interests in order to fully understand the ramifications of investing in the Investor Partial Beneficial Interests. The
Company is not providing any tax advice to any Investor as part of this Offering.




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                                            VIII. USE OF PROCEEDS

The following paragraph discloses the Company’s proposed sources and uses of the capital Investment raised pursuant to
this Offering. Varying circumstances may dictate other uses of the Investment Proceeds different from those set forth
below. The President, in his sole discretion, may determine the use of the Investment Proceeds, which may be different
than is set forth in the following paragraph.
The Company plans to use the proceeds from Investment to placed/secured/assigned/purchased Insurance Settlement
Agreement beneficial interests. The Company will be self-funded to settle its other Offering Expenses and Operational
Expenses. The portion of the Investment that has been allocated to settle Company’s Offering Expenses and Operational
Expenses: $ 0.
Any wiring fee germane to the delivery of any Investment Return or Investment Principal may be deducted from the
Investment Return.
The purpose of this Offering is for capitalization and financial flexibility for the placement of Partial Beneficial Interests germane
to Third-Party Beneficiary Insurance Settlement Agreements. As of the date of this Memorandum, the President cannot
specify with certainty all particular uses it will have for the Investment Proceeds except that they are deposited in the Escrow
Accounts and earmarked solely for the placement of Partial Beneficial Interests. Accordingly, the President does not retain
broad discretion in the allocation and use of the proceeds from this Offering. The President will commence Company
operations in his sole discretion and may cancel this Offering if an insufficient number of Subscriptions are achieved pursuant
this Offering.
Offering Expenses, include, but are not limited to: (i) Legal Costs; (ii) Licensing Costs; (iii) Filing Expenses; (iv) Form Fees;
(v) Accounting Fees; (vi) Equipment; (vii) Computers; (viii) Small Equipment;
Operating Expenses, include, but are not limited to: (i) Staff; (ii) Office leases; (iii) Office Supplies; (iv) Shipping Expenses;
(v) Compliance Costs; (vi) Marketing Expenses; (vii) Banking Costs and Fees; (viii) Communications Costs such as
Telephone and Internet; or (x) Taxes;




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  IX.      NO FINANCIAL PROJECTIONS FOR COMPANY OR ANY INVESTMENT
                               OPERATIONS
As an offering for Partial Beneficial Interests in Purchase Contracts and relevant to the operations of a newly formed
Company, See Exhibit A, the Company does not provide for any audited or unaudited financial statements or financial
projections. Company reiterates that it is a newly formed entity without any prior business operations. In all cases, there is no
assurance that the placement of investments in this offering for Partial Beneficial Interests in Purchase Contracts will be
achieved.




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                                EXHIBIT A
                        CORPORATE DOCUMENTS
                        J AND J PURCHASING, LLC




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                               EXHIBIT B
                        OPERATING AGREEMENT
                       J AND J PURCHASING, LLC




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             AMENDED AND RESTATED LIMITED LIABILITY COMPANY OPERATING AGREEMENT
                                                J AND J PURCHASING, LLC
THIS AMENDED AND RESTATED LIMITED LIABILITY COMPANY OPERATING AGREEMENT OF J AND J
PURCHASING, LLC (the “Operating Agreement” or “Agreement”) made effective as of November 1, 2021, is adopted,
executed, and agreed to, for good and valuable consideration, by the Members (as defined below).
                                                       ARTICLE 1
                                                      DEFINITIONS
Capitalized words and phrases used and not otherwise defined elsewhere in this Agreement will have the following
meanings:
1.1. “Act” means the Florida Revised Limited Liability Company Act or, from and after the date any successor statute
becomes, by its terms, applicable to the Company, such successor statute, in each case as amended at such time by
amendments that are then applicable to the Company (to the extent the provisions of the Act are not modified by the
Articles of Organization or this Agreement “Certificate”). All references to sections of the Act include any corresponding
provision(s)of any such successor statute.
1.2. “Additional Capital Contributions” means any Capital Contributions required by the Company other than the Initial
Capital Contributions described in this Agreement.
1.3. “Adjusted Capital Account” means, with respect to any Member, the balance, if any, in such Member’s Capital
Account as of the end of the relevant fiscal year, after: (a) adding to such Capital Account the amount that such Member
is deemed to be obligated to restore pursuant to Regulations Sections 1.704-2(g)(1) and 1.704-2(i)(5); and (b) subtracting
from such Capital Account such Member’s share of the items described in Regulations Sections 1.704 1(b)(2)(ii)(d)(4), (5)
and (6).
1.4. “Affiliate” means, with reference to a specified Person: A Person that, directly or indirectly, through one or more
intermediaries, Controls, is Controlled by or is under common Control with, the specified Person.
1.5.    “Agreement” means this Operating Agreement.
1.6. “Applicable Law” or “Applicable Laws” means all laws and regulations applicable to the Members and/or the
Company.
1.7. “Board of Members” “Members” or “Shareholders” means every Member of the Company acting collectively as a
whole.
1.8. “Business Day” means any day other than a Saturday, a Sunday, or a holiday on which national banking
associations in the State of Florida are closed.
1.9. “Capital Account” means a capital account established and maintained for each Member with respect to the
Company in which the Member has an interest in accordance with the following provisions: (1) To the Member’s Capital
Account there will be added (i) such Member’s Capital Contributions to the Company and (ii) such Member’s allocable
share of Net Profits and any items in the nature of income or gain to the Company that are allocated to such Member; (2)
From each Member’s Capital Account there will be subtracted by the Company (i) the amount of (1) cash and (2) the
Gross Asset Value of any assets distributed from the Company to such Member pursuant to any provision of this
Agreement (net of liabilities encumbering the distributed assets that such Member is considered to assume or take subject
to under Code Section 752), (ii) such Member’s allocable share of Net Losses and any other items in the nature of
expenses or losses that are allocated from or with respect to the Company to such Member and (iii) liabilities of such
Member assumed by the Company or which are secured by any property contributed by such Member to the Company,
calculated by reference to Code Section 752. With respect to distributions of assets from the Company, the Capital
Accounts of the Members of the Company will first be adjusted to reflect the manner in which the unrealized income, gain,
loss and deduction inherent in such property (that has not been previously reflected in Capital Accounts) would be
allocated to the Members of the Company if there were a taxable disposition of such property for its fair market value
(taking Code Section 7701(g) into account) on the date of distribution; (3) the Managing Member may cause an increase
or decrease to the Capital Accounts of the Members to reflect a revaluation of assets on the books and records of the
Company. Any such adjustments will be made in accordance with Regulations Section 1.704-1(b)(2)(iv)(g); (4) Additional
adjustments will be made to the Members’ Capital Accounts as required by Regulations Sections 1.704-1(b) and 1.704-2
or, as permitted but not required, in the reasonable discretion of the Managing Member; (5) Adjustments to Capital
Accounts in respect to the Company income, gain, loss, deduction and non-deductible expenditures (or any item thereof)
will be made with reference to the federal tax treatment of such items (and, in the case of book items, with reference to
federal tax treatment of the corresponding tax items) at the Company level, without regard to any requisite or elective tax
treatment of such items at the Member level; (6) The foregoing provisions and the other provisions of this Agreement
relating to the maintenance of Capital Accounts are intended to comply with Regulations Sections 1.704-1(b) and 1.704-


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2 and will be interpreted and applied in a manner consistent with such Regulations, as reasonably determined by the
Managing Member.
1.10. “Capital Contributions” means, with respect to any Member, the total amount of money and the fair market value of
property (other than money) contributed to the capital of the Company by such Member, whether as an Initial Capital
Contribution or as an Additional Capital Contribution.
1.11. “Cash Available for Distribution” means, all the Company cash receipts (excluding the proceeds from any
Terminating Capital Transaction), after deducting payments for Operating Cash Expenses and payments required to be
made in connection with any loan to the Company or any other loan secured by a lien on any Company Assets, capital
expenditures, and any other amounts set aside for the restoration, increase, or creation of reasonable Reserves.
1.12. “Certificate” means the relevant incorporation document(s) and supplements and amendments thereto of the
Company filed in the Office of the Secretary of the State of Florida for the purpose of forming the Company as a Florida
limited liability company, and any duly authorized, executed and filed amendments or restatements thereof.
1.13. “Code” means the Internal Revenue Code of 1986, as amended from time to time (or any corresponding provisions
of succeeding law).
1.14. “Company” or “J&J” means J and J Purchasing, LLC.
1.15. “Company Assets” means all direct and indirect interests in real and personal property owned by the Company
from time to time and will include both tangible and intangible property (including cash).
1.16. “Control,” “Controlled,” or “Controlling” means (a) with respect to any corporation or other entity having, whether
directly or through another corporation or entity, voting shares or the equivalent, the ownership or power to vote equal to
or greater than fifty-one percent (51%) of the outstanding shares or the equivalent; or, (b) with respect to any partnership,
limited liability company, professional association, non-profit corporation, joint venture or other entity, directly or through
another entity, the power to elect, appoint, or approve of fifty-one percent (51%) or more of the directors, Members, or
Persons performing similar functions or the ability to direct its business and affairs.
1.17. “Delinquent Member” means a Member who does not contribute by the required date all of a Capital Contribution
that the Member is required to make as provided in this Agreement.
1.18. “Economic Interest” means a Person’s: (i) right to share in the Net Profits, Net Losses, or similar items of, and to
receive distributions from, the Company in proportion to the Member’s Percentage Interest, and (ii) obligation to make any
required Additional Capital Contributions, but does not include any other rights of a Member including, without limitation,
the right to vote or to participate in the management of the Company or, except as specifically provided in this Agreement
or required under applicable state law, any right to information concerning the business and affairs of the Company.
1.19. “Economic Interest Holder” means any Person (a) to whom a Member Transfers all or any part of its interest in the
Company, and (b) which has not been admitted to the Company as a Substitute Member pursuant to this Agreement. An
Economic Interest Holder only has an Economic Interest in the Company.
1.20. “General Interest Rate” means a rate per annum equal to the lesser of (a) the prime rate, as quoted in the money
rates section of The Wall Street Journal, plus one percent or (b) the maximum rate permitted by applicable law.
1.21. “Gross Asset Value” means, with respect to any Company Asset, Company Asset’s adjusted basis for federal
income tax purposes, except as follows:
     1.21.1 The initial Gross Asset Value of any asset contributed by a Member to the Company will be the gross fair
market value of such asset, as provided herein.
       1.21.2 Except as otherwise provided in this Agreement, the Gross Asset Values of all assets immediately prior to
the occurrence of any event described in subsections (a), (b), (c), or (d) of this Section 1.21.2 will be adjusted to equal
their respective gross fair market values, as of the following times: (a) the acquisition of an additional interest in the
Company; (b) the distribution by the Company to a Member of more than a de minimis amount of assets as consideration
for an Interest in the Company; (c) the liquidation of the Company within the meaning of Regulations Section 1.704-
1(b)(2)(ii)(g); and (d) at such times as the Company may determine as necessary or advisable in order to comply with
Regulations Sections 1.704-1(b) and 1.704-2.
      1.21.3 The Gross Asset Value of any Company Asset distributed to a Member will be the gross fair market value of
such Company Asset on the date of distribution.
       1.21.4 The Gross Asset Values of the assets of the Company will be increased (or decreased) to reflect any
adjustments to the adjusted basis of such assets pursuant to Code Section 734(b) or Code Section 743(b), but only to the
extent that such adjustments are considered in determining Capital Accounts pursuant to Regulations Section 1.704-
1(b)(2)(iv)(m). If the Gross Asset Value of a Company Asset has been determined or adjusted pursuant to Section 1.21.1,
1.21.2 or 1.21.4 above, such Gross Asset Value will thereafter be adjusted by the depreciation taken into account with
respect to such Company Asset for purposes of computing Net Profits and Net Losses.


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1.22. “Interest” means a Member’s Membership Interest and/or a Person’s Economic Interest.
1.23. “Investor” means an Investor pursuant to Company’s Private Placement Memorandum which investment is
managed by Company. An Investor is not a Member of and owns no Units in Company. An Investor is not a Person and
is such individual Investor in Company negotiated Purchase Contracts and which Investor does not have any form or
ownership or other right or expectancy in or otherwise relevant to Company, nor its profits or revenues, except that such
Investor has a right to the Investment Return which is their retained Partial Beneficial Interest in Purchase Contracts and
retained Right of Redemption, subject to any Event of Default. Investors have no voting right or ownership in or related to
this Operating Agreement or otherwise.
1.24. “Investment Return” means and encompasses the following: pursuant to the Company’s Private Placement
Memorandum and investment Offering for the investment in Purchase Contract(s), the Company has offered Investors
an expected 12.5% or $12,500 for a $100,000 Purchase Contract’s Return or 12.5% or $10,000 for an $80,000 Purchase
Contract’s Investment Return (i.e., the specific sum constituting the Investor’s Partial Beneficial Interest in the relevant
Purchase Contract due to be paid in a lump sum subsequent the expiration of the Placement Period in addition to the
refundable Investment Principal pursuant to the Investor’s retained Right of Redemption). The $100,000.00 or $ 80,000.00
consideration/price for the Purchase Contract is funded by the Investor’s Investment Principal under the Offering and as
so attributed/placed by Company. When Investor submits their Investment Documentation and funds their Investment
Principal, the President will place the Investment Principal to fund the assignment/purchase of the relevant $100,000.00
or $80,000.00 Purchase Contract. The time period between the receipt of the Investor’s Investment by Company and
such assignment/purchase may vary, but generally will be less than three business days. The ninety-day “Placement
Period” begins on the day the Purchase Contract is signed. At the end of the Placement Period, the Investor is expected
to receive a lump sum payment of the relevant Investment Return (i.e., depending on whether the Purchase Contract is
for $100,000 or $ 80,0000), subject to any Event of Default and described or defined in the Private Placement
Memorandum. Manager will issue and forward to each Investor a yearly 1099 Tax reporting form setting out amounts paid
to Investor.
1.25. “Majority of Interest” means 51% or more of the Membership Interests in Company and a “Super Majority Vote”
means 70% or more of the Membership Interests in Company.
1.26. “Managing Member” means each Person elected as the Managing Member of the Company in accordance with
this Agreement, but only for so long as each such Person remains a Managing Member of the Company in accordance
with this Agreement. References to Manager/President in this Agreement means Managing Member.
1.27. “Member” or “Shareholder” means any Person named in the relevant Certificate as an initial Member of the
Company and any Person hereafter elected or appointed as a Member of the Company as provided in this Agreement
but does not include any Person who has ceased to be a Member of the Company.
1.28. “Membership Interest” means the entire ownership interest of a Member in the Company at any particular time and
any and all rights hereunder.
1.29. “Net Profits” or “Net Losses” means, with respect to the Company, for each fiscal year or other period, an amount
equal to the taxable income or loss of the Company for such year or period determined in accordance with Code Section
703(a) (for this purpose, all items of income, gain, loss or deduction required to be stated separately pursuant to Code
Section 703(a)(1) will be included in taxable income or loss), with the following adjustments: (a) any income that is exempt
from federal income tax and not otherwise taken into account in computing Net Profits or Net Losses pursuant to this
Section 1.27 will be added to such taxable income or loss; (b) Any expenditure described in Code Section 705(a)(2)(B) or
treated as Code Section 705(a)(2)(B) expenditures pursuant to Regulations Section 1.704-1(b)(2)(iv)(i), and not otherwise
taken into account in computing Net Profits or Net Losses pursuant to this Section, will be subtracted from such taxable
income or loss; (c) Gain or loss resulting from any disposition of assets where such gain or loss is recognized for federal
income tax purposes will be computed by reference to the Gross Asset Value of the assets disposed of, notwithstanding
that the adjusted tax basis of such assets differs from its Gross Asset Value; (d) To the extent an adjustment to the adjusted
tax basis of any Company Asset pursuant to Code Section 734(b) or Code Section 743(b) is required pursuant to
Regulations Section 1.704-1(b)(2)(iv)(m)(4) to be taken into account in determining Capital Accounts as a result of a
distribution other than in liquidation of a Member’s Membership Interest, the amount of such adjustment will be treated as
an item of gain (if the adjustment increases the basis of Company Asset) or loss (if the adjustment decreases the basis of
Company Asset) from the disposition of Company Asset and will be taken into account for the purposes of computing Net
Profits and Net Losses; (e) If the Gross Asset Value of any Company Asset is adjusted in accordance with the terms of
this Agreement, the amount of such adjustment will be taken into account in the taxable year of such adjustment as gain
or loss from the disposition of such Company Asset for purposes of computing Net Profits or Net Losses.
1.30. “Operating Cash Expenses” means, with respect to any fiscal period, the amount of cash disbursed in the ordinary
course of business during the period to pay the expenses of the Company including, without limitation, all cash expenses,
such as advertising, promotion, property management, insurance premiums, taxes, utilities, repair, maintenance, legal,
accounting, bookkeeping, computing, equipment use, travel on the Company business, telephone expenses, and
salaries, and direct expenses of the Company employees and agents while engaged in the Company business. Operating

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Cash Expenses will include the actual cost of goods, materials and administrative services used for or by the Company
in performing functions set forth in this Agreement reasonably requiring the use of such goods, materials, or administrative
services. Operating Cash Expenses will not include expenditures paid from Reserves (as defined below). Operating
Cash Expenses will be calculated in accordance with generally accepted accounting principles.
1.31. Partial Beneficial Interest” means an Investor’s Partial Beneficial Interest that through their investment pursuant to
Company’s Private Placement Memorandum subscription gives rise to their interest in Investment Return under a
Purchase Contract and subject to any Event of Default as defined or described in the Company’s Private Placement
Memorandum.
1.32. Person” means and includes an individual, a corporation, a company, a limited liability company, a trust, an
unincorporated organization, a government or any department or agency thereof, or any entity similar to any of the
foregoing that holds or is owner of Units in Company, but not Investor.
1.33. “Regulations” means proposed, temporary, and final Treasury Regulations promulgated under the Code, as such
regulations may be amended from time to time (including corresponding provisions of succeeding Treasury Regulations).
1.34. “Reserves” means funds set aside or amounts allocated to reserves that will be maintained in amounts deemed
sufficient by the Managing Member for working capital, to pay taxes, insurance, debt service, and other costs or expenses
incident to the conduct of business by the Company as contemplated hereunder
1.35. “Terminating Capital Transaction” means any sale or other disposition of all or substantially all of the assets of the
Company or a related series of transactions that, taken together, result in the sale or other disposition of all or substantially
all of the assets of the Company.
1.36. “Transfer” means, with respect to any interest in the Company, a sale, conveyance, exchange, assignment, pledge,
encumbrance, gift, bequest, hypothecation, or other transfer or disposition by any other means, whether for value or no
value and whether voluntary or involuntary or directly or indirectly (including, without limitation, by operation of law), or an
agreement to do any of the foregoing; provided however, (i) the pledge of Membership Interests or assets of the Company
to a third party as collateral for the financing of the purchase of real estate or other property owned by the Company, and
(ii) the assignment by a Member to (a) an entity that is wholly-owned by such Member, or (b) a trust for which such Member
is a beneficiary (provided that Control of such trust remains with such Member), will not be construed as a “transfer” as
that term is used herein. Used as a verb, the term will mean effecting any of the foregoing.
1.37. “Units” means Membership Units.
                                                       ARTICLE 2
                                                ORGANIZATIONAL MATTERS
2.1 FORMATION. The Company was formed under Florida law and will be governed by such law for the purposes
and upon the terms and conditions set forth in this Agreement. The rights, duties, powers and liabilities of the Members
will be as provided in the relevant Florida State statutes, except as otherwise expressly provided in this Agreement. In the
event of any inconsistency between any provision contained in this Agreement and any non-mandatory provision of
Florida State law, the provision contained in this Agreement will govern.
2.2    NAME. The name of the Company is “J and J Purchasing, LLC.
2.3 PRINCIPAL PLACE OF BUSINESS; OTHER PLACES OF BUSINESS. The principal place of business of the
Company is located at 9 Sky Arc Court, Henderson, NV 89012, or such other place within or outside the State of Florida as
the Manager may from time to time designate.
2.4    BUSINESS PURPOSE. The Company is formed to conduct lawful business.
2.5 FILINGS. The Managing Member may execute and file any duly authorized amendments to the Certificate of
Formation of the Company (the “Certificate”) from time to time in a form prescribed by Florida State law. The Managing
Member will also cause to be made, on behalf of the Company, such additional filings as the Managing Member will deem
necessary or advisable.
2.6 DESIGNATED AGENT FOR SERVICE OF PROCESS. The Company will continuously maintain a registered
office in the State of Florida at its principal place of business. Until the Managing Member decides otherwise, the
designated and duly qualified agent for service of process on the Company in Florida will be the Managing Member of the
Company.
2.7 COMPANY PROPERTY. All Company assets will be held and owned, and conveyance made, in the Company’s
name. Instruments and documents providing for the acquisition, mortgage, or disposition of any Company asset will be
valid and binding upon the Company if executed by the Person authorized by the Managing Member.
2.8 BANK ACCOUNT. All funds of the Company will be deposited in one or more accounts with one or more
recognized financial institutions in the name of the Company at such locations as determined by the Managing Member



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from time to time. Withdrawal from such accounts will require the approval/signature of the Managing Member or the
Person designated by the Managing Member.
2.9 TERM. The Company commenced upon the filing of the Certificate with the Secretary of State of the State of
Florida and will continue perpetually until duly terminated.
2.10 WARRANTIES. The Company and current Members represent and warrant as part of Member’s Unit purchase
the following: (a) Company and all subsidiaries are duly and legally formed and in good standing in their state of
incorporation or will be within five (5) business days from executing this Agreement; (b) There are no liabilities other than
those disclosed in the balance sheet at closing; (c) All related party transactions shall be scheduled at closing; (d) There
are no threatened or filed legal actions against the Company by governmental agencies or other plaintiffs.
                                                 ARTICLE 3
                                   MANAGING MEMBER AND BOARD OF MEMBERS
3.1 MANAGING MEMBER. Broadly, Company’s daily operations shall be managed solely by its Manager/President
and not by its Members. The Manager/President is Mr. Jeffrey Judd. Daily operations include all services and affairs that
do not require approval by the Board of Members as outlined in this Agreement. Unless the action of the Members is
otherwise required by this Agreement, the Company’s Certificate or the Act, the powers of the Company shall be exercised
by or under the authority of, and the business and affairs of the Company shall be solely managed under the direction,
supervision, and responsibility of the Manager/President. Subject to the limitations contained in Section 3.2, the Manager
shall make all decisions and may take all actions for, or on behalf of, the Company in furtherance of its business and affairs
as he may deem necessary or appropriate. The Members approve the appointment of Mr. Judd as President, the
Manager and Attorney-in-Fact of the Company.
        Mr. Judd’s authority shall include but is not limited to: (i) entering into and performing contracts, agreements, and
other undertakings binding the Company that may be necessary to further the Company’s purposes in the sole discretion
of Manager; (ii) opening and maintaining bank and investment accounts and arrangements, drawing checks and other
orders of the payment of money, and designating individuals with authority to sign or give instructions with respect to those
accounts and arrangements; (iii) maintaining the Company’s Assets; (iv) collecting sums due the Company; (v) paying the
Company’s debts and obligations; (vi) borrowing money or opening a line of credit either in an amount deemed necessary
by Manager and voluntary prepayment or debt extensions of same for Company purposes and to secure the repayment
by pledging Company Assets; (vii) selecting removing and changing the authority and responsibility of lawyers,
accountants and other advisers and consultants; (viii) obtaining insurance for the Company and as germane to its
operations; (ix) determining method(s) for and amounts regarding the distribution of Company cash; (x) hiring of personnel,
staff or professionals and leasing, purchasing or otherwise retaining the use or title for equipment, furniture and other
property; (xi) establishing, amending or extending credit relationships in amounts and with terms in the sole discretion
Manager, (xii) setting of the date and time for the annual, quarterly, or other meeting of Members; (xiii) managing the
negotiation of Purchase Contracts tied to Third-Party Beneficiary Insurance Settlement Agreements matters germane to
the private investment of relevant Investors, issuing monthly statements and Investment Returns pursuant to the Offering;
(xiv) waiving of requirements regarding waivable matters set forth in this Agreement; (xiv) approving of annual, quarterly
or monthly budgets; (xv) commencing, amending or terminating relationships with insurance providers or other products
or services provider in Manager’s sole discretion; (xvi) terminating any employment, independent contractor, or other
agreement and secure that all taxes, payments, compensation to any is compliant with all laws and regulations; (xvii)
distributing Assets; (xviii) determining and implementing a formula or methodology to determine distributions of Investment
Returns germane to Partial Beneficial Interests to Investors or compensation to Members; (xx) approving the
commencement of any lawsuit or legal proceeding that Manager considers necessary and in the best interest of Company;
(xxi) determining method(s) for and regarding dilution of Units; (xxii) settle or resolve of any dispute of any claim made
against the Company; (xxiii) create or propose amendments to this Agreement; (xxiv) cause Company to engage in
additional business activities or streams; (xxv) instituting, managing, auditing and ensuring ongoing adherence to a
Company compliance program regarding Applicable Laws (and further, all industry laws regulations) governing or relevant
to the Company’s operations and all Company policies and procedures; and, (xxvi) delegating an authorized agent of the
Company to take any of the actions referred to in the foregoing clauses. In general, Mr. Judd shall have a broad right to
manage the day-to-day operations of the Company.
3.3. BOARD OF MEMBERS. The Board of Members consists of all Shareholders of Company. By Majority of Interest,
the Board of Members retain the right to decide on fundamental and structural changes to Company, specifically, (1)
amendments to this Agreement, (2) the sale/liquidation of Company, and (3) appointment of a Managing Member. In the
event a deadlock on a matter requiring a Majority of Interest vote occurs and is not resolved within thirty (30) days from
the date of the initial vote, then the vote of Managing Member shall decide, with binding force, over the affair/matter.
     3.3.1 PLACE AND MANNER OF MEETING. All Member meetings will be held at the time and place stated in the
meeting notice or in an executed waiver of the meeting notice. Participation in a meeting will constitute a Member’s
presence at the meeting, except when the Member attends the meeting for the express purpose of stating that the meeting
is not lawfully called or convened. The Members may participate in a meeting by means of telephone, video conference,
electronic (for example, GoToMeeting) or similar communications equipment by means of which all persons participating

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in the meeting can hear each other. Such participation in a meeting will constitute presence in person at the meeting. If
all Members are participating by conference telephone or similar communications equipment, the meeting will be deemed
to be held at the principal place of business of the Company.
     3.3.2 CONDUCT OF MEETINGS. All Member meetings will be presided over by the President. The President, in
the President’s discretion, may determine the order of business and procedure at the meeting, including regulating of the
voting manner and the discussion conduct. If the President is unavailable for a meeting, the President’s designee will
preside over the Member meeting.
    3.3.3 ANNUAL MEETING. The Members shall meet at least once a year at a time and place to be determined by
the Managing Member. Failure to hold the annual meeting at the designated time will not result in a dissolution of the
Company.
     3.3.4 SPECIAL MEETINGS. Special meetings may be called at any time by the President, Managing Member, or
by the written request of holders of at least twenty-five percent (25%) of the Membership Units. The request must state
the meeting purposes and the matters proposed to be acted on at the meeting.
     3.3.5 NOTICE. Notice of the meeting must be in writing and state the meeting’s place, day and hour, and, in case
of a special meeting, the purposes for which the meeting is called. The notice must be delivered not less than ten (10) or
more than sixty (60) days before the meeting date either personally, by first class mail, by facsimile, or by electronic mail
to each Member. Notice may be waived as provided in this Agreement. If mailed, the notice will be deemed to be delivered
when deposited, postage prepaid, in the United States mail addressed to the Member at the Member’s address as it
appears on the Company’s records.
    3.3.6 QUORUM OF MEMBERS. Unless otherwise provided in the Certificate, the holders of at least fifty-one percent
(51%) of the Membership Units represented in person or by conference telephone or similar communications as described
above will constitute a quorum at a Members meeting.
    3.3.7 MAJORITY VOTE; WITHDRAWAL OF QUORUM. When there is a quorum, the holders of a majority of all of
the Membership Units present at the meeting or participating in the meeting will decide the matters brought before the
meeting unless a different vote is required by the Certificate, this Agreement, or Florida law. The Members present at a
meeting may not continue to transact business if a quorum is not present or is no longer present.
     3.3.8 VOTING OF MEMBERSHIP UNITS. Each Member entitled to vote is entitled to one (1) vote per Membership
Unit or a fraction of one (1) vote per fraction of a Membership Unit on each matter submitted to a vote at a Member meeting
on which that Member is entitled to vote. A Member may vote in person, by electronic mail, by facsimile, or other written
means. A Member may not vote by proxy.
     3.3.9 CONSENT FOR ACTION WITHOUT MEETING. Any action required to be taken or that may be taken at a
Member meeting, may be taken without a meeting, without prior notice, and without a vote, if a consent or consents in
writing, setting forth the action so taken, has been signed by not fewer than the minimum number of holders of Membership
Units that would be necessary to take the action at a meeting at which the holders of all Membership Units entitled to vote
with respect to that action were present and voted. Within ten (10) days after such authorization, notice of the taking of
any action by the Members without a meeting by less than unanimous consent will be given to the Company and those
Members who did not consent in writing to the action or who are not entitled to vote on the action.
     3.3.10 REQUIREMENTS FOR WRITTEN CONSENT. Each written consent must be signed, dated and delivered
by the Member. The consent will become effective at the time and remain effective for the period specified in the consent.
A telegram, telex, cablegram, or similar transmission by a Member, or a photographic, electronic, facsimile, or similar
reproduction of a writing signed by a Member, will be regarded as signed by the Member.
3.4 WARRANTIES. Each Member agrees to the following clauses: (a) Only one class of stock (Units) is authorized;
(b) Each Shareholder of Company is guaranteed a right to participate in future equity offerings pro-rated to their
Membership Interest at the time of the offering; (c) Distributions and dividends will be pro-rata to stock ownership and
subject to Managing Member’s approval; (d) Each Shareholder agrees to accept and follow any transaction approved by
a Majority of Interest. Each Shareholder’s right to sell Units shall be pursuant Article 7; (e) In the event a Shareholder
desires to sell Units in the Company or transfer Units as part of a divorce proceeding, each Shareholder and their spouses
who join this Agreement agrees to a right of first refusal for the Company or existing Shareholders to repurchase the Units
at Book Value. Such purchase may be funded by the Company over time rather than through an immediate cash
payment. Nonetheless, by their execution of a joinder to this Agreement, each Shareholder spouse acknowledges and
accepts the Company’s or existing Shareholders’ right of first refusal described herein in favor of the relevant Shareholder.
Each Shareholder spouse agrees and recognizes that should any provision of this Agreement or joinder to this Agreement
by a Member spouse for any reason be held to be invalid, unenforceable, or contrary to public policy or law, the right of
first refusal set out herein shall remain inviolate; (f) A Majority In Interest may decide to dilute the Units of Shareholders
provided that (i) such dilution was made in good faith and in the best interest of Company, (ii) Company had no intent to
harm minority Shareholders, (iii) is justified by a viable business reason, (iv) Company received a fair market value for the

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stock, and (v) the dilution does not violate a preemptive right. An increase of distribution in the aftermath of six months
from the time of the dilution may serve as a non-rebuttable justification for the decision in favor of dilution.
3.5 RECORDS AND REPORTS. Managing Member will cause to be kept at the principal place of business of the
Company, or at such other location as the Managing Member will reasonably deem appropriate, full and proper ledgers,
other books of account, and records of all receipts and disbursements, other financial activities, and the internal affairs of
the Company for at least the current and past four (4) fiscal years. All Members will be granted access to the books and
records of the Company at reasonable times. Managing Member will cause to be sent to each Member the following: (a)
following the end of each fiscal year of the Company, a report that will include all necessary information required by the
Members for preparation of their federal, state, and local income or franchise tax or information returns, including each
Member’s pro rata share of Net Profits, Net Losses, and any other items of income, gain, loss, and deduction for such
fiscal year; and (b) a copy of the Company’s federal, state, and local income tax or information returns for each fiscal year,
concurrent with the filing of such returns, and (c) an annual unaudited financial report for the activities of the Company.
3.6      REIMBURSEMENTS; COMPENSATION. If any, the Company will reimburse the Members, and their duly
authorized representatives, for all ordinary and necessary out-of-pocket expenses incurred by them on behalf of the
Company, in accordance with policies established by the Managing Member. Such reimbursement will be treated as an
expense of the Company that will be deducted in computing the Operating Cash Expenses and will not be deemed to
constitute a distributive share of Profits or a distribution or return of capital to any Member. Each Board of Members (the
Members) that provide services to the Company, if any, may be reasonably compensated for services rendered to the
Company upon approval of the Members and the Managing Member. This compensation will be a guaranteed payment
pursuant to Code Section 707(c). The Members may adjust the compensation based upon performance and dedication
of time to the Company’s business. Reasonable compensation must comply with Code Section 704(e), if applicable, and
will be measured by (i) the time required in the Company’s administration; (ii) the value of property under administration;
and (iii) the responsibilities assumed in the discharge of duties of office.
3.7 COMPLIANCE. The Company will be managed and operated in a manner that complies with all laws and
regulations all germane to which the Members rely on the Managing Member as consistent with Section 3.1 and otherwise.
                                                   ARTICLE 4
                                       MEMBER CAPITAL, LOANS, AND LIABILITY
4.1 CAPITALIZATION AND INITIAL CAPITAL CONTRIBUTIONS OF MEMBERS. The name and address of the
Capital Contributions made by, and the Percentage Interest of each Member are set forth on Exhibit 4.1 attached hereto
and made a part hereof. All Members acknowledge and agree that “Initial Capital Contributions” represents the amount
of cash initially contributed by the Members.
4.2 ADDITIONAL CAPITAL CONTRIBUTIONS BY MEMBERS. Except as otherwise provided in this Agreement, no
Member will be required to make any Additional Capital Contributions to the Company. Nonetheless, equity offerings
shall be offered to all Members according to their pro-rated interest in Company as approved by the Managing Member.
4.3 CAPITAL ACCOUNTS. A Capital Account will be established and maintained for each Member in accordance
with the terms of this Agreement.
4.4 MEMBER CAPITAL AND PERCENTAGE INTERESTS. Except as otherwise provided in this Agreement or except
as approved in writing by the Managing Member: (a) no Member will be entitled to receive a return of, or interest on, the
Member’s Capital Contributions or Capital Account; (b) no Member will withdraw any portion of the Member’s Capital
Contributions or receive any distributions from the Company as a return of capital on account of such Capital Contributions;
and (c) the Company will not redeem or repurchase the Interest of any Member without first offering the interest to other
Members pro-rata. Upon any withdrawal of capital by a Member, the Percentage Interests of all Members will be adjusted
so that each remaining Member has a Percentage Interest proportionate to the remaining Member’s total Capital
Contributions (minus any capital withdrawals) relative to the total of all Capital Contributions (minus capital withdrawals)
made to the Company.
4.5 MEMBER LOANS. No Member will be required or permitted to make any loans or otherwise lend any funds to the
Company, without first obtaining the prior written consent of the Managing Member. In addition, any Member will be
permitted (but not required) to make loans to the Company only to the extent the Managing Member reasonably
determines that such loans are necessary or advisable for the business of the Company, pursuant to terms that are
consistent with fair market value, and subject to interest accruing at the General Interest Rate from the loan date until the
date on which such loan is repaid. No loans made by any Member to the Company will have any effect on such Member’s
Percentage Interest. Such loans will represent a debt of the Company payable or collectible solely from the assets of the
Company in accordance with the terms and conditions upon which such loans were made.
4.6 LIABILITY OF MEMBERS. Except as otherwise required by any non-waivable provision of Florida state law or
other Applicable Law: (a) no Member will be personally liable in any manner whatsoever for any debt, liability, or other
obligation of the Company, whether such debt, liability, or other obligation arises in contract, tort, or otherwise; and (b) no

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Member will in any event have any liability whatsoever in excess of (i) the amount of its Capital Contributions, (ii) its share
of any assets and undistributed profits of the Company, (iii) the amount of any unconditional obligation of such Member to
make additional Capital Contributions to the Company pursuant to this Agreement, and (iv) the amount of any wrongful
distribution to such Member, unless, and only to the extent, such Member has actual knowledge (at the time of the
distribution) that such distribution is made in violation of Florida state law.
                                                         ARTICLE 5
                                                      DISTRIBUTIONS
5.1 DISTRIBUTIONS OF CASH AVAILABLE FOR DISTRIBUTION. The income, gains, losses, deductions and
credits of the Company (the “Net Profits” and “Net Losses”) shall be determined for each Fiscal Year in accordance with
generally accepted accounting principles as promulgated in the United States pursuant to the accounting method followed
by the Company, regardless of the accounting method used for federal income tax purposes.
5.2 DISTRIBUTIONS. Cash will be distributed according to the Membership Interest based on cash available for
distribution allowing the Company to keep necessary reserves for future expenses and liabilities. Cash distribution will not
be equal to net income and in fact could vary substantially from net income. It is anticipated that Company will strive to
make cash distributions that at a minimum are adequate to fund Shareholder tax liability arising from the taxable earnings
of the Company. Distributions made in conjunction with the final liquidation of the Company, including, without limitation,
the net proceeds of a Terminating Capital Transaction, will be applied or distributed as provided in this Agreement.
5.3 WITHHOLDING. The Managing Member may withhold distributions or portions thereof if the Company is required
to do so by any applicable rule, regulation, or law, and each Member hereby authorizes the Managing Member to withhold
from or pay on behalf of or with respect to such Member any amount of federal, state, local, or foreign taxes that the
Managing Member determines that the Company is required to withhold or pay with respect to any amount distributable
or allocable to such Member pursuant to this Agreement. Any amount paid or withheld on behalf of or with respect to a
Member pursuant to this Section will be treated as having been distributed to the Member.
5.4 DISTRIBUTIONS IN KIND. No right is given to any Member to demand or receive property other than cash as
provided in this Agreement. The Managing Member may determine in his sole discretion to make a distribution in kind of
Company Assets to a Member or the Members, which the Members will accept, and such Company Assets will be
distributed in such a fashion as to ensure that the fair market value thereof is distributed and allocated in accordance with
this Agreement.
5.5 LIMITATIONS ON DISTRIBUTIONS. Notwithstanding any provision to the contrary contained in this Agreement,
the Company will not knowingly make a distribution to any Member on account of its Membership Interest in the Company
(as applicable) in violation of Florida state laws.
5.6 INVESTMENT RETURN AS TO INVESTORS. As to Investors, the Manager will effectuate the Investment Return
as consistent with the Investor’s Subscription Agreement and relevant Investment Principal and consistent with the
conclusion of the Placement Period subject to any Event of Default.
                                                 ARTICLE 6
                                 ALLOCATIONS OF NET PROFITS AND NET LOSSES
6.1 GENERAL ALLOCATION OF NET PROFITS AND LOSSES. Subject to this Agreement, Net Profits, Net Losses
and any other items of income, gain, loss and deduction of the Company for any fiscal year will be allocated, for purposes
of adjusting the Capital Accounts of the Members, as follows:
      6.1.1 The Net Losses of the Company will be allocated as follows: (i) First, to the Members with positive Adjusted
Capital Account Balances, in proportion to and to the extent thereof; (ii) Second, to the Members who are allocated a
share of the Company’s indebtedness pursuant to Code Section 752, in proportion to and to the extent of each such
Member’s share of the indebtedness that funded the Net Losses being allocated pursuant to this Agreement (determined
by assuming that, once no Member’s Adjusted Capital Account is positive, the Net Losses of the Company are funded in
inverse order of, and to the extent of, the Company’s creditors’ claims to the assets of the Company); and (iii) Thereafter,
to the Members in proportion to their Percentage Interests in the Company.
     6.1.2 The Net Profits will be allocated as follows: (i) First, to the Members in proportion to and to the extent of the
Net Losses as outlined in this Agreement; (ii) Then, to the Members in the proportion and to the extent of the Net Losses
as outlined in this Agreement; (iii) Then, to the Members in proportion to their respective Percentage Interest in the
Company.
6.2    SPECIAL ALLOCATIONS.
    6.2.1     Tax items with respect to an asset contributed to the Company with a Gross Asset Value that varies from its
basis in the hands of the contributing Member immediately preceding the date of contribution will be allocated among the
Members for income tax purposes pursuant to Regulations promulgated under Code Section 704(c) so as to consider
such variation. The Company will account for such variation under any method approved under Code Section 704(c) and

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the applicable Regulations, including the so-called “remedial method,” as selected by the Managing Member, in its sole
discretion. If the Gross Asset Value of any Company Asset is adjusted pursuant to Section 1.21.2 hereof or a similar
adjustment is made pursuant to Section 1.21.2 hereof, subsequent allocations of income, gain, loss and deduction with
respect to such asset will take account of any variation between the adjusted basis of such Company Asset for federal
income tax purposes and its Gross Asset Value in the same manner as under Code Section 704(c) and the Regulations
promulgated thereunder. Allocations pursuant to this Agreement are solely for purposes of federal, state, and local taxes
and will not affect, or in any way be considered in computing, any Member’s Capital Account or share of Net Profits, Net
Losses, and any other items or distributions pursuant to any provision of this Agreement.
     6.2.2     If any Member unexpectedly receives an adjustment, allocation, or distribution of the type contemplated by
Regulations Section 1.704-1(b)(2)(ii)(d)(4), (5) or (6) that causes or increases a deficit Adjusted Capital Account (for this
purpose, combining all Capital Accounts of such Member), items of income and gain will be allocated to all such Members
(in proportion to the amounts of such deficit Adjusted Capital Accounts) in an amount and manner sufficient to eliminate
the deficit balances in such Members’ Adjusted Capital Accounts as quickly as possible as of the end of the Company’s
taxable year to which adjustment, allocation or distribution relates. It is intended that this Section 6.2.2 qualify and be
construed as a “qualified income offset” within the meaning of Regulations Section 1.704-1(b)(2)(ii)(d).
     6.2.3    To the extent that an adjustment to the adjusted tax basis of any asset pursuant to Code Section 734(b) or
Code Section 743(b) is required, pursuant to Regulations Section 1.704-1(b)(2)(iv)(m)(2) or Regulations Section 1.704-
1(b)(2)(iv)(m)(4), to be taken into account in determining Capital Accounts as the result of a distribution to a Member in
complete liquidation of such Member’s Membership Interest, the amount of such adjustment to the Capital Accounts will
be treated as an item of gain (if the adjustment increases the basis of Company Asset) or loss (if the adjustment decreases
such basis), and such gain or loss will be specially allocated to the Members in the event that Regulations Section 1.704-
1(b)(2)(iv)(m)(2) applies, or to the Members to whom such distribution was made in the event that Regulations Section
1.704-1(b)(2)(iv)(m)(4) applies.
     6.2.4    The allocations set forth in Section 6.2.2 and Section 6.2.3 (the “Regulatory Allocations”) are intended to
comply with certain requirements of Regulations Sections 1.704-1(b) and 1.704-2(i). The Regulatory Allocations may not
be consistent with the manner in which the Members intend to distribute the assets of the Company or allocate income or
loss from the Company. Accordingly, the Managing Member is hereby authorized to cause the allocation of Net Profits,
Net Losses and other items of income, gains, loss and deductions of the Company not to distort the manner in which
distributions will be divided among the Members and, further, to ensure that the allocations set forth herein meet the
requirements of the Code and the Regulations.
     6.2.5     For any fiscal year during which any part of a Membership Interest is Transferred between the Members, the
portion of the Net Profits, Net Losses, and other tax items that are allocable with respect to such part of a Membership
Interest will be apportioned between the transferor and the transferee under any method allowed pursuant to Code Section
706 as determined by the Managing Member.
      6.2.6    In the event that the Code requires allocations of tax items different from those set forth in this Agreement,
the Managing Member is hereby authorized to make new allocations in reliance on the Code. Specifically, the Managing
Member is authorized to take such steps as the Managing Member deems necessary or advisable in order to comply with
the rules under Regulations §§1.704-1 and 1.704-2 dealing with “substantial economic effect” as it affects the allocation
of income and loss. No such new allocation will be grounds for any claim or cause of action by any Member. The
Members will be bound by the provisions of this Agreement in reporting their Units of Net Profits, Net Losses, and other
tax items for federal, state, and local income tax purposes.
    6.2.7   The Members acknowledge and are aware of the income tax consequences of the allocations made by this
Agreement and hereby agree to be bound by the provisions of this Agreement in reporting their Units of Net Profits, Net
Losses, and other items of income, gain, loss, deduction, and credit for federal, state, and local income tax purposes.
                                                         ARTICLE 7
                             PRICE & TRANSFER OF UNITS, RIGHT OF FIRST REFUSAL
7.1 PURCHASE PRICE AND TERMS OF PURCHASE. (i) In case of any divorce or bankruptcy that may be in any
way related to or affect the Membership Units, the Company retains its right of first refusal to buy back the relevant Units
at Book Value; (ii) In case of death or judicially determined incapacity of a Member, the Company retains its right of first
refusal but not an obligation to buy back the relevant Units at Fair Market Value. The Company and Shareholder shall
endeavor to designate a mutually acceptable appraiser to determine such value. If the parties have not agreed on an
appraiser within forty days after the Company’s exercise of the option, each party shall appoint its own appraiser within
thirty days thereafter. The two appraisers shall determine the value of the Units within sixty days after their appointment.
If the higher of the two appraisals is less than 110% of the lower appraisal, the value of the Units shall be the average of
such values. If the higher of the two appraisals is 110% or more of the lower appraisal, the appraisers shall within twenty
days appoint a third appraiser. If the two appraisers fail to appoint or agree upon a third appraiser within such period, a
third appraiser shall be appointed by the parties if they so agree within further period of twenty days. If an appraiser is not

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appointed or agreed upon with the time herein provided, either party may apply to an appropriate court of competent
jurisdiction for the appointment of such appraiser. The third appraiser shall determine the value of the Units pursuant to
the provisions of this Article within thirty days after such appraiser’s appointment and the value so determined shall be
determinative as to the value of the Units unless it is higher than the higher, or lower than the lower, of the two original
appraisals, in which case such previous high and previous low determination shall be averaged and shall establish the
value.
7.2 If a person appointed as an appraiser by or on behalf of either party fails or ceases to act for any reason, and the
party by or on behalf of whom such appraiser was appointed fails to appoint a substitute or successor appraiser within ten
days after being requested to do so by the other party, the appraiser in question shall be appointed by an appropriate
court of competent jurisdiction upon application of either party.
7.3 Each appraiser shall execute such agreements as the Company reasonably requests whereby the appraiser agrees
to treat as confidential any proprietary information of the Company obtained by the appraiser in connection with the
appraisal. The Company will fully cooperate to effectuate the appraisal. For purposes of the preceding sentence, the
Company shall be deemed to be a Florida corporation and Shareholder shall be deemed to own such number of Units of
the Company’s stock as to the enable Shareholder to inspect and review the Company’s books and records under Florida
law. Each party shall bear one-half of the cost of a mutually appointed appraiser. If there is no mutual agreement, each
party shall bear and pay the cost of the appraiser appointed by (or for) such party, and the cost of any third appraiser shall
be borne equally by the parties. Both parties shall be given reasonable advance notice of the time and place of any
appraisal proceedings and shall have the right to be present, heard, and represented by counsel.
7.4 Shareholder shall retain and the Company grants a security interest in the Units purchased by the Company to secure
the Company’s obligation to pay the purchase price for the Units. In such regard, Shareholder shall have all the rights and
remedies of a secured party now or hereafter under Florida and any other applicable laws for the collection of the
Company’s obligation and the enforcement of the security interest. Unless and until Shareholder disposes of the Units
pursuant to Shareholder’s enforcement of the security interest after the Company’s default in the payment of the purchase
price, the Units shall be treasury Units of the Company. Upon Shareholder’s disposition of the Units pursuant to
Shareholder’s enforcement of the security interest, the Units shall be deemed to be validly issued and outstanding and
fully paid and non-assessable. At the closing, the Company shall deliver possession of the certificate evidencing the Units,
shall execute such financing statements relating to the Units and shall perform such other acts as Shareholder requests
so that Shareholder’s security interest in the Units is perfected as a first lien on the Units. Shareholder’s resort as a secured
party to any remedy provided by law shall not prevent the concurrent or subsequent employment of any other appropriate
remedy.
7.5 The closing of the sale and purchase of Units pursuant to the exercise of the Company’s option shall occur within
thirty days after the value of the Units is determined. The closing shall occur at the Company’s principal office in Florida.
At the closing, Shareholder shall convey ownership of the Units to the Company free of any lien, claim or encumbrance,
except for Shareholder’s retained security interest. If Shareholder fails to convey the Units to the Company at the closing,
the Company may obtain ownership thereof by tendering the purchase price to Shareholder whereupon the Units shall
be registered in the Company’s name on the Company’s books. All obligations of each party under this Agreement shall
survive the closing.
7.6 Each Shareholder in the Company agrees to this Agreement’s following clauses: (a) Only one class of stock is
authorized; (b) Each Shareholder of Company is guaranteed a right to participate in future equity offerings and will not be
diluted; (c) Distributions and dividends will be pro rata to stock ownership and subject to Board of Director’s approval; (d)
Each Shareholder agrees to accept and follow any transaction approved by a Majority of Interest; (e) Each Shareholder
will agree to a right of first refusal for the Company or existing Shareholders to repurchase stock at fair market value as
determined by a formula and the terms of this Agreement. Such purchase may be funded by the Company or
Shareholders over time rather than through an immediate cash payment. By their execution of a joinder herein, each
Shareholder’s spouse acknowledges and agrees that the expected shareholder agreement will contain the Company’s
or existing Shareholder’s right of first refusal described herein and the Shareholder’s spouse shall further execute such
agreement. Each Shareholder spouse further agrees and recognizes that should any provision of the shareholder
agreement or any Joinder by a spouse of a Member for any reason be held to be invalid, unenforceable, or contrary to
public policy or law, the right of first refusal set out herein shall remain inviolate.
7.7 Any attempted assignment or other transfer of Units in breach of this Agreement shall be void and of no effect. This
Agreement shall be specifically enforceable and upon the breach or attempted breach of this Agreement by a party, the
other party shall be entitled to injunctive relief against such breach or attempted breach in addition to any other remedy at
law or in equity, including the recovery of damages. In addition, the prevailing party in any suit brought to enforce or
interpret this Agreement shall be entitled to recover reasonable attorneys’ fees and necessary disbursements in addition
to all other relief awarded.



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7.8 Except as permitted under this Agreement, neither the Units nor any interest therein may be transferred, whether
voluntarily or involuntarily, by operation of law or otherwise, whether through a sale, gift, partition, pledge, or otherwise,
without the advance written consent of the Company. The Company may grant or withhold its consent to a transfer as to
which its consent is required in its sole and uncontrolled discretion.
7.9 Units held by Shareholders may be transferred without the consent of the Company: (a) to the personal
representatives, heirs and distributees of the estate of Shareholder following the death of Shareholder; (b) to the guardian
of the estate of Shareholder following the judicially- determined incapacity of Shareholder; or (c) in or by virtue of an
involuntary proceeding involving Shareholder (An involuntary proceeding means a proceeding or event by which Units or
an interest therein are transferred by or subject to a charging order, attachment, execution, bankruptcy, receivership,
foreclosure or other proceeding similar to the foregoing).
Provided, however that this Clause 7.9 shall not affect or diminish the Company’s right of first refusal and option to
purchase the Units from the transferee as provided for in this Agreement. Upon a permitted transfer of Units, the transferee
shall be included within the term “Shareholder” for all purposes of this Agreement and the transferred Share shall continue
to be subject to this Agreement.
7.10       No purported transfer of Units shall be permitted or effective, and any purported transfer of Units shall be void:
(a) if the transferee’s ownership of the Units would disrupt the status of the Company as an S corporation if the Company
is an S corporation at the time of the proposed transfer; or (b) if Shareholder or the transferee of the Units (or any spouse
of transferee fails to execute such documents as the Company designates (and in the form and substance designated by
the Company) to further evidence the applicability of this Agreement to the transferee (and the transferee’s spouse) and
to the Units transferred to the transferee, including the applicability of the Company’s option to purchase the Units as
provided in this Agreement.
7.11     This Agreement shall apply to the interest, if any, which the spouse of Shareholder owns or may acquire in the
Units held by Shareholder, including any interest of the spouse arising by the virtue of community property laws in the
case that the Partition Agreement evidenced by a Joinder or otherwise to this Agreement is held to be unenforceable by
a Court of competent jurisdiction. If pursuant to the terms of this Agreement, Shareholder is obligated to sell any Units held
by Shareholder, all interest held or claimed in such Units by the spouse of Shareholder shall be included therewith and
acquired by the purchaser of such Units; provided, however, that such spouse’s interest shall continue in the proceeds of
the sale of the Units.
7.12      The restrictions imposed by this Article shall terminate upon a Public Offering. A “Public Offering” means the first
date, if any, that Units of the Company’s capital stock are publicly traded on an established securities market or are
admitted to quotation on the National Association of Securities Dealers Automated Quotation System.
7.13      This Agreement shall be binding upon the personal representatives, heirs, successors and permitted assigns of
a Shareholder and shall inure to the benefit of the Company’s successors and assigns. Upon the death or the judicially-
determined incapacity of a Shareholder, the surviving spouse or any other person the deceased has declared to be his
successor-in-law shall receive and continue to represent the interests and the ownership interest of the deceased or
incapacitated Shareholder. This personal representative of Shareholder (if Shareholder is decreased) or to the guardian
of the estate of Shareholder (if Shareholder is decreased) or to the guardian of the estate of Shareholder (if Shareholder
is incapacitated) shall have no voting rights and shall have no veto rights in Company. Company shall have the option to
purchase all, but not less than all, of the Units held by the personal representative of the decreased or incapacitated
Shareholder. The option shall be exercisable by notice to the personal representative of Shareholder (if Shareholder is
decreased) or to the guardian of the estate of Shareholder (if Shareholder is decreased) or to the guardian of the estate
of Shareholder (if Shareholder is incapacitated) during the period beginning on the date of Shareholder’s death or date of
determination of incapacity, as applicable and ending one hundred twenty days after the Company receives a request to
transfer the Units as the result of the death or determination of incapacity of Shareholder.
7.15      Upon the transfer of any Units in or by virtue of an involuntary proceeding involving Shareholder, the Company
shall have the option to purchase all or any portion of the transferred Units at any time thereafter. The option shall be
exercisable by notice to the transferee at any time after the Company receives a request to transfer the Units as the result
of the involuntary proceedings.
7.16      If Shareholder receives a bona fide offer for all or a portion of the Units held by Shareholder and Shareholder
desires to sell pursuant to such offer, Shareholder shall notify the Company of the identity of the offeror (the “offeror”), the
amount and method of payment of the purchase price and all other terms and conditions of the offer (the “Third Party
Offer”). The Company shall thereupon have the option, exercisable for period of thirty days after the date the notice is
given, to purchase the Units covered by the Third Party Offer at the price and on the terms set forth therein, except that
the Company shall have not less than ninety days after the date the notice is given to close the purchase of the Units after
the Company’s exercise of the option and the closing shall occur at the Company’s principal office in Florida.
7.17     If the Company does not exercise such option, Shareholder shall be free to sell the Units covered by the Third
Party Offer if such sale is made to the Offeror and at the price and in accordance with all other terms of the Third Party

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Offer, except that in all events the sale must be closed not later than ninety days of the notice of the Third Party Offer is
given by Shareholder.
7.18 Notwithstanding the restrictions set out in this Article, in the event that a Majority of Interest approves a sale
transaction regarding Company Units (to a “Drag-Along Right Holder”), whether such sale is in one transaction or a series
of related transactions, to an third party purchaser (or group of related purchasers) or whether directly or indirectly or by
way of sale, merger, statutory share exchange, recapitalization, reclassification, consolidation, or other business
combination transaction or purchase of beneficial ownership (a “Sale Transaction”), the Drag-Along Right Holder may
send written notice (the “Drag-Along Notice”) to the Company and the remaining Members (the “Drag-Along Sellers”)
notifying them of such proposed Sale Transaction and of their obligations pursuant to the Sale Transaction. In a case of
a Drag-Along Right Holder’s entering into a Sale Transaction, such Sale Transaction’s monetary terms and conditions will
be the same for both the Drag-Along Sellers and for the Drag-Along Right Holder.
     (a) The Drag-Along Sellers shall have the right to receive from the Drag-Along Right Holder either (i) the most recent
purchase agreement, and related documents, pursuant to which the Sale Transaction will occur or (ii) a brief summary of
the material terms and conditions of such purchase agreement and related documents. Upon receipt of a Drag-Along
Notice, each Drag-Along Seller receiving such notice shall be obligated to (i) sell their Units through the Sale Transaction
(including a sale or merger) contemplated by the Drag-Along Notice on the terms and conditions of such notice, and (ii)
otherwise take all necessary action to cause the consummation of such transaction, including voting all of its Units in favor
of such Sale Transaction and not exercising any appraisal or dissenters rights in connection therewith all of which rights
the Members hereby explicitly waive. Each Drag-Along Seller further agrees to (A) take all actions (including executing
documents) in connection with the consummation of the proposed Sale Transaction as may reasonably be requested of
him, her or it by the Drag-Along Right Holder and (B) appoint the Drag-Along Right Holder, as its attorney-in-fact to do the
same on its behalf. In connection with any Sale Transaction, no Drag-Along Seller shall be required to (1) make any
representations or warranties (except as they relate to such Drag-Along Seller’s ownership of and authority to sell its
Units), (2) agree to any noncompetition or non-solicitation covenants beyond such already entered into, or (3) provide any
indemnity.
     (b) Each Member covenants and agrees to this Section and that the Member shall not raise any objections against
any Sale Transaction that has been approved by a Majority of Interest. Moreover, all Members shall fully cooperate with
and take all necessary and desirable actions in connection with the consummation of such Sale Transaction, without
limitation, executing and delivering any document consenting to the sale or for exchange of Units, as applicable. As such,
the Members acknowledge and agree that no dissenter’s rights of any kind are granted to the Members and that no part
of this Agreement shall be deemed to establish any right under the Act regarding dissenter’s rights or as a dissenting
shareholder or owner or regarding any fundamental business transaction.
                                                ARTICLE 8
                       DISSOLUTION, LIQUIDATION, AND TERMINATION OF THE COMPANY
8.1 LIMITATIONS. The Company may be dissolved, liquidated, and/or terminated only pursuant to the provisions of
this Agreement, and the Members do hereby irrevocably waive any and all other rights they may have to cause a
dissolution of the Company or a sale or partition of any or all of the Company’s assets.
8.2 EXCLUSIVE CAUSES. Notwithstanding Florida state law, the following and only the following events singly or in
concert will cause the Company to be dissolved, liquidated, and/or terminated: (i) The occurrence of a Terminating Capital
Transaction; (ii) By the vote of at least a Majority in Interest pursuant to this Agreement; (iii) Applicable Law dissolution as
provided in Section 8.6; or, (iv) Judicial dissolution.
8.3 EFFECT OF DISSOLUTION. The dissolution of the Company will be effective on the day on which the event
occurs giving rise to the dissolution, but the Company will not terminate until it has been wound up and its assets have
been distributed as provided in Section 8.5 of this Agreement. During the dissolution of the Company, prior to the
termination of the Company, the business of the Company and the affairs of the Members, as such, will continue to be
governed by this Agreement.
8.4 NO CAPITAL CONTRIBUTION UPON DISSOLUTION. Each Member will look solely to the assets of the
Company for all distributions with respect to the Company, its Capital Contribution thereto, its Capital Account and its
share of Net Profits or Net Losses and will have no recourse therefore (upon dissolution or otherwise) against any other
Member. Accordingly, if any Member has a deficit balance in its Capital Account (after giving effect to all contributions,
distributions and allocations for all taxable years, including the year during which the liquidation occurs), then such Member
will have no obligation to make any Capital Contribution with respect to such deficit, and such deficit will not be considered
a debt owed to the Company or to any other person for any purpose whatsoever.
8.5 LIQUIDATION.
     8.5.1 Upon dissolution of the Company, the Board of Members will liquidate the assets of the Company, and after
allocating all income, gain, loss and deductions resulting therefrom, will apply and distribute the proceeds thereof as

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follows: First, to the payment of the obligations of the Company, to the expenses of liquidation, and to the setting up of any
Reserves for contingencies which the Board of Members may consider necessary. Thereafter, to the Members in
proportion to the positive balances in the Members’ respective Capital Accounts, determined after considering all Capital
Account adjustments for the Company taxable year during which such liquidation occurs by the end of the taxable year in
which such liquidation occurs or, if later, within ninety (90) days after the date of the liquidation.
     8.5.2 Notwithstanding Section 8.5.1, in the event that the Board of Members determines that an immediate sale of
all or any portion of Company Assets would cause undue loss to the Members, the Board of Members, in order to avoid
such loss to the extent not then prohibited by Florida state law, may either defer liquidation of and withhold from distribution
for a reasonable time any Company Assets except those necessary to satisfy the Company’s debts and obligations, or
distribute Company Assets to the Members in kind.
8.6 MODIFICATION OR DISSOLUTION TO COMPLY WITH APPLICABLE LAWS. The Managing Member is
authorized and required by this Agreement to undertake all acts or amendment without consulting any Member in order
to ensure that the Company operates at all times in a manner consistent with Applicable Laws. Written notice of such act
or amendment will promptly be given to the Members. If the Managing Member determines in good faith that compliance
with Applicable Laws is impossible or infeasible, the Managing Member must delegate the authority to the Board of
Members and the Board of Members may cause the Company to dissolve and liquidate pursuant to this Section 8.6.
                                                         ARTICLE 9
                                                LIABILITY; INDEMNIFICATION
9.1 LIABILITY OF MEMBERS. Except as otherwise required by any non-waivable provision of Florida state law or
other Applicable Law: (a) no Member or Managing Member will be personally liable in any manner whatsoever for any
debt, liability or other obligation of the Company, whether such debt, liability or other obligation arises in contract, tort, or
otherwise; and (b) no Member will in any event have any liability whatsoever in excess of (i) the amount of its Capital
Contributions, (ii) its share of any assets and undistributed profits of the Company, (iii) the amount of any unconditional
obligation of such Member to make Additional Capital Contributions to the Company pursuant to this Agreement, and (iv)
the amount of any wrongful distribution to such Member, if, and only to the extent, such Member has actual knowledge
(at the time of the distribution) that such distribution is made in violation of Florida state law. The debts, obligations, and
liabilities of the Company, whether arising in contract, tort or otherwise, will be solely the debts, obligations and liabilities
of the Company.
9.2 INDEMNIFICATION. Except and otherwise resolved by the members, the Company will indemnify and hold
harmless each member that is a Managing Member, and each Member of the Board of Members all other officers of the
Company, if any, (each, a “Covered Person”), to the full extent permitted by law from and against any and all losses,
claims, demands, costs, damages, liabilities, joint and several, expenses of any nature (including attorneys’ fees and
disbursements), judgments, fines, settlements and other amounts arising from any and all claims, demands, actions, suits
or proceedings, civil, criminal, administrative or investigative, in which the Covered Person may be involved, or threatened
to be involved as a party or otherwise, relating to the performance or nonperformance of any act concerning the activities
of the Company, if (i) the Covered Person’s conduct did not constitute bad faith, willful or intentional misconduct, or a
knowing violation of the law; (ii) the relevant transaction was not one from which the Covered Person derived an improper
personal benefit; (iii) no improper distribution circumstances are germane to the Covered Person; and, (iv) the Covered
Person has not breached duties or obligations under the standard of conduct for the Covered Person as Member or
Managing Member under state law. The termination of an action, suit or proceeding by judgment, order, settlement, or
upon a plea of nolo contendere or its equivalent, will not, in and of itself, create a presumption or otherwise constitute
evidence that the Covered Person acted in a manner contrary to that specified in clauses (i) - (iv) above. This Section will
not be deemed to create any rights for the benefit of any other Person.
9.3 EXPENSES. To the fullest extent permitted by Applicable Law, expenses (including legal fees) incurred by a
Covered Person in defending any claim, demand, action, suit or proceeding will, from time to time, be advanced by the
Company prior to the final disposition of such claim, demand, action, suit or proceeding upon receipt by the Company of
a written undertaking by or on behalf of the Covered Person to repay such amount if it will be determined that the Covered
Person is not entitled to be indemnified as authorized in Section 9.3.
                                                       ARTICLE 10
                                                     CONFIDENTIALITY
10.1 The Members acknowledge that they will have access to confidential information relating to the Company including
this Agreement, business plans, financial information, patient treatment information, trade secrets, statistical data,
diagrams, drawings, specifications or other proprietary information relating thereto, together with all analyses,
compilations, studies or other documents, records or data prepared by the Managing Member or his duly authorized
representatives which contain or otherwise reflect or are generated from such information (“Confidential Information”).
The term “Confidential Information” includes the business plans and financial information relating to the Company provided
by the Members. The term “Confidential Information” does not include information received by Members in connection

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with the transactions contemplated by this Agreement which (i) is or becomes generally available to the public other than
as a result of a disclosure by such Member or its duly authorized representatives, (ii) was within such Member’s
possession prior to its being furnished to such Member in connection with the transactions contemplated by this
Agreement or (iii) becomes available to such Member on a non-confidential basis from a source other than the other
Members or any of their respective duly authorized representatives. For purposes of this Agreement, Confidential
Information will not include, and no Member’s obligations under this Agreement will extend to, (i) information that is
generally available to the public or within the industry, and (ii) information obtained by such Member from Persons not
under agreement to maintain the confidentiality of the same.
10.2 The Members will treat all Confidential Information as confidential, preserve the confidentiality of such Confidential
Information and not disclose any Confidential Information to any person or entity, except to their respective duly authorized
representatives who need to know such Confidential Information in connection with the transactions contemplated by this
Agreement or in connection with the Member’s exercise of rights under this Agreement. The Members will use all
reasonable efforts to cause their respective duly authorized representatives to treat all Confidential Information as
confidential, preserve the confidentiality of such Confidential Information and not disclose any Confidential Information.
Each Member will be responsible for any breach of this Agreement by any of their respective duly authorized
representatives. If Confidential Information is disclosed, the Member responsible for such disclosure will immediately
notify the Managing Member in writing and take all reasonable steps required to prevent further disclosure.
10.3 Following the date upon which any Member no longer owns any Membership Interests in the Company, and as
soon as possible after the Company’s written request, such Member will return to the Company all written Confidential
Information of the Company that has been provided to such Member, and such Member will destroy all copies of any
analyses, compilations studies or other documents containing or reflecting any Confidential Information of the Company.
Each Member will, upon written request of the Company and within five (5) Business Days of the receipt of such request,
deliver to the Company a notarized document certifying that such written Confidential Information of the Company have
been returned or destroyed in accordance with this Agreement.
10.4 If a Member or any of its respective duly authorized representatives are requested or required (by oral questions,
interrogatories, requests for information or documents in legal proceedings, subpoena, civil investigative demand or other
similar process) or are required by operation of law to disclose any Confidential Information, the Member requested or
required to disclose such Confidential Information will provide the Managing Member with prompt written notice of such
request or requirement, which notice will, if practicable, be at least forty-eight (48) hours prior to making such disclosure,
so that the Managing Member may seek a protective order or other appropriate remedy and/or waive compliance with the
provisions of this Agreement. If, in the absence of a protective order or other remedy or the receipt of such a waiver, the
Member requested or required to disclose Confidential Information or any of its duly authorized representatives are
nonetheless, in the opinion of counsel, legally compelled to disclose Confidential Information, then the Member requested
or required to disclose Confidential Information may disclose that portion of the Confidential Information which such
counsel advises is legally required to be disclosed, provided that the Member requested or required to disclose
Confidential Information use their reasonable efforts to preserve the confidentiality of the Confidential Information,
whereupon such disclosure will not constitute a breach of this Agreement.
                                                     ARTICLE 11
                                                RESTRICTIVE COVENANT
11.1 COVENANT NOT TO COMPETE. In consideration of the mutual promises contained herein and the Company’s
obligation to provide access to information and Confidential Information herein, the Members agree that, for as long as
the Members own, directly or indirectly, any Membership Interest in the Company and for a period of two (2) years after
the date of termination of a Member’s ownership of Membership Units, a Member will not, either directly or indirectly, own
a beneficial interest in a Company competitive with PTLT as of the effective date of termination: (A) provide competitive
services (as defined below), nor (B) Control, have any beneficial or ownership interest in (excluding ownership of less than
five percent (5%) of the equity of any publicly-traded entity), develop, manage, operate, or be employed by, or provide any
administrative services to any company competitive to PTLT. The Members and the Company agree that a reasonable
price for a Member to buy-out of this restrictive covenant is Five Hundred Thousand Dollars ($500,000) (“Buy-Out
Amount”) payable in cash or by cashier’s check to the Company. Upon full payment of the Buy-Out Amount by the
Member to the Company, the foregoing restrictive covenant will no longer be applicable.
11.2 INJUNCTIVE RELIEF. The Members acknowledge and agree that (i) the covenants and restrictions contained in
this Agreement are necessary, fundamental, and required for the protection of legitimate business interests of the
Company; (ii) such covenants and restrictions relate to matters that are of a special, unique, and extraordinary character;
and, (iii) a breach of any such covenants or restrictions will result in irreparable harm and damages to the Company that
cannot be adequately compensated by a monetary award. Accordingly, the Members expressly agree that in the event of
an actual or threatened breach by a Member of the covenants contained this Agreement, the Company will be entitled to
a temporary restraining order or an injunction (or both) to specifically enforce the provisions of this Agreement. Further,
nothing herein will be construed as prohibiting compensation to the Company for such breach or threatened breach,

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including (but not necessarily limited to) recovery of damages from the Member and for reasonable attorney’s fees. The
provisions of this Section 11.2 will survive termination of this Agreement.
11.3 CHANGE IN LAW. In the event that, subsequent to the Effective Date of this Agreement, there is a change in
Florida law governing covenants not to compete that renders all or a portion of the provisions of Sections 11.1 or 11.2
hereof unenforceable or if such provisions are deemed by a court of competent jurisdiction to be unenforceable, then the
provisions of this Agreement will be modified by the parties within thirty (30) days or, if the parties are unable to agree to
such modification within such thirty-day period, by a court of competent jurisdiction, to the extent necessary to bring the
provisions of Sections 11.1 or 11.2 within the scope of such applicable law and such modification will be in a manner that,
as closely as possible, enforces the intent of Sections 11.1 or 11.2 as set forth herein and the parties hereto will comply
with such provisions as modified. The provisions of this Section 11.3 will survive termination of this Agreement.
11.4 SECURITIES LAWS. The term “Securities Laws” means that the Securities Act of 1933, as amended (the “Act”)
and applicable state securities laws. Shareholder acknowledges that (a) the Units have not been registered under the
Securities Laws and that the Units have been issued pursuant to exemptions from such laws; (b) the Units have not been
filed with or reviewed by any federal or state securities administrators. Shareholder represents that Shareholder acquired
the Units for Shareholder’s own account and for investment purposes only, and without the intention of reselling or
redistributing the Units. If any person holding or claiming an interest in the Units desires to have the Company recognize
a transfer of the Units, the Units will not be transferred unless and until the Company determines that the proposed transfer
is exempt from the registration provisions of the Securities Laws. If requested by the Company, Shareholder shall furnish
the Company with a written opinion of legal counsel satisfactory to the Company, which opinion shall be satisfactory in
form and substance to the Company’s counsel, that the proposed transfer is exempt from the registration provisions of
the Securities Laws.
                                                       ARTICLE 12
                                                    MISCELLANEOUS
12.1 ACCOUNTING AND FISCAL YEAR. Subject to Code Section 448, the books of the Company will be kept on such
method of accounting for tax and financial reporting purposes as may be determined by the Managing Member. The
fiscal year of the Company will end on December 31st of each year, or on such other date permitted under the Code as
the Managing Member will determine.
12.2 AMENDMENTS. Subject to the right of the Managing Member pursuant to Section 8.6 hereof to unilaterally amend
this Agreement to comply with Applicable Law, this Agreement may be altered, amended, or repealed only with approval
of a Majority in Interest.
12.3 JOINDER OF SPOUSES. When Membership Interests or Units are owned by individual Persons, such Members’
spouses will join in the execution and delivery of this Agreement for the express purpose of recognizing the Company’s
or Shareholders’ right of first refusal described in this Agreement. By their signature of to a Joinder to this Agreement the
relevant Members’ spouses acknowledge that they are fully aware of, understand, and fully consent and agree to the
provisions of this Agreement and its effect upon any property interest they may now or hereafter own. Nonetheless, per
each Member spouse’s joinder and partition germane to the Units, the Members’ spouses release, assign and partition
any property interest that they now or may ever have in a Membership Interest or Unit in favor of their spouse and which
release, assignment and partition further evidences the Member’s spouse’s acknowledgement that the Company’s or
Shareholder’s right of first refusal to repurchase stock shall remain inviolate.
12.4 CAPTIONS; PRONOUNS. Any titles or captions contained in this Agreement are for convenience only and will not
be deemed part of the text of this Agreement. All pronouns and any variations thereof will be deemed to refer to the
masculine, feminine, neuter, singular or plural as appropriate.
12.5 CONSTRUCTION. This Agreement will be construed as if all Members prepared this Agreement.
12.6 COUNTERPARTS. This Agreement may be executed in any number of multiple counterparts, each of which will
be deemed to be an original copy and all of which will constitute one agreement, binding on all Members hereto.
12.7 NOTICE TO MEMBERS OF PROVISIONS OF THIS AGREEMENT. By executing this Agreement, each Member
acknowledges that the Member has actual notice of all of the provisions of this Agreement and all provisions of the
Certificate.
12.8 DISPUTE RESOLUTION. Except for material deadlocks as specifically addressed in this Agreement any
controversy or dispute related to or arising out of this Agreement, the management and operations of the Company, or
the management and operations of an Affiliate of the Company, the Members agree to meet and confer in good faith to
attempt to resolve the controversy or dispute without an adversary proceeding. If the controversy or dispute is not resolved
to the mutual satisfaction of the Members within ten (10) Business Days of notice of the controversy or dispute, then such
dispute will be resolved in accordance with the following dispute resolution procedures:




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      1. DISPUTES. This Policy is intended to be applied to disputes or claims between or among the Members and
Members that arise out of or relate to their relationship as Members of the Company Any dispute to which this Policy
applies is called a “Dispute” and any person, corporation, or entity that is subject to this Policy is called a “Party.”
       2. MEDIATION. Disputes will be subject to mediation conducted as follows: (a) Any Party wishing to commence
mediation will send a written notice of intent to mediate to the other Party, specifying in detail the nature of the Dispute and
proposing a resolution thereof. Within fifteen (15) calendar days after such notice is received by the other Party, if the
parties cannot agree on a proposed mediator, one will be appointed by the executive director or functional equivalent of
the American Arbitration Association (AAA) or its successor from a list provided by AAA. Each Party will designate no
more than three (3) representatives who will meet with the mediator to mediate the dispute. Mediation will be commenced
as soon as the mediator can be scheduled after the other Party receives such notice. The mediator will be a person
having no conflict of interest relationship with a Party; (b) The mediation will be non-binding. Any non-binding mediation
conducted under the terms of this Section will be confidential. The cost of the mediation will be borne equally by the
Parties; (c) Should a Party disagree with the decision rendered by the mediators; the Parties will have the right to proceed
with arbitration proceedings as set forth below.
        3. ARBITRATION. Mediation will be a prerequisite to invoking arbitration. If unsuccessful in resolving an issue
submitted to mediation as outlined above, such Dispute must be resolved by binding arbitration be conducted in Florida.
The Party wishing to commence arbitration will send a written notice of intent to arbitrate to the other Parties. Arbitration
will be commenced as soon as the arbitrators can be scheduled after such notice is received by the other Party, using a
single arbitrator if the Parties can agree upon one within such thirty (30) day period. Otherwise, each Party will appoint
one neutral arbitrator within the thirty (30) day period and the arbitrators so appointed will together appoint a third-party
arbitrator for the arbitration between the parties.
        4. It is expressly understood by each signatory to this Agreement that during the term of this Agreement, in case
of any dispute under this Agreement, and after the term of this Agreement, Company’s counsel, by virtue of his or her
professional responsibilities, is barred from advising individual Members/shareholders and may only represent Company’s
interests. In particular, all shareholders understand that the attorney-client privilege does not extend to individual
shareholders, officers, directors, or employees of Company, but only covers the Company as one separate, independent
entity.
12.9 ENTIRE AGREEMENT. This Agreement constitutes the entire agreement between the Members hereto pertaining
to the subject matter hereof and fully supersedes any and all prior or contemporaneous agreements or understandings
between the Members hereto pertaining to the subject matter hereof.
12.10 EFFECT OF WAIVER OR CONSENT. The Managing Member may give an express or implied waiver or consent
to a specific breach or default by a Person of that Person’s obligation to the Company. Any specific waiver or consent is
not; however, a consent or waiver to any other breach or default in the Person’s performance of the Person’s same or
other obligations to the Company. A Person’s failure to complain of any Person’s acts or to declare any Person in default
with respect to the Company does not waive that Person’s rights with respect to that default until the applicable statute-of-
limitations period has run.
12.11 GENERAL COMPLIANCE. The Members enter into this Agreement with the intent of conducting the relationship
in full compliance with Applicable Laws. Notwithstanding any unanticipated effect of any of the provisions of this
Agreement, no Member or any Managing Member or other Person acting on behalf of the Company will intentionally
conduct himself or itself under the terms of this Agreement in a manner that would constitute a violation of Applicable
Laws. The Members will perform their obligations under this Agreement in accordance with the terms hereof. Any
agreements between the Company and any Member or direct or indirect owner of a Member will be in writing, and the
parties to any such agreement will perform their obligations under such agreement only in accordance with the terms
thereof.
12.12 FURTHER ASSURANCES. Each of the Members hereto does hereby covenant and agree on behalf of itself, its
successors, and its assigns, without further consideration, to prepare, execute, acknowledge, file, record, publish, and
deliver such other instruments, documents and statements, and to take such other action as may be required by law or
reasonably necessary to effectively carry out the purposes of this Agreement.
12.13 GOVERNING LAW; CERTAIN WAIVERS. This Agreement, including its existence, validity, construction, and
operating effect, and the rights of each of the parties hereto, will be governed by and construed in accordance with the
laws of the State of Florida without regard to otherwise governing principles of conflicts of law. The Members waive any
and all rights they may have to punitive, special, exemplary, or consequential damages, in respect of any dispute based
on this Agreement.
12.14 SEVERABILITY. In the event that any provision of this Agreement as applied to any party or to any circumstance,
will be adjudged by a court to be void, unenforceable, or inoperative as a matter of law, then the same will in no way affect
any other provision in this Agreement, the application of such provision in any other circumstance or with respect to any
other party, or the validity or enforceability of the Agreement as a whole.

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12.15 NO REGISTRATION STATEMENT. Each Member represents, warrants, acknowledges, and agrees that: (a) No
Registration. No registration statement is currently on file with the Securities and Exchange Commission with respect to
any Membership Units and the Company has no obligation or current intention to register any Membership Units under
the Federal Securities Act of 1933 or Florida securities law; (b) Company Reliance upon Exception. The Membership
Units have not been registered under the Federal Securities Act of 1933 as the Company has issued such Membership
Units in reliance upon the exceptions and/or exemptions from registration requirements of the Federal Securities Act of
1933 providing for issuance of securities not involving a public offering, together with any corresponding exemptions from
state securities regulations; (c) Held Solely for Investment. The Company has relied upon the Members’ representations
that the Membership Units are to be held by the Members solely for investment purposes and not with a view toward
distribution; (d) View Toward Distribution. The exceptions and/or exemptions from registration under the Federal
Securities Act of 1933 would be unavailable if the Membership Units were acquired by a Member with a view toward
distribution; and (e) Sophisticated Investor. The Member acquired Membership Units in the Company based upon a
diligent review and investigation by the Member of material information from the Company and the Member’s
determination that such acquisition is a suitable investment for the Member based upon such information as well as the
Member’s investment background and history. The Member is a sophisticated investor possessing an expertise in
analyzing the benefits and risks associated with entities that are similar to the Company.
12.16 TAX MATTERS PARTNER. The Managing Member of the Company will be the “Tax Matters Partner” of the
Company in accordance with Code Section 6231(a)(7) (referring to the “tax matters partner”). The Tax Matters Partner
must take the action necessary to cause each other Member to become a “notice partner” within the meaning of Code
Section 6223. The Tax Matters Partner must give prompt notice to all Members of significant matters or communications
the Tax Matters Partner may receive. The Tax Matters Partner may not take any action contemplated by Code Sections
6222 through 6232 without the consent of the holders of at least sixty percent (60%) of the Membership Units.
IN WITNESS WHEREOF, the Members have caused this Agreement to be executed as of the date set forth below their
respective signatures.
MEMBER(S):

            PRINTED NAME OF MANAGING MEMBER, PRESIDENT AND MEMBER: JEFFREY JUDDD




                                      SIGNATURE: _________________________
                                                 BY: JEFFREY JUDD
                                          DATE: _________________________




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                                                       EXHIBIT A
        NAMES OF COMPANY MEMBERS AND PERCENTAGE INTERESTS

                                                UNITS     SHARING         CAPITAL CONTRIBUTION
                                                           RATIO

                    MEMBERS

      JEFFREY JUDD                               100      100.00%   $1000.00 plus In-Kind/Contributed Assets




      Total                                      100      100.00%




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                                                EXHIBIT B
              JOINDER OF INVESTOR TO THE OPERATING AGREEMENT
BY HIS OR HER SIGNATURE BELOW [NAME OF THE INVESTOR:_______________________] ACKNOWLEDGES
THAT HE OR SHE HAS FULLY READ, UNDERSTANDS, AND HAS NO QUESTIONS ABOUT THE COMPANY’S
OPERATING AGREEMENT AND AGREES TO AND JOINS THE EXECUTION AND DELIVERY OF THE
AGREEMENT IN THE CAPACITY OF INVESTOR AND BENEFICIARY OF THE INVESTMENT RETURN IN PARTIAL
BENEFICIARY INTERESTS AND NOT AS A MEMBER, OWNER, OR OTHER CAPACITY GERMANE TO THE
COMPANY, FINANCIAL OR OTHERWISE, AND AGREES TO BE BOUND BY THE OPERATING AGREEMENT’S
TERMS.


PRINTED NAME:
SIGNATURE: _________________
DATE: ______________________




              JOINDER OF SPOUSES TO THE OPERATING AGREEMENT
BY HIS OR HER SIGNATURE BELOW, [NAME OF THE SPOUSE: ___________________] ACKNOWLEDGES THAT
HE OR SHE HAS FULLY READ, UNDERSTANDS, AND HAS NO QUESTIONS ABOUT THE COMPANY’S
OPERATING AGREEMENT AND AGREES TO AND JOINS THE EXECUTION AND DELIVERY OF THE
AGREEMENT. NONETHELESS, MR. OR MRS. ________________________ VOLUNTARILY AND EXPRESSLY
WAIVES ANY RIGHT TO DISCLOSURE OF HIS OR HER SPOUSE’S PROPERTY OR FINANCIAL OBLIGATIONS
BEYOND ANY DISCLOSURE PROVIDED TO DATE REGARDING THE AGREEMENT, OR UNITS, OR OTHERWISE.




PRINTED NAME:
SPOUSE OF _________________


PRINTED NAME:
MEMBER SPOUSE




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           EXHIBIT C
SAMPLE PURCHASE CONTRACTS 100K
      AND 80K (REDACTED)
 COMPANY’S CODE OF ETHICS AND
       BUSINESS CONDUCT
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                          PURCHASE AGREEMENT

      This is a Purchase Agreement ("Agreement") dated the 3rd day of December,
2021. This Agreement is by and between               (“Seller”) who is represented by
                                                 whose address is
                              (“Attorney”) and                                , an
       corporation (“Buyer”) who is represented by                 , Esq. of the
                        (“Buyer’s Attorney”) whose address is                      ,
                         .

A.      Seller has a claim arising from a slip and fall incident which occurred on
February 8, 2020 ("Claim") at                                                  which is
owned and operated by                         . Seller has hired Attorney to represent Seller
in this Claim. Seller has settled the Claim. The entire amount of the settlement is
$            (“Settlement Amount”), less legal fees, superior medical liens existing on
the date of this Agreement, costs and disbursements payable to Attorney under the
existing fee agreement between Seller and Attorney (“Proceeds").

B.      Seller desires to sell and assign to Buyer an interest in the Proceeds. Buyer
desires to purchase the interest in the Proceeds, on the terms and under the conditions
set forth in this Agreement.

BUYER AND SELLER AGREE AS FOLLOWS:

1.     PURCHASE OF INTEREST

a.      Seller hereby sells, transfers, conveys and assigns to Buyer a $100,000.00 interest
("Interest") in the Proceeds for a purchase price of $80,000.00 ("Purchase Price"). Seller
acknowledges receipt of the Purchase Price. Seller understands that the amount of
Buyer’s Interest, or, in other words, the amount to be paid to Buyer, will increase to
reflect the date the Buyer is paid its Interest in the Proceeds as set forth in the following
Disclosure Table ("Disclosure Table"):




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                                  DISCLOSURE TABLE

Purchase Price:             $80,000.00
Administration Fee:         $5,000.00

Date of Payment to Buyer                                       Amount due to Buyer

On or before March 3, 2022                                             $105,000.00
After March 3, 2022 but on or before April 2, 2022                     $115,000.00

*Should Seller not pay Buyer from the Proceeds by April 2, 2022 the Buyer’s Interest
will increase by $10,000.00 every thirty (30) days thereafter.

b.      Buyer’s Interest will be paid by Attorney out of the Proceeds of the Claim and
will be deducted directly from the Proceeds of the Claim and will be paid to Buyer prior
to any payment to Seller with respect to the Claim. If the Proceeds of the Claim
Amount are not enough to pay the full amount due to Buyer, then Buyer shall be
entitled to receive 100% of the Proceeds of the Claim. Seller has directed Attorney to,
among other things,(i) place an assignment, consensual lien and security interest in
favor of Buyer against any and all Proceeds due Seller from the Claim (after payment of
any and all legal fees and reimbursable costs) and to protect and satisfy the assignment,
consensual lien and security interest in favor of Buyer up to the full amount of Buyer’s
Interest, (ii) notify Buyer of receipt of Settlement Amount, (iii) pay Buyer from the
Proceeds the proper amount due to Seller representing Seller’s Interest in the Proceeds
at the time of distribution of the Proceeds prior to any payment to Seller with respect to
the Claim, (iv) respond to requests for information from Buyer and (v) notify Buyer
prior to any disbursements of funds to verify the amount due Buyer. Seller has
provided Buyer with an executed Authorization for Attorney to Pay Buyer from
Proceeds of Claim/Acknowledgement of Authorization by Seller and Attorney in the
form attached as Exhibit "A" ("Authorization and Acknowledgement ").

c.      The amount Buyer is entitled to may be more than is listed in the Disclosure
Table above if Seller does not honor the obligations in this Agreement. Seller will also
be liable to pay Buyer’s Interest, even if there are no Proceeds, if Seller has mislead
Buyer or Attorney concerning Seller’s Claim and will also be liable for Buyer’s attorney'
s fees or collection costs, as permitted by law.

d.     If Seller wants to sell an additional Interest, and if Buyer agrees to purchase an
additional Interest, Buyer and Seller will sign an amended Disclosure Table. Seller
understands that Buyer is not required to purchase any additional Interest.
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e.     In the event that the Claim is the subject of more than one lawsuit, claim or cause
arising out of more than one incident/accident/transaction, or against one or more
defendants, then the amount due Buyer pursuant to this Agreement shall be paid from
the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
including insurance companies and malpractice claims arising out of the Claim, which
results in a monetary recovery. If insufficient funds are available from the first lawsuit,
claim and/or case resulting in a monetary recovery to pay the full amount due Buyer
pursuant to this Agreement, then the balance due Buyer shall be paid from the Proceeds
of the next lawsuit, claim and/or cause, if any.

f.      The amount due Buyer shall be withheld from any money collected as a result of
the Claim and shall immediately be paid to Buyer (after first deducting Attorney's fees
and costs, and any prior liens which exist on the date of this Agreement). Seller agrees
and hereby directs that all Proceeds received in connection with the Claim, are held in
Trust for Buyer until Buyer has been fully paid its Interest. Seller understands that
Seller will not receive any money or payment from the Proceeds of Seller’s Claim until
Buyer has been paid Buyer’s Interest in full. This shall also apply to any structured
settlements. If Seller receives payments from several sources, Seller will pay Buyer all
monies received from each source until Buyer is paid in full its Interest in the Proceeds
of the Claim. Seller acknowledge that receipt or use of any Proceeds of the Claim prior
to the full payment to Buyer of Buyer’s Interest in the Proceeds of the Claim may
constitute an illegal conversion and may be a crime.

2.     GRANT OF SECURITY INTEREST

By signing this Agreement, Seller grants to Buyer a security interest and a lien in the
Settlement Amount and all Proceeds of the Claim ("Collateral"). Buyer shall have all
rights and remedies of a secured party under the Nevada Uniform Commercial Code.
Seller authorizes Buyer to file one or more UCC financing statements regarding Buyer’s
security interest and lien in the Collateral and Seller agrees to take all other steps
reasonably required by Buyer to perfect and maintain the perfection of Buyer’s security
interest.

3.     NO TRANSFER OF CLAIM

Seller is not assigning any portion of the Claim to Buyer, and Buyer is not buying any
portion of the Claim under this Agreement. Buyer has no right or obligation to take any
legal action for Seller in connection with the Claim. Buyer has no right or obligation to
advise, direct or instruct Seller or Attorney in how to go forward with Seller’s Claim.
Buyer will not be involved in the negotiation of any settlement of Seller’s Claim. Buyer
has no obligations or duties concerning the Claim, or the collection of any settlement,
award or verdict from the Claim.
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4.     SELLER’S REPRESENTATIONS AND WARRANTIES

Seller represents and warrants to Buyer that:

a.     Seller is using the funds received from the Purchase Price for Seller’s immediate
economic necessities. Seller has been advised that Seller should not sell any portion of
the Proceeds of the Claim if Seller has any other alternative to meet my immediate
economic necessities. Seller understands that due to the various factors involved that
Buyer may make a large profit.

b.      Seller acknowledges that Seller has been advised to seek the services of legal, tax,
accounting and/or financial advisors in the negotiation and signing of this Agreement.
Seller has either received such counsel prior to signing this Agreement or expressly
waived such counsel. Seller understands from speaking to Attorney and/or other
advisors that the amount of Buyer’s Interest as set forth in the Disclosure Table is
greater than the Purchase Price Seller is receiving, and that there is a cost to Seller
selling Buyer the Interest. Seller understands that Buyer is relying upon Seller’s
representations in deciding to purchase this Interest and Seller represents and warrants
that all statements made by Seller are true and correct as of the date hereof. Seller
understands that if any information provided by Seller changes that Seller has an
obligation to immediately notify Buyer.

c.     Seller is not currently in bankruptcy, there are no pending tax claims or criminal
allegations against Seller, and Seller has complied with all laws in connection with the
Claim. Seller further represent that Seller is not in violation of any obligations
concerning childcare, alimony or support, and Seller has not been convicted of a felony
or other crime involving dishonesty. Other than the Claim itself, there is no claim, legal
action, lien or any proceeding or order pending or in effect or threatened, against Seller,
or which would in any manner affect or impair Buyer's Interest or Buyer's rights under
this Agreement. Seller has been truthful in all aspects of the Claim and has provided all
information to Attorney in a complete and honest fashion. Seller also confirms that all
documents submitted in connection with the investigation and Buyer’s evaluation of
the Claim are true, whether submitted by Attorney or Seller. Seller understands that
Buyer is relying upon these statements in determining whether to enter into this
Agreement.

d.      Seller agrees to not change the fee agreement between Seller and Attorney in any
way that would reduce the amount of Buyer’s Interest in the Proceeds of the Claim.
Seller further promises to notify Buyer in writing within 72 hours if Seller terminates
the services of Attorney, or if Attorney determines not to proceed with the Claim. If
new attorneys are retained to represent Seller in the Claim, Seller will notify Buyer
within 72 hours of the new attorneys being retained, and will direct the new attorneys
to comply with the terms of this Agreement by Seller and the new attorney executing a
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new Authorization and Acknowledgement within 14 days after accepting Seller’s
representation . Seller will also notify Buyer in writing within 72 hours if Seller moves
from the address listed above.

e.      Seller will not knowingly create or permit any additional liens, charges, security
interests, encumbrances, agreements of any kind or other rights of third parties against
the Proceeds of the Claim without the prior written consent of Buyer. Seller specifically
promises not to sell any additional portion of the Proceeds of the Claim after the date of
this Agreement, unless Buyer has given prior written permission. Seller also confirms
that neither the Claim nor the Proceeds are subject to any liens, charges, security
interests, encumbrances, agreements of any kind or nature (other than this Agreement)
or other rights of third parties except for liens previously provided to Seller’s medical
providers. Seller understands that if these statements are not true, it may be considered
as a fraud, as Buyer is relying upon these statements in going forward with this
Agreement.

5.     EVENTS OF DEFAULT

The occurrence of any one or more of the following events shall be an event of default
by Seller under this Agreement (each, an "Event of Default"):

a.      The failure by Seller or Attorney to pay Buyer’s Interest in the Proceeds within
thirty (30) days after the Settlement Amount is received by Seller or Attorney; or

b.      Seller’s failure to perform or comply with any of the agreements, conditions,
provisions or promises contained in this Agreement, including but not limited to if
Buyer does not receive a timely response to a request for information from Seller or
Attorney or if Buyer does not receive a new Authorization and Acknowledgement by
Seller and new attorney within fourteen (14) days after accepting representation, and
such failure to perform or comply continues unremedied for a period of ten (10) days
after written notice from Buyer to Seller, unless such default, in Buyer’s reasonable
discretion, is not curable, in which event there shall be no grace period; or

c.    If Buyer discovers any material misrepresentation or inaccuracy in any
representation or warranty made by Seller to Buyer in this Agreement.

Upon an Event of Default by Seller under this Agreement, Seller agrees that Buyer may
contact any insurance company, claims adjuster or attorney then handling the Claim on
behalf of any responsible party and advise such insurance company, claims adjuster or
attorney about Buyer’s Interest in Seller’s Claim and to direct that Buyer be included as
a payee on settlement checks provided further that nothing herein shall prevent Buyer
from exercising any other right or remedy provided under law or equity. If Buyer does
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anything stated in this paragraph, Buyer shall not be liable to Seller for any damages
which Seller may suffer resulting from Buyer's actions described above.

6.     APPLICABLE LAW

This Agreement shall be governed, construed and enforced in accordance with, and all
disputes arising out of or in connection with this Agreement shall be governed by, the
internal laws of the State of Nevada, without regard to the conflict of law rules of
Nevada or any other jurisdiction.

7.     ARBITRATION

BUYER AND SELLER ACKNOWLEDGE AND AGREE THAT ALL DISPUTES,
CLAIMS, DEFENSES OR CONTROVERSIES (WHETHER IN LAW OR IN EQUITY)
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE RELATIONSHIPS
THAT RESULT FROM THIS AGREEMENT, INCLUDING BUT NOT LIMITED TO
ANY DISPUTES, CLAIMS OR CONTROVERSIES INVOLVING FEDERAL OR STATE
STATUTORY CAUSES OF ACTION OR INJUNCTIVE RELIEF, ANY INVOLVING
FEDERAL OR STATE ADMINISTRATIVE REMEDIES, ANY INVOLVING
CONSUMER FRAUD AND ANY INVOLVING A CHALLENGE TO THE LEGALITY
OF ANY PART OR ALL OF TH IS AGREEMENT ("DISPUTES") SHALL BE RESOLVED
THROUGH FINAL AND BINDING ARBITRATION UNDER THE COMMERCIAL
ARBITRATION RULES ("RULES") OF THE AMERICAN ARBITRATION
ASSOCIATION ("AAA"). THE ARBITRATION SHALL TAKE PLACE BEFORE A
SINGLE ARBITRATOR TO BE CHOSEN BY AGREEMENT OF THE PARTIES, OR
FAILING SUCH, IN ACCORDANCE WITH AAA RULES. THE ARBITRATION
SHALL TAKE PLACE IN THE STATE OF NEVADA, COUNTY OF CLARK UNLESS
THE PARTIES AGREE TO A DIFFERENT LOCATION. THE PARTIES AGREE THAT
THIS ARBITRATION AGREEMENT IS MADE PURSUANT TO A TRANSACTION IN
INTERSTATE COMMERCE AND, EXCEPT AS OTHERWISE EXPRESSLY PROVIDED
HEREIN, SHALL BE GOVERN ED BY THE FEDERAL ARBITRATION ACT, 9 U.S.C.
§1 AND THE SUBSTANTIVE LAWS OF THE STATE OF NEVADA SHALL BE
APPLIED IN ALL EVENTS. JUDGMENT UPON THE AWARD RENDERED MAY BE
ENTERED IN ANY COURT HAVING JURISDICTION. THE PARTIES ALSO AGREE
THAT THE AAA OPTIONAL RULES FOR EMERGENCY MEASURES OF
PROTECTION SHALL APPLY TO THE PROCEEDINGS.

8.     WAIVER OF JURY TRIAL

BUYER AND SELLER, AFTER CONSULTATION WITH THEIR RESPECTIVE
ATTORNEYS, EACH HEREBY WAIVE ANY RIGHT WHICH THEY MAY HAVE TO A
JURY TRIAL, INCLUDING ANY RIGHT VESTED BY FEDERAL, STATE OR LOCAL
STATUTE, IN CONNECTION WITH ANY DISPUTES OR LEGAL PROCEEDING
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INVOLVING, DIRECTLY OR INDIRECTLY, ANY MATTER COMMENCED BY OR
AGAINST EITHER PARTY IN ANY WAY ARISING OUT OF OR RELATED TO THIS
AGREEMENT OR WITH ANY DOCUMENT EXECUTED IN CONNECTION WITH
THIS AGREEMENT.

9.      WAIVER OF CLASS ACTION CLAIMS

SELLER HEREBY AGREES TO WAIVE ANY AND ALL RIGHTS TO (i) ANY DISPUTE
WITH BUYER BEING HANDLED AS A CLASS ACTION AND (ii) JOINING AS A
PLAINTIFF, CLAIMANT, MEMBER OR PARTICIPANT IN ANY CLASS ACTION
AGAINST BUYER. IT IS AGREED THAT ANY ARBITRATION WILL BE LIMITED TO
THE DISPUTE BETWEEN BUYER AND SELLER, AND BUYER AND SELLER WAIVE
ANY RIGHT TO CONSOLIDATE OR TO HAVE HANDLED AS A CLASS ACTION
ANY PROCEEDING ON ANY DISPUTES WITH ANY PROCEEDING ON DISPUTES,
CLAIMS, OR CONTROVERSIES INVOLVING ANY PERSON OR ENTITY NOT A
PARTY TO THIS AGREEMENT.

10.     RECLASSIFICATION OF TRANSACTION

This Agreement represents an investment by Buyer, and not a loan to Seller. However,
should a court of law determine that the transaction set out in this Agreement is a loan
of money, Seller agrees that interest shall accrue at the maxim um rate permitted by
law. Seller agrees that any fees or expenses paid by Buyer in connection with the Claim
will not be included as interest. This includes any attorney's fees and costs Buyer has
expended to enforce its rights under this Agreement. Seller agrees that these will be
considered as a reimbursement to Buyer, rather than as interest.

11.     MISCELLANEOUS

a.      If any part of this Agreement is deemed invalid or unenforceable, it shall not
affect the validity or enforceability of (i) any other part of this Agreement, and the
Agreement shall be modified to the extent legally possible to legally carry out the intent
of this Agreement and (ii) any agreement between Buyer and any other party. This
Agreement and its exhibit make up the entire and only agreement or understanding
between Buyer and Seller. It may not be changed unless signed in writing by Buyer and
Seller. This Agreement takes precedence over all prior agreements, brochures,
negotiations, commitments and representations, whether oral or written, about Seller’s
Claim and Buyer’s purchase of its Interest.
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b.      Should Buyer retain the services of an attorney to enforce the terms of this
Agreement, Seller will be responsible for any costs or expenses (including reasonable
legal fees and expenses) in enforcing Buyer’s rights under this Agreement and the
amount of Buyer’s Interest shall be increased in an amount equal to Buyer’s costs and
expenses.

c.      This Agreement will be binding upon Buyer and Seller, and each of their heirs,
executors, administrators, successors and assigns. Seller understands and agrees that
Seller has no right to assign Seller’s rights and obligations under this Agreement. Seller
further understands and agrees that Buyer may assign its rights and obligations under
this Agreement (and Buyer’s Interest) to any party without Seller’s prior approval,
provided that any such party agrees to be bound by the terms and conditions of this
Agreement. It is agreed that if Buyer assigns this Agreement as provided in the prior
sentence, Buyer shall have no further obligations under this Agreement and Seller must
look solely to the party Buyer assigned the Agreement to for performance under this
Agreement. When requested by Buyer or any assignee, Seller will sign and deliver any
and all reasonably requested documents as Buyer or such assignee may require to
confirm the various rights and obligations of the parties under this Agreement. This
Agreement may be signed in separate counterparts. A facsimile signature shall be
deemed to be an original signature.

12.     RIGHT TO CANCEL

SELLER HAS THE RIGHT TO CANCEL THIS AGREEMENT WITHOUT PENALTY
OR FURTHER OBLIGATION AT ANY TIME PRIOR TO MIDNIGHT OF THE FIFTH
(5TH) BUSINESS DAY FROM THE DATE SELLER RECEIVES FUNDING
HEREUNDER FROM BUYER.

In order for the cancellation to be effective, Seller must return the full amount of
disbursed funds to Attorney within five (5) business day of the disbursement of funds
who will then return the amount to Buyer’s Attorney upon the clearance of the funds in
Attorney’s Trust Account.

DO NOT SIGN THIS AGREEMENT BEFORE YOU READ IT COMPLETELY OR IF IT
CONTAINS ANY BLANK SPACE. BEFORE YOU SIGN THIS AGREEMENT YOU
SHOULD OBTAIN THE ADVICE OF YOUR ATTORNEY. YOU ARE ENTITLED TO A
COMPLETELY FILLED IN COPY OF THIS AGREEMENT.

SELLER:                                         BUYER:

______________________________                  ________________________________
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                                        EXHIBIT A

 AUTHORIZATION FOR ATTORNEY TO PAY
  FROM PROCEEDS OF CLAIM/ACKNOWLEDGEMENT OF AUTHORIZATION

Pursuant to that certain Purchase Agreement dated December 3, 2021 between
        (“Seller”) and                                  ("Buyer") (the "Agreement"), I
                hereby irrevocably authorize and direct my attorney,                     ,
Esq. (“Attorney”), (and any future Attorney representing me in connection with my
Claim to, among other things, (i) place an assignment, consensual lien and security
interest in favor of Buyer against any and all of the Proceeds due Seller from the Claim
(after payment of any and all legal fees, reimbursable costs, statutory liens and liens)
and to protect and satisfy the assignment, consensual lien and security interest in favor
of Buyer up to the full amount of Buyer’s Interest, (ii) pay Buyer’s Attorney from the
Proceeds the amount due to Buyer representing Buyer’s Interest in the Proceeds of the
Claim at the time of distribution of the Proceeds prior to any payment to Seller with
respect to the Claim, (iii) in the event that the Claim is the subject of more than one
lawsuit, claim or cause of action arising out of more than one
incident/accident/transaction, or against one or more defendants, pay Buyer’s Interest
from the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
(iv) notify Buyer’s Attorney of discontinuance or ending with respect to Attorney’s
representation, (v) respond to requests for information from Buyer’s Attorney and (vi)
call Buyer’s Attorney prior to any disbursements of funds to verify the amount of
Buyer’s Interest. Such amounts shall be paid directly to Buyer’s Attorney to satisfy
Seller’s obligations to Buyer under the Purchase Agreement prior to any distribution of
Proceeds to Seller. The amount of Buyer’s Interest will increase to reflect the date Buyer
is paid its Interest in the Proceeds as set forth in the Disclosure Table to the Agreement,
as such may be amended from time to time. This Authorization is irrevocable and
binding and may only be amended by the mutual written agreement of Seller and
Buyer.

Dated this 3rd day of December, 2021.




_______________________________________
                , Seller
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                   ACKNOWLEDGEMENT OF AUTHORIZATION

I,                   , Esq. hereby acknowledge that                              represents
               , as his attorney, in connection with the Claim described in the
Agreement. I acknowledge that                     has irrevocably instructed me to comply
with the Agreement's terms pursuant to the Authorization set forth above (the
"Authorization"). I will honor                    Authorization. I agree to pay Buyer’s
Attorney Buyer’s Interest from                    Proceeds of the Claim in accordance
with the Disclosure Table set forth in the Agreement, as such may be amended from
time to time. I agree not to distribute any Proceeds of the Claim to                  until
Buyer’s Interest has been paid in full. In the event of a dispute, I agree that only
disbursements for attorney's fees, reimbursable costs, statutory liens and medical liens
that are in existence prior to the date of the Agreement will be made. All other funds
due                   shall be held in my Trust Account until such dispute is resolved. In
the event that I am terminated as                   attorney with respect to the Claim, I
shall give Buyer’s Attorney immediate written notice thereof by certified mail, and state
the name, address and telephone number of                       new attorney.

All disbursements of funds, including                    share of the Proceeds, will be
through my Trust Account, and                    will not receive a settlement check
directly from any defendant or insurance company. I agree to verify the amount of
Buyer’s Interest prior to any disbursement of funds. I have no knowledge of
       having previously sold, transferred or assigned any interest in the Claim or in
the Proceeds of the Claim, and understand that                   may not further sell,
transfer or assign any additional Interest to any party other than Buyer without Buyer’s
written permission. I warrant and covenant that I am authorized to execute this
document on behalf of                              .

DATED this 3rd day of December, 2021.




_________________________________________
By:                    , ESQ.
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                          PURCHASE AGREEMENT

This is a Purchase Agreement ("Agreement") dated the 3rd day of December, 2021. This
Agreement is by and between                  (“Seller”) who is represented by
          , Esq. of the                  whose address is
                        (“Attorney”) and                                , an
corporation (“Buyer”) who is represented by                   , Esq. of the
             (“Buyer’s Attorney”) whose address is
                .

A.     Seller has a claim arising from a slip and fall incident which occurred on
December 21, 2019 ("Claim") at                                  which is owned by
                          and operated by                                 . Seller has hired
Attorney to represent Seller in this Claim. Seller has settled the Claim. The entire
amount of the settlement is $             (“Settlement Amount”), less legal fees, superior
medical liens existing on the date of this Agreement, costs and disbursements payable
to Attorney under the existing fee agreement between Seller and Attorney (“Proceeds").

B.      Seller desires to sell and assign to Buyer an interest in the Proceeds. Buyer
desires to purchase the interest in the Proceeds, on the terms and under the conditions
set forth in this Agreement.

BUYER AND SELLER AGREE AS FOLLOWS:

1.     PURCHASE OF INTEREST

a.      Seller hereby sells, transfers, conveys and assigns to Buyer a $125,000.00 interest
("Interest") in the Proceeds for a purchase price of $100,000.00 ("Purchase Price"). Seller
acknowledges receipt of the Purchase Price. Seller understands that the amount of
Buyer’s Interest, or, in other words, the amount to be paid to Buyer, will increase to
reflect the date the Buyer is paid its Interest in the Proceeds as set forth in the following
Disclosure Table ("Disclosure Table"):



[Intentionally Left Blank]
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                                  DISCLOSURE TABLE

Purchase Price:             $100,000.00
Administration Fee:         $5,000.00

Date of Payment to Buyer                                       Amount due to Buyer

On or before March 3, 2022                                            $130,000.00
After March 3, 2022 but on or before April 2, 2022                    $142,500.00

*Should Seller not pay Buyer from the Proceeds by April 2, 2022 the Buyer’s Interest
will increase by $12,500.00 every thirty (30) days thereafter.

b.      Buyer’s Interest will be paid by Attorney out of the Proceeds of the Claim and
will be deducted directly from the Proceeds of the Claim and will be paid to Buyer prior
to any payment to Seller with respect to the Claim. If the Proceeds of the Claim
Amount are not enough to pay the full amount due to Buyer, then Buyer shall be
entitled to receive 100% of the Proceeds of the Claim. Seller has directed Attorney to,
among other things,(i) place an assignment, consensual lien and security interest in
favor of Buyer against any and all Proceeds due Seller from the Claim (after payment of
any and all legal fees and reimbursable costs) and to protect and satisfy the assignment,
consensual lien and security interest in favor of Buyer up to the full amount of Buyer’s
Interest, (ii) notify Buyer of receipt of Settlement Amount, (iii) pay Buyer from the
Proceeds the proper amount due to Buyer representing Buyer’s Interest in the Proceeds
at the time of distribution of the Proceeds prior to any payment to Seller with respect to
the Claim, (iv) respond to requests for information from Buyer and (v) notify Buyer
prior to any disbursements of funds to verify the amount due Buyer. Seller has
provided Buyer with an executed Authorization for Attorney to Pay Buyer from
Proceeds of Claim/Acknowledgement of Authorization by Seller and Attorney in the
form attached as Exhibit "A" ("Authorization and Acknowledgement ").

c.      The amount Buyer is entitled to may be more than is listed in the Disclosure
Table above if Seller does not honor the obligations in this Agreement. Seller will also
be liable to pay Buyer’s Interest, even if there are no Proceeds, if Seller has mislead
Buyer or Attorney concerning Seller’s Claim and will also be liable for Buyer’s attorney'
s fees or collection costs, as permitted by law.

d.     If Seller wants to sell an additional Interest, and if Buyer agrees to purchase an
additional Interest, Buyer and Seller will sign an amended Disclosure Table. Seller
understands that Buyer is not required to purchase any additional Interest.
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e.     In the event that the Claim is the subject of more than one lawsuit, claim or cause
arising out of more than one incident/accident/transaction, or against one or more
defendants, then the amount due Buyer pursuant to this Agreement shall be paid from
the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
including insurance companies and malpractice claims arising out of the Claim, which
results in a monetary recovery. If insufficient funds are available from the first lawsuit,
claim and/or case resulting in a monetary recovery to pay the full amount due Buyer
pursuant to this Agreement, then the balance due Buyer shall be paid from the Proceeds
of the next lawsuit, claim and/or cause, if any.

f.      The amount due Buyer shall be withheld from any money collected as a result of
the Claim and shall immediately be paid to Buyer (after first deducting Attorney's fees
and costs, and any prior liens which exist on the date of this Agreement). Seller agrees
and hereby directs that all Proceeds received in connection with the Claim, are held in
Trust for Buyer until Buyer has been fully paid its Interest. Seller understands that
Seller will not receive any money or payment from the Proceeds of Seller’s Claim until
Buyer has been paid Buyer’s Interest in full. This shall also apply to any structured
settlements. If Seller receives payments from several sources, Seller will pay Buyer all
monies received from each source until Buyer is paid in full its Interest in the Proceeds
of the Claim. Seller acknowledge that receipt or use of any Proceeds of the Claim prior
to the full payment to Buyer of Buyer’s Interest in the Proceeds of the Claim may
constitute an illegal conversion and may be a crime.

2.     GRANT OF SECURITY INTEREST

By signing this Agreement, Seller grants to Buyer a security interest and a lien in the
Settlement Amount and all Proceeds of the Claim ("Collateral"). Buyer shall have all
rights and remedies of a secured party under the Nevada Uniform Commercial Code.
Seller authorizes Buyer to file one or more UCC financing statements regarding Buyer’s
security interest and lien in the Collateral and Seller agrees to take all other steps
reasonably required by Buyer to perfect and maintain the perfection of Buyer’s security
interest.

3.     NO TRANSFER OF CLAIM

Seller is not assigning any portion of the Claim to Buyer, and Buyer is not buying any
portion of the Claim under this Agreement. Buyer has no right or obligation to take any
legal action for Seller in connection with the Claim. Buyer has no right or obligation to
advise, direct or instruct Seller or Attorney in how to go forward with Seller’s Claim.
Buyer will not be involved in the negotiation of any settlement of Seller’s Claim. Buyer
has no obligations or duties concerning the Claim, or the collection of any settlement,
award or verdict from the Claim.
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4.     SELLER’S REPRESENTATIONS AND WARRANTIES

Seller represents and warrants to Buyer that:

a.     Seller is using the funds received from the Purchase Price for Seller’s immediate
economic necessities. Seller has been advised that Seller should not sell any portion of
the Proceeds of the Claim if Seller has any other alternative to meet my immediate
economic necessities. Seller understands that due to the various factors involved that
Buyer may make a large profit.

b.      Seller acknowledges that Seller has been advised to seek the services of legal, tax,
accounting and/or financial advisors in the negotiation and signing of this Agreement.
Seller has either received such counsel prior to signing this Agreement or expressly
waived such counsel. Seller understands from speaking to Attorney and/or other
advisors that the amount of Buyer’s Interest as set forth in the Disclosure Table is
greater than the Purchase Price Seller is receiving, and that there is a cost to Seller
selling Buyer the Interest. Seller understands that Buyer is relying upon Seller’s
representations in deciding to purchase this Interest and Seller represents and warrants
that all statements made by Seller are true and correct as of the date hereof. Seller
understands that if any information provided by Seller changes that Seller has an
obligation to immediately notify Buyer.

c.     Seller is not currently in bankruptcy, there are no pending tax claims or criminal
allegations against Seller, and Seller has complied with all laws in connection with the
Claim. Seller further represent that Seller is not in violation of any obligations
concerning childcare, alimony or support, and Seller has not been convicted of a felony
or other crime involving dishonesty. Other than the Claim itself, there is no claim, legal
action, lien or any proceeding or order pending or in effect or threatened, against Seller,
or which would in any manner affect or impair Buyer's Interest or Buyer's rights under
this Agreement. Seller has been truthful in all aspects of the Claim and has provided all
information to Attorney in a complete and honest fashion. Seller also confirms that all
documents submitted in connection with the investigation and Buyer’s evaluation of
the Claim are true, whether submitted by Attorney or Seller. Seller understands that
Buyer is relying upon these statements in determining whether to enter into this
Agreement.

d.      Seller agrees to not change the fee agreement between Seller and Attorney in any
way that would reduce the amount of Buyer’s Interest in the Proceeds of the Claim.
Seller further promises to notify Buyer in writing within 72 hours if Seller terminates
the services of Attorney, or if Attorney determines not to proceed with the Claim. If
new attorneys are retained to represent Seller in the Claim, Seller will notify Buyer
within 72 hours of the new attorneys being retained, and will direct the new attorneys
to comply with the terms of this Agreement by Seller and the new attorney executing a
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new Authorization and Acknowledgement within 14 days after accepting Seller’s
representation . Seller will also notify Buyer in writing within 72 hours if Seller moves
from the address listed above.

e.      Seller will not knowingly create or permit any additional liens, charges, security
interests, encumbrances, agreements of any kind or other rights of third parties against
the Proceeds of the Claim without the prior written consent of Buyer. Seller specifically
promises not to sell any additional portion of the Proceeds of the Claim after the date of
this Agreement, unless Buyer has given prior written permission. Seller also confirms
that neither the Claim nor the Proceeds are subject to any liens, charges, security
interests, encumbrances, agreements of any kind or nature (other than this Agreement)
or other rights of third parties except for liens previously provided to Seller’s medical
providers. Seller understands that if these statements are not true, it may be considered
as a fraud, as Buyer is relying upon these statements in going forward with this
Agreement.

5.     EVENTS OF DEFAULT

The occurrence of any one or more of the following events shall be an event of default
by Seller under this Agreement (each, an "Event of Default"):

a.      The failure by Seller or Attorney to pay Buyer’s Interest in the Proceeds within
thirty (30) days after the Settlement Amount is received by Seller or Attorney; or

b.      Seller’s failure to perform or comply with any of the agreements, conditions,
provisions or promises contained in this Agreement, including but not limited to if
Buyer does not receive a timely response to a request for information from Seller or
Attorney or if Buyer does not receive a new Authorization and Acknowledgement by
Seller and new attorney within fourteen (14) days after accepting representation, and
such failure to perform or comply continues unremedied for a period of ten (10) days
after written notice from Buyer to Seller, unless such default, in Buyer’s reasonable
discretion, is not curable, in which event there shall be no grace period; or

c.    If Buyer discovers any material misrepresentation or inaccuracy in any
representation or warranty made by Seller to Buyer in this Agreement.

Upon an Event of Default by Seller under this Agreement, Seller agrees that Buyer may
contact any insurance company, claims adjuster or attorney then handling the Claim on
behalf of any responsible party and advise such insurance company, claims adjuster or
attorney about Buyer’s Interest in Seller’s Claim and to direct that Buyer be included as
a payee on settlement checks provided further that nothing herein shall prevent Buyer
from exercising any other right or remedy provided under law or equity. If Buyer does
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anything stated in this paragraph, Buyer shall not be liable to Seller for any damages
which Seller may suffer resulting from Buyer's actions described above.

6.     APPLICABLE LAW

This Agreement shall be governed, construed and enforced in accordance with, and all
disputes arising out of or in connection with this Agreement shall be governed by, the
internal laws of the State of Nevada, without regard to the conflict of law rules of
Nevada or any other jurisdiction.

7.     ARBITRATION

BUYER AND SELLER ACKNOWLEDGE AND AGREE THAT ALL DISPUTES,
CLAIMS, DEFENSES OR CONTROVERSIES (WHETHER IN LAW OR IN EQUITY)
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE RELATIONSHIPS
THAT RESULT FROM THIS AGREEMENT, INCLUDING BUT NOT LIMITED TO
ANY DISPUTES, CLAIMS OR CONTROVERSIES INVOLVING FEDERAL OR STATE
STATUTORY CAUSES OF ACTION OR INJUNCTIVE RELIEF, ANY INVOLVING
FEDERAL OR STATE ADMINISTRATIVE REMEDIES, ANY INVOLVING
CONSUMER FRAUD AND ANY INVOLVING A CHALLENGE TO THE LEGALITY
OF ANY PART OR ALL OF TH IS AGREEMENT ("DISPUTES") SHALL BE RESOLVED
THROUGH FINAL AND BINDING ARBITRATION UNDER THE COMMERCIAL
ARBITRATION RULES ("RULES") OF THE AMERICAN ARBITRATION
ASSOCIATION ("AAA"). THE ARBITRATION SHALL TAKE PLACE BEFORE A
SINGLE ARBITRATOR TO BE CHOSEN BY AGREEMENT OF THE PARTIES, OR
FAILING SUCH, IN ACCORDANCE WITH AAA RULES. THE ARBITRATION
SHALL TAKE PLACE IN THE STATE OF NEVADA, COUNTY OF CLARK UNLESS
THE PARTIES AGREE TO A DIFFERENT LOCATION. THE PARTIES AGREE THAT
THIS ARBITRATION AGREEMENT IS MADE PURSUANT TO A TRANSACTION IN
INTERSTATE COMMERCE AND, EXCEPT AS OTHERWISE EXPRESSLY PROVIDED
HEREIN, SHALL BE GOVERN ED BY THE FEDERAL ARBITRATION ACT, 9 U.S.C.
§1 AND THE SUBSTANTIVE LAWS OF THE STATE OF NEVADA SHALL BE
APPLIED IN ALL EVENTS. JUDGMENT UPON THE AWARD RENDERED MAY BE
ENTERED IN ANY COURT HAVING JURISDICTION. THE PARTIES ALSO AGREE
THAT THE AAA OPTIONAL RULES FOR EMERGENCY MEASURES OF
PROTECTION SHALL APPLY TO THE PROCEEDINGS.

8.     WAIVER OF JURY TRIAL

BUYER AND SELLER, AFTER CONSULTATION WITH THEIR RESPECTIVE
ATTORNEYS, EACH HEREBY WAIVE ANY RIGHT WHICH THEY MAY HAVE TO A
JURY TRIAL, INCLUDING ANY RIGHT VESTED BY FEDERAL, STATE OR LOCAL
STATUTE, IN CONNECTION WITH ANY DISPUTES OR LEGAL PROCEEDING
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INVOLVING, DIRECTLY OR INDIRECTLY, ANY MATTER COMMENCED BY OR
AGAINST EITHER PARTY IN ANY WAY ARISING OUT OF OR RELATED TO THIS
AGREEMENT OR WITH ANY DOCUMENT EXECUTED IN CONNECTION WITH
THIS AGREEMENT.

9.      WAIVER OF CLASS ACTION CLAIMS

SELLER HEREBY AGREES TO WAIVE ANY AND ALL RIGHTS TO (i) ANY DISPUTE
WITH BUYER BEING HANDLED AS A CLASS ACTION AND (ii) JOINING AS A
PLAINTIFF, CLAIMANT, MEMBER OR PARTICIPANT IN ANY CLASS ACTION
AGAINST BUYER. IT IS AGREED THAT ANY ARBITRATION WILL BE LIMITED TO
THE DISPUTE BETWEEN BUYER AND SELLER, AND BUYER AND SELLER WAIVE
ANY RIGHT TO CONSOLIDATE OR TO HAVE HANDLED AS A CLASS ACTION
ANY PROCEEDING ON ANY DISPUTES WITH ANY PROCEEDING ON DISPUTES,
CLAIMS, OR CONTROVERSIES INVOLVING ANY PERSON OR ENTITY NOT A
PARTY TO THIS AGREEMENT.

10.     RECLASSIFICATION OF TRANSACTION

This Agreement represents an investment by Buyer, and not a loan to Seller. However,
should a court of law determine that the transaction set out in this Agreement is a loan
of money, Seller agrees that interest shall accrue at the maxim um rate permitted by
law. Seller agrees that any fees or expenses paid by Buyer in connection with the Claim
will not be included as interest. This includes any attorney's fees and costs Buyer has
expended to enforce its rights under this Agreement. Seller agrees that these will be
considered as a reimbursement to Buyer, rather than as interest.

11.     MISCELLANEOUS

a.      If any part of this Agreement is deemed invalid or unenforceable, it shall not
affect the validity or enforceability of (i) any other part of this Agreement, and the
Agreement shall be modified to the extent legally possible to legally carry out the intent
of this Agreement and (ii) any agreement between Buyer and any other party. This
Agreement and its exhibit make up the entire and only agreement or understanding
between Buyer and Seller. It may not be changed unless signed in writing by Buyer and
Seller. This Agreement takes precedence over all prior agreements, brochures,
negotiations, commitments and representations, whether oral or written, about Seller’s
Claim and Buyer’s purchase of its Interest.
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b.      Should Buyer retain the services of an attorney to enforce the terms of this
Agreement, Seller will be responsible for any costs or expenses (including reasonable
legal fees and expenses) in enforcing Buyer’s rights under this Agreement and the
amount of Buyer’s Interest shall be increased in an amount equal to Buyer’s costs and
expenses.

c.      This Agreement will be binding upon Buyer and Seller, and each of their heirs,
executors, administrators, successors and assigns. Seller understands and agrees that
Seller has no right to assign Seller’s rights and obligations under this Agreement. Seller
further understands and agrees that Buyer may assign its rights and obligations under
this Agreement (and Buyer’s Interest) to any party without Seller’s prior approval,
provided that any such party agrees to be bound by the terms and conditions of this
Agreement. It is agreed that if Buyer assigns this Agreement as provided in the prior
sentence, Buyer shall have no further obligations under this Agreement and Seller must
look solely to the party Buyer assigned the Agreement to for performance under this
Agreement. When requested by Buyer or any assignee, Seller will sign and deliver any
and all reasonably requested documents as Buyer or such assignee may require to
confirm the various rights and obligations of the parties under this Agreement. This
Agreement may be signed in separate counterparts. A facsimile signature shall be
deemed to be an original signature.

12.     RIGHT TO CANCEL

SELLER HAS THE RIGHT TO CANCEL THIS AGREEMENT WITHOUT PENALTY
OR FURTHER OBLIGATION AT ANY TIME PRIOR TO MIDNIGHT OF THE FIFTH
(5TH) BUSINESS DAY FROM THE DATE SELLER RECEIVES FUNDING
HEREUNDER FROM BUYER.

In order for the cancellation to be effective, Seller must return the full amount of
disbursed funds to Attorney within five (5) business day of the disbursement of funds
who will then return the amount to Buyer’s Attorney upon the clearance of the funds in
Attorney’s Trust Account.

DO NOT SIGN THIS AGREEMENT BEFORE YOU READ IT COMPLETELY OR IF IT
CONTAINS ANY BLANK SPACE. BEFORE YOU SIGN THIS AGREEMENT YOU
SHOULD OBTAIN THE ADVICE OF YOUR ATTORNEY. YOU ARE ENTITLED TO A
COMPLETELY FILLED IN COPY OF THIS AGREEMENT.

SELLER:                                         BUYER:

______________________________                  ________________________________
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                                        EXHIBIT A

 AUTHORIZATION FOR ATTORNEY TO PAY
  FROM PROCEEDS OF CLAIM/ACKNOWLEDGEMENT OF AUTHORIZATION

Pursuant to that certain Purchase Agreement dated December 3, 2021 between
        (“Seller”) and                                 ("Buyer") (the "Agreement"), I,
                  hereby irrevocably authorize and direct my attorney,
     , Esq. (“Attorney”), (and any future Attorney representing me in connection with
my Claim to, among other things, (i) place an assignment, consensual lien and security
interest in favor of Buyer against any and all of the Proceeds due Seller from the Claim
(after payment of any and all legal fees, reimbursable costs, statutory liens and liens)
and to protect and satisfy the assignment, consensual lien and security interest in favor
of Buyer up to the full amount of Buyer’s Interest, (ii) pay Buyer’s Attorney from the
Proceeds the amount due to Buyer representing Buyer’s Interest in the Proceeds of the
Claim at the time of distribution of the Proceeds prior to any payment to Seller with
respect to the Claim, (iii) in the event that the Claim is the subject of more than one
lawsuit, claim or cause of action arising out of more than one
incident/accident/transaction, or against one or more defendants, pay Buyer’s Interest
from the Proceeds of the first lawsuit, claim and/or case against any of the defendants,
(iv) notify Buyer’s Attorney of discontinuance or ending with respect to Attorney’s
representation, (v) respond to requests for information from Buyer’s Attorney and (vi)
call Buyer’s Attorney prior to any disbursements of funds to verify the amount of
Buyer’s Interest. Such amounts shall be paid directly to Buyer’s Attorney to satisfy
Seller’s obligations to Buyer under the Purchase Agreement prior to any distribution of
Proceeds to Seller. The amount of Buyer’s Interest will increase to reflect the date Buyer
is paid its Interest in the Proceeds as set forth in the Disclosure Table to the Agreement,
as such may be amended from time to time. This Authorization is irrevocable and
binding and may only be amended by the mutual written agreement of Seller and
Buyer.


Dated this 3rd day of December, 2021.




_______________________________________
                 , Seller
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                   ACKNOWLEDGEMENT OF AUTHORIZATION

I,                     , Esq., hereby acknowledge that                       represents
                , as her attorney, in connection with the Claim described in the
Agreement. I acknowledge that                      has irrevocably instructed me to comply
with the Agreement's terms pursuant to the Authorization set forth above (the
"Authorization"). I will honor                    Authorization. I agree to pay Buyer’s
Attorney Buyer’s Interest from                     Proceeds of the Claim in accordance
with the Disclosure Table set forth in the Agreement, as such may be amended from
time to time. I agree not to distribute any Proceeds of the Claim to                  until
Buyer’s Interest has been paid in full. In the event of a dispute, I agree that only
disbursements for attorney's fees, reimbursable costs, statutory liens and medical liens
that are in existence prior to the date of the Agreement will be made. All other funds
due                   shall be held in my Trust Account until such dispute is resolved. In
the event that I am terminated as                    attorney with respect to the Claim, I
shall give Buyer’s Attorney immediate written notice thereof by certified mail, and state
the name, address and telephone number of                       new attorney.

All disbursements of funds, including                    share of the Proceeds, will be
through my Trust Account, and                    will not receive a settlement check
directly from any defendant or insurance company. I agree to verify the amount of
Buyer’s Interest prior to any disbursement of funds. I have no knowledge of
       having previously sold, transferred or assigned any interest in the Claim or in the
Proceeds of the Claim, and understand that                   may not further sell, transfer
or assign any additional Interest to any party other than Buyer without Buyer’s written
permission. I warrant and covenant that I am authorized to execute this document on
behalf of the                     .

DATED this 3rd day of December, 2021.




_________________________________________
By:                      , ESQ.
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J AND J PURCHASING, LLC
CODE OF ETHICS AND BUSINESS CONDUCT



October 15, 2021
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DEAR COLLEAGUES:
At J and J Purchasing, LLC (“J&J” or “Company”), our mission is to operate consistent with the highest ethical
business conduct both as to our relationships amongst each other, and as it relates to our Investors and all Third
Parties. This is our commitment to our Investors and ultimately the marketplace.
To meet our commitment to each other and the Company, we must also safeguard our reputation. As the Laws
that govern our operations become increasingly complex, discerning right from wrong is not always evident. In many
cases, failing to do the “right thing” can also be a violation of Laws.
While ethical missteps may have significant implication under Laws, any Misconduct only serves to knock down our
reputation. Misconduct keeps us from meeting our commitment to our Investors and the marketplace. Because our
success is inextricably tied to our reputation, it is up to all of us to bolster and protect it, act with the upmost of care,
and always do the right thing.
At J&J, we conduct all aspects of our business according to our Code, its Core Values, Laws, and our Policies - our
“Compliance Mandate.” We hope that you are inspired to join us in always using sound judgment when deciding
the proper course of action. If we always act in compliance with our Compliance Mandate, we succeed in the
marketplace, we meet our commitments, and we safeguard our reputation.
This Code is intended to help you address compliance, ethics, integrity, and Laws issues by providing information,
tools, and resources necessary to make good decisions. Our Management fully supports the Code and its Core
Values — they constitute crucial components of our Corporate Compliance Program and our ongoing effort to
ensure that our people fully commit to our Core Values, comply with all Laws, and in all things act with integrity and
ethically.
Through our Code, and by leading by example, we want to make our Core Values understood and followed by
everyone of our employees, agents, and contractors. Since no Code or Policy can anticipate every situation that may
arise, everyone that works with us is encouraged to bring questions or concerns that may implicate Laws, the Code,
or our Policies to our HR or Compliance Function, or myself.
The Code is incorporated into and complements our employee policies (“HR Policies”) and Compliance Program and
its Policies. Our Compliance Program is designed to assist our Company and our employees, agents and contractors
in developing effective internal controls that promote adherence to Laws and ethics throughout our operations. For
example, we always promote open communication and strive to inspire in everyone the importance speaking up.
Whether it is about a question, concern, complaint, or Misconduct.
After carefully reading the Code, if you have any questions or concerns, please consult with your Manager or our HR
or Compliance Function. Please remember that Capitalized Terms (sometimes in bold font) have a specific meaning
and may be more expansively defined in the Code’s Glossary or our HR Policies or another Company Official Record.
With your help, we are confident that J&J will exceed our commitment to the marketplace, we will continue to
deserve the trust that our Investors have in us, and our reputation for integrity and our success will endure. Thank
you for your continued dedication to J&J, for joining us in this effort, and for incorporating this Code and its Core
Values into all aspects of your work.
JEFFREY JUDD
FOUNDER
PRESIDENT/MANAGER




J AND J PURCHASING LLC - CODE OF ETHICS AND BUSINESS CONDUCT                                                         PAGE 2 OF 29
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                                   CODE OF ETHICS AND BUSINESS CONDUCT
I. CORE VALUE – WE SEEK COMPLIANCE AND QUALITY IN EVERYTHING WE DO:
    We are a dedicated team committed to our operations and Investors. In so doing, our focus is to find Third-Party
Beneficiary Insurance Settlement Agreement opportunities and compliant results through the innovation we bring
to the marketplace. To achieve our mission to improve our operations, we implement organization-wide solutions
based on a variety of qualitative and quantitative measures. We are proud of our work and we take this great
responsibility as a privilege. For these reasons and more, we endeavor to maintain only the highest level of
compliancy throughout our business and all our activities. We always do the right thing. We commit to compliancy
by competing ethically and all as consistent with Laws, our Code, and our Policies (our “Compliance Mandate”).
     To be “compliant” means that our behavior and business operations are consistent with Laws, our Code, and our
Policies — all of which we expect our Personnel, agents, contractors to strictly honor. Indeed, this is a fundamental
expectation and condition of employment by, or association with, our Company. Moreover, our Company supports
the establishment of a Corporate Compliance Program. Our Compliance Program is implemented to meet regulatory
requirements that our business and operations should meet.
    To promote our Compliance Mandate, we expect to develop and update Policies that provide guidance for
complying with the number of Laws governing our business and operations. Our Policies enable us to detect, correct
and prevent non-compliant activities, operations, and Misconduct. Among others, Policies have been or will be
implemented in the areas of Investment documentation, financial due diligence, Third-Party relationships, Official
Records, among other regulatory areas, and Company Information (including, Trade Secrets, Confidential
Information, Intellectual Property, Know-How, and Proprietary Information).
     Moreover, to promote our Compliance Mandate, J&J will institute training, education, and awareness programs
for our Personnel, agents and contractors. These programs may take the form of online learning modules, live training
sessions, and periodic communications; for example, required compliance training (general, newly hired, and annual
courses) for J&J Personnel, agents and contractors and specialized training for high-risk compliance topics for certain
Personnel. “Independent Contractors” are required to complete specified compliance training.
     Generally, our Compliance Program is supported by our Compliance Function which is committed to ensuring
that the Compliance Program’s key components are consistently made available to everyone and followed
throughout our operations. Our Compliance Function serves as a contact for our Personnel and all Third Parties
(including Investors, Vendors, Governments, and the public) on issues relating to the implementation, management
and oversight of the Compliance Program and its key components. Generally, our Compliance Function supports our
workforce and business partners to promote the integrity of the Company’s operations. This ultimately supports
Company-wide compliance with Laws and our Policies. Nevertheless, it is our Compliance Function that is ultimately
responsible for the Compliance Program and our Compliance Mandate.
     By following our Compliance Mandate, we also promote consistent satisfaction on the part of Investors and Third
Parties. Our Compliance Mandate means that we do not just react, but we are proactive in our compliancy.
Nonetheless, to foster our business relationships, we all must ensure that we operate consistent with our contractual
requirements and also our Company’s Policies and Laws. If you have a concern about any business or Third Party
relationship or satisfaction issue, make sure to discuss the situation with your Manager right away.
      NOTE: Our Code is an important (but not the only) component of our Company’s Compliance Program. Our
      Program’s other key components include the HR Policies, Policies, Compliance Training and Education,
Personnel and Operations Communications, and Compliance Monitoring, Auditing, Risk Analysis, Risk Assessments,
Periodic Compliance Bulletins, Compliance Certifications, and Contingency Planning. Each of the preceding address,
oversee, and support J&J’s Compliance Mandate in its vigilance of, among others: (A) Documentation and Official
Records, (B) Accounting and Financial practices; (C) Marketing practices; and (D) Relationships with Investors and
Referral Sources.

J AND J PURCHASING LLC - CODE OF ETHICS AND BUSINESS CONDUCT                                                   PAGE 3 OF 29
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II. CORE VALUE – WE CONDUCT OUR BUSINESS ETHICALLY:
     The Code reflects our belief that long-term, trusting business relationships are built by honesty, openness, and
fairness. It is a resource you can rely on in many circumstances to determine whether something is appropriate or
compliant. In short, our Core Values direct you to act with integrity in the workplace and everywhere you represent
the Company.
                                                               OUR CODE PROMOTES:
                (1) HONEST, ETHICAL AND LAWFUL CONDUCT AND BUSINESS PRACTICES BY ALL OF US; (2) COMPLIANCE
                WITH LAWS; (3) PROMPT REPORTING, ACCOUNTABILITY, AND CORRECTIVE ACTION FOR LAWS, CODE, OR
                POLICY VIOLATIONS OR MISCONDUCT; (4) CLEAR, ACCURATE, COMPLETE, AND TIMELY THIRD-PARTY
                COMMUNICATIONS (E.G., INVESTORS, VENDORS, AND GOVERNMENTS); AND (5) STRICT SECURITY OF
                COMPANY AND THIRD-PARTY PRIVATE OR CONFIDENTIAL INFORMATION.
     As a J&J employee, agent or contractor, you are required to read, understand, and abide by the Code. No one
has the authority to make you violate the Code and any attempt to do so is unacceptable. You also have the
responsibility to watch for potential Code violations and to report them — whether they occur inside our Company
or through external dealings with, but not limited to, Investors, Third Parties, or any Government.
     Moreover, if you are a Manager, you have a leadership role at our Company. This means that you are responsible
for setting a good example for your Personnel and for any contractor that you oversee. In addition, it means that you
must encourage open and honest communication and act when Misconduct, ethical issues, questions, concerns, or
complaints are brought to your attention.
    Nonetheless, as a Manager, you must work to ensure that anyone who reports to you understands the Code’s
requirements and support any Personnel or contractor who, in good faith, raises questions or concerns. You are
responsible for acting to address conduct that violates the Code and to seek help from corporate Management if the
proper course of action is not clear. The Code is intended for use as a guideline. It does not address every situation
you may possibly face during your workday. In any case, our Personnel and every agent and contractor must exercise
good judgment in decision-making and seek help with questions or concerns that are not addressed in the Code.
   We are all tasked with strictly avoiding any activity that may diminish or appear to diminish confidence in the
compliancy of the Company or its competence, impartiality, judgment, or operational integrity.
            COMPLIANCE CERTIFICATIONS?: The Code applies to all Personnel, contractors and business operations.
            It is monitored by our Compliance Function and is affirmed by everyone through our Compliance
            Certification procedure under our Performance Management Program. Our HR Function and Compliance
Function will instruct you on the various Compliance Certifications that apply to your job and Duties and
Responsibilities and that you will be expected to acknowledge and fulfill.
       Q: I BELIEVE THAT I CANNOT SIGN MY COMPLIANCE CERTIFICATION TO THE CODE OR ANOTHER POLICY OR
       OFFICIAL RECORD? (e.g., as a new hire or during annual certification)? A: Even if you do not sign a Compliance
Certification, you are still obligated to follow our Compliance Mandate. If you are uncertain as to how this expectation
works or have any issues with affirming that you will follow the Code or any other standard, you should discuss your
concerns with Management.
       Q: IF I COMPLY WITH LOCAL LAWS, IS THIS ENOUGH TO ENSURE MY COMPLIANCE WITH THE CODE OF
       ETHICS? A: Our Code of Ethics may impose standards more rigorous than those imposed under local Laws.
Under such circumstances, and provided that the Code of Ethics does not conflict with local Laws, comply with Code
of Ethics and discuss your concerns with Management.
   Our Company’s Compliance Function and Management will monitor Laws as they apply to our operations.
Nonetheless, we trust our Personnel, agents, and contractors to follow the letter and spirit of all Laws and act ethically
even when Laws may not be specific. When in doubt ask for guidance.


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III. CORE VALUE – WE COMMUNICATE WITH INTEGRITY AND CONSISTENT WITH LAWS:
    Our Company’s Personnel, agents, and contractors must always — through their words and their actions —
accurately represent our Company and its operations. Accordingly, Company statements made in, without limitation,
marketing and advertising materials (and in whatever medium) will not be deceptive or unfair, must be evidence-
based, and contain appropriate Disclosures.
    Moreover, only the officers of the Company may communicate with Investors germane to matters set out in our
Investment documentation. No one at our Company, including our officers, is a licensed investment or financial
advisors; accordingly, no Company Personnel may ever act, or in any way communicate with anyone, in a manner
reserved solely to licensed professional investment or financial counselors. As to the preceding and also, no one at
our Company may ever instruct or allow any Third Party to act in such a manner. Any direct or indirect act or
communication which violates the preceding compliance standard is considered Misconduct and will lead to
corrective action including up to termination of employment or association.
    Nonetheless, and whether online or otherwise, our Personnel, agents, and contractors are expected to act
consistent with all advertising and consumer protection Laws. This means that we compete in the marketplace free
of deception and unfair practices. In short, we do not communicate in a manner that confuses Third Parties, including
Investors. Everyone that works with us may only publish truthful communications and incorporate Clearly and
Conspicuously such Disclosures, including qualifiers and limitations, that may be required or advisable.
     NOTE: Our verbal and written communications: (A) are truthful, complete, fair and not misleading, and (B)
     substantiate “express” or “implied” claims. Moreover, if a “Disclosure” is ever necessary to make a Company
communication accurate, it will be portrayed “Clearly and Conspicuously.”
     All public statements made by J&J, or by anyone on its behalf, including in connection with advertising,
promotional materials, warranties or guarantees, must always be truthful and have a reasonable basis in fact and in
no way deviate from the contents of J&J’s, without limitation, Investment documentation and Official Records. No
one may disseminate any written or verbal communication or material, whether relevant to our Company or our
operations or otherwise, which is false, misleading or deceptive or not in compliance with applicable Laws or our
Policies.

IV. CORE VALUE – WE SPEAK UP AND SEEK HELP:
    It is important to be competent about compliance. Being consciously competent allows you to recognize when
you should seek advice from Management, our HR Function or our Compliance Function. As part of your Duties and
Responsibilities, you are expected to earnestly study our Core Values and Policies so that you become competent
about compliance.
    When the best path forward is not obvious to you, take the Integrity Quick Test and answer its questions to help
guide your decision-making process and your responses to uncertain circumstances. Remember that in all matters,
you are expected to understand the Code and Laws, use good judgment, and avoid even the appearance of
Misconduct.
                      INTEGRITY QUICK TEST:
               If you ever have doubt about a course of action or are unfamiliar with the effect of a particular
               circumstance, ask yourself the following questions: (1) Is it consistent with the Code? Is it ethical or legal?
(2) Is it consistent with all other Company Policies? (3) Will the conduct reflect well on me and the Company? (4) Will
the course of action give the appearance of being unethical or illegal? (5) If publicly disclosed, will the course of action
discredit me or the Company? (6) If someone treated me the same way, would I be comfortable with such act? (7)
Am I properly protecting Confidential Information? (8) Would I be comfortable if the conduct appeared in the media?
(9) Am I properly protecting the Company’s or any Third Party’s Confidential Information from disclosure to improper
external or internal parties? If you answered “NO” to any of these questions, then don’t do it. You should utilize one
of our Reporting Channels and report the circumstances.

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NONETHELESS, IF YOU FIND YOURSELF SAYING OR HEARING THE FOLLOWING WORDS:
                     “Well, maybe just this once”/“Nobody will ever know”/“It doesn’t matter how it gets done, as long as it
                     gets done”/“Everyone does it”/“What’s in it for me?”/“We always did it this way”/“Don’t contact the
                     Compliance Email”/“Remember, we didn’t have this conversation,”
YOU SHOULD TAKE A STEP BACK AND CAREFULLY CONSIDER THE SITUATION BECAUSE OFTENTIMES THE
CIRCUMSTANCES THAT ELICIT THESE WORDS CONSTITUTE MISCONDUCT, VIOLATE THIS CODE, LAWS, OR OUR
POLICIES.
     Q: AFTER COMPLIANCE TRAINNING, I WAS CONCERNED THAT AN INVESTOR PROTOCOL MAY BE INCORRECT.
     I TOLD MY MANAGER ABOUT MY CONCERNS AND SHE TOLD ME THAT “THIS IS HOW WE DO THINGS HERE”
AND WALKED AWAY; WHAT SHOULD I DO? A: Use one of our Reporting Channels that don’t involve your direct
Manager and voice your concern.
        Q: MY MANAGER ASKED ME TO WORK OFF THE CLOCK BECAUSE HE WAS NOT MEETING OUR HR BUDGET
        FOR THIS QUARTER; HE TOLD ME HE WOULD MAKE IT UP TO ME NEXT QUARTER; WHAT SHOULD I DO? A:
This is both a Policy violation and a Laws violation. Your Manager is expected to exemplify our Compliance Mandate,
not violate it. In essence you are being asked to work for free. In the future, you could bring a complaint against the
Company for wage Laws violations; these circumstances amount to Misconduct on the part of your Manager. Use
one of our Reporting Channels to speak up.

V. CORE VALUE – WE PROMOTE A SAFE WORK ENVIRONMENT:
    We promote a safe work environment for our Personnel. Our safety Policies have been developed to safeguard
everyone from potential workplace hazards. We must all become familiar with and understand how these Policies
apply, for example, to your specific Duties and Responsibilities. Our Personnel should be familiar with, and follow, all
our safe workplace guidelines and seek advice if they have any safety question or concern and in all cases promptly
report any accident or unsafe condition to Management. For additional guidance, see our HR Policies.
    We foster the kind of environment where (at all times) people should feel safe and are treated with courtesy and
professionalism. Accordingly, we promote a workplace that is positive, creative, and rewarding. An environment that
promotes individual expression, innovation, and achievement. As part of our commitment to safety in the workplace,
our Personnel — and any person who works with us — is not permitted to use, possess, or be under the influence of
alcohol or illegal drugs during work hours or on Company property.

VI. CORE VALUE – WE TREAT EVERYONE RESPECTFULLY:
    Everyone working at our Company should feel welcomed, supported, and inspired to succeed. We care about,
and are concerned for, the health and well-being of our Personnel. Indeed, every one of us should rightfully expect
to experience a professional environment free from intimidation and harassment. To promote such an environment,
we define harassment broadly and prohibit its many forms. Without limitation, harassment includes offensive
remarks, unwelcome advances, requests for sexual favors, inappropriate jokes, or ethnic, racist, or sexual slurs.
     We treat everyone with respect and dignity — and we encourage input from everyone on ways to enhance the
inclusive and diverse atmosphere of our workplace. Moreover, we promote a workplace that is free from disruptive
conduct by anyone. Our respect for people is demonstrated in what we do and how we act towards everyone we
encounter in our work. To meet our commitments to one another and to meet our commitments in the marketplace
— and to attract, cultivate and retain talented individuals — it is vital to have a work environment built on mutual
trust, respect, and the principles embodied in this Code. We must treat everyone well and equitably and we never
take advantage of others through manipulation, misrepresentation, or concealment.
       Q: I RECEIVED AN EMAIL WITH AN OFFENSIVE JOKE, IS THAT HARASSMENT? A: Offensive material sent through
       Company Data and Information Systems (“CDIS”) have no place in our workplace (regardless of intended
recipient). You should contact our HR or Compliance Function to discuss this matter. Even if your coworker did not
intend to be offensive, our Core Value is that we are always respectful and considerate of others.
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        NOTE: Our HR Policies contain further guidance on Sexual Harassment, Harassment, Reporting Channels, and
        Dispute Resolution. Nonetheless, respectively in the preceding circumstances you also (a) may respond
directly to the co-worker, notifying him/her that you found the matter offensive/inappropriate, to stop the behavior
in the future, and advise that you will escalate the matter if it continues; and (b) are always free to immediately and
clearly communicate to the individual your disinterest in, or offense taken, with regard to any such conduct.

VII.CORE VALUE – WE PROMOTE EQUAL OPPORTUNITY:
    Under our Compliance Mandate, we promote and provide an equal opportunity environment for all Personnel.
We prohibit discrimination based on race, color, religion, creed, age, sex, national origin, gender identity or
expression, sexual orientation, disability, marital status, veteran or military status, genetics or citizenship status, and
any other legally protected status. Accordingly, we base employment decisions only on business needs, skills,
experience and relative work performance.
       Q: WHAT SHOULD I DO IF I BELIEVE I WAS PASSED UP FOR A PROMOTION BECAUSE OF MY AGE? A: Our Policies
       require that employment decisions be made without regard to a candidate’s age. If you conclude in good faith
that you were treated unfairly, contact the HR or Compliance Function for assistance. Our standard is straightforward,
all HR Function related decisions and practices, including recruitment, hiring, placement, promotion, demotion,
transfer, training and discipline will be made and administered solely on the basis of the attendant facts; for example,
individual experience, merit, performance and other legitimate job-related qualifications. We are proud of our
commitment to maintaining a diverse workforce and will not take adverse action or retaliate based on any protected
status. Our HR Policies contain further guidance on Equal Employment Opportunity, Diversity, Reporting Channels,
and Dispute Resolution.

VIII. CORE VALUE – WE REPORT QUESTIONS, CONCERNS, AND MISCONDUCT:
     It is up to each of us to report questions and concerns, for example, if we believe that any operations or business
action or omission or result is unclear. Even more so, it is up to each of us to challenge and report any suspected
violation of Laws or the Code, HR Policies, or our Policies; in short, any kind of Misconduct. We expect that everyone
will comply with our Affirmative Duty to Report Misconduct Policy.
    We must all respect the fact that asking questions and reporting concerns, complaints and Misconduct means
that we actively pursue clarity about our choices and actions and promote our Compliance Mandate. This helps
everyone to identify problems and gives us all the opportunity to address, investigate and correct not just Compliance
Mandate matters. When in doubt about the right choice or potential violation, you are always encouraged to seek
out advice or make a report. But, in cases of Misconduct, you are required to do so.
    If you become aware of a situation that violates or may violate Laws or the Code, HR Policies, or our Policies,
there are two options for making a report (“Reporting Channels”). Depending on your level of comfort, the following
Reporting Channels are at your disposal:
           Discuss the issue with your Manager, Management, or HR or Compliance Function representative.
           Send an email to our Compliance Email.
    For additional guidance, see the HR Policies’, among others, Dispute Resolution Policy, Affirmative Duty to Report
Misconduct, and Non-Retaliation/Whistle Blower Policy.
    We take Code, Laws, and Policy violation (and any kind of Misconduct) reports seriously and we respond to them
through follow-up steps including investigation, remediation, and when warranted, corrective action. These steps are
designed to address compliance issues, learn from mistakes, and avoid recurrence of problems. Raising a concern
regarding any noncompliance reinforces the Company’s commitment to act ethically in all aspects of our business
and supports our culture of compliance. Your actions do make a difference!
             NOTE: The Compliance Function oversees and investigates Code, Laws, and Policy violations and most types
             of Misconduct. The Company’s Managers may not conduct any independent investigation regarding any

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alleged violation or Misconduct. Nonetheless, everyone involved in an investigation may be asked (and in some cases
are required) to cooperate. In all cases, everyone involved will maintain the investigation’s confidentiality. Raising a
concern regarding any noncompliance reinforces the Company’s commitment to act ethically in all aspects of our
business and fosters a culture of compliance. Your actions do make a difference!
       Q: WHAT IF I REPORT A CONCERN BUT NEVER HEARD ANYTHING FURTHER? A: Contact the Compliance
       Function to confirm that the report was received and the issues addressed. Some matters may take longer to
investigate and resolve, but generally, you can expect to receive some form of update and final resolution. While all
reports will be reviewed and acted upon, some aspects of the investigation or relevant information (e.g., due to
privacy, confidentiality, or severity) may not be appropriate to share with the person who reported the Misconduct.
      Q: WHAT HAPPENS IF I AM UNSATISFIED WITH THE RESOLUTION REGARDING A COMPLAINT I REPORTED? A:
      There may be circumstances when the Compliance Function has investigated and addressed a situation which
does not result in a resolution you would have preferred, or where J&J has determined the concern is not contrary
to the Code, Policy or Laws. If you continue to have concerns after a resolution has been instituted, please report
your concerns back to the Compliance Email or Compliance Function for additional review and response.
      Q: WHAT IF SOMEONE DELIBERATELY MAKES A FALSE REPORT AGAINST ME? A: All investigations are handled
      confidentially, professionally and objectively. Making an intentional false accusation is a serious matter that
may lead to disciplinary action, up to and including, termination of employment.
       Q: MY MANAGER INSTRUCTED ME TO DO SOMETHING THAT I BELIEVE MAY BE ILLEGAL OR MISCONDUCT
       BUT I AM AFRAID SHE WILL MAKE MY JOB HARDER IF I REFUSE, SHOULD I STILL REPORT MY CONCERN? A:
While your Manager is generally the person with whom you will discuss compliance questions and concerns, if their
instruction worries you, then contacting the Compliance Function is one option; remember, our Compliance Function
retains independent objectivity to investigate and remediate these types of matters. Another option is the
Compliance Email. When reporting through the Compliance Email, you will have the assurance of knowing that our
Compliance Function is looking into the situation and that, in all cases, any retaliation by your Manager (or anyone
else) will not be tolerated.
      NOTE: We note that the Compliance Email may not be the best Reporting Channel for certain matters,
      including: (1) wages or benefits questions; (2) general questions, like parking or Facility issues; (4) computer
or phone problems; or (5) general personal issues, like calling in sick. For these types of matters, contact the
Company’s HR Function or the IT Function.
        NOTE: In some cases (and to assist in the Compliance Function’s review) the Reporting Person is encouraged
        to identify themselves. However, anonymous reports will also be accepted and investigated to the extent
possible. Remember that every reasonable effort will be made to treat the identity of anyone reporting a potential
violation as confidential (noting that to the extent possible, this is subject to and consistent with the circumstances
which may include our business practices).

IX. CORE VALUE – WE DO NOT RETALIATE:
   We have a zero-tolerance policy against any form of retaliation. No one at our Company may retaliate against
anyone who has raised any kind of operational, legal, or ethical concern or that cooperates with any investigation or
remediation. Everyone must understand that retaliation is itself Misconduct and is deemed to be a violation of Laws.
Nonetheless, retaliation that may result in liability and penalties.
    We respect Laws and our Code and therefore no one may seek revenge against, or even try to “get even,” with
anyone who makes a good faith report, regardless of who is implicated. We take any retaliation allegation very
seriously, and if it occurs, it will result in discipline up to and including termination of employment. All acts constituting
retaliation must be reported to Management, our HR Function, or our Compliance Function.
           Q: I CONCLUDE THAT I HAVE EXPERIENCED RETALIATION? A: You should report the matter because J&J strictly
           forbids any retaliation against any person who reports a concern. Reports or complaints made in Good Faith

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will not expose you to any sanction, regardless of whether the underlying facts prove to be correct.
        NOTE: “Retaliation” can sometimes be subtle or difficult to spot. Some examples include: changes in
        responsibilities • rudeness or getting the “cold shoulder” • demotion • denial of vacation requests without
justification • exclusion from professional development opportunities or special projects. While the preceding
examples may not always indicate retaliation, if you are concerned that a negative change you experience at work is
connected to having spoken up, we want you to speak up again and use a Reporting Channel.
      NOTE: “Good Faith” does not mean being correct about potential Misconduct, it means a reasonable belief
      that the information you report is true. Our Company’s HR Policies have further guidance on our Dispute
Resolution Policy, Affirmative Duty to Report Misconduct, and Non-Retaliation/Whistle Blower Policy.
      Q: SHOULD I REPORT A CIRCUMSTANCE THAT I BELIEVE IS HARASSMENT FROM MY MANAGER WHEN I FEEL I
      MAY LOSE MY JOB? A: As a valued member of our Company, you are entitled to work in an environment free
from intimidation, harassment, or hostile or offensive behavior. You can use a Reporting Channel but nonetheless,
you may contact the HR Function or the Compliance Function to discuss the matter.

X. CORE VALUE – WE AVOID CONFLICTS OF INTEREST:
    Your everyday decisions and acts have an impact on the Company. For this reason, you must make each decision
without conflict, objectively, and in the Company’s (not your own) best interest.
    Generally, a Conflict of Interest exists when a Company employee’s private interests interfere with the
Company’s interests. In short, your working decisions and acts should be based on the Company’s needs, rather than
(without limitation) your potential personal gain or the interests of your family, friends or any Third Party.
   Each of us is expected to use good judgment and avoid situations that can lead to a conflict or even the
appearance of a conflict. You must disclose any activity or relationship that may:
                         COMPETE WITH ANY OF COMPANY’S BUSINESS ACTIVITIES
                         ENTAIL PROVIDING SERVICES TO A COMPETITOR
                         INTERFERE WITH YOUR WORK DUTIES AND RESPONSIBILITIES
                        CONFER AN INAPPROPRIATE PERSONAL BENEFIT TO YOU, YOUR FAMILY, OR ANY THIRD PARTY
     If competing actions, interests, or relationships make it difficult to perform your work objectively and effectively,
you must disclose the potential Conflict of Interest to Management. Moreover, you must recuse yourself from
circumstances where a conflict could impact your judgment.
     Any questionable activity should be disclosed to Management as soon as you become aware of it. This is an
ongoing responsibility for all J&J Personnel, agents, and contractors. Failure to disclose may result in disciplinary
action, up to and including, termination of employment or association.
          NOTE: While some circumstances — like (1) acting as a broker, finder, or go-between, any of which may also
          benefit a Third Party in transactions involving the Company, or (2) receiving improper personal benefits as a
result of your position with the Company — constitute a Conflict of Interest and maybe Misconduct, it is impossible
to list all the situations that might signal its potential.
            An often effective way to determine whether an activity present with or creates a Conflict of Interest is to
            ask the following questions: (1) Does the activity interfere (or give the appearance of interfering) with the
            Duties and Responsibilities that you perform at, or owe to, J&J? (2) Are you, a member of your family, or
a Third Party receiving an improper advantage because of your position with J&J? (3) Does the activity compete
against J&J’s interests and may separately violates Laws? If you answered “YES” to any of these questions, the activity
may indicate a conflict of interest. You should contact the Company’s Management.
   Our team members owe J&J a duty to advance the Company’s legitimate interests when opportunities arise.
Accordingly, our Personnel may not directly or indirectly take for themselves any opportunity that arises through
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their position at the Company. Also, our Personnel may not personally profit from any use or diversion of, without
limitation, the Company’s Assets, including its Company Information.
       Q: IS IT OK TO HAVE A SECOND JOB (MOONLIGHT)? A: Outside employment could pose a Conflict of Interest.
       You should disclose all relevant facts to your Manager or the Compliance Function. After consultation and the
situation has been evaluated, only then will it be determined whether or not the outside activity/job does presents
with a conflict in the performance of your Duties and Responsibilities; i.e., it is considered a Conflict of Interest.
       Q: WHAT IF I OPERATE A SMALL BUSINESS FROM HOME AND MY MANAGER AND THE COMPLIANCE
       FUNCTION HAVE INFORMED ME THAT THE BUSINESS DOES NOT REPRESENT A CONFLICT OF INTEREST, IS IT
OKAY FOR MY CUSTOMERS TO LEAVE MESSAGES ON MY COMPANY VOICEMAIL? A: No. Even though there is no
Conflict of Interest, you have an obligation to use Company CDIS (including email and voicemail) and other Assets
only for Company-related business. Our Personnel are not permitted to use any J&J Asset to support, without
limitation, a second job, self-employment venture, or consulting effort.
         NOTE: When reporting a potential conflict situation, you must truthfully disclose all relevant facts and
         circumstances (including your identity). Whether approval is granted rests with Management’s sole
discretion and will depend on Management’s assessment of the particular situation. Any approval granted will be
limited to the particular facts and circumstances disclosed. The Company retains the right to prohibit, place
restrictions on, or require termination of any activity or relationship determined to create an actual or potential
conflict of interest. In any case, you have a continuing obligation to report promptly any material changes in the facts
and circumstances of an approved conflict situation. The Company must be allowed to reassess any conflict matter
on a timely basis.

XI. CORE VALUE – WE PROTECT OUR COMPANY’S ASSETS AND REPUTATION:
    Through our work, we are the caretakers of our Company. It is our responsibility to take all appropriate actions
to use and protect J&J’s Assets with care and ensure their efficient and proper use for all legitimate business purposes.
Indeed, we must all use good judgment to ensure that our Company’s Assets are not lost, stolen, misused, or wasted.
    Our Company’s reputation is one of its greatest Assets. We are each responsible for enhancing and protecting
our Company’s reputation. For this reason, we are each personally accountable for any views or content published
or shared with people outside the Company. Please remember, because our success will always be tied to our
reputation, it is up to all of us to bolster and protect it, act with the upmost of care, and always do the right thing.
    Always remember that Third Parties routinely provide us with sensitive or confidential information (”Third Party
Information”) that we use in our operations. We are obligated to protect these Third Party assets as we would J&J’s
Assets, making sure to use them only for their designated business purposes and to protect them from theft, loss or
waste.
        NOTE: (A) “Assets” include Company “Property” (e.g., Intangible Assets like “Company Information” and Good
        Will and the Physical Assets that we every day, our office supplies, and our Company Data and Information
Systems (“CDIS”), noting that Company Revenue/Funds is deemed to be a Company Asset); (B) “Company
Information” includes Confidential Information, Proprietary Information, Company Data & Information (“CDI”),
Intellectual Property, Trade Secrets, Official Records, and Know How.
     The Company’s Assets are to be used only for the Company’s legitimate business activities. Personnel may not
use Company Assets for personal reasons except as permitted by Company Policies or otherwise approved in
advance by their Manager. The misuse or misappropriation of Company Assets, the provision of anything of value to
any party not in accordance with Company policy (or other appropriate authorization), and the retention of any
benefit that belongs to the Company from any party with whom the Company has business or other dealings are
strictly prohibited. Nonetheless, the Company’s Assets must not be taken out of our Facility unless necessary to
perform Duties and Responsibilities, however, any such action must always be pre-approved by Management and in
some cases by the Compliance Function. If an Asset is removed from the Company’s Facility for business purposes
consistent with our Policy, our Personnel must return the Asset to the Facility as soon as the Asset is no longer needed
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for business purposes.
      Q: CAN I DOWNLOAD INTERNET SOFTWARE USING MY COMPANY ISSUED CDIS? A: Accessing the Internet
      creates the possibility of Malware being introduced to our CDIS/CDI. This can lead to Security Incidents and
Security Breaches and generally, the compromise of Confidential Information and Company Information. Separately,
this may result in the disruption of CDIS network performance; e.g., system failures. Any Software utilized by
Personnel on their Company CDIS Asset must be authorized by a Manager and downloaded/installed only by our IT
Function. Company Information/CDI may not be maintained on any personal device unless special circumstances
apply, and when advance approval is received from your Manager and the Compliance Function. If you have any
question, use one of our Reporting Channels.
       Q: CAN I USE MY WORK COMPUTER FOR PERSONAL USE? A: As a critical corporate Asset, we take steps to
       minimize risk to our CDIS and safeguard all Company Information. These measures will help maintain
confidentiality, provide data integrity, system availability, and User accountability and include the protection of Third-
Party Information. While certain job Duties and Responsibilities require Access to the Internet and the use of certain
Software, the inappropriate use of the Internet, email, and CDIS/CDI places our Company and others, including
Investors, at significant risk. Remember, Company provided CDIS/CDI device for your Use (e.g., desk phones, cell
phones, tablets, laptops, desktop computers, iPads, etc.) are important Company Assets and may only be used for
Company business.
        NOTE: Anyone that works with us may not, under any circumstance, use Company CDIS Assets to Transact
        inappropriate material; e.g., media or web content, without limitation, of an inappropriate nature.
Transacting any such material or other inappropriate or discriminatory material via CDIS, is deemed harassment, and
will be addressed according to our Compliance Mandate. Personnel violations of Company Acceptable Use or
Harassment Policies may lead to disciplinary action up to and including termination. Any CDIS Transaction of content
that contains derogatory or inflammatory remarks about any individual's race, age, disability, religion, national origin,
physical attributes, or sexual preference is prohibited and can result in disciplinary action that may lead to
termination. The preceding prohibitions apply equally to any other electronic equipment, including personal devices
owned by the employee, if they are used (or the inappropriate material is Transacted) on Company time.

XII. CORE VALUE – WE COMPETENTLY TRANSACT CDI & THE INTERNET:
    Access to the Internet and Company Data and Information Systems (“CDIS”) may be made available to
Personnel for the purpose of carrying out the Company’s legitimate business and incidental use. In the context of
social media where interactions are quick and dynamic and can become highly visible, careless communications can
pose a significant risk to our Company’s reputation.
     As part of this Core Value, you must be mindful and appropriate in your communications and always protect all
Company Information, Third Party Information, Confidential Information, and our reputation. Particularly, you must
protect Confidential Information and abide by all J&J Core Values, Policies, and Laws online and offline (even when,
for example, if a relevant webpage, profile, or forum in which you are posting is listed as “private” or “closed”). We
are all responsible for employing careful strategies in all communications and protecting the Company.
                  ALWAYS REMEMBER: (1) Only authorized individuals may speak on J&J’s behalf; (2) Never post
                  anything on the Internet or otherwise that is inconsistent with our Core Values or Policies; (3) Use of
                  social media on CDIS during working time is permitted if the use is for pre-approved Company business
                  (you must disclose the nature of your anticipated business use and the content of your
communication with Management and obtain approval prior to each such use); (4) Respect copyright and similar
Laws and use Company Information only in compliance with Laws; (5) You may not create a blog or online group
related to Company (not including blogs/discussions involving wages or other terms and conditions of employment,
or protected concerted activity) without Management’s advance approval; (6) Do not publish Company Information
without approval or authority; (7) Do not malign our Company, its Personnel or contractors or any Third Party on
social media; (8) Any public recommendation or endorsement about J&J’s operations on any personal social media
site or digital platform must also include a Disclosure that you work for J&J in the post itself (not simply in your bio or
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profile). Using a Disclosure in your bio or profile is recommended, but not sufficient. In all cases, you must ensure that
any statements about our Company are truthful and substantiated and do not violate any Core Value; (9) If you
become aware that a fellow employee has posted something you believe may violate our Core Values, this Code,
Laws, or any Policy, report it to, among others, our Compliance Function; (10) Social media is not a substitute to
report a concern about the Company, a worker or any other concern which should be reported to, for example, our
HR or Compliance Function under our Reporting Channels; (11) Social media is prime ground for hackers to collect
information on you that can be used to target the Company. Be careful of what you share online; (12) If you leave
the Company, please update your employment information on your profiles/social media.
      Q: I JUST READ A BLOG POST THAT UNFAIRLY CRITIZES THE COMPANY AND I KNOW IT IS NOT TRUE. SHOULD
      I POST A REPLY? A: You may not respond to any information posted publicly unless you are authorized to speak
on the Company’s behalf. Report the matter to your Manager or the Compliance Function.

XIII. CORE VALUE – WE SECURE OUR COMPANY INFORMATION:
     Each of us must understand that our Company Information is a valuable commodity. It is our Core Value that,
both inside and outside of the Company, each of us is required to safeguard the confidentiality of information about
our business, operations, Intellectual Property, Confidential Information, Proprietary Information, Trade Secrets,
Goodwill, and any information that relates to our Investors, Vendors, Personnel, agents, contractors, business
relationships and any other Third Party (i.e., the preceding is deemed to constitute “Company Information”).
    It is your duty to take precautions to avoid improper, inappropriate, illegal, or inadvertent disclosures of Company
Information in whatever electronic or physical form it may exist. Generally, you may only share Company Information
with Personnel who have a legitimate business “need to know” and only share the minimum necessary. Of course,
you may never give Company Information to our competitors, suppliers or outside contractors or other Third Parties
without proper authorization. We all must realize the sensitive nature of Company Information and be committed to
maintaining its confidentiality both through our words and our actions.
      Q: I AM LEAVING TO WORK FOR ANOTHER COMPANY. DO MY CONFIDENTIALITY OBLIGATIONS CONTINUE
      AFTER I LEAVE? A: Yes, your obligation to protect Confidential Information continues. When your employment
ends, you must not use, retain, or disclose Confidential Information you obtained or learned while forging with us
even if you created it.
        NOTE: Company Information includes “Confidential Information” or any other information which might be of
        use to competitors (or disclosure of which may be harmful to the Company or any Third Party) including the
following sources and types of information, documents, data or materials: (A) Company’s confidential and proprietary
information and trade secrets that cannot be obtained readily by Third Parties from outside sources including
business models, authorization forms, business relationship list(s) or information, Referral Sources and their business
relations, (B) legal opinions, (C) Company marketing materials, research or strategies, (D) concepts, ideas, plans,
strategies, analyses, and information related to past, present, or anticipated business, agreements, corporate
governing documents, or addenda, supplements or resolutions thereto, (E) confidential or proprietary information
regarding Vendors or contracts as between Company and Third Parties, (F) expenses or financial information
including pricing, revenue and profit projections, revenue and profits actually generated, (G) technical or other
confidential information regarding the Company’s business, processes, methods of operation, or procurement
procedures, (H) information regarding the Company’s Personnel, HR Policies, Policies, procedures, or Compliance
Program, (I) information regarding members, partners, owners, or individuals or entities that the Company does or
may seek to contract with or that are involved in any way with the Company’s business, (J) databases, commercial
agreements and details of ongoing commercial negotiations, development tools or techniques, training procedures,
training techniques, or training manuals, or (K) confidential information and other business information disclosed to
the employee by the Company, either directly or indirectly, in writing, orally, or by drawings or observation.

XIV. CORE VALUE – WE SECURE EVERYONE’S PRIVACY AND INFORMATION SECURITY:
       When a Third Party provides information to us, we have a responsibility to safeguard it and use it appropriately.
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We may only share the information with others who have a business need to know it and are authorized to receive
it. Accordingly, it is our Core Value that, both inside and outside of the Company, each of us is required to strictly
safeguard the confidentiality of all Third Party Information. It is your duty to take precautions to avoid improper,
illegal, or inadvertent disclosures of Third Party Information in whatever electronic or physical form it may be found.
     Generally, you may only Transact Third Party Information with Personnel who have a legitimate business “need
to know” and only share the “minimum necessary.” Of course, you may never give Third Party Information or any
Confidential Information to any person or entity without proper authorization. We all must realize the sensitive
nature of Confidential and Third Party Information and be committed to maintaining its confidentiality both in our
words and our actions. We do not sell or obtain any type of Third Party personal, confidential or private information
without proper authorization and we protect everyone’s personal and sensitive information from unauthorized
disclosure and use.

 XV. CORE VALUE – WE COMPLY WITH LAWS AND POLICIES:
     Every J&J employee and contractor is expected to adhere to all Laws and our Code, Policies, HR Policies and
Compliance Program. This is a fundamental expectation and condition of employment at or association with our
Company. Our Policies, HR Policies and Compliance Program cover important aspects of our operations, including
corporate compliance, human resources, and Company Data and Information Systems (“CDIS”). They are all in place
to help ensure that we comply with Laws governing our business and its operations. They enable us to detect, correct,
and prevent non-compliant activities including Misconduct. Please remember, meeting our commitments to the
marketplace and our success are always tied to our compliance with Laws and our Policies. We act with the upmost
of care and we always do the right thing.

XVI. CORE VALUE – WE ACCURATELY TRANSACT OUR AND OUR INVESTORS’ RECORDS:
    Our Company measures our business operations accurately and without omissions. Accordingly, our Company's
public statements, financial records, internal and external communications, and all other documentation (collectively,
each such memorialization is considered to be a Company “Official Record”) must accurately reflect the facts,
substance, and context of our actions. Therefore, when we measure or describe our Company's successes, failures,
and routine operations, all facts must be accurately represented in our Official Records with sufficient substance and
context so that internally we (and externally any Third Party, including our Investors and any Government) may
understand the true nature of our activities or transactions.
    In short, our Company's Official Records must conform to all applicable industry, accounting and professional
standards, Laws, as well as our Company's Policies and procedures. For example, when we report or transmit Official
Records — such as (1) investment or payment information, or (2) regarding any item of value provided to Third Parties
— the information must be complete and accurate.
    Our Company is committed to ensuring that we provide accurate information in our Official Records to allow
Governments and, as relevant, Investors and any other Third Party to make informed decisions. Our Company's high
standard for documentation also extends to the exacting level of detail that we expect from any Third Party, including
any Referral Source.
             NOTE: Collectively or individually, any Company Information memorialization (and whether in physical or
             electronic form) is deemed under our Compliance Mandate to be a Company “Official Record.”
     Generally, our Personnel must ensure that our financial records and accounts — as well as supporting
documentation for which they are responsible — accurately and completely reflect J&J’s actual operations,
transactions and other activities. For this reason, J&J has a strict zero-tolerance policy against any form of falsification
or deception in connection with anyone’s Transaction of Company Official Records or as may be otherwise relevant
to the Company’s books, records, accounts or entries therein and whether by alteration, destruction, omission, or
false or misleading recording.
       Nonetheless, our transactions and other activities must be recorded as necessary and appropriate to permit

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preparation of financial statements in conformity with generally accepted accounting principles and other applicable
rules, regulations and criteria, and to ensure full accountability for all Company Assets, liabilities and transactions. All
Company Assets, liabilities, receipts and disbursements must be accurately and completely recorded in the regular
books, records and accounts of the Company. No undisclosed or unrecorded funds, Assets or accounts may be
created or maintained, nor any undisclosed or unrecorded payments received or made, regardless of the purpose.
     All payments made on Company’s behalf must be in accordance with applicable legal and regulatory
requirements and the Code and other Company Policies and accompanied by appropriate and accurate supporting
documentation. In addition, no payment on J&J’s behalf may be approved or made with the intention, understanding
or knowledge that any part of the payment is to be used for any purpose that is inconsistent with the purpose(s)
described in the supporting documentation. All Personnel with responsibility for preparing and maintaining J&J’s
financial records must strictly comply with the Company’s internal accounting and financial Policies.

XVII. CORE VALUE – WE PROTECT AND RETAIN OUR OFFICIAL RECORDS:
     Each of us is responsible for the integrity and accuracy of our Company’s Official Records. This is required not
only to comply with Government regulatory and legal requirements but also to ensure Official Records are available,
for example, to support our business practices at any time. Accordingly, our Official Records must be maintained and
stored in a consistent and reliable manner so as to comply with the requirements of Laws as well as to provide for
effective operations.
    No one may alter or falsify information on any Official Record. Records must never be destroyed to deny any
Third Party, including Governments, any information that, for example, may be relevant to a Government Inquiry or
other function. Similarly, Official Records relevant to any potential or pending administrative, civil or criminal
proceeding or matter may not be destroyed to deny any relevant Third-Party’s rightful request for information.
“Inquiry” is read to be inclusive of any judicial or other Government proceeding or process (“Process”).
    Official Records are maintained in accordance with Laws and our Document Retention Policy, which includes
specific retention schedules. Official Records include “Company Data and Information” (“CDI”) and paper documents
(such as letters and Investment documentation) and any of which may be found on our CDIS or any other medium
that contains information about the Company or its business activities.
     It is paramount to retain and destroy Official Records only according to our Document Retention Policy. No one
may remove or destroy records prior a specified date without first obtaining permission as outlined in the Company’s
Policy. Under no circumstance may any J&J employee Transact the information of a colleague or any other individual
or entity’s information to personally benefit themselves (e.g., perpetrate identity theft). If you believe or know that
any sort of improper or unauthorized Transaction of any Official Records or any other Company Information has
occurred, immediately report it.
      NOTE: “Company Data & Information” (“CDI”) is a Company Asset and means all external and internal
      electronic data and information, including without limitation, files, documents, e-mails, communications,
messages, memoranda, or any other transmissions of data or information including any other Company Information
whether Transacted directly or indirectly by, from, or through CDIS or otherwise Transacted by any Company
employee or, as relevant to Company, any Third Party. ALL CDI is deemed to constitute Official Records.

XVIII. CORE VALUE – WE TRANSPARENTLY COOPERATE WITH THE GOVERNMENT:
    In relation to any part of our operations, federal and state Government agencies may conduct, among others,
inquiries or investigations (an “Inquiry”). Regardless of the reason for the Inquiry, we are respectful when working
with Government representatives, we respond with openness and accurate information, and we cooperate with all
legal requests.
     Our Core Value in responding to any Inquiry is that we never conceal, destroy, or alter information (in whatever
form it may exist), we do not directly or indirectly obstruct or delay, and we never lie or make misleading statements.
If you have any doubt about the accuracy, responsiveness, or propriety of the information that you may be producing

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regarding an Inquiry, check with our Compliance Function or, if the Company has engaged legal counsel on the
matter, do not produce anything inconsistent with their instruction. Of course, you may not attempt to persuade or
assist a Company employee, or any other person, to violate any aspect of our Inquiry Core Value.
    Finally, you must honor all “Holds” that are placed on our normal document destruction procedures when an
Inquiry or Process is pending. You must maintain the “Hold” until you are instructed in writing by the Compliance
Function or its designee that it can be released. Any act violating our Inquiry Core Value will result in disciplinary
action, up to and including termination.
     If you are approached by any person identifying as a Government representative, contact our Compliance
Function before responding or providing any information. Our Compliance Function will assist you in following proper
procedures for cooperating with any Inquiry. You should not feel pressured to talk to a Government official or
investigator without first contacting our Compliance Function. Generally, our Compliance Function will consult with
any employee who is contacted in connection with any Inquiry. Request the official or investigator’s contact
information and inform her that you need to contact the Compliance Function and that someone from the Company
will get back to them as soon as possible.
        NOTE: No part of the preceding (or any Company Policy) may be construed to prohibit or restrict anyone from
        truthfully reporting instances of Misconduct or any illegal activity of any nature to any Government (or law
enforcement function) separately or before reporting under the Company’s Affirmative Duty to Report Misconduct
Policy.

XIX. CORE VALUE – WE PERFOM OUR DUE DILIGENCE IN FINANCIAL OPERATIONS:
    Our Company and its affiliates are committed to complying with all anti money laundering Laws. For this
reason, we have established our Anti-Money Laundering (“AML”) policy. The objective of the AML Policy is
to ensure that money laundering and terrorism financing risks identified by J&J are appropriately reported,
addressed and mitigated. In short, as part of our Compliance Mandate, our AML Policy is meant to protect
our reputation and avoid even the perception of involvement in the illegal receipt of funds from Investors
or otherwise.
   The AML Policy will be implemented as a system of internal controls designed to facilitate our Company’s
due diligence, oversight and audits relevant to applicable AML Laws and as part of our Investor
documentation. As part of our internal controls, we implement:
          (1) Written internal control documentation forms and systems of internal controls designed to
          facilitate ongoing compliance with applicable AML Laws; (2) An Investor due diligence
          documentation system that incorporates individual and entity identification and verification/know
your customer principles; (3) An AML Risk Assessment Policy and enhanced due diligence on any Investor
that may be assessed as higher risk; (4) Monitoring and reporting of suspicious activity to appropriate
regulatory authorities or as further advised by our legal counsel; (5) AML training for appropriate Personnel;
and (6) proper record keeping in accordance with required or advisable legal and business standards.
        NOTE: The Company may revise its AML Policy from time to time to address the marketplace and any
        technology advancements (e.g., blockchain technology) and as necessary to ensure that our due diligence
practices remain effective and current. In accordance with appropriate industry standards, J&J will remain vigilant in
its AML Compliance Mandate.
      Q: WHAT IS DUE DILIGENCE AS RELATED TO OUR INVESTORS? A: As it relates to our Investors, Due Diligence
      refers to our activities in ensuring that we certify our Investors. In short, that our Investors are who they say
they are and that any funds invested are Bona Fide/consistent with AML Laws. This standard is primarily incorporated
into our subscription agreements and investor questionnaires. In practice, this means that, among other factors, we
properly identify our Investors through their provision of proper documentation, among other certifications.
Moreover, we secure our prospective Investor’s information and assign a compliance assessment to the Investor
based on our AML compliance standard; i.e., when potential AML Red Flags are identified.
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      Q: WHAT DO WE DO WITH ANY AML RED FLAG CIRCUMSTANCE? A: In AML Red Flag circumstances, we act
      and perform further due diligence before a potential relationship with an Investor inures to the Company. For
example, we seek additional identification and source of funds or source of wealth information from our potential
Investors. In all cases that present with AML Red Flag circumstances, we will subject our Investor to ongoing
monitoring procedures.
       NOTE: As part of our ALM Red Flag Compliance Mandate, we remain vigilant of the potential of Investor
       “hidden beneficial owners.” For example, relevant to AML Red Flag circumstances, an individual or entity may
rely on a variety of structures to hide the beneficial owner of funds or assets. Specifically, we note that a potential
investor not meeting our AML Compliance Mandate may attempt to launder money using one of a number of
vehicles designed to obscure or disguise the beneficial ownership of assets or Investment Principal
transferred to the Company. In these types of circumstances, we evaluate the vehicle’s principals, obtain
and review financial statements or audits, verify the sources of funds or wealth, evaluate contributors or
grantors, and conduct reference checks.
               THE FOLLOWING CONSTITUTE BENEFICIAL OWNER AML RED FLAGS AND SHOULD BE IDENTIFIED AS
               RELATED TO ANY POTENTIAL OR RECURRING INVESTOR:
(1) TRUSTS; noting that assets placed in a trust may be paid out without justification of wealth or funds
sourcing; (2) SHELL COMPANY; an entity that does not present with active business operations or assets; set
up to achieve specific objectives; e.g., reducing tax liabilities or legal risks, or raising capital. Oftentimes used
to launder money, circumvent sanctions, or hide beneficial ownership from law enforcement; (3) FRONT
COMPANY; generally, a functioning company presenting with legitimate business characteristics, but serving
to disguise and obscure illicit financial activity, including laundering funds (e.g., double or multiple invoicing
as a form to repatriate offshore funds); (4) NON PROFITS/CHARITIES; noting that these may be cash driven
organizations; (5) BEARER BONDS; noting that possession establishes ownership; or (6) BLOCKCHAIN
TECHNOLOGY.
      Q: WHAT SHOULD I DO IF, AS PART OF OUR SUBSCRIPTION DOCUMENTATION, AN INVESTOR SETS OUT A
      CAYMAN ISLANDS ENTITY? A: In AML Red Flag circumstances, we act and perform due diligence before any
further relationship with an Investor inures to the Company. Our Due Diligence activities will include requesting all
incorporation documents, bank statements, or recently filed business accounts, among other verification
steps. In general, you can always ask for documentation as to a source of funds or wealth (i.e., confirming
the source such as a sale of a house, the sale of shares, receipt of a personal injury award, a bequest from
an estate or a win from gambling activities).
           Q: AN INVESTOR WANTS TO INVEST IN BEARER BONDS OR CASH, WHAT SHOULD I DO? A: This is an AML Red
           Flag circumstances; our Investors may not invest with bearer bonds. Report this to our Compliance Function.
       Q: I HAVE REVIEWED A POTENTIAL INVESTOR’S DOCUMENTATION AND IT IS NOT AS DETALIED AS REQUIRED,
       WHAT SHOULD I DO? A: There may be circumstances that may not present with AML Red Flags because some
people do not retain detailed records; that is, slack documentation does not always mean that an AML Red
Flag is afoot. Look at the totality of the circumstances and if there is any other information that makes you
suspicious. Memorialize these facts and seek advice from Management.

XX. CORE VALUE – WE PROHIBIT IMPROPER OR ILLEGAL INDUCEMENTS:
    Everyone we encounter should be able to rely on us without concern that their or our independent judgment
has been improperly influenced by improper or illegal incentives. Accordingly, it is never permissible to offer or
provide anything that directly or indirectly benefits any Third Party, including any Referral Source, any of which is
intended to secure business or a business advantage for our Company. Our general Compliance Mandate is that
anything we may offer any Third Party must be pre-approved by our Compliance Function in conjunction with legal
counsel approval.
       Similarly, it is not acceptable to offer or provide anything of value as a “reward” for any past or existing Third
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Party relationship with our Company. Everyone at our Company must proactively manage Third Party relationships
(including Investors, Referral Sources, Vendors, suppliers, marketers, distributors, consultants, or promoters) to
ensure that, for example, services performed on our Company’s behalf are consistent with our Policies and Laws.
    We enter into and manage Third Party relationships mindfully and with due diligence. If we are the recipient of
any Third Party relationship service, we only pay Fair Market Value and we always accurately document payments to
Third Parties. If a Third Party Referral Source presents with any unethical or illegal circumstance, we will not do
business with such Third Party. In short, we will only do business with a Referral Source which relationship meets all
ethics, operations, and licensing matters germane to, or that governs, the Referral Source.
    Nonetheless, our Company reimburses our Personnel for all pre-approved, reasonable, and necessary business
expenses. Bona Fide business expenses are acceptable. These include legitimate expenses during the normal course
of business. These expenses must be within reason and on par with general practices and local customs. If you are
aware of any inappropriate expenditures that are being allocated, gifted, swapped, charged, invoiced, or billed to
Company or regarding any Company business activity, this may constitute Misconduct and you must report it to
Management.
     A. GIFTS. The offering, giving or receiving of Gifts (see further guidance later in this Code) may be occasionally
encountered in our operations. However, there is a fine line that should not be crossed, and it is not always easy to
identify. While giving a Third Party Referral Source/referral business relationship a weeklong vacation to a tropical
island (which Gift is not pre-approved by the Company) may constitute Misconduct, the offering, giving or receiving
of other “Gifts” can also be a violation of our Code — or in some cases, Laws — and often, without our Personnel
even realizing that they have committed a violation.
    Our Policy at J&J, we do not directly or indirectly seek, accept, offer, promise, or give anything of value from or
to any person or entity as a condition or result of doing business with our Company. Of course, Gifts in money or cash
equivalent in any amount are prohibited in all circumstances. The occasional exchange of Gifts either of nominal value
with employees of other organizations may be appropriate unless the recipient’s employer forbids the practice.
Remember, any courtesy you extend must comply with our Compliance Mandate and the policies of the recipient’s
organization. Anyone that we do business with should be informed of, and understand, our Policy as well.
    A. J&J EMPLOYEE GIFTS. Our Company may provide a Gift reward or recognition (e.g., a Gift card or bonus) to
an employee for exemplary service. Gifts provided to Personnel are considered taxable income and must be reported
as such. Contact our HR Function for guidance.
     B. VENDORS, SUPPLIERS, BROKERS, AGENTS. J&J employees may accept occasional, unsolicited, and
reasonable business meals from actual or prospective suppliers of goods and services, agents, brokers, or other Third
Parties (e.g., “Vendors”) if the following requirements are met: (1) The Vendor or prospective Vendor providing the
meal or entertainment attends the event with the Company employee; (2) The value of the meal or entertainment
is modest as judged by local standards; (3) The venue is conducive to informational communication and includes or
is contiguous to legitimate business discussions. Of course, the facts and circumstances relevant to the preceding
must be transparently disclosed to Management and otherwise properly accounted for in our Official Records.
      Q: MAY I ACCEPT A GIFT FROM A VENDOR/SUPPLIER? A: This depends on the nature and value of the Gift. If it
      is expensive or not considered modest, you may not accept the Gift. You must return the Gift to the Vendor
explaining that the Company’s policy does not permit expensive Gifts. If the amount of the Gift is modest and
considered reasonable, it may be accepted. If the nature of the Gift permits (e.g., box of cookies), the best approach
is to share it with your co-workers. Transparency is the key element in either circumstance. That is, notify
Management and if you have further questions, contact the Compliance Function.
      Q: WHAT SHOULD I DO IF I RECEIVE A GIFT THAT IS KNOW IS INAPPROPRIATE? A: Return the Gift with a polite
      explanation that J&J policy prohibits you from accepting such generosity noting that this circumstance may
present with a Conflict of Interest otherwise prohibited. In some circumstances, other alternatives may be
considered, such as displaying the Gift in a public area or donating it to a charity. In any case, you should consult with
Management or use a Reporting Channel to inform the Compliance Function.
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       NOTE: Travel or lodging in connection with a meal or entertainment sponsored by a Vendor or prospective
       Vendor is strictly forbidden. The expenses for business meals and entertainment for any employee’s spouse,
partner, significant other, or any other guest of the employee are similarly not allowed.
     C. POTENTIAL REFERRAL SOURCES AS MAY BE RELEVANT TO OUR OPERATIONS. Our Company is committed
to following the highest ethical standards and complying with Laws. Any Gift or token of appreciation involving Third
Parties who are in a position to (directly or indirectly) enter into any agreement with the Company or otherwise refer
any business to the Company — must be undertaken in accordance with all Laws and our Policies.
    Consistent with our Policies, and as approved by our Management or Compliance Function, J&J Personnel may
conduct development, promotional, and other business meetings or conferences involving Third Parties to discuss
J&J and its operations. Generally, any such setting should be conducive to effective transmission of knowledge. In
appropriate circumstances, modest meals in connection with Compliance Function approved programs may be
provided if same are subordinate in time and focus to the program and similarly, regarding reasonable travel and
lodging matters.
                    We conservatively respect the fact that our Company’s business interactions with Third Parties may
                    involve the presentation of business information and that such exchanges may be productive and efficient
                    when conducted in conjunction with meals. Accordingly, modest meals may be provided as an occasional
                    business courtesy, but always subject to reporting to the Compliance Function, this Code’s guidance on
                    Gifts, and pursuant to Management’s pre-approval.
       Q: MAY WE PROVIDE A CATERED LUNCH DURING A MEETING WITH A MAJOR J&J THIRD PARTY RELATIONSHIP,
       e.g., A VENDOR? A: It is acceptable to provide lunch if offered consistent with the letter and spirit of our Gift
policy and if it otherwise complies with the value guidelines for what is considered acceptable.
    Q: MAY I TAKE A THIRD PARTY OUT FOR A BUSINESS MEAL? A: Generally, it is permissible to take a Third Party
    for a business meal. Always check with Management or the Compliance Function for policy requirements and
monetary limits. If you have any question, you are expected to report under the Reporting Channels.
       Q: MAY I ACCEPT A VENDOR’S LUNCH OFFER OR SOCIAL OUTING INVITATION? A: Personnel should decline
       even the smallest of Gifts. If declining would be perceived as impolite and may cause harm to a business
relationship, you may accept the Gift subject to Company approval and in all cases you must nonetheless report same
under our Reporting Channels.
       Q: MAY I ACCEPT EXPENSE REIMBURSEMENT IF I SPEAK TO A GROUP OR AT A PROFESSIONAL MEETING? A:
       You should obtain pre-approval from your Manager for related engagement expenses. J&J policy requires that
all Third Party relationships be treated fairly and impartially. Therefore, you may not accept anything from a Third
Party relationship that could suggest even the appearance of favoritism or Improper Remuneration. Normally, it is
inappropriate to accept payment of expenses from any Third Party to speak, for example, at conferences. On the
other hand, it may be permissible to accept reimbursement for expenses from associations and professional groups
because they are not Vendors and would not be using the speaking invitation to gain favorable treatment.

XXI. CORE VALUE – WE PROHIBIT CONFLICT, IMPROPER, AND ILLEGAL REMUNERATION:
     Our daily work decisions must be based on an impartial and objective assessment of each situation, without being
influenced by Gifts that may have the effect of, directly or indirectly, impairing our Personnel’s or any Third Party’s
independent judgment or worse, violate Laws.
    Accordingly, J&J Personnel may not accept (or offer) any Gift that compromises (or might be perceived to
compromise) our, our representative’s, or a recipient’s ability to make an objective and fair business decision or, in
any case, that might otherwise be perceived by anyone as unfairly influencing a business transaction. The preceding
standard applies whether or not the act is contrary to Laws.
   Every Third Party with whom we interact (including existing or potential Investors, Third Parties, Vendors, or any
Government representative) must make objective and impartial decisions without inappropriate interference.
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Accordingly, in or through any business interaction with any Third Party and anywhere, it is our Core Value that J&J
representatives may not offer, give or receive any conflicted, improper, or illegal remuneration.
       In all business interactions we must use the following criteria to guide our judgment:
             If a gift, fee, loan, service, entertainment, favor, payment, commission, remuneration or, without
             limitation, any other thing of value (collectively, a “Gift”) is received, provided or offered, directly or
             indirectly, in order to obtain favorable treatment or other improper advantage in a business transaction
             or germane to any referral of Investors, directly or indirectly applicable to Company or any Third Party,
then it is deemed under our Compliance Program to be conflict, improper or illegal remuneration (collectively,
“Improper Remuneration”). J&J has a zero-tolerance policy against offering, providing, or accepting Improper
Remuneration.
       NOTE: Our Compliance Mandate deems a “commission” to constitute a Gift. If unapproved by the Company,
       any such commission is deemed to be Improper Remuneration and is strictly prohibited. Discuss this matter
with our Compliance Function.
              GUIDANCE ON THE USE OF COMPANY ASSETS (INCLUDING COMPANY REVENUE/FUNDS) FOR
              BUSINESS GIFTS TO NON-REFERRAL SOURCES. Gifts may be extended to Non-Referral Source Third
              Parties on Company expense provided that such Gift strictly complies with the following criteria, that the
              Gift is: (1) reasonable and not excessive, in nature, frequency or value; (2) made in connection with the
conduct of legitimate business or other Company activity; (3) in accordance with all Laws, customary business
practice in the governing jurisdiction of both the Company and the Referral Source and in addition consistent with all
ethics, operations, and licensing matters germane to or that governs the Referral Source, and Company’s Policies; (4)
properly pre-authorized and properly reported and recorded; and (5) would not embarrass the Company should the
Gift be made public or in any case be construed as Improper Remuneration; (6) does not involve the giving of cash or
cash equivalents such (e.g., gift certificates).
             GUIDANCE ON THE USE OF COMPANY ASSETS (INCLUDING COMPANY REVENUE/FUNDS) FOR
             BUSINESS GIFTS TO POTENTIAL REFERRAL SOURCES. Gifts may be extended to potential Referral
             Sources on Company expense provided that the value of the Gift is otherwise consistent with all Laws,
             customary business practices, and Company’s Policies. Any Gift cost germane to Referral Sources must
be reported and strictly accounted for in Company’s accounting, financial, and other Official Records. Any Gift to a
potential Referral Source must be pre-approved by the Compliance Function.
       NOTE: (1) cash or cash equivalents such (e.g., gift certificates) to Referral Sources are prohibited under all
       circumstances; (2) non-cash Gifts to Referral Sources are prohibited unless approved by the Compliance
Function; (3) Gifts to Referral Sources may only be made in connection with the conduct of legitimate business or
other activities for or on behalf of the Company; (4) Gifts to Referral Sources must be in accordance with Laws,
customary business practices, J&J’s Policies, and in addition, all Laws or regulatory standards governing the Referral
Source/consistent with all ethics, operations, and licensing matters germane to, or that governs, the Referral Source.
              GUIDANCE ON THE USE OF COMPANY ASSETS (INCLUDING COMPANY REVENUE/FUNDS) FOR
              BUSINESS GIFTS TO OR FROM GOVERNMENT REPRESENTATIVES. (1) J&J Personnel may not offer any
              Gift — no matter how small the value — to any Government representative in the course of conducting
J&J business; and (B) except as otherwise approved by Company’s Management, the Company will make no
corporate political contributions (even where such contributions may be legal) but encourages Personnel to
participate in community affairs and to exercise citizenship responsibilities.
       NOTE: In addition to the preceding guidance, always consider the following questions and seek guidance from
       our Compliance Function if your action or response is not clear: (1) Is this interaction with a Government
representative? (2) Is the benefit of minimal or token value, does it occur infrequently? (3) Does any exchange impose
or create any perception of obligation on either party? (4) Does the exchange create obligation or embarrassment


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on the giver or recipient? (6) Is the exchange common to business relationships? (7) Will it stand up to any public
scrutiny?

XXII. CORE VALUE – WE COMPLY WITH THE FTC IN THE MARKETPLACE:
    To the extent that we communicate in the marketplace and provide Third Parties Company Information and
materials, we recognize that SEC and consumer protection laws apply, for example, to in person or online operations.
We understand that the internet sphere is never static, accordingly, we conduct our communications in appreciation
of emerging online or technology developments and always in compliance with Laws. In short, we understand that
SEC and consumer protection Laws apply to all mediums, including online platforms like social media. And we always
remember that prohibitions on “unfair or deceptive acts or practices” includes online communications, but
moreover, extends to all marketing and sales activity.
     Accordingly, whether online or otherwise, our marketing and sales Core Value is that our Company will act
consistent with all Laws. This means that we compete in the marketplace free of deception and unfair practices. We
do not communicate in a manner that confuses Third Parties, including Investors. For these reasons, our Company
will only publish truthful communications and incorporate such disclosures, qualifiers, and limitations (“Disclosures”)
that may be required or advisable. All Disclosures will be “Clear and Conspicuous.”
    Generally, we do not “bury” Disclosures. We prominently display our Disclosures so that they become
unavoidable, including paying attention to the size, font, color, and relative relationship to the communication
generally – that is, we review the communication as a whole and determine whether the Disclosure is sufficiently
effective in consideration of other communications components, like text type and size, links, sounds or graphics,
among others, and any of which may serve as a detractor to any Third Party.
      A. “CLEAR AND CONSPICUOUS.” To be Clear and Conspicuous, we are mindful that our Disclosures be
consistently placed in proximity to ‘triggering” express or implied claims (we do not hide or minimize our Disclosures).
             WE CONSIDER THESE FACTORS: (1) Disclosures to an express or implied claim will be presented in
            proximity to the claim; (2) the Disclosure will be prominent and unavoidable; (3) whether any part of our
            communication is deficient considering the communication as a whole and whether the communication
distracts from any Disclosure; (4) whether a Disclosure should be repeated in a communication and duplicated in
other locations of our online or other presence; and (5) whether our Disclosures are adequately understood by the
intended recipient; e.g., is the Disclosure of such low volume or presented as such a speed so as to lessen its intended
impact on the listener.
             NOTE: A Disclosure cannot “cure” a false express or implied claim. It can be used to clarify, but not contradict
             a claim in a communication.
          FOR A DISCLOSURE TO BE CLEAR AND CONSPICIOUS IN A COMMUNCATION IT MEANS THAT: (1) we
          physically place the Disclosure close to the triggering claim; (2) we understand how varied platforms or
          devices utilized by consumers may work against our Disclosures; and (3) if a Disclosure is ever space-
constrained, we will seek expert and legal advice germane to the propriety of linking such Disclosure to a separate
communication, if any — noting that in such circumstances when we use a hyperlink to a Disclosure, the link shall be
obvious and consistent with the Clear and Conspicuous standard.
        NOTE: A Third Party should never have to search or scroll to access Disclosures. When scrolling is unavoidable,
        we will consult with legal experts and we will use visual or textual cues to direct and encourage the reader to
find Disclosures. As part of our effort, we will seek to be informed regarding such behavior and technology matters
relevant to consumer access and utilization; for example, where does the consumer’s attention get drawn to and
what do consumers tend to ignore.
                     If a Disclosure is necessary for a communication to be fair, not deceptive, and consistent with Laws and
                     it is impossible to make a Disclosure “Clear and Conspicuous,” then we will not publish the
                     communication and will not allow a Third Party to do so on our behalf. If a communication platform or

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medium is not conducive to “Clear and Conspicuous” Disclosures, then we will not use that platform or medium.
    We take our communications Disclosure duties as paramount to our operations. We know that Clear and
Conspicuous Disclosures in our communications benefit Third Parties including our Investors. Meeting these
standards bolsters confidence, benefits our Company, and keeps us compliant with Laws.
        B. “TESTIMONIALS AND ENDORSEMENTS.” The FTC Act regulates endorsements (e.g., generally industry
experts) and testimonials (e.g., generally Third Parties) in any platform or medium through which we communicate.
In all contexts, we are subject to liability for: (1) false or unsubstantiated claims made through T&E’s, or (2) failing to
disclose “Material Connections.” If we have a “Material Connection” to the source of any T&E communication —
whether such T&E was created (a) by Personnel, or (b) any Third Party, and by whomever or however communicated
— such communication will disclose the Material Connection consistent with Laws and our Code and we will ensure
that the relevant individual or entity endorser likewise complies. These standards apply to any person which may
communicate any aspect of our operations to a Third Party, but nonetheless, may never otherwise violate Laws
(including as germane to the provision of any investment or financial advice, which is strictly prohibited).
        NOTE: When a significant minority of Third Parties do not understand a Material Connection between J&J and
        any person that communicates with such Third Party in any direct or indirect way, a Clear and Conspicuous
Disclosure must be implemented. It is crucial to remind everyone that no one except our Company officers may in
any way communicate with Investors and that we do not and will never act or otherwise serve as investment or
financial counselors for anyone. If a Third Party so communicates in violation of our Core Values, it shall be deemed
to be contrary to Laws and it must be reported.
             NOTE: Remuneration can take many forms. It can be in the form of any Gift or other benefit, including,
             privileges, special access, prizes, or any other type of “freebie.”

XXIII. CORE VALUE – WE PROMOTE FAIR TRADE AND ENTERPRISE:
     In the course of our business operations, we maintain a level playing field. This means that we promote principles
of fair and open marketplace dealings and communications. We know that any unfair advantage in our business
operations translates to negative disruptions to competition and lead to negative consequences, for example, to our
reputation.
     Accordingly, it our policy that business decisions – including determining prices, pricing policies, terms, the
markets or lines of business to compete in and the Vendors, supplies or any Third Party with whom J&J does business
— be made on an independent basis, considering all relevant factors, including the Company’s costs and profit
objectives, prevailing market conditions, competitive prices and other relevant factors and information, and always
in compliance with all Laws.
    We will not: (A) enter into agreements or other understandings with industry competitors to fix terms of services
or prices; (B) boycott any Third Party; (C) disparage our competitors or misrepresent the value or correctness of their
services or products; or (D) trade or allocate territories or Investors or engage in other activities that that
anticompetitive or involve exclusive dealing.
      Q: AM I ALLOWED TO GATHER INFORMATION ABOUT THE MARKETPLACE, FOR EXAMPLE, ABOUT OUR
      COMPETITORS AND THEIR PRODUCTS, SERVICES OR TRANSACTIONS? A: Yes; but we note that there are ethical
      limits that you must not cross when Transacting in any Third Party Information, especially about (or potentially
belonging) to a competitor. Act consistent with the following guidance:

            (1) it is ok to gather information from public sources; i.e., published articles, advertisements, brochures,
           other non-proprietary/non-confidential materials, surveys by consultants and conversations with Third
           Parties, but not if such survey, conversation or activity is likely to suggest at all or to anyone that we are
attempting to (a) conspire with our competitors, using for example a Third Party as an intermediary, or (b) gather
information in breach of a Third Party’s nondisclosure agreement with a competitor or through other wrongful
means; or (c) elicit any Confidential, Proprietary or other Third Party Information that, if we become a holder of,

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violates any Third Party’s pecuniary, beneficial or other proprietary right under Laws or as otherwise contrary to our
Code or Policies. If you ever improperly come across information about a competitor or regarding any Third Party or
Referral Source contrary to the preceding or Laws/Code of Ethics, you must use a Reporting Channel and identify any
source of such information; (2) we will not acquire a Third Party’s or a competitor's confidential, trade secret or other
proprietary information through unlawful means (e.g., theft, spying, bribery) or breach of a Third Party’s or
competitor's rights under a nondisclosure agreement with any person or entity; (3) If you have any inkling that
information you are being offered was not lawfully received by the party in possession, you must refuse to accept it.
If you receive any competitive information anonymously or that is marked “confidential,” do not review it. Use a
Reporting Channel to visit with our Compliance Function immediately. The improper receipt or use of a Third Party’s
competitive information could subject the Company, and you individually, to criminal and civil liability. When in doubt,
speak up.

XXIV. CORE VALUE – WE ARE ACCOUNTABLE FOR VIOLATIONS OR MISCONDUCT:
   Consistent with your acknowledgment to this Code, you are expected to read, understand, and abide with the
Code, our Core Values, Laws, HR Policies, Company’s Compliance Program, and all other Company Policies.
Accordingly, any claims of ignorance, good intentions, or poor judgment will never constitute an excuse for non-
compliance.
                           CORRECTIVE ACTION RELATED TO ANY NON-COMPLIANCE (OR MISCONDUCT) MAY INCLUDE
                           DISCIPLINARY ACTION UP TO AND INCLUDING TERMINATION AND LEGAL ACTION FOR:
                 (A) Authorization of, or participation in, any violation of our Compliance Mandate or any Misconduct;
                (B) Improper refusal to cooperate in any Laws, Code or Policy violation or Misconduct investigation;
(C) Failure by a violator’s Manager to detect or report a violation or Misconduct (e.g., in cases of inadequate
supervision on the part of the Manager); (D) Reporting a matter that is knowingly false or intended to, without
limitation, intimidate or retaliate against anyone; (E) Any instance of retaliation — including by intimidating,
threatening, harassing or maligning any person who has in good faith reported a concern or complaint, or a Code,
Laws or policy violation, or any Misconduct.




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                              PLEASE REMEMBER THAT:



                              COMPLIANCE IS EVERYONE’S RESPONSIBILITY.


                              THE CODE OF ETHICS IS JUST ONE OF THE COMPLIANCE
                              RESOURCES AVAILABLE TO YOU.


                              IF YOU HAVE ANY QUESTION (OR ARE UNSURE ABOUT
                              ANY CORE VALUE OR ANY OTHER POLICY) CONTACT
                              YOUR MANAGER OR OUR COMPLIANCE FUNCTION,
                              HR FUNCTION, OR COMPLIANCE EMAIL OR THE
                              COMPANY’S PRESIDENT.




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                                                               RESOURCES
I.     CONTACT INFORMATION:
   A. MANAGER – The best place to start if you have questions on how our Code applies to you is with your
immediate Manager.
    B. COMPLIANCE FUNCTION - The Compliance Function is a corporate resource available to address your
questions or concerns about our Company’s Core Values and standards of conduct: (1) Email any compliance
related question or concern to our Compliance Email.
II. OTHER RESOURCES:
Policies - Refer to our all our Policies including the HR Policies and any stand-alone Policies.
Employment related questions - Contact Company’s Human Resources Function for concerns involving
employment conditions, Management and/or other Personnel.
III. GLOSSARY:
“Access” means to appropriately or with permission obtain, examine or retrieve data or information or the
ability or the means necessary to Transact, without limitation, CDIS, CDI, Official Records, Confidential
Information, or Company Information.
“Access Control” means control of (or restrictions to) Access of the means necessary to obtain, examine or
retrieve data or information or Transact, without limitation, CDIS, CDI, Official Records, Confidential Information,
or Company Information.
“Assessment(s)” means the evaluation or estimation of the nature, quality, or ability of Company Personnel and
their provision of service to the Company as periodically and regularly documented. An Assessment is meant to
review Personnel performance pursuant to consistent standards for such Assessments. Adherence to Policies,
Laws and any other regulatory requirement constitute some of the measures of Assessments. “Security
Assessment(s)” means and relate to the evaluation and estimation of the nature and quality of the Company’s
Policies and security or privacy standards and controls all of which are measured to establish that same are
correctly implemented and as implemented, are effective. “Risk Assessment(s)” means and relates to the
identification, evaluation and estimation of the nature and quality of risks that the Company may face in relation
to its Laws compliance, Policies and other compliance related matters. Assessments and Security
Assessments/Risk Assessments/Risk Analyses are overseen, documented and respectively managed under the
Company’s Performance Management Program and its Compliance Function.
“Assets” include Intangible Assets like “Company Information” (whether in physical, electronic, or other form,
including CDI) and Good Will and the Physical Assets that we use in our operations and, without limitation,
Company’s Facilities and CDIS.
“Code” or “Code of Ethics” means the Company’s Code of Ethics and Business Conduct.
“Compliance Certification” means such Company Personnel or any Third Party acknowledgment, certification,
or other memorialization of compliance, without limitation, germane to the Code of Ethics, HR Policies, Policies,
or Laws. Examples include, without limitation, Personnel training attendance acknowledgments, compliance
warranties and certifications, conflict of interest forms, Code of Ethics acknowledgment.
“Company Data and Information Systems” (“CDIS”) means, without limitation, all Company computing,
communication and information technology Assets and Company’s equipment, devices, computers, systems,
servers, networks, Software, Hardware, websites, databases, smartphones, tablets, computer systems,
computing resources, resources, databases, voice mail resources, messaging resources, hard drives, removable
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media, thumb drives, external hard drives, intranet resources, internet, or any other data, information, or
communication Asset or system (and including the means to Access CIDS, e.g., passwords and other Access
authentication requirements). CDIS is a Company Asset.
“Company Data and Information” (“CDI”) means all external or internal/physical or electronic data/information,
including without limitation, files, documents, e-mails, communications, memoranda, messages or
transmissions of data/information of any kind or any other aggregation of data or information including
Confidential information, Official Record, Intellectual Property, Proprietary Information, Company Information,
Know How and Trade Secrets, whether Transacted directly or indirectly by, from, or through CDIS or otherwise
Transacted by Company Personnel or, as relevant to Company, germane to (or by) any Third Party. CDI is a
Company Asset (and in most cases) constitutes a Company Official Record.
“Company Information” includes Confidential Information, Proprietary Information, Company Data &
Information (“CDI”), Intellectual Property, Trade Secrets, Official Records, and Know How.
“Confidential Information” means (in addition) information that the Company has or will develop, acquire,
create, compile, discover or own, that has value in or to the Company’s business which is not generally known
and which the Company wishes to maintain as confidential. Company Confidential Information includes both
information disclosed by the Company to our Personnel or others, and information developed or learned by our
Personnel, contractors, or others, during the course of their association with Company. Company Confidential
Information also includes all information of which the unauthorized disclosure could be detrimental to the
interests of Company, whether or not such information is identified as Company Confidential Information. By
example, and without limitation, Company Confidential Information includes any and all non-public information
that relates to the actual or anticipated business or products, research or development of the Company, or to
the Company’s technical data, trade secrets, or know-how, including, but not limited to, research, product plans,
or other information regarding the Company and markets therefor, business relationships (including, but not
limited to, Investors or business relations of the Company with which our Personnel, contractors or others have
contact with or otherwise become aware of, developments, processes, formulas, technology, designs, drawings,
Hardware configuration information, marketing, finances, and other business information disclosed by the
Company either directly or indirectly in writing, orally or by drawings or inspection of premises, parts,
equipment, or other Company Assets. Notwithstanding the foregoing, Company Confidential Information will
not include any such information which (1) was publicly known or made generally available prior to the time of
disclosure by Company; (2) becomes publicly known or made generally available after disclosure by Company
through no wrongful action or omission by our Personnel, contractors or others; or (3) is in our Personnel,
contractors or others’ rightful possession, without confidentiality obligations, at the time of disclosure by
Company as shown by then-contemporaneous written records.
“Facility” or “Facilities” means any real property (including all offices, operations facilities, buildings, fixtures or
other improvements located thereon) now or in the future owned, leased, supervised, operated or used by the
Company or any of its affiliates wherein (or germane to) the Company or its Personnel conducts any business
or operations. Broadly in relation to any of our Company operations, “Facility” includes in relation to Company,
without limitation, all Workstations (e.g., desks and cubicles) offices, reception areas, waiting rooms, hallways,
and any other discrete physical location within the Facility.
“Government” means any international, domestic, federal, national, state, county or municipal or other local
government, any subdivision, department, office, service, agency, commission, or authority thereof including
the judiciary, or any quasi-governmental body exercising any regulatory authority or any other authority
exercising authority over Laws, whether civil or criminal.
“HR Function” means any and all Company Personnel or external individuals or entities responsible for the
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development, maintenance, support and other business operational aspects germane to Human Resources and
employment matters within or for the Company and will (as contextually relevant) include the HR Function’s,
without limitation, HR Policies, Personnel/Human Resources Files, Performance Management Program, and
CDIS/CDI.
“Intellectual Property” means (1) all inventions (whether patentable or unpatentable and whether or not
reduced to practice), all improvements thereto, and all patents, patent applications, and patent disclosures,
together with all reissuances, continuations, continuations-in-part, revisions, extensions, and reexaminations
thereof, (2) all trademarks, service marks, trade dress, logos, trade names, and corporate names, together with
all translations, adaptations, derivations, and combinations thereof and including all goodwill associated
therewith, and all applications, registrations, and renewals in connection therewith, (3) all copyrightable works,
all copyrights, and all applications, registrations, and renewals in connection therewith, (4) all mask works and
all applications, registrations, and renewals in connection therewith, (5) all trade secrets and confidential
business information (including ideas, research and development, know-how, formulas, techniques, technical
data, specifications, business relationships lists and information, pricing and cost information, and business and
marketing plans and proposals), (6) all CDI (including data and related documentation), (7) all other proprietary
rights, and (8) all copies and tangible embodiments thereof (in whatever form or medium).
“Inquiry” as consistent with Company Code of Ethics, means any Government, without limitation, inquiry,
investigation, demand, visit, subpoena, civil investigative demand, or audit any of which may consist of requests
of information or any examination of any aspect of Company’s operations, CDIS, CDI, Company Information or
Official Records.
“IT Function” means any Personnel individuals (or as may be relevant external Vendor) responsible for the
development, maintenance, support and other function related to “Information Technology” (including CDIS
and CDI) within or relevant to the Company.
“Know How” means all Company technical information, know-how and data, discoveries, trade secrets,
specifications, instructions, processes, formulae, materials, expertise and other technology applicable to
Company’s operations.
“Laws” means all applicable international, supranational, nation state, and United States federal, state, local, or
municipal law including as to each of the preceding their common law, constitutions, statutes, codes, treaties,
proclamations, judicial precedents, judicial authorities, regulatory policies, judgments, settlements,
conventions, directives, requirements, writs, orders or consents, regulations, rules, injunctions, decrees or
awards that are or have been issued, enacted, adopted, passed, approved, promulgated, made, implemented
or otherwise put into effect by or under the authority of any Government, including their interpretation or
administration by any Government agency, including courts, charged with their enforcement, interpretation or
administration and all applicable administrative or judicial orders, directed duties, requests, licenses,
authorizations and permits of, and agreements with, any Government.
“Malware” is the contraction for “malicious software” and generally consists of computing code or programs
designed to damage computing systems (like Company’s CDIS) noting that the term Malware will refer to and
consists of (among other things) viruses, worms, trojan horses, ransomware attacks, system intrusions, and
spyware.
“Management” means the Company’s executive managers including as relevant, any Company officer.
“Manager” means such supervisor/manager level Personnel tasked with the responsibility for the Personnel
assigned to work under their oversight, training and management, and to whom such Personnel report.
“Misconduct” means any violation or potential violation of any Laws, or any Company Policy, whether stand
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alone or as may be found in the Company HR Policies, Code of Ethics or otherwise, or any other type of improper
or unprofessional behavior.
“Official Record” means, without limitation, all Company Information whether relating to Company’s
operations, Assets, or business matters and includes all data, information, books, files, and records of the
Company, including Facility, corporate and operating records, correspondence, tax returns, and logs and other
records and whether consisting or paper or electronic format and whether it is CDI or Transacted in CIDS.
“Personnel” means our workers and workforce and includes Management and all Company executives,
Managers, officers, agents, employees, volunteers, trainees, and other persons whose conduct in the
performance of work for Company is under the direct control of the Company. The term Personnel will be
deemed to include any contractor that provides services to the Company. Instances in this Code of Ethics of
either “worker” or “employee” will be deemed to mean “Personnel.”
“Proprietary Information” means all Company Information or Official Record developed or acquired by the
Company or any of its affiliates that has not been specifically authorized to be disclosed including, but not limited
to, the following items and information relating to the following items: (1) all Intellectual Property and
proprietary rights of the Company (including, without limitation, the Intellectual Property), (2) CDIS processing
systems and techniques, inputs and outputs (regardless of the media on which stored or located) and Hardware
and Software configurations, designs, architecture and interfaces, (3) business research, studies, procedures
and costs, (4) financial data, (5) operations methods, (6) marketing data, methods, plans and efforts, (7) the
identities of actual and prospective Third Party business relationships, (8) the terms of contracts and agreements
with, the needs and requirements of, and the Company’s or its affiliates’ course of dealing with, actual or
prospective operational relationships, (9) Personnel information, (10) Vendor Third Party information, and (11)
information received from Third Parties subject to obligations of non-disclosure or non-use. Failure by the
Company or its affiliates to mark any Proprietary Information as confidential or proprietary will not affect its
status as Proprietary Information.
“Process” means any legal or judicial action, appeal, document instrument or other writing issued, filed or
recorded to pursue a claim against person or property, exercise jurisdiction, enforce a judgment, fine a person,
put a lien on property, authorize a search and seizure, arrest a person, incarcerate a person or direct a person
to appear, perform or refrain from performing a specified act and without limitation includes a complaint,
decree, demand, discovery request, indictment, injunction, judgment, lien, motion, notice, order, petition,
pleading, sentence, subpoena, summons, warrant or writ.
“Program” means the Company Corporate Compliance Program and all Program constituent components,
Policies and procedures, standards, and guidance.
“Referral Source” means any Third Party individual or entity that refers any business to the Company, either
directly or through such Referral Source’s employees or agents and includes when a Referral Source is an
Investor or otherwise directly or indirectly affiliated with an Investor, or as may be germane to any Third Party
Beneficiary Insurance Settlement Agreement, or any of which may relate to the Company’s operations.
“Security Awareness” means and refers to the knowledge, training, attitude, conscientiousness, and effort the
Company’s Personnel put forth regarding the protection of Company Assets, CDIS, CDI, Confidential Information
and Company Information. The Company requires Security Awareness training and reinforcement for all
Personnel. Security Awareness (Assessments) are overseen, memorialized and managed under the Company’s
Performance Management Program.
“Software” means a set of instructions/computing language that directs a computer/Hardware to perform tasks
and includes, without limitation, the following terms: computer software, applications, utilities, operating

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systems, courseware, shareware, and other computer language products or services. Software is an included
component of CDIS.
“Third Party” means any outside person or entity and includes as germane to Company: Investors, consultants,
agents, independent contractors, Vendors, suppliers, business relationships, partners, and affiliates. This
definition will include as contextually relevant, any Government agency, department, commission, association
or other pertinent governing, body having direct or indirect authority over the Company or its operations. Any
Third Party’s data or information may be referred to as “Third Party Information.” Third Party Information will
(as contextually relevant) include its Confidential Information.
“Trade Secrets” means any and all information, including a formula, pattern, compilation, program, device,
method, technique, or process that derives independent economic value, actual or potential, from not being
generally known to the public or to other persons who can obtain economic value from its disclosure or use,
and is the subject of efforts that are reasonable under the circumstances to maintain its secrecy. By way of
illustration but not limitation, “Trade Secrets” includes without limitation information regarding plans for
research, development, current and new services or products, marketing and selling, business plans, budgets
and unpublished financial statements, licenses, prices and costs, production and as appropriate, Confidential
Information, Third Party Information, Intellectual Property and Know How.
“Transacts” or to “Transact” or (and contextually, “Transacted/Transaction”) means: access, accesses, accessed,
administer, administers, administered, analyze, analyses, analyzed, collect, collects, collected, compile,
compiles, compiled, compose, composes, composed, create, creates, created, creation, disclosure, disclose,
discloses, disclosed, deliver, delivers, delivered, edit, edits, edited, modify, modifies, modified, process,
processes, processed, read, revise, revises, reviews, reviewed, send, sends, sent, store, storing, stores, transmit,
transmits, transmitted, use, uses, used, using, utilize, utilized, or utilized.
“User” means any Company Personnel, and as relevant, without limitation, independent contractors, temporary
workers, consultants, agents, and Vendors who directly or indirectly Transact CDIS or CDI.
“Vendor” means any person or entity that provides or facilitates the direct or indirect provision (or that seeks to
enter into a relationship with the Company regarding same) to Company of any service or product germane to
which Vendor, without limitation, may be a dealer, distributor, seller, merchant or other type of supplier of
services or products.
“Workstation(s)” means generally any identifiable portion of any Facility or otherwise where Company’s
Personnel perform any duty or responsibility germane to Company’s business/operations (e.g., desk, cubicle,
work area); Workstation will also refer to CDIS equipment/devices located at Workstations or elsewhere or that
are used directly or indirectly by Personnel to fulfill their Duties and Responsibilities




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                                        CODE OF ETHICS AND BUSINESS CONDUCT
                                                            COMPLIANCE CERTIFICATION
                                                                       ACKNOWLEDGMENT
I ACKNOWLEDGE AND CERTIFY BY MY SIGNATURE BELOW THAT:
I HAVE BEEN PROVIDED A COPY OF J AND J PURCHASING, LLC’S (“J&J” OR “COMPANY”) CODE OF ETHICS AND
BUSINESS CONDUCT (THE “CODE”).
IT IS MY RESPONSIBILITY TO FULLY READ, UNDERSTAND, AND COMPLY WITH: (A) THE CODE AND ITS POLICIES,
GUIDANCE, AND STANDARDS (OUR “CORE VALUES”), AND (B) ALL OTHER J&J POLICIES, PROCEDURES,
STANDARDS, GUIDELINES, AND DIRECTIVES (COLLECTIVELY, IN THIS CODE AND AS MAY BE FOUND ELSEWHERE,
OUR “POLICIES”).
I WILL AT ALL TIMES ACT IN ACCORDANCE WITH ALL FEDERAL, STATE, LOCAL AND APPLICABLE INTERNATIONAL
AND FOREIGN NATION LAWS, STATUTES, RULES, AND REGULATIONS (COLLECTIVELY, IN THIS CODE AND
ELSEWHERE, “LAWS”).
I HAVE A CONTINUING OBLIGATION TO IMMEDIATELY REPORT ANY ACTUAL OR SUSPECTED CODE, LAWS, OR
POLICY VIOLATION OR ANY MISCONDUCT TO MY MANAGER OR THE COMPANY’S MANAGEMENT, HR
FUNCTION, COMPLIANCE FUNCTION, AND/OR THROUGH THE COMPLIANCE EMAIL.
MY VIOLATION OF THE CODE, LAWS, OR POLICIES MAY RESULT IN CORRECTIVE ACTION UP TO, AND
INCLUDING, IMMEDIATE TERMINATION OF EMPLOYMENT OR ASSOCIATION TO COMPANY.
THE CODE AND POLICIES MAY BE REVISED AT ANY TIME AND, IN SUCH A CASE, THE COMPANY WILL NOTIFY
ME AND PROVIDE ME WITH A REVISED CODE AND POLICIES.
ONLY A DULY AUTHORIZED COMPANY REPRESENTATIVE MAY ISSUE ANY REVISION OF THE CODE, OUR CORE
VALUES, OR OUR POLICIES.


________________________________
PRINTED NAME


________________________________
SIGNATURE


_________________________________, 202 _
DATE SIGNED




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                 EXHIBIT D
          INVESTOR QUESTIONNAIRE
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                    J AND J PURCHASING, LLC
              CONFIDENTIAL INVESTOR QUESTIONNAIRE
IN CONNECTION WITH THE PROPOSED ISSUANCE BY J AND J PURCHASING, LLC OF UP TO
FIVE (5) PARTIAL BENEFICIAL INTERESTS THAT WILL BE HELD BY INVESTOR GERMANE TO
COMPANY’S PURCHASE(S) OF INSURANCE SETTLEMENT AGREEMENTS UNDER A
PURCHASE CONTRACT BETWEEN COMPANY AND CERTAIN THIRD-PARTY INSURANCE
SETTLEMENT AGREEMENT BENEFICIARIES, IN MINIMUM AMOUNTS AND IN INCREMENTS
OF EITHER $80,000.00 OR $100,000.00 (THE “INSURANCE SETTLEMENT AGREEMENT
PURCHASE AMOUNT(S)”), IN A TRANSACTION INTENDED TO QUALIFY UNDER SECTION 4(2)
OF THE SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”), AND RULE 506
OF REGULATION D PROMULGATED HEREUNDER, AS AN OFFERING OF SECURITIES
EXEMPT FROM THE REGISTRATION REQUIREMENTS OF THE SECURITIES ACT, THE
SUBSCRIBER PROVIDES THE COMPANY WITH THE INFORMATION SET FORTH BELOW AND
CERTIFIES THAT SAME IS ACCURATE IN ALL RESPECT.
SUBSCRIBER UNDERSTANDS THAT COMPANY WILL FULLY RELY ON THE INFORMATION
FURNISHED BY SUBSCRIBER AND THAT COMPANY WILL EITHER: (A) NOT DO ANY
INDEPENDENT INVESTIGATION TO VERIFY OR FALSIFY ANY PROVIDED INFORMATION; OR
(B) PROCEED TO SEEK ADDITIONAL INFORMATION AND CERTIFICATIONS FROM
SUBSCRIBER CONSISTENT WITH COMPANY’S COMPLIANCE PROGRAM, CODE OF ETHICS
AND BUSINESS CONDUCT, AND ITS POLICIES AND PROCEDURES.
The Subscriber represents that the information presented herein and in the Subscription Agreement is
complete, true, and accurate as of the date indicated and the Subscriber agrees to notify the Company
immediately of any change in any such information that occurs prior to (or during or after) any investment under
this offering.
The information disclosed below shall be held as strictly confidential by the Company under our compliance
program/code of ethics and business conduct and will not be disclosed to any person except to the Company’s
President, the Investor, their respective counsel, or such other party as the President deems appropriate to
establish, among others, the availability of an exemption from registration of the Partial Beneficial Interests
under the Securities Act and applicable state securities and other laws.
                                 ALL ITEMS MUST BE FULLY COMPLETED
1. FULL NAME OF THE SUBSCRIBER: _______________________________. I VERIFY THAT THE
PHOTOCOPY OF THE STATE OR FEDERALLY ISSUED IDENTIFICATION THAT I SUBMIT WITH THIS
QUESTIONAIRE CONSTITUTES A TRUE AND CORRECT COPY OF SAME.

 I AM A RESIDENT OF:


 ADDRESS:


 BANK OR FINANCIAL INSTITUTION – SOURCING OF FUNDS
 FOR INVESTMENT – NAME:

 BANK OR FINANCIAL INSTITUTION – SOURCING OF FUNDS
 FOR INVESTMENT – ADDRESS:
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2. PLEASE INDICATE WHETHER YOU QUALIFY AS AN ACCREDITED INVESTOR BY INITIALING AT
LEAST ONE OF THE FOLLOWING TESTS (IF NONE APPLIES, PLEASE CONSULT THE COMPANY):

          INITIALS                                                                                                                       TESTS

                                              YOU ARE A NATURAL PERSON AND HAVE HAD AN INDIVIDUAL ANNUAL
                                              ADJUSTED GROSS INCOME1 IN EXCESS OF $200,000 FOR EACH OF THE TWO
                                              MOST RECENT YEARS OR JOINT INCOME WITH YOUR SPOUSE IN EXCESS OF
                                              $300,000 IN EACH OF THOSE YEARS AND REASONABLY EXPECT THE SAME
                                              INCOME LEVEL FOR THE CURRENT YEAR.
                                              YOU ARE A NATURAL PERSON WHOSE INDIVIDUAL NET WORTH2 OR JOINT
                                              NET WORTH WITH YOUR SPOUSE, AS OF THE DATE HEREOF EXCEEDS
                                              $1,000,000 (INCLUSIVE OF THE VALUE OF HOME FURNISHINGS AND
                                              AUTOMOBILES BUT EXCLUDING THE VALUE OF YOUR PRIMARY RESIDENCE).
                                              YOU ARE AN EMPLOYEE BENEFIT PLAN WITHIN THE MEANING OF TITLE I OF
                                              THE UNITED STATES EMPLOYEE RETIREMENT INCOME SECURITY ACT OF
                                              1974, AS AMENDED (“ERISA”), WHERE THE INVESTMENT DECISION IS MADE BY
                                              A PLAN FIDUCIARY (AS DEFINED IN SECTION 3(21) OF ERISA) WHICH IS EITHER
                                              A BANK, SAVINGS AND LOAN ASSOCIATION, INSURANCE COMPANY, OR
                                              REGISTERED INVESTMENT ADVISER, OR WHERE THE EMPLOYEE BENEFIT
                                              PLAN HAS TOTAL ASSETS IN EXCESS OF $5,000,000, OR, IF A SELF-DIRECTED
                                              PLAN, WHERE INVESTMENT DECISIONS ARE MADE SOLELY BY PERSONS
                                              THAT ARE ACCREDITED INVESTORS.
                                              YOU ARE AN ORGANIZATION DESCRIBED IN SECTION 501(C)(3) OF THE US
                                              INTERNAL REVENUE CODE OF 1986, AS AMENDED (THE “CODE”), A
                                              CORPORATION, A MASSACHUSETTS OR SIMILAR BUSINESS TRUST, OR A
                                              COMPANY, NOT FORMED FOR THE SPECIFIC PURPOSE OF ACQUIRING THE
                                              SECURITIES OFFERED, WITH TOTAL ASSETS OF AT LEAST $5,000,000.
                                              YOU ARE A TRUST WITH TOTAL ASSETS IN EXCESS OF $5,000,000, NOT
                                              FORMED FOR THE SPECIFIC PURPOSE OF ACQUIRING THE SECURITIES
                                              OFFERED, WHOSE PURCHASE IS DIRECTED BY A SOPHISTICATED PERSON
                                              AS DESCRIBED IN RULE 506(B)(2)(II) UNDER THE SECURITIES ACT.
                                              YOU ARE A COMPANY, CORPORATION, OR OTHER ENTITY IN WHICH ALL
                                              EQUITY OWNERS THEREOF INDIVIDUALLY QUALIFY AS ACCREDITED
                                              INVESTORS.

                                              YOU ARE NOT AN ACCREDITED INVESTOR.

3. TAX INFORMATION.

    U.S. SOCIAL SECURITY NUMBER/FEDERAL TAX I.D. NUMBER:

    STATE TAX IDENTIFICATION NUMBER (IF ANY):

    IDENTIFY WHICH FORM(S) YOU FILE WITH THE UNITED
    STATES INTERNAL REVENUE SERVICE FOR UNITED STATES

1    “Annual adjusted gross income” means “adjusted gross income” as reported for ncome tax purposes, less any income attributable to a spouse or to property owned by a spouse and increased by the following amounts (but not includng any portion
of such amounts attributable to a spouse or to property owned by a spouse): (i) the amount of any tax-exempt interest income received; (ii) the amount of losses claimed as a limited partner in a lmited Company; (ii) any deduction claimed for depreciation;
and (iv) any amount by which income from long-term capital gains has been reduced in arriving at adjusted gross income.
2    Net worth for this purpose means your total assets (excludng the value of your principal resdence) subtracted by total liabilities (excluding the amount of indebtedness secured by your primary residence up to the value of your prmary residence
(except that if the amount of indebtedness secured by your primary residence at this time exceeds the amount of such indebtedness 60 days ago, other than as a result of the acquistion of your primary residence, the amount of such excess shall be
included in total liabilities)). Indebtedness secured by your primary residence in excess of the value of your prmary residence wll be deducted from the determination of your net worth.
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FEDERAL INCOME TAX PURPOSES (E.G., 1040, 1065, 1120,
5500, 990):

PLEASE INDICATE WHETHER YOU ARE TREATED FOR                 AN INDIVIDUAL
UNITED STATES FEDERAL INCOME TAX PURPOSES AS
(CHECK ONE):                                                A TRUST

                                                            A COMPANY

                                                            AN S CORPORATION

                                                            A CORPORATION

                                                            OTHER; PLEASE SPECIFY

ARE YOU A TAX-EXEMPT ENTITY?                             ( ) YES            ( ) NO

IF YOU ARE A TAX-EXEMPT ENTITY PURSUANT TO THE IRS EXEMPTED UNDER SECTION:
CODE, PLEASE SPECIFY THE SECTION OF THE CODE THAT
EXEMPTS YOU BELOW AND ATTACH A COPY OF THE
DETERMINATION LETTER OR PRIVATE LETTER RULING
FROM THE US INTERNAL REVENUE SERVICE CONFIRMING
SUCH EXEMPTION.

4. ENTITY DUE DILIGENCE INFORMATION:

FULL LEGAL NAME OF ANY ENTITY DISCLOSED:


ENTITY REGISTERED AGENT – ADDRESS:


DATE OF INCORPORATION:

STATE OF INCORPORATION:

MAIN LINE OF BUSINESS:

PRINCIPAL PLACE OF BUSINESS – ADDRESS:

PHONE/FAX OF PRINCIPAL PLACE OF BUSINESS:

PERCENTAGE OWNED BY INVESTOR/SUBSCRIBER:

OFFICER OR OTHER MANAGEMENT POSITION HELD BY
INVESTOR/SUBSCRIBER:
                                                       PUBLICLY TRADED
                                                       PRIVATELY HELD
TYPE OF OWNERSHIP:
                                                       PARTNERSHIP
                                                       SOLE PROP.

HAS THE ENTITY DEFAULTED WITH ANY FINANCIAL
                                                           ( ) YES            ( ) NO
INSTITUTION?
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IF YES, HAS THE DEFAULT STATUS BEEN RESOLVED?             ( ) YES      ( ) NO


MAIN BANKER OF ENTITY, NAME AND ADDRESS:

HAS THE ENTITY BEEN AUDITED?                              ( ) YES      ( ) NO

IF YES, NAME OF AUDIT FIRM AND ADDRESS:

HAS    THE   INVESTOR     DEFAULTED       WITH   ANY
                                                          ( ) YES      ( ) NO
BANK/FINANCIAL INSTITUTION?

IF YES, HAS THE DEFAULT STATUS BEEN RESOLVED?             ( ) YES      ( ) NO

5. DUE DILIGENCE VERIFICATION AND INFORMATION?

IS THE SUBSCRIBER OR ENTITY UNDER ANY SANCTION OR
EMBARGO LIMITATION - WHETHER INTERNATIONALLY OR
IN ANY APPLICABLE JURISDICTION?                            ( ) YES     ( ) NO
IF YES, PLEASE PROVIDE DETAILS IN A SEPARATE PAGE
SUBMITTED WITH THIS AGREEMENT.

                                                       PERSONAL

SOURCE OF INVESTMENT FUNDS:                            FAMILY
(ATTACH ADDITIONAL PAGES IF NECESSARY)                 BUSINESS

                                                       THIRD PARTY

IF FAMILY OR THIRD PARTY – PLEASE SET OUT THE NAME
AND CONTACT INFORMATION FOR EACH POTENTIALLY
BENEFICIARY OWNER OF ANY FUNDS TRANSFERRED TO
COMPANY.

DOES THE INVESTOR OR ANY IMMEDIATE FAMILY MEMBER
HAVE ANY POLITICAL PARTY LINK.
                                                          ( ) YES      ( ) NO
IF YES, PLEASE PROVIDE DETAILS IN A SEPARATE PAGE
SUBMITTED WITH THIS AGREEMENT.

IS INVESTOR SUBJECT TO ANY PENDING CRIMINAL
INVESTIGATION, INDICTMENT, CHARGE/PROCEEDING?
                                                          ( ) YES      ( ) NO
IF YES, PLEASE PROVIDE DETAILS IN A SEPARATE PAGE
SUBMITTED WITH THIS INVESTOR QUESTIONNAIRE.

DOES THE INVESTOR OR ANY ENTITY IDENTIFIED HAVE ANY
DIRECT OR INDIRECT BUSINESS OR OTHER LINK TO ANY
GAMBLING, DRUG, OR MONEY LAUNDERING ACTIVITY, OR
                                                          ( ) YES      ( ) NO
ANY OTHER IMPERMISSIBLE CONFLICT WITH LAWS
GERMANE TO THE FUNDS TRANSFERRED UNDER THIS
OFFERING OR OTHERWISE.
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6. HAVE YOU RELIED UPON THE ADVICE OF OTHERS WHEN EVALUATING THE MERITS AND RISK
OF THIS INVESTMENT?
    ( ) Yes              ( ) No
     Note: You should answer the above in the affirmative only if you have presented this investment to others
who in turn have analyzed the investment in depth on your behalf and who, in making such an analysis, were
familiar with and took into consideration your financial position and investment objectives, whether or not such
third party is properly registered under applicable Laws to serve in such financial advice or investment advice
capacity. Do not answer the above in the affirmative if you have merely described the investment to others in
broad generalities and sought their advice more on a social (as opposed to a professional) basis.
      Note: You acknowledge and certify if you answer the above in the negative that the Company and any
affiliated individual has not provided you with any sort of financial or investment advice or service; noting that no
one at the Company is allowed to do so under its Compliance Program and as consistent with the fact that no
such individual is registered or allowed to so provide investment or financial advice under applicable Laws.
7. IF YOUR ANSWER TO QUESTION 4 IS “YES,” PLEASE IDENTIFY SUCH ENGAGED PURCHASER
REPRESENTATIVE.

 NAME:

8. HAVE ALL QUESTIONS THAT YOU OR YOUR PURCHASER REPRESENTATIVE(S) HAVE
REGARDING ALL RISKS BEEN ANSWERED TO YOUR FULL SATISFACTION?
    ( ) Yes              ( ) No

 IF NOT, PLEASE SET FORTH HERE ANY SUCH QUESTION:




9. HAVE ALL QUESTIONS THAT YOU OR YOUR PURCHASER REPRESENTATIVE(S), IF ANY, MAY
HAVE CONCERNING THE PROPOSED INVESTMENT BEEN ANSWERED TO YOUR FULL
SATISFACTION?
    ( ) Yes              ( ) No

 IF NOT, PLEASE SET FORTH BELOW ANY SUCH QUESTION




10. IF YOU SHOULD CHOOSE TO INVEST UNDER THIS OFFERING, IS IT YOUR OPINION THAT YOUR
PRESENT FINANCIAL POSITION IS, AND IS EXPECTED TO CONTINUE TO BE, SUCH AS TO ENABLE
YOU:

 TO BEAR THE ECONOMIC RISK OF LOSING ALL OF THE INVESTMENT?                                    ( ) YES ( ) NO

 TO BEAR THE ECONOMIC BURDEN OF HAVING ALL SUCH FUNDS                                          ( ) YES ( ) NO
 CONFINED TO AN ESSENTIALLY ILLIQUID INVESTMENT FOR A PERIOD OF
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OVER THREE MONTHS AND SUBJECT TO THE UP TO 30 DAY TIME PERIOD
SUBSEQUENT ANY EXERCISE OF THE RIGHT OF REDEMPTION OF THE
INVESTMENT PRINCIPAL?




11. I CERTIFY THAT I AM ACQUIRING THE PARTIAL BENEFICIAL INTEREST AS A PRINCIPAL, FOR
INVESTMENT, AND NOT WITH A VIEW TO RESALE OR DISTRIBUTION AND THAT ALL
REPRESENTATIONS MADE BY ME IN THIS INVESTOR QUESTIONNAIRE AND THE SUBSCRIPTION
AGREEMENT ARE TRUE, ACCURATE, AND CORRECT IN ALL RESPECTS AND MAY BE FULLY RELIED
UPON BY THE COMPANY. I HAVE NOT ACTED AS A FINDER, AND IF I MAY BE DEEMED TO BE A
FINDER AT ANY TIME BY ANYONE, I NONETHELESS CERTIFY HEREBY THAT I HAVE PROVIDED NO
INVESTMENT OR FINANCIAL ADVISE TO ANYONE AT ANY TIME AND HAVE NOT VIOLATED ANY
SECURITIES OR INVESTMENT LAWS OR REGULATIONS, WHETHER STATE OR FEDERAL.
12. I CERTIFY THAT I HAVE NEVER ACTED DIRECTLY OR INDIRECTLY AS A FINANCIAL OR
INVESTMENT ADVISOR GERMANE TO ANY THIRD PARTY AT ANY TIME AND WILL NOT DO SO IN THE
FUTURE UNLESS I AM LEGALLY ALLOWED TO DO SO UNDER ALL APPLICABLE LAWS AND
REGULATIONS. I FURTHER CERTIFY THAT ANY INVESTMENT I MAKE IN BENEFICIAL INTERESTS OR
FUNDS THAT I TRANSFER GERMANE TO THIS OFFERING ARE SOURCED SOLELY AS CONSISTENT
WITH MY REPRESENTATIONS AND WARRANTIES UNDER THIS INVESTOR QUESTIONNAIRE,
SUBSCRIPTION AGREEMENT AND OTHERWISE, AND WHETHER AS RELEVANT TO MY CERTIFIED
STATUS AS AN ACCREDITED INVESTOR OR OTHERWISE, MY CERTIFICATIONS REMAIN TRUE AND
ACCURATE THAT ANY SOURCE OF INVESTMENT FUNDS FOR BENEFICIAL INTERESTS ARE
COMPLIANT WITH ALL OF MY REPRESENTATIONS AND WARRANTIES MADE HEREIN AND ALL OF
WHICH ARE CONSISTENT WITH THE SUBSCRIPTION AGREEMENT AND THE COMPANY’S CODE OF
ETHICS AND BUSINESS CONDUCT. I WARRANT TO COMPANY THAT ANY FUNDS OR AMOUNTS THAT
I TRANSFER TO COMPANY FOR INVESTMENT IN BENEFICIAL INTERESTS SHALL BE CONSISTENT
WITH ALL, WITHOUT LIMITATION, ACCREDITED INVESTOR STATUS AND ANTI-MONEY LAUNDERING
WARRANTIES AND CERTIFICATIONS THAT I MAKE IN THIS OR ANY OTHER DOCUMENT. I WARRANT
THAT ANY FUNDS, HOWEVER OR FROM WHEREVER SOURCED, THAT I TRANSFER TO THE
COMPANY SHALL ONLY BE SOURCED AND ORIGINATE FROM, AND AS CONSISTENT WITH MY
STATUS AS, AN ACCREDITED INVESTOR AND THAT DIRECTLY OR INDIRECTLY, HOWEVER
SOURCED, THE ACCREDITED INVESTOR IS IN COMPLIANCE WITH ALL ANTI MONEY LAUNDERING
STANDARDS, WARRANTIES AND CERTIFICATIONS SET OUT AS A CONDITION OF THIS OFFERING,
AND FURTHER ALL OF WHICH I WILL TRANSPARENTLY DISCLOSE TO THE COMPANY IF ANY ACTION
BY ME, OR FACT OR CIRCUMSTANCE, DEVIATES FROM THE PRECEDING STANDARDS.
13. I UNDERSTAND AND AGREE THAT THE PARTIAL BENEFICIAL INTERESTS OR ANY INVESTMENT
OPPORTUNITY AVAILABLE HEREUNDER HAVE NOT BEEN REGISTERED UNDER THE SECURITIES
ACT OR UNDER ANY APPLICABLE STATE SECURITIES LAWS AND THAT THE COMPANY HAS NOT
MADE ANY COMMITMENT TO REGISTER SAME UNDER ANY CONDITIONS OR TO FILE REPORTS WITH
THE SECURITIES AND EXCHANGE COMMISSION OR ANY OTHER FEDERAL OR STATE GOVERNMENT
AGENCY OR TO MAKE ANY OTHER ACTION WHICH WILL ENABLE ME TO TRANSFER ANY PARTIAL
BENEFICIAL INTEREST UNDER THE OFFERING.
14. I UNDERSTAND THAT THE CAUSES OF ACTION OR LIABILITY CIRCUMSTANCES IMPLICATED OR
RELEVANT TO ANY INSURANCE SETTLEMENT AGREEMENT INTEREST THAT IS PURCHASED BY
COMPANY THROUGH A PURCHASE CONTRACT, DO NOT INVOLVE ANY PENDING LAWSUIT OR
OTHER COURT PROCEEDING. SUCH CONTROVERSY IS NOT BEING PROSECUTED OR DEFENDED
IN ANY COURT PROCEEDING WITH THE CONTROVERSY BEING SETTLED THROUGH THE
INSURANCE SETTLEMENT AGREEMENT THAT IS BEING PURCHASED.
15. I AGREE TO HOLD THE PARTIAL BENEFICIAL INTEREST FOR AT LEAST THREE MONTHS AND FOR
A PERIOD OF AT MOST 90 DAYS SUBSEQUENT MY EXERCISE OF ANY RIGHT OF REDEMPTION AS
CONSISTENT WITH MY SUBSCRIPTION AGREEMENT AND THE TERMS OF THE COMPANY
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OPERATING AGREEMENT.
16. I HEREBY CERTIFY THAT I HAVE FULLY REVIEWED THE COMPANY OPERATING AGREEMENT
AND ANY AMENDMENTS OR SUPPLEMENTS THERETO (THE “COMPANY OPERATING AGREEMENT”)
AND I ACCEPT AND ADOPT ALL TERMS AND PROVISIONS OF THE COMPANY OPERATING
AGREEMENT. SPECIFICALLY, I UNDERSTAND THAT (A) THE TRANSFER OR REDEMPTION OF THE
INVESTMENT PRINCIPAL GERMANE TO THE PARTIAL BENEFICIAL INTERESTS IS RESTRICTED BY
THE TERMS OF THIS OFFERING AND PURSUANT TO THE DISCRETION GRANTED TO THE COMPANY
PURSUANT ITS OPERATING AGREEMENT.
17. I UNDERSTAND AND RECOGNIZE THAT INVESTMENT IN THE COMPANY INVOLVES SIGNIFICANT
FINANCIAL AND LEGAL RISKS AND I HAVE TAKEN FULL COGNIZANCE OF AND UNDERSTAND ALL OF
THE RISK FACTORS RELATED TO THE ACQUISITION OF THE PARTIAL BENEFICIAL INTERESTS AND
RELATIONSHIP TO THE COMPANY.
18. I (AND MY FINANCIAL, TAX, INVESTMENT, AND LEGAL ADVISORS) HAVE BEEN GIVEN SUFFICIENT
OPPORTUNITY TO INSPECT ALL DOCUMENTS, BOOKS AND RECORDS OF THE COMPANY
(INCLUDING WITHOUT LIMITATION, ANY UNAUDITED FINANCIAL STATEMENTS OF THE COMPANY, IF
ANY) TO CONDUCT AN INDEPENDENT INVESTIGATION OF THE FACTS AND LAWS AND
EXPECTATIONS DISCLOSED AND DESCRIBED IN THIS OFFERING AND THE COMPANY OPERATING
AGREEMENT, THE PRIVATE PLACEMENT MEMORANDUM, AND THE SUBSCRIPTION AGREEMENT.
19. I CERTIFY THAT COMPANY AND ITS REPRESENTATIVES HAVE NOT DENIED ME ANY ACCESS TO
ANY DOCUMENT OR OTHER INFORMATION THAT I HAVE REQUESTED BEFORE SIGNING THIS
DOCUMENT OR ANY OTHER DOCUMENT ANY OF WHICH MAY BE RELEVANT TO MY INVESTMENT
UNDER THIS OFFERING.
20. I CERTIFY THAT I HAVE ALSO BEEN GIVEN THE OPPORTUNITY TO ASK QUESTIONS OF THE
COMPANY’S REPRESENTATIVES CONCERNING ANY AND ALL ASPECTS OF COMPANY
OPERATIONS, AS WELL AS THE TERMS AND CONDITIONS GERMANE TO THE PARTIAL BENEFICIAL
INTERESTS.
21. I CERTIFY THAT NO DISCREPANCY EXISTS BETWEEN ANY ORAL REPRESENTATION BY ANY
COMPANY REPRESENTATIVE AND THE INFORMATION PROVIDED IN THE COMPANY OPERATING
AGREEMENT, THE PRIVATE PLACEMENT MEMORANDUM, OR THE SUBSCRIPTION AGREEMENT.
22. I CERTIFY THE FACT THAT I HAVE BEEN ADVISED TO CONSULT WITH MY OWN TAX,
INVESTMENT, AND FINANCIAL COUNSEL AND ATTORNEY IF I SO CHOOSE PRIOR TO ENTERING THE
SUBSCRIPTION AGREEMENT AND EXECUTING THIS QUESTIONNAIRE, AND THAT I WAS AFFORDED
SUFFICIENT TIME TO UNDERTAKE AND DID SO CONSULT WITH MY TAX, INVESTMENT, AND
FINANCIAL COUNSELOR AND ATTORNEY.
23. I CERTIFY THAT I WILL ABIDE BY ALL RELEVANT FEDERAL AND STATE LAWS REQUIREMENTS
AND ALL SUBSCRIBER’S REPRESENTATIONS, WARRANTIES AND COVENANTS IN THE
SUBSCRIPTION AGREEMENT AND THIS INVESTOR QUESTIONNAIRE.
24. I CERTIFY THAT I AM NOT AWARE AND HAVE NO DIRECT OR INDIRECT KNOWLEDGE THAT ANY
FUNDS TRANSFERRED TO COMPANY UNDER THIS OFFERING ARE SUBJECT TO, AMONG OTHERS,
FORFEITURE OR ARE SOURCED IN ANY WAY INCONSTENT WITH MY WARRANTIES,
REPRESENTATIONS AND CERTIFICATIONS THAT I MAKE HEREIN. NO LOCAL, STATE OR FEDERAL
GOVERNMENT AGENCY, COURT OR ANY OTHER SUBDIVISION OR BRANCH HAS LAID CLAIM TO ANY
PART OF ANY FUNDS TRANSFERRED TO COMPANY UNDER THIS OFFERING. NO LOCAL, STATE OR
FEDERAL GOVERNMENT AGENCY, COURT OR ANY OTHER SUBDIVISION OR BRANCH MAY LAY A
CLAIM TO ANY PART OF ANY FUNDS TRANSFERRED TO COMPANY UNDER THIS OFFERING AS
BEING VIOLATIVE OF ANY ANTI MONEY LAUNDERING NATIONAL OR INTERNATIONAL LAWS OR
REGULATIONS OR STANDARDS, OR DIRECTIVE OR OTHERWISE.
25. I CERTIFY MY UNDERSTANDING THAT UNDER THE COMPANY’S COMPLIANCE PROGRAM, I MAY
OR WILL BE SUBJECT TO VARIOUS DUE DILIGENCE MATTERS AND INQUIRIES AS TO THE SOURCE
OF THE FUNDS I TRANSFER TO THE COMPANY UNDER THIS OFFERING AND THAT SAME IS
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CONSISTENT WITH ALL NATIONAL AND INTERNATIONAL LAWS REGARDING MONEY LAUNDERING
AND ANY ATTENDANT RESTRICTION GERMANE TO SAME.
26. PLEASE ANSWER THE FOLLOWING QUESTIONS (AND IF YOU ARE AN ENTITY, PLEASE INDICATE
THE NAME OF THE RELEVANT OWNER OR BENEFICIARY OF THE ENTITY AND RESPOND WITH
RESPECT TO SUCH OWNER OR BENEFICIARY):

 IF YOU ARE AN ENTITY, DO YOU AGREE TO ( ) YES                          ( ) NO   ( ) N/A
 DESIGNATE THE UNDERSIGNED AS THE
 INVESTOR REPRESENTATIVE AS GERMANE TO
 TERMS AND CONDITIONS OF THE COMPANY
 OPERATING AGREEMENT AND AS SIGNATORY
 FOR THE SUBSCRIBER IN THE SUBSCRIPTION
 AGREEMENT?



 IF YOU ARE AN ENTITY, DO ALL OWNERS, ( ) YES                           ( ) NO   ( ) N/A
 INVESTORS,  SHAREHOLDERS      OR   ANY
 PERSON OR ENTITY HOLDING AN INTEREST IN
 THE SUBSCRIBER AGREE TO DESIGNATE THE
 UNDERSIGNED     AS    THE     INVESTOR
 REPRESENTATIVE AS GERMANE TO THE
 TERMS AND CONDITIONS OF THE COMPANY
 OPERATING AGREEMENT AND AS THE
 SIGNATORY FOR THE SUBSCRIBER?

27. IF YOU OWN AN INTEREST OR ARE ENGAGED IN A BUSINESS OR OTHER ACTIVITY THAT
COMPETES WITH THE PARTIAL BENEFICIAL INTERESTS, OR THE COMPANY OR ITS BUSINESS OR
OPERATIONS, PLEASE DESCRIBE SUCH INTEREST/BUSINESS OR ACTIVITY:




28. I CERTIFY THAT AN INVESTMENT IN THE COMPANY WILL NOT CONSTITUTE A VIOLATION OF ANY
AGREEMENT TO WHICH I AM A PARTY (E.G., PARTNERSHIP, SUBSCRIPTION AGREEMENT, NON-
COMPETITION AGREEMENT, ETC.).
   ( ) Yes            ( ) No
This Statement is made effective as of the ___ day of ___________ ___, 202__

                                      [Subscriber/Potential Investor]
                               ___________________________________
                               By: ________________________________
                               Name: ______________________________
                               Title: _______________________________

THE PROSPECTIVE INVESTOR REPRESENTS, CERTIFIES AND WARRANTS TO THE COMPANY THAT
THE INFORMATION CONTAINED IN THIS INVESTOR QUESTIONNAIRE IS ACCURATE, TRUE AND
COMPLETE, AND UNDERSTANDS THAT THE COMPANY HAS NOT MADE AND WILL NOT MAKE AN
OFFER OF ANY PARTIAL BENEFICIAL INTERESTS TO THE SUBSCRIBER UNTIL IT HAS RECEIVED AND
REVIEWED THIS INVESTOR QUESTIONNAIRE, AND ONLY THEN IF THE COMPANY DETERMINES THAT
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SUCH AN OFFER MAY BE MADE WITHOUT VIOLATING ANY FEDERAL OR STATE SECURITIES LAWS
OR ANY ANTI MONEY LAUNDERING LAWS OR ANY OTHER LAWS.
[IF A PURCHASER REPRESENTATIVE WAS NOT USED IN CONNECTION WITH THIS SUBSCRIPTION,
THEN INSERT “N/A”. IF A PURCHASER REPRESENTATIVE WAS USED IN CONNECTION WITH THIS
SUBSCRIPTION, THEN A “PURCHASER REPRESENTATIVE QUESTIONNAIRE” WILL BE PROVIDED TO
THE SUBSCRIBER FOR COMPLETION BY THE PURCHASER REPRESENTATIVE.]
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                                J AND J PURCHASING, LLC
           ACKNOWLEDGMENT OF USE OF PURCHASER REPRESENTATIVE
                                    (IF APPLICABLE)


I ACKNOWLEDGE THAT ___________________________________ HAS SERVED AS MY
PURCHASER REPRESENTATIVE(S), IN CONNECTION WITH EVALUATING THE MERITS AND
RISKS OF MY PROSPECTIVE INVESTMENT IN THIS OFFERING FOR THE PARTIAL
BENEFICIAL INTERESTS. I REPRESENT TO YOU THAT IN MY OPINION HE HAS (OR THEY
HAVE) SUCH KNOWLEDGE AND EXPERIENCE IN FINANCIAL AND BUSINESS MATTERS
SUCH THAT HE IS (OR THEY ARE) CAPABLE OF EVALUATING THE MERITS AND RISKS OF
THAT PROSPECTIVE INVESTMENT AND THAT HE HAS (OR THEY HAVE) REPRESENTED TO
ME IN WRITING AS FOLLOWS:
1. HE IS (OR THEY ARE) NOT AN AFFILIATE (AS DEFINED IN RULE 405 UNDER THE
SECURITIES ACT OF 1933, AS AMENDED), DIRECTOR, OFFICER, OR OTHER EMPLOYEE OF
THE COMPANY OR ANY OF ITS AFFILIATES OR A BENEFICIAL OWNER OF 10 PERCENT OR
MORE OF THE EQUITY INTEREST IN THE COMPANY;
2. EXCEPT FOR THE FOLLOWING RELATIONSHIPS WHICH HAVE PREVIOUSLY BEEN
DISCLOSED BY HIM (THEM) IN WRITING TO ME, NEITHER HE (THEY) NOR HIS (THEIR)
AFFILIATES HAVE ANY MATERIAL RELATIONSHIP WITH THE COMPANY OR ANY OF ITS
AFFILIATES, NO SUCH MATERIAL RELATIONSHIP HAS EXISTED AT ANY TIME DURING THE
PREVIOUS TWO YEARS AND NO SUCH MATERIAL RELATIONSHIP IS MUTUALLY
UNDERSTOOD TO BE CONTEMPLATED. (ANY COMPENSATION RECEIVED AS A RESULT OF
SUCH RELATIONSHIP(S) SHOULD ALSO BE PROVIDED BELOW):




I REQUEST THAT COPIES OF ALL MATERIAL DISTRIBUTED TO ME IN CONNECTION WITH
THE TRANSACTION BE SENT TO MY PURCHASER REPRESENTATIVE(S).
DATED: ___________ __, 202__.


SIGNATURE:


PRINTED NAME:___________________________________
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                                NON-COMPETE, NON-DISCLOSURE AND
                                    NON-SOLICITATION AGREEMENT


This Non-Compete, Non-Disclosure and Non-Solicitation Agreement (hereinafter referred to as the
“Agreement”) is entered into this ___ day of ___________, 202_, by and between J and J Purchasing, LLC
(hereinafter referred to as the “Business”) and __________________ (hereinafter referred to as the “Potential
Investor”). The Business and the Potential Investor are sometimes referred to herein individually as a
“Party” and collectively as the “Parties”.


                                                  TERMS

For good consideration and as an inducement for the Business to disclose valuable and confidential
information to the Potential Investor, the undersigned Potential Investor hereby agrees as follows:


Non-Compete:


The Potential Investor understands that the Business operates throughout the United States. As such,
the Potential Investor agrees not to directly or indirectly compete with the Business and its successors
and assigns within the United States for a period of two (2) years following the communication of the
confidential information to the Potential Investor.


The term “not to directly or indirectly compete” as used herein shall mean that the Potential Investor
shall not own, manage, operate, consult or be employed in a business substantially similar to or
competitive with, the Business or such other business activity in which the Business may substantially
engage.


The Potential Investor acknowledges that the Business shall or may in reliance of this Agreement
provide the Potential Investor access to trade secrets, customers, attorneys, and other confidential data
and/or information and good will. Potential Investor agrees to retain said information as confidential
and not to use said information on his/her own behalf or disclose the same to any third-party.


This non-compete agreement shall be binding upon and inure to the benefit of the Parties, their
successors, assigns and personal representatives.


Non-Disclosure:


Confidential information as it relates to this Agreement refers to all information, whether provided in
writing or verbally, that is not generally known to the public. Confidential information includes, but is

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not limited to the Business’s trade secrets, customers, customer lists, attorneys, attorney lists, vendors,
good will, financial information, concepts, techniques, manuals, syllabi, designs, data, computer
programs and business activities and operations.


The Potential Investor agrees that the confidential information to be provided by the Business
constitutes valuable information and is the exclusive property of the Business. Potential Investor agrees
not to directly, or indirectly, without the express written consent of the Business, communicate, copy,
disclose or make available any confidential information provided by the Business or relating to the
Business.   The Potential Investor further agrees to not use any of the confidential information for
his/her purposes or on his/her own behalf for any purpose whatsoever.


The Potential Investor agrees that the term of this Non-Disclosure portion of this Agreement is for a
period of ten (10) years unless cancelled in writing by the Business.


Non-Solicitation:


Potential Investor agrees that after receiving the confidential information from the Business and/or
during the term of this Agreement, that he/she will not engage, employ, contact, solicit for employment,
interfere with, or endeavor to entice away from the Business, directly or indirectly, any employee,
independent contractor, attorney, vendor, client, student, or any and all other person(s) with any
affiliation whatsoever with the Business.


The Potential Investor agrees that the term of this Non-Solicitation portion of the Agreement is for a
period of ten (10) years unless cancelled in writing by the Business.


Miscellaneous Terms:

(a) The Parties agree and acknowledge that they have carefully read and fully understand all of the
terms and provisions of this Agreement and have reviewed the same with their attorney of choice, if
any, prior to execution of this Agreement.

(b) The Parties agree and acknowledge that this Agreement was determined after negotiations and
that the Parties’ attorney, if any, participated in the drafting of this Agreement, and as such, should
not be strictly construed for or against any of the Parties hereto.

(c) The Parties agree and acknowledge that they are knowingly and voluntarily agreeing to all of the
terms set forth in this Agreement.



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(d) The Parties agree and acknowledge that they knowingly and voluntarily intend to be legally bound
by the same and that they entered into this Agreement voluntarily and not as a result of coercion,
duress, or undue influence.

(e) The Parties agree and acknowledge that this Agreement shall become binding and effective as of
the date and time that it is fully executed by both Parties.

(f) The Parties agree and acknowledge that this Agreement may be executed in counterparts, and each
executed counterpart shall have the efficacy and validity of a signed original and with the same effect
as if all Parties hereto had signed the same document. All counterparts so executed shall be deemed
to be an original, shall be construed together and shall constitute the entire Agreement. Photographic
copies of such executed counterparts may be used in lieu of the original.

(g) The Parties agree and acknowledge that this Agreement shall be binding upon the Parties hereto
and upon their heirs, administrators, representatives, executors, successors, and assigns, and shall inure
to the benefit of said Parties and each of them and to their heirs, administrators, representatives,
executors, successors, and assigns.

(h) The Parties agree and acknowledge that this Agreement constitutes the complete and entire
agreement between the Parties and supersedes any and all prior communications, agreements and
understandings, written or oral, between the Parties.

   (i) The Parties agree and acknowledge that this Agreement may not be altered, amended,
supplemented, modified or otherwise changed in any way whatsoever, except by a separate written
agreement authorized and executed by all Parties.

(j) The Parties agree and acknowledge that this Agreement shall be governed by and construed in
accordance with the laws of the State of Nevada, without regard to conflict of law principles.

   (k) The Parties agree and acknowledge that in executing this Agreement they did not rely upon
any representation or statement made by either Party or by any of the Parties agents, attorneys, or
representatives with regard to the subject matter, basis, or effect of this Agreement or otherwise other
than those specifically stated in this written Agreement.

   (l) The Parties agree and acknowledge that should any term and/or provision of this Agreement
be declared or determined by a Court of competent jurisdiction to be wholly or partially illegal, invalid
or unenforceable as a result of any action or proceeding, the validity of the remaining terms, releases

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and provisions shall not be affected and said illegal or invalid term, release or provision shall be deemed
not to be a part of this Agreement.

   (m) The Parties agree and acknowledge that the waiver by either of the Parties hereto of any term,
release or provision of this Agreement shall not be construed as a waiver of any other or subsequent
term, release or provision.

   (n) The Potential Investor understands that his/her failure to comply with this Agreement in any
way will cause the Business irreparable harm. As such, Potential Investor agrees that the Business is
entitled to immediate injunctive relief should any such violation of this Agreement occur.


         BY: J AND J PURCHASING, LLC                              BY: POTENTIAL INVESTOR

                                                                     [______________________]




         ____________________________________                  ____________________________________

            Printed Name: Jeffrey Judd,                       Printed Name: ______________________,

           Its Authorized Representative                    Individually/its Authorized Representative

                    Date:_______                                           Date:_______




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            MUTUAL CONFIDENTIALITY AND NON-DISCLOSURE AGREEMENT
This Mutual Confidentiality and Non-Disclosure Agreement, (hereinafter the “Agreement”), effective this _______ day of _____________,
202_, by and between J AND J PURCHASING, LLC and ________________________________. The entities or individuals named above
may also be referred to herein individually as “Party” or collectively as the “Parties.” In this Agreement, the “Disclosing Party” shall
mean the Party that discloses Confidential Information to the other Party and “Receiving Party” shall mean the Party that receives
Confidential Information.

NOW, THEREFORE, in consideration of the foregoing premises, the mutual covenants contained herein, and for other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the Parties agree as follows:

A.   PARTY ACKNOWLEDGMENTS. The Disclosing Party represents and warrants that it, he or she has the right and authority to
disclose Confidential Information to the Receiving Party.

B.   DISCLOSURE OF INFORMATION. Pursuant to this this Agreement, the Disclosing Party is willing to disclose (through itself or
its representatives) to the Receiving Party (or its representatives) certain Confidential Information belonging to the Disclosing Party.
The Disclosing Party makes no representation or warranty, express or implied, as to the quality, accuracy or completeness of
Confidential Information disclosed hereunder. The Disclosing Party and their, owners, members, partners, officers, directors, and
employees shall have no liability whatsoever with respect to the use of or reliance upon the Confidential Information by the
Receiving Party (or its representatives). A disclosure by either Party pursuant to this Agreement will be understood to refer to an
anticipated business relationship between the Parties (a “Project”).

C.   CONFIDENTIAL INFORMATION DEFINED. Confidential Information regarding a Project may include: the trade secrets and
other confidential and proprietary information belonging to Disclosing Party or his, her or its affiliates and includes, but is not
limited to: (i) business models; (ii) legal opinions; (iii) marketing research or strategies; (iv) concepts, ideas, plans, strategies, analyses,
and information related to a Project’s past, present or anticipated business; (v) Project company agreements, private placement
memorandums, incorporation documents or addenda, supplements, or resolutions thereto; (vi) names and other information
regarding vendors or contracts with third parties; (vii) Project expenses or financial information including pricing, revenue and
profit projections; (viii) revenue and profits actually generated by the Project; (ix) technical or other information regarding the
Disclosing Party’s business, products, services, processes, methods of operation, equipment or procurement procedures and pricing
techniques; (x) information regarding Disclosing Party’s employees, manuals, policies, procedures, or compliance programs; (xi)
information regarding Project members, partners, owners, physicians, physician practices, or individuals or entities that the
Disclosing Party may seek to contract with or that are involved in any way with a Project; and (xii) data bases, commercial
agreements and details of ongoing commercial negotiations (herein singularly or collectively referred to as the “Confidential
Information”). Confidential Information may be verbal, but nonetheless shall include the original of such materials, any copies
thereof, any notes derived from such materials, and any derivative work of such materials. Title to all property received by the
Receiving Party, including all Confidential Information, shall remain the sole property of the Disclosing Party and any disclosure
heretofore shall not be construed to grant to Receiving Party any rights to such property or Confidential Information so disclosed.
To declare the Disclosing Party’s intent that a disclosure under this agreement constitutes Confidential Information, the Disclosing
Party shall strive to designate that such disclosure is made pursuant to this Agreement or otherwise memorialize that such
information is “Confidential.” Nonetheless, this Agreement shall apply to all of the information disclosed to Receiving Party, without
regard to whether such disclosure is by means of written documents or otherwise and without regard to whether such disclosure
is marked as being “Confidential.”

D.   CONFIDENTIAL INFORMATION SHALL BE PROTECTED BY RECEIVING PARTY. In consideration of the disclosure referred to in
Paragraphs B-C hereof, the Receiving Party agrees that Confidential Information shall be kept strictly confidential and shall not be
sold, traded, published or otherwise disclosed to any person or entity in any manner whatsoever, including by means of photocopy,


Mutual Confidentiality and Non-Disclosure Agreement                                                                                          1
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reproduction or electronic media (without the Disclosing Party’s prior written consent, except as provided in this Agreement).
Moreover, Receiving Party covenants, warrants and acknowledges that the confidentiality and non-disclosure duties and promises
that it undertakes herein shall without qualification be the same obligation of all of Receiving Party’s associated persons or entities
as well as, among others, Receiving Party’s and such person’s or entities’ agents, officers, directors, employees, parent companies,
servants, subsidiaries, affiliated companies, successors and assigns all of which will as applicable join this Agreement by their
signature below. The Receiving Party agrees that any breach by the Receiving Party of any of its obligations under this Agreement
will result in irreparable injury to the Disclosing Party for which damages will be inadequate.

Receiving Party shall be responsible for any and all authorized and unauthorized disclosures of Confidential Information by
Receiving Party or its affiliated entities or individuals. Sections D-E shall survive and continue after any termination of this
Agreement and shall bind Receiving Party and its affiliated entities and individuals. The Receiving Party may disclose information
without the Disclosing Party’s prior written consent only to the extent such information: (a) is already known to the Receiving
Party as of the date of disclosure hereunder; (b) is already in possession of the public or becomes available to the public other
than through the act or omission of the Receiving Party (or of any other person or entity to whom Confidential Information is
disclosed pursuant to this Agreement); (c) is required to be disclosed under applicable law or by a governmental order, decree,
or regulation (provided that the Receiving Party shall give prompt written notice to the Disclosing Party prior to such disclosure);
(d) is acquired independently from a third party that represents that it has the right to disseminate such information at the time
it is acquired by the Receiving Party; or (e) is developed by the Receiving Party independently of the Confidential Information
received from the Disclosing Party.

E.   FOR USE IN NEGOTIATIONS ONLY. The Receiving Party shall only use or permit the use of Confidential Information disclosed
hereto to evaluate a Project. The Receiving Party shall not use Confidential Information in any way so as to; (i) contact any Project
related physician or medical practice, member, partner, owner, or other interested party involved in a Project unless Disclosing
Party so agrees; or (ii) compete with the business of the Disclosing Party; or (iii) circumvent the opportunities disclosed and the
entities or individuals introduced by the Disclosing Party, either actual or envisaged. Nothing contained herein is intended to
confer upon the Receiving Party any right whatsoever to the Disclosing Party’s Confidential Information or interest in a Project.
Nothing in this Agreement is intended to create any partnership, joint venture, agency, or other joint enterprise between the
Disclosing Party and the Receiving Party. Upon termination of any relationship between the Parties, Receiving Party will promptly
deliver to Disclosing Party, without retaining any copies, all documents and other materials furnished to Receiving Party by
Disclosing Party.

F.   DISPUTE RESOLUTION. This Agreement is governed by and will be construed in accordance with the law of the State of
Nevada, excluding any conflict-of-laws rule or principle that might refer the governance or the construction of this Agreement to
the law of another jurisdiction. Unless otherwise mutually agreed to by the parties, ___________ County, Nevada shall be the
exclusive venue for any proceeding involving the Parties may be brought, or arise out of, or related to this Agreement.

G.   BURDEN ON RECEIVING PARTY. In any dispute over whether any information or matter regarding any Project is Confidential
Information hereunder, Receiving Party acknowledges and agrees without qualification that it shall be the burden of Receiving
Party to show both that such contested information or matter is not Confidential Information within the meaning of this
Agreement, and that it does not constitute a trade secret under the Uniform Trade Secrets Act or successor or any other similar
statute, rule or case law germane to the State of Oklahoma or otherwise.

H.   NO WAIVER/AMENDMENTS. No delay or omission by either Party in exercising any right under this Agreement will operate
as a waiver of that or any other right. A waiver or consent given by either Party on any occasion is effective only in that instance
and will not be construed as a bar to or waiver of any right on any other occasion. This Agreement may not be modified, altered,
terminated or amended, in whole or in part, except by a writing signed by the Parties.

I.   SEPARABILITY OF COVENANTS. If any provision of this Agreement is invalid or unenforceable, then such provision shall be


Mutual Confidentiality and Non-Disclosure Agreement                                                                                 2
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construed and limited to the extent necessary, or severed if necessary, in order to eliminate such invalidity or unenforceability,
and the other provisions of this Agreement shall not be affected thereby.

J.         BINDING EFFECT UPON SUCCESSORS AND ASSIGNS. Whenever a Party to the Agreement is named or referenced in this
Agreement, the heirs, legal representatives, agents, affiliated entities and individuals, employees, successors and permitted assigns
of such Party shall be included, and all covenants and agreements contained in this Agreement by or on behalf of the Receiving
Party shall bind and inure to the benefit of his, her, or its respective heirs, legal representatives, agents, affiliated entities and
individuals, employees, successors and permitted assigns.

K.         SIGNATURES. This Agreement constitutes the entire understanding between the Parties relating to the subject matter
contained herein. This Agreement may be executed in counterparts, each of which shall be deemed an original, but all of which
together shall constitute but one and the same instrument.

IN WITNESS WHEREOF, the duly authorized representatives of the Parties have caused this Agreement to be executed on the
date first written above.


                      J AND J PURCHASING, LLC                                         [____________________________]

     By:                                                          By:



     Printed Name: Jeffrey Judd                                   Printed Name:                                ,

     Its Authorized Representative                                Its Authorized Representative

     Date:                                                        Date:

                       [____________________________]                                 [____________________________]

                              (INDIVIDUAL)                                        (JOINDER INDIVIDUAL OR ENTITY)
     By:                                                          By:



                                                                  Printed Name:                                ,

     Printed Name:                                ,               Its Authorized Representative (as applicable)

     D t                                                          D t




Mutual Confidentiality and Non-Disclosure Agreement                                                                                3
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                 Exhibit 13
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  From: Jason Jongeward <jason.jcd@gmail.com>
  Date: February 8, 2021 at 5:10:06 PM PST
  To: undisclosed-recipients:;
  Subject: Fwd: Fw: SkyBell Information - Subject to NDA signed on 2-8-2021



  Fellow Investors, Some of you have expressed interest in additional investment
  opportunities. This was shared with me from Shane and I thought I would put it
  out there for you. If you have any interest, I can let Shane know.

  Jason


  Jason,
  Im going to put probably about 50k into this one. Lmk if anyone else wants in. Looks as
  though it has potential

  Shane


  Hello Gentlemen,



  Thank you for signing the NDA.



  Please find the following;



      1. Executive Overview of our 2020 – 2021 Business that I presented yesterday.
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      2. Form of Series B – Please find a copy of that.



      3. Transfer of Shares Document.



      4. Draft Balance Sheet dated 31st December 2021.



  Heath will be in touch to follow up with you all.



  Regards



  Giovanni.




  Giovanni Tomaselli

  917-971 9872

  SkyBell Technologies Inc.

  Chief Procurement Officer & Member of the Board.



  Giovanni Tomaselli | www.skybell.com




  1 Jenner Suite 100

  Irvine, CA 92618




  “SkyBell has been named "Best Video Doorbell" by CNET, PC Mag, Wirecutter and
  Entrepreneur”



  CONFIDENTIAL: The information contained in this e-mail message may contain privileged or
  confidential information and is intended solely for the use of the individual or entity named above. If
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  you are not the intended recipient or the person responsible to deliver the foregoing to the intended
  recipient, you are hereby notified that any use, dissemination or duplication of the foregoing is
  strictly prohibited. If you have received this message in error, kindly notify the sender
  immediately and delete this e-mail from your system. nHPC



  SkyBell is patented. For more information about our intellectual property portfolio visit
  http://www.skybell.com/pages/intellectual-property.




  --



    
  Jason Jongeward
   509-768-4990
   www.jcdspokane.com  
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            POWERING OUR PARTNERS




                   SkyBell Proprietary and Confidential                  1
SkyBell 2013    - 2019
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                  2013                          2014 -2016                         2017 - 2019

       SkyBell launched an Indegogo     2014 – 2016 was marked by           By 2017, SkyBell was the
       campaign and pioneered the     continuous innovation and an      established IP leader in the video
         video doorbell category      expanding array of partnerships     doorbell space and achieved
                                                                          EBITDA Positive in Q4 2019

                                                                                                             2
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SKYBELL – 2020                                      TEAM UPDATE
                                                    We strengthened the internal product team.
                                                    Finance & Operations is coping but will see strong
                                                    improvement in 2021.


                                                    PARTNER FOCUSED
                                                    We have been laser focused to continue to serve
                                                    Alarm.com and in 2021 we already have their Jan-
                                                    Jun Purchase Orders locked in.

                                                    FACTORY UPDATE
                                                    Vietnam launched very strongly and has avoided
                                                    a lot of the COVID challenges. Mexico has really
                                                    struggled and continues to under perfrom.


            2020
                                                    PRODUCT ROLL OUT
                                                    We struggled with new product development but
  SkyBell has been able to
                                                    were able to bring out TRIM 2 & SLIM 2 in Q4 that
 weather the 2020 challenges
                                                    allowed us to set the stage for strong growth in ’21.
    and was able to bring
  profitability each quarter.

                                                                                                            3
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                       SkyBell 2020 – COVID Update



                                                          01
                                                                     INDUSTRY
                                                                     We continue to see tight supply of parts due to COVID.
                                                                     We have certain countries in lock down which slows
                                                                     the process and calls for greater planning.




                                                          02
                                                                     DIVERSIFIED SUPPLY
                                                                     We are now firmly in place with production in Mexico and
                                                                     South East Asia.




                                                          03         MEXICO vs VIETNAM
                                                                     Mexico closed during the year but with consistency in
                                                                     Vietnam we were still to maintain EBITDA Positive.




https://www.asmag.com/showpost/31246.aspx?name=news
                                                          04         DEMAND INCREASE
                                                                     Industry has seen significant increase in demand for
                                                                     security products. As we live in the age of living at home
                                                                     the need for IoT Products is top of mind.



                                                                                                                    4
Executive Case
          Summary            for 2020
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 2020 OVERALL

  Solid Gross Margin Performance for Year
  TRIM 2 & SLIM 2 have come out of the gate STRONG
  Continued challenges presented to us in 2020 have been overcome

 OPERATIONAL EXECUTION

  We continue to improve our processes to scale our business
  We continue to ramp TRIM 2 & SLIM 2 above expectations
  Vietnam is running well. Mexico has struggled but will bounce back in Q2 2021

                           FY 2020 Quarterly EBITDA
            Q1               Q2             Q3                    Q4
        $ 2,865,797      $ 2,477,785        $ 4,448,534       $ 2,660,781
                                                             $ 12,452,897
Customer Case
         Update
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                                               01
                                                           Alarm.com has embraced the SLIM 2 and is placing
                                                           orders above expectations – Firm PO’s at over 300K
                                                           Units.




                                               02          Wave has received very solid reports for TRIM 2 with
                                                           particular interest from the building industry. Again, PO’s
                                                           are coming in ahead of plan. DR Horton leading the way.




                                               03          Resideo will grow by about 20% by adding Trim 2 to
                                                           their portfolio of products and AT&T Digital Life will be
                                                           our leading new customer.
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                           OUR MISSION




             POWERING
               OUR
             PARTNERS
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                                                           Global connected
                                                              home forecast

                                                                192b
 SMART
 HOME
 CONTINUES                                                                     12m units of VDB
 TO GROW                                                                       in 2024
                                             2017                      2023


 The global connected
 home market will
 continue its strong
 growth trajectory with
 mass adoption iminent




Sources:                                                                       ACCORDING TO A RECENT MCKINSEY
Mckinsey Connected Home                                                       REPORT, SECURITY APPLICATIONS ARE
Mind Commerce (2019)                                                            MOST READY FOR MASS ADOPTION      8
                                        Strategic Areas of Focus
                        Case 2:22-cv-00612-CDS-EJY Document 2-6 Filed 04/13/22 Page 184 of 309



     Entry to Home                       Home Delivery                     Perimeter Protection                 Traditional Security
        Security                          Protection                                                                  System




• Video doorbell market leader      • Validate at front door, pass to      • Expand eyes on home beyond         • Market disruption opportunity for

• Wired and battery-enabled           garage solution                                                             mass adoption
                                                                             the front door
  solutions                         • Built in transmitters to garage                                           • Innovate in white spaces of well-

• LTE/5G integration for market       door opener
                                                                           • Focus on deterring vs. catching:     established market

  advancement (telecoms)            • Computer vision in garage for          prevention                         • Enhancement of the IP

• PoE for home builders/MDU’s         closing the loop                                                          • Significant sales/revenue
                                                                           • Utility monitoring
• Projection systems for enhanced   • Integration with door lock                                                  opportunities

  security                            ecosystems
                                                                           • IP camera integration into         • Seeds our future innovation

                                    • Integration with delivery services     SkyBell Cloud                        through new partners/channels

                                      and databases
                                       Market Opportunities for SkyBell
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  Home Delivery Solution                 Video Products                Home IoT                 Home Security                    Living in Place
Receive packages in your home          See who’s at the front     SkyBell Gen5 Connect                                        We are living longer and
                                                                                                 Smart cameras,
           via doorbell/              door from anywhere, with     delivers a complete                                      wanting to stay independent.
                                                                                              sensors, and software
smart lock technology + receive         video, two-way-talk       solution that allows for                                   Enormous opportunity to
                                                                                               to protect dwellings,
 verifications ($430B+ Global)          system integrations      monthly recurring revenue                                        serve this sector
                                                                                                assets, and people

Theft Market Size: $9B+               Market Size: $2B+          Market Size: $8B+           Market Size: $53B+              Market Size: $30B+



                                  Creating a Platform that will enable a recurring revenue SaaS
                                                model to millions of subscribers


                                                                                                                       SKYBELL PROPRIETARY AND CONFIDENTIAL
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 SKYBELL GEN 5
   CONNECT                                              SKYBELL IS THE
                                                        ONLY COMPANY
                                                         IN THIS SPACE
                                                        FOCUSED ON A
                                                          BUSINESS TO
                                                          BUSINESS TO
                                                           CONSUMER
Your Complete Backend Solution For
      The Implementation And
                                                             MODEL
Management Of Your Installed Base
 2021 Key Case
          Performance             Indicators
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Customer Forecast / Purchase Orders – VERY STRONG

                                                                     Other / Int'l,
 We have $49.7M for Q1 / Q2 Orders in hand vs                          18%
  $64.6M Plan (77%) as of 12/31/2020
 Very Strong Position to be in prior to year end                                                              Alarm.com,
 We have walked into Jan 2021 and locked up                                                                       43%
  $10M more in Q2 from ADC
 We have verbal confirmation that we have won
  the AT&T Digital Life Business
 We are well over 60% of firm forecasting / PO’s
  for Q1 – Q3 of 2021.                                Cable/Telco,
                                                          21%

                                                                             Wave, 15%           Resideo, 4%
                  Unit Comparisons 2020 vs 2021
               Q1          Q2              Q3         Q4     Total
 2020     182,604      162,659       137,442      156,658   639,362
 2021     278,480      382,496       469,000      600,000 1,729,976
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                     SKYBELL MAINTAINS THE BROADEST
                       IP PORTFOLIO IN THE INDUSTRY

Over 220 U.S. and foreign patents, patents pending and
patent licenses in the video doorbell market

Some of our most notable video doorbell patent
coverage:

  ●   Doorbell communication and electrical systems
  ●   Silent Mode, Power Jumper
  ●   Doorbell communication systems and methods
  ●   Wireless video doorbell, Video Doorbell Night Vision
  ●   Doorbell chime systems and methods
  ●   Video Doorbell
  ●   Doorbell communities
  ●   Village – digital neighborhood watch
  ●   Doorbell package and detection systems and methods
  ●   Home access package delivery




220 US & INTERNATIONAL
    PATENTS            21 LICENSED
                          PATENTS             24+     PATENTS
                                                      PENDING
                                                                  VALUATION RANGE |      $300 - $700 MILLION USD 13
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                                                                     SMART LOCKS
                                                                     Double Validation of visitor
                                                                     identity; near-field charging of
                                                                                                                                   SMART BULB
                                                                     smart locks                                                   Receive commands and
                                                                                              87          20                       initiate tasks with appliances
                   EMERGENCY NOTIFICATION
OUR                Determine that an emergency                                                                                                              79      30
EMERGING IP        is in progress and emit a
                   warning
                                                                                           Issued / Pending
                                                                                                Claims
WILL ENABLE                               60       20                                                                                                    Issued / Pending
                                                                                                                                                              Claims

THE NEXT                               Issued / Pending                                                                            POWER OUTLET
GENERATION
                                            Claims
                                                                                                                                   Cameras detect non-motion
                                                                                                                                   events and send alerts
                   PARCEL DELIVERY
OF HOME            Receive packages in your                                                                                                                96       20

SECURITY,          home via doorbell/
                   smart lock technology
                                          89      157                                                                                                    Issued / Pending
AUTOMATION                                                                                                                                                    Claims

AND IOT                                 Issued / Pending
                                             Claims
WELL
BEYOND THE
FRONT DOOR
                                                                 SKYBELL VILLAGE                        FACIAL RECOGNITION
                                                        Home safety through neighborhood                Determines whether the visitor is
                                                                  devices communicating                 an unwanted visitor such
                                                                                                        as a solicitor
                                                   30       73                                                                      26       55

                                                 Issued / Pending                                                                 Issued / Pending
                                                      Claims                                                                           Claims
                                               SKYBELL PROPRIETARY AND CONFIDENTIAL                                                                           14
ITC TIMELINE
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Stage 1 - Filing Date 12/18/2020                                 Stage 3                                                      Stage 5
                                                                     ●     Pretrial Conference
  ●    File Complaint
                                                                     ●     Trial                                                 ●       Presidential Review
  ●    Institution Decision Achieved (Jan 25th 2021)                 ●     Post-Trial Briefing
  ●    Scheduling Conference – 6 weeks from filing                   ●     ALJ Decision                                          ●       Injunction in Effect




      First 2                                                             7-12                                                       17-18
      Months                                                             Months                                                      Months




                                           3-6                                                        13-16
                                         Months                                                       Months


                                Stage 2                                                          Stage 4
                                    ●     Complete Fact Discovery and Depositions
                                                                                                  ●   Commission Reviews the ALJ Decision
                                    ●     Complete Expert Reports and Depositions
                                    ●     Summary Judgment Briefing Complete                      ●   Conclusion of the Investigation.
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                                         01       COMPLETE PLATFORM OFFERING




                                         02       CUSTOMER ACQUISITION


   Strategic &
Growth Initiatives                       03        RECURRING REVENUE




                                         04        IP MONETIZATION




                                          05       INNOVATIVE SOLUTIONS
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THANK
YOU                                                                       17
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        SERIES B PREFERRED STOCK PURCHASE AGREEMENT



                          BY AND BETWEEN



                   SKYBELL TECHNOLOGIES, INC.



                                AND




                                 [   ]




                              Dated [    ]
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                             SKYBELL TECHNOLOGIES, INC.

               SERIES B PREFERRED STOCK PURCHASE AGREEMENT


       This SERIES B PREFERRED STOCK PURCHASE AGREEMENT (this “Agreement”)
is made and entered into as of this [ ] by and between the SkyBell Technologies, Inc., a
Nevada corporation (the “Company”) and [       ] (“Purchaser”).

                                           RECITALS

        A.     The Company is in the business of developing, marketing and selling door bells
with integrated monitoring cameras (the “Business”); and

        B.      The parties desire that, upon the terms and subject to the conditions and
limitations set forth herein, the Company shall issue and sell to Purchaser, and Purchaser shall
purchase from the Company, the Shares (as defined below) described below.

                                         AGREEMENT

       NOW, THEREFORE, in consideration of the mutual covenants, agreements,
representations and warranties and subject to the conditions contained herein, the parties hereto
covenant and agree as follows:

         1.      Authorization of Sale of the Securities. Subject to the terms and conditions of
this Agreement, the Company has authorized the issuance and sale to Purchaser of [       ] shares
(the “Shares”) of the Company’s Series B Preferred stock, par value $0.0001 per share (the
“Series B Preferred”). The Series B Preferred shall have the rights, privileges, preferences, and
restrictions set forth in the Second Amended and Restated Articles of Incorporation of the
Company, attached hereto as Exhibit B (the “Restated Articles”).

       2.      Agreement to Sell and Agreement to Purchase the Securities.

                2.1    Purchase of Shares. At the Closing (as defined below), on the terms and
subject to the conditions set forth herein, the Company shall issue and sell the Shares to
Purchaser, and Purchaser shall purchase, acquire and accept from the Company the Shares. The
Company shall deliver to each Purchaser a certificate representing the Shares purchased by
Purchaser against receipt of $[     ](the “Purchase Price”).

               2.2    [Reserved].

                2.3    Closing. The Closing (the “Closing”) shall take place at the offices of
Ellenoff Grossman & Schole LLP. 1345 Avenue of the Americas, New York, NY and be
effective as of 8:00 p.m., local time, within five (5) business days after the date of this
Agreement, or at such other time and place as the Company may determine.

              2.4     Delivery of the Shares at Closing. At a Closing, against receipt of the
Purchase Price, the Company shall deliver to each Purchaser a stock certificate registered in the


                                                 1
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name of Purchaser representing the Shares and bearing an appropriate restrictive legend in
accordance with Section 4.6 hereof. The Company’s obligation to complete the purchase and
sale of the Shares and deliver such stock certificate to each Purchaser at the Closing shall be
subject to the Company’s receipt of the Purchase Price from Purchaser, in immediately available
funds in U.S. dollars by wire transfer (pursuant to the instructions set forth on Exhibit C,
attached hereto).

      3.       Representations and Warranties of the Company. The Company represents
and warrants to each Purchaser that:

                3.1     Organization and Good Standing. The Company is duly organized,
validly existing and in good standing under the laws of Nevada (the jurisdiction in which it was
formed) with full power to carry on its business as it is now and has since its organization been
conducted, and to own, lease or operate its assets. The Company is duly authorized to do
business and is in good standing in such other jurisdictions in which the Company is required to
be so authorized and where failure to be so qualified could reasonably be expected to have a
Material Adverse Effect. “Material Adverse Effect” as used in this Agreement means a material
adverse effect on the business, assets (including intangible assets), liabilities, financial condition,
property or results of operations of the Company.

                3.2     Authorization of Agreement. The Company has all requisite power and
authority to enter into this Agreement and to consummate the transactions contemplated hereby.
This Agreement and all other agreements and instruments to be executed by the Company has
been duly executed and delivered by the Company, has been effectively authorized by all
necessary action, corporate or otherwise, and constitutes the legal, valid and binding obligation
of the Company, enforceable against the Company in accordance with its terms.

               3.3     Capitalization.

                        3.3.1 As of January 13, 2020, the authorized capital stock of the
Company consists of (i) 150,000,000 shares of common stock, par value $0.0001 per share
(“Common Stock”), of which 20,194,387 shares are issued and outstanding, and (ii) 100,000,000
shares of Preferred Stock, par value $0.0001 per share (the “Preferred Stock”), 425,000 of which
are designated Series A1 Preferred Stock, 373,772 shares of which are issued and outstanding;
3,000,000 of which are designated Series A Preferred Stock, 1,425,237 of which are issued and
outstanding; and 90,000,000 shares of which are designated Series B Preferred Stock,
70,694,536 of which are issued and outstanding. The Common Stock and the Preferred Stock
shall have the rights, preferences, privileges and restrictions set forth in the Restated Articles.
The share of Common Stock into which the Series B Preferred Stock are convertible (the
“Conversion Shares”) have been duly and validly reserved and, when issued in compliance with
the provisions of this Agreement, the Restated Articles and applicable law, will be validly issued,
fully paid and nonassessable.

                        3.3.2 All of the outstanding shares of the Company have been duly
authorized, validly issued (free of all preemptive rights), and are fully paid and
nonassessable. After giving effect to the transactions contemplated hereof (i) all outstanding
shares of capital stock of the Company, and (ii) any outstanding or authorized options, warrants,


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subscriptions, calls, puts, conversion or other rights, contracts, agreements, commitments or
understandings of any kind obligating the Company to issue, sell, purchase, return, redeem or
pay any distribution or dividend with respect to any shares of capital stock of the Company or
any other securities convertible into, exchangeable for or evidencing the right to subscribe for
any shares of capital stock of or other ownership interest in the Company, are listed on Schedule
3.3, hereof.

               3.4     Financial Condition.

                        3.4.1 Financial Statements. Attached as Schedule 3.4.1 are the unaudited
balance sheet and income statement of the Company from January 2020 to March 2020 (the
“Financial Statements”). Each financial statement referred to above is complete and correct in
all material respects and presents fairly in all material respects the financial condition and results
of operations of the Company as of such dates and are correct and complete in all material
respects, subject to changes resulting from normal year-end audit adjustments. There has been
no material change in the accounting methods or practices of the business since the earliest date
covered by the financial statements. To the Company’s knowledge, there are no other liabilities
of the Company that are not set forth in the Financial Statements.

               3.5     Reserved.

                 3.6     Assets of the Company. The Company owns, or has valid leasehold
interests in, or licenses to, all of the assets required or necessary to operate the Business of the
Company as it is now being conducted.

                 3.7    Labor and Employment Matters. No collective bargaining agreement
exists that is binding on the Company and no proceedings have been instituted by an employee
or group of employees seeking recognition of a bargaining representative. No organizational
effort currently is being made or threatened by or on behalf of any labor union to organize any
employees of the Company.

                3.8     Intellectual Property. “Intellectual Property” means all patents, patent
applications, trademarks, trademark applications, service marks, service mark applications,
tradenames, copyrights, trade secrets, licenses, domain names, mask works, information and
proprietary rights and processes as are necessary to the conduct of the Company’s business as
now conducted. The Company owns or possesses or can obtain on commercially reasonable
terms sufficient legal rights to (i) all trademarks, service marks, trade names, copyrights, trade
secrets, licenses (software or otherwise), information, processes and similar proprietary rights
and (ii) patents and all other Intellectual Property used in or necessary to the business of the
Company as presently conducted and presently proposed by the Company to be conducted.
Attached hereto as Schedule 3.8(a) is a complete list of the Company’s patents, trademarks,
copyrights and domain names and pending patent, trademark and copyright applications, and
licenses thereto. Except for the material agreements set forth on Schedule 3.8(b), hereof, there
are no outstanding options, licenses or agreements relating to the Intellectual Property, and the
Company is not bound by or a party to any options, licenses or agreements with respect to the
Intellectual Property of any other person or entity. Except for the Ring, Inc. matter described on
Schedule 3.11, to the Company’s knowledge, (i) neither the current use of any Intellectual


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Property by the Company nor the operations of its business conflicts with, infringes upon,
misappropriates or violates any rights of any third party, and the Company does not have any
liability for past infringement and (ii) there are no facts which indicate a likelihood of any
infringement, misappropriation or violation by, or conflict with any person or entity with respect
to any Intellectual Property. To the Company’s knowledge, it will not be necessary to use any
inventions of any of its employees or consultants (or persons it currently intends to hire) made
prior to their employment by the Company. Each employee and consultant has assigned to the
Company all intellectual property rights he or she owns that are related to the Company’s
business as now conducted.

                3.9     Title to Properties and Assets; Liens. The Company has good and
marketable title to all of its material properties and assets, and has good title to all its material
leasehold interests, in each case subject to no mortgage, pledge, lien, lease, encumbrance or
charge, other than (i) liens for current taxes not yet due and payable, (ii) liens imposed by law
and incurred in the ordinary course of business for obligations not past due, (iii) liens in respect
of pledges or deposits under workers’ compensation laws or similar legislation, and (iv) liens,
encumbrances and defects in title which do not in any case materially detract from the value of
the property subject thereto or have a Material Adverse Effect, and which have not arisen
otherwise than in the ordinary course of business. With respect to the property and assets it
leases, the Company is in compliance with such leases in all material respects and holds a valid
leasehold interest free of any liens, claims or encumbrances, subject to clauses (i)-(iv) above.

                3.10 Compliance with Other Instruments. The Company is not in violation or
default of any term of its Articles of Incorporation or Bylaws, each as amended to date, or of any
material term or provision of any mortgage, indebtedness, indenture, contract, agreement,
instrument, judgment, order or decree to which it is party or by which it is bound or of any
provision of any federal or state statute, rule or regulation applicable to the Company. The
execution and delivery of the Agreements by the Company, the performance by the Company of
its obligations pursuant to the Agreements, and the issuance of the Shares and the Conversion
Shares, when issued, will not (i) result in any such violation (ii) conflict with, or constitute a
material default under, the Company’s Articles of Incorporation or Bylaws, each as amended to
date, or any of its agreements, or (iii) result in the creation of any material mortgage, pledge,
lien, encumbrance or charge upon any of the properties or assets of the Company.

              3.11 Litigation. All current litigation involving claims against the Company in
excess of $100,000 is set forth in Schedule 3.11, hereof.

                3.12 Governmental Consent. To the Company’s knowledge, the Company is
not in violation of any applicable statute, rule, regulation, order or restriction of any domestic or
foreign government or third person or any instrumentality or agency thereof in respect of the
conduct of its business or the ownership of its property, the violation of which would have a
Material Adverse Effect. No consent, approval or authorization of or designation, declaration or
filing with any governmental authority on the part of the Company is required in connection with
the valid execution and delivery of this Agreement, or the offer, sale or issuance of the Shares
and the issuance of the Conversion Shares, when issued, or the consummation of any other
transaction contemplated by this Agreement, except (i) filing of the Restated Articles, which as
of the date hereof has been filed with the office of the Secretary of State of the State of Nevada,


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(ii) the filing of such notices as may be required under the Securities Act of 1933, as amended
(the “Securities Act”) and (ii) such filings as may be required under applicable state securities
laws, which have been made or will be made in a timely manner.

                3.13 Permits. To the Company’s knowledge, the Company has all franchises,
permits, licenses, and any similar authority necessary for the conduct of its business as now
being conducted by it, the lack of which could reasonably be expected to have a Material
Adverse Effect, and believes it can obtain, without undue burden or expense, any similar
authority for the conduct of its business as presently planned to be conducted. The Company is
not in default in any material respect under any of such franchises, permits, licenses or other
similar authority.

                3.14 Offering. Subject to the accuracy of the Purchasers’ representations and
warranties in Section 4, hereof, the offer, sale and issuance of the Shares and the Conversion
Shares, when issued, to be issued in conformity with the terms of this Agreement, constitutes a
transaction exempt from the registration requirements of Section 5 of the Securities Act and from
the registration or qualification requirements of applicable state securities laws, and neither the
Company nor any authorized agent acting on its behalf will take any action hereafter that would
cause the loss of such exemption.

                3.15 Brokers or Finders. The Company has not incurred, and will not incur,
directly or indirectly, as a result of any action taken by the Company, any liability for brokerage
or finders’ fees or agents’ commissions or any similar charges in connection with this Agreement
or any of the transactions contemplated hereby.

               3.16 Employee Benefit Plans. The Company does not have any Employee
Benefit Plan as defined in the Employee Retirement Income Security Act of 1974, as amended.

               3.17 Insurance. The Company has in full force and effect business liability
insurance policies in amounts customary for companies in similar businesses similarly situated.

               3.18 Tax Returns and Payments. There are no federal, state, county, local or
foreign taxes due and payable by the Company which have not been timely paid. There are no
accrued and unpaid federal, state, country, local or foreign taxes of the Company which are due,
whether or not assessed or disputed. There have been no examinations or audits of any tax
returns or reports by any applicable federal, state, local or foreign governmental agency. The
Company has duly and timely filed all federal, state, county, local and foreign tax returns
required to have been filed by it and there are in effect no waivers of applicable statutes of
limitations with respect to taxes for any year.

         4.     Representations and Warranties of Purchaser. Purchaser, severally and not
jointly, represents and warrants to the Company that:

                4.1    Investment Intent. Purchaser is acquiring the Shares with the intention as
of the date hereof of holding the Shares and the Conversion Shares for purposes of investment
for its own account, not as a nominee or agent, and not with the view to, or for resale in
connection with, any distribution thereof, and that Purchaser has no present intention of selling,
granting any participation in, or otherwise distributing the same. Purchaser further represents


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that it does not have any contract, undertaking, agreement or arrangement with any person or
entity to sell, transfer or grant participation to such person or entity or to any third person or
entity with respect to the Shares or the Conversion Shares.

               4.2     Investment Experience. Purchaser is an Accredited Investor (as defined in
Rule 501 promulgated under the Securities Act) and is able to bear the risk of an investment in
the Shares including risks associated with holding the Shares and the Conversion Shares for an
extended period of time, and shall submit to the Company such further assurances of such status
as may reasonably be requested by the Company.

                4.3     Investigation. Purchaser has had an opportunity to ask questions of, and
receive answers from, the officers of the Company concerning this Agreement, the exhibits and
schedules attached hereto and thereto and the transactions contemplated by this Agreement, as
well as the Company’s business, management and financial affairs, which questions were
answered to its satisfaction. Purchaser believes that it has received all the information Purchaser
considers necessary or appropriate for deciding whether to purchase the Shares. Purchaser
understands that such discussions, as well as any information issued by the Company, were
intended to describe certain aspects of the Company’s business and prospects, but were not
necessarily a thorough or exhaustive description. Purchaser acknowledges that any business
plans prepared by the Company have been, and continue to be, subject to change and that any
projections included in such business plans or otherwise are necessarily speculative in nature,
and it can be expected that some or all of the assumptions underlying the projections will not
materialize or will vary significantly from actual results. Purchaser also acknowledges that it is
relying solely on its own counsel and not on any statements or representations (other than the
representations provided by the Company herein) of the Company or its agents for legal advice
with respect to this investment or the transactions contemplated by the Agreements.

                4.4     Restricted Securities. Purchaser understands that the Shares and the
Conversion Shares have not been, and will not be, registered under the Securities Act, by reason
of a specific exemption from the registration provisions of the Securities Act which depends
upon, among other things, the bona fide nature of the investment intent and the accuracy of
Purchaser’s representations as expressed herein. Purchaser understands that the Shares and the
Conversion Shares are “restricted securities” under applicable United States federal and state
securities laws and that, pursuant to these laws, Purchaser must hold the Shares and the
Conversion Shares indefinitely unless they are registered with the Securities and Exchange
Commission and qualified by state authorities or an exemption from such registration and
qualification requirements is available. Purchaser acknowledges that the Company has no
obligation to register or qualify the Shares or the Conversion Shares, for resale. Purchaser
further acknowledges that if an exemption from registration or qualification is available, it may
be conditioned on various requirements including, but not limited to, the time and manner of
sale, the holding period for the Shares and the Conversion Shares, and on requirements relating
to the Company which are outside of Purchaser’s control, and which the Company is under no
obligation and may not be able to satisfy.

                4.5     No Public Market. Purchaser understands that no public market now
exists for the Shares or the Conversion Shares, and that the Company has made no assurances
that a public market will ever exist for the Shares or the Conversion Shares.


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                4.6      Legends. Purchaser understands that the Shares or the Conversion Shares,
when issued, or any other securities issued in respect of or exchange for the Shares or the
Conversion Shares, as applicable, may bear any one or more of the following legends: (a) any
legend set forth in, or required by, this Agreement; (b) any legend required by the securities laws
of any state to the extent such laws are applicable to the Shares or the Conversion Shares
represented by the certificate so legend; and (c) the following legend:

        THE SECURITIES REPRESENTED HEREBY HAVE BEEN REGISTERED
        UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES
        ACT”), OR QUALIFIED UNDER ANY APPLICABLE STATE OR FOREIGN
        SECURITIES LAWS, AND MAY NOT BE OFFERED FOR SALE, SOLD,
        PLEDGED, HYPOTHECATED OR OTHERWISE TRANSFERRED OR
        ASSIGNED UNLESS (I) A REGISTRATION STATEMENT COVERING SUCH
        SECURITIES IS EFFECTIVE UNDER THE SECURITIES ACT AND IS
        QUALIFIED UNDER APPLICABLE STATE AND FOREIGN LAW OR (II) THE
        TRANSACTION IS EXEMPT FROM THE REGISTRATION AND PROSPECTUS
        DELIVERY REQUIREMENTS UNDER THE SECURITIES ACT AND THE
        QUALIFICATION REQUIREMENTS UNDER APPLICABLE STATE AND
        FOREIGN LAW AND, IF THE ISSUER REQUESTS, AN OPINION
        SATISFACTORY TO THE ISSUER TO SUCH EFFECT HAS BEEN RENDERED
        BY COUNSEL.

                4.7    Accredited and Sophisticated Purchaser. Purchaser is an accredited
investor as defined in Rule 501(a) of Regulation D promulgated under the Securities Act and has
executed and delivered to the Company the “Statement of Accredited Investor,” attached as
hereto as Exhibit D. Purchaser is an investor in securities of companies in the development stage
and acknowledges that Purchaser is able to fend for itself, can bear the economic risk of its
investment for an indefinite period of time, and has such knowledge and experience in financial
or business matters that it is capable of evaluating the merits and risks of the investment in the
Shares. If other than an individual, Purchaser also represents it has not been organized for the
purpose of acquiring the Shares.

               4.8    Residency. Purchaser’s principal place of business is in the State of New
York.

               4.9    Authorization.

                       4.9.1 Purchaser has all requisite power and authority to execute and
deliver the Agreements, to purchase the Shares hereunder and to carry out and perform its
obligations under the terms of the Agreements. All action on the part of Purchaser necessary for
the authorization, execution, delivery and performance of this Agreement, and the performance
of all of Purchaser’s obligations under the Agreements, has been taken or will be taken before
the Closing.

                       4.9.2 The Agreements, when executed and delivered by Purchaser, will
constitute valid and legally binding obligations of Purchaser, enforceable against Purchaser in
accordance with their respective terms except: (i) as limited by applicable bankruptcy,
insolvency, reorganization, moratorium and other laws of general application affecting



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enforcement of creditors’ rights generally, and (ii) as limited by laws relating to the availability
of specific performance, injunctive relief or other equitable remedies or by general principles of
equity.

                        4.9.3 No consent, approval, authorization, order, filing, registration or
qualification of or with any court, governmental authority or third person is required to be
obtained by Purchaser in connection with the execution and delivery of the Agreements by
Purchaser or the performance of Purchaser’s obligations hereunder or thereunder.

                 4.10 Brokers or Finders. Purchaser has not engaged any brokers, finders or
agents to Purchaser’s actual knowledge, and neither the Company nor any other person has, nor
will, incur, directly or indirectly, as a result of any action taken by Purchaser, any liability for
brokerage or finders’ fees or agents’ commissions or any similar charges in connection with the
Agreements.

                 4.11 Tax Advisors. Purchaser has reviewed with its own tax advisors the U.S.
federal, state, local and foreign tax consequences of this investment and the transactions
contemplated by the Agreements. With respect to such matters, Purchaser relies solely on such
advisors and not on any statements or representations (other than the representations provided by
the Company herein) of the Company or any of its agents, written or oral. Purchaser understands
that it (and not the Company) shall be responsible for its own tax liability that may arise as a
result of this investment or the transactions contemplated by the Agreements.

                4.12 No General Solicitation. Neither Purchaser nor any of its officers,
directors, employees, agents, stockholders or partners, as applicable, has either directly or
indirectly, including through a broker or finder (a) engaged in any general solicitation with
respect to the offer and sale of the Shares, or (b) published any advertisement in connection with
the offer and sale of the Shares.

      5.      Company’s Post-Closing Covenants. From and after Closing, the Company
covenants and agrees as follows:

               5.1    Board of Directors. Effective upon the Closing, the authorized number of
Directors of the Company’s Board of Directors shall be fixed at nine (9) members. The current
members of the Board of Directors consist of Ronald Garriques, Dr. Kousay Al-Kourainy,
Murray Wikol, Jonathan Doochin, Scott Durchslag, Michael Tatelman, Giovanni Tomaselli,
Robert Raymond, and John Chiorando. Pursuant to the Restated Articles, the holders of the
Series B Preferred shall have the right to nominate and appoint the two (2) remaining members
of the Board of Directors.

                 5.2    Financial Statements. Within 60 days after the end of each of the first
three fiscal quarters of each fiscal year of the Company and within 120 days after the end of each
fiscal year of the Company, the Company shall furnish its financial statements to each Purchaser,
all certified by the Company’s officers as presenting fairly in all material respects the financial
condition of the Company.

       6.      Miscellaneous.



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             6.1    Notices. All notices, requests, consents, claims, demands, waivers and
other communications pertaining to this Agreement (a “Notice”) will be in writing addressed as
follows:

 If to the Purchaser, to:                               with a copy (which shall not constitute notice) to:

 [                  ]


 If to the Company, to:                                 with a copy (which shall not constitute notice) to:
 SkyBell Technologies, Inc.                             Ellenoff Grossman & Schole LLP
 1 Jenner Street, Suite 100                             1345 Avenue of the Americas, 11th Floor
 Irvine, CA 92618                                       New York, NY 10105
 Attn: Desiree Mejia
 Email: desiree@skybell.com
                                                        Attn: Jonathan Deblinger, Esq.
                                                        Email: jdeblinger@egsllp.com

Notices will be deemed given (i) on the first business day after being sent, prepaid, by nationally
recognized overnight courier that issues a receipt or other confirmation of delivery, (ii) on the third
business day after being sent by U.S. mail as first class registered or certified mail, return receipt
requested, postage prepaid or (iii) when delivered in person or by facsimile (with affirmative confirmation
of receipt). Any party may change the address to which Notices under this Agreement are to be sent to it
by giving written notice of a change of address in the manner provided in this Agreement for giving
Notice.

                6.2    Governing Law; Jurisdiction; WAIVER OF JURY TRIAL. The Company
and the Purchasers agree that this Agreement is made in the State of Nevada and the provisions
hereof will be construed in accordance with the laws of the State of Nevada. The Company and
the Purchasers agree that any litigation relating to this Agreement initiated by them or on their
behalf shall be venued in any court of competent jurisdiction in the State of Nevada (and any
appellate courts thereof). EACH OF THE COMPANY AND THE PURCHASER
IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY ACTION,
PROCEEDING, CLAIM OR COUNTERCLAIM, WHETHER IN CONTRACT OR TORT, AT
LAW OR IN EQUITY, ARISING OUT OF OR IN ANY WAY RELATED TO THIS
WARRANT OR THE MATTERS CONTEMPLATED HEREBY.

               6.3     Indemnification for Brokerage. The Purchasers and the Company each
represent and warrant to the others that no broker or finder has acted on its behalf in connection
with this Agreement or the transactions contemplated hereby. Each party hereto agrees to
indemnify and hold harmless the others from any claim or demand for commissions or other
compensation by any broker, finder or similar agent who is or claims to have been employed by
or on behalf of such party.

              6.4     Severability. The invalidity or unenforceability of any provision of this
Agreement in any jurisdiction will not affect the validity or enforceability of the remainder of
this Agreement in that jurisdiction or the validity or enforceability of this Agreement, including


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that provision, in any other jurisdiction. Any provision of this Agreement held illegal, invalid or
unenforceable only in part or degree will remain in full force and effect to the extent not held
invalid or unenforceable. To the extent legally permissible, any illegal, invalid or unenforceable
portion of any provision of this Agreement will be replaced by a valid provision which will
implement the purpose of the illegal, invalid or unenforceable provision.

                6.5     Successors and Assigns; No Third-Party Beneficiaries. This Agreement,
and any and all rights, duties and obligations hereunder, shall not be assigned, transferred,
delegated or sublicensed by any Purchaser without the prior written consent of the Company.
Any attempt by a Purchaser without such permission to assign, transfer, delegate or sublicense
any rights, duties or obligations that arise under this Agreement shall be void. Subject to the
foregoing and except as otherwise provided herein, the provisions of this Agreement shall inure
to the benefit of, and be binding upon, the successors, assigns, heirs, executors and
administrators of the parties hereto.

               6.6    Knowledge; Due Diligence Investigation. All representations and
warranties contained herein which are made to the knowledge of the Company shall mean to the
knowledge of the current Executive Officers of the Company (the “Executive Officers”). The
Executive Officers shall be deemed to have “knowledge” of a matter for purposes of the
warranties and representations contained herein if such matter has come, or should reasonably be
expected to have come, to the attention of the Executive Officers of the Company after
conducting a reasonable investigation.

               6.7     Expenses of Transactions. All fees, costs and expenses incurred by the
Purchasers or the Company in connection with the transactions contemplated by this Agreement
shall be borne by the party incurring the same.

               6.8     Entire Agreement. This Agreement, the exhibits and schedules attached
hereto and the documents delivered pursuant to this Agreement form or will form the entire
agreement between the parties hereto with respect to the transactions contemplated herein and
shall supersede all previous oral and written and all contemporaneous oral negotiations,
commitments, and understandings.

                6.9     Amendment and Modification; Waiver. Except as otherwise provided
herein, this Agreement may only be amended, modified or supplemented by an agreement in
writing signed by the Company and the Purchasers. No waiver by the Company or the
Purchasers of any of the provisions hereof shall be effective unless explicitly set forth in writing
and signed by the party so waiving. No waiver by any party shall operate or be construed as a
waiver in respect of any failure, breach or default not expressly identified by such written
waiver, whether of a similar or different character, and whether occurring before or after that
waiver. No failure to exercise, or delay in exercising, any rights, remedy, power or privilege
arising from this Agreement shall operate or be construed as a waiver thereof; nor shall any
single or partial exercise of any right, remedy, power or privilege hereunder preclude any other
or further exercise thereof or the exercise of any other right, remedy, power or privilege.

             6.10 Interpretation. The headings of the Sections and other subdivisions of this
Agreement are for convenience only and in no way modify, interpret or construe the meaning of


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specific provisions of this Agreement. The definitions contained in this Agreement are
applicable to the singular as well as the plural forms of such terms. Whenever required by the
context, any pronoun used in this Agreement shall include the corresponding masculine,
feminine or neuter forms, and the singular form of nouns, pronouns and verbs shall include the
plural and vice versa. The words “include” and “including” and other words of similar import
when used herein shall not be deemed to be terms of limitation but rather shall be deemed to be
followed in each case by the words “without limitation.” The word “if” and other words of
similar import when used herein shall be deemed in each case to be followed by the phrase “and
only if.” The words “herein,” “hereto,” and “hereby” and other words of similar import in this
Agreement shall be deemed in each case to refer to this Agreement as a whole and not to any
particular Section or other subdivision of this Agreement. Any reference herein to “dollars” or
“$” shall mean United States dollars. The term “or” shall be deemed to mean “and/or.” For
purposes of this Agreement, a “business day” shall mean each day of the week except Saturdays,
Sundays and days on which banking institutions are authorized by law to close in the State of
Nevada. The parties have participated jointly in the negotiation and drafting of this Agreement.
Consequently, in the event an ambiguity or question of intent or interpretation arises, this
Agreement shall be construed as if drafted jointly by the parties hereto, and no presumption or
burden of proof shall arise favoring or disfavoring any party by virtue of the authorship of any
provision of this Agreement.

                6.11 Counterparts. This Agreement may be executed in one or more
counterparts, all of which shall be considered one and the same agreement and shall become
effective when one or more counterparts have been signed by each of the parties and delivered to
the other party, it being understood that all parties need not sign the same counterpart.
Signatures delivered by facsimile or by electronic data file shall have the same effect as
originals.

               6.12 Survival. The representations and warranties of the Company and the
Purchaser set forth herein shall survive the Closings.

               6.13 Waiver of Adjustment of Conversion Price for Diluting Issues. The
Purchaser does further consent and agree that the shares of Common Stock to be issued (i)
pursuant to the conversion of any shares of Series B Preferred Stock to be issued pursuant to this
Agreement, and (ii) pursuant to any agreement entered into by the Corporation as of or prior to
the date hereof, including the conversion of any shares of Series B Preferred Stock or the
exercise of any warrants, shall, in each such case, be excluded from the definition of “Additional
Shares of Common” as used in Section 5(d) of the Restated Articles. In addition, the Purchaser
hereby confirms and agrees that the issuance of any of the securities referred to above shall not
constitute a “Deemed Issuance of Additional Shares of Common” pursuant to Section 5(d)(iii) of
the Restated Articles, and waive any and all rights to any adjustment arising from any such
issuance or issuances.

                          [SIGNATURES ON FOLLOWING PAGES]




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  IN WITNESS WHEREOF, this Agreement is executed as of the date first written above.



                                                 SKYBELL TECHNOLOGIES, INC.



                                                 By:
                                                 Name: Ronald G. Garriques
                                                 Title: CEO




                                                  PURCHASER

                                                  [                   ]



                                                  By:
                                                  Name: [                       ]

                                                 Title:




              [Signature Page to Series B Preferred Stock Purchase Agreement]
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                             EXHIBIT A

                     [INTENTIONALLY OMITTED]
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                             EXHIBIT B

                 SECOND AMENDED AND RESTATED
                   ARTICLES OF INCORPORATION
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                              EXHIBIT C

       INSTRUCTIONS FOR PAYMENT OF INVESTMENT AMOUNT




        Wire to:          City National Bank
                          18111 Von Karman Ave., Suite 120
                          Irvine, CA 92612

        ABA Number:       1220 16066

        For Credit To:    SkyBell Technologies, Inc.

        Account Number:        8272
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                                            EXHIBIT D

                        STATEMENT OF ACCREDITED INVESTOR


To: SkyBell Technologies, Inc. (the “Company”)

Ladies and Gentlemen:

        The undersigned hereby refers to that certain Series B Preferred Stock Purchase
Agreement executed and delivered to the Company by the undersigned as of the date hereof. In
connection with the subscription thereunder by the undersigned to purchase securities of the
Company, the undersigned hereby represents and warrants that such individual or entity meets at
least one of the tests listed below for an "accredited investor" (as such term is defined under
Regulation D promulgated pursuant to the Securities Act of 1933, as amended).

        "Accredited Investors" are accorded special status under the federal securities laws.
Individuals who hold certain positions with an issuer or its affiliates, or who have certain
minimum individual income or certain minimum net worth (each as described below) may
qualify as Accredited Investors. Partnerships, corporations or other entities may qualify as
Accredited Investors if they fulfill certain financial and other standards, or if all of their equity
owners have incomes and/or net worth which qualify them individually as Accredited Investors,
and trusts may qualify as Accredited Investors if they meet certain financial and other tests (as
described below).

        You may qualify as an Accredited Investor under Regulation D promulgated under the
Securities Act of 1933 (the "1933 Act") if you meet any of the following tests (please check all
that apply):

       The undersigned is an individual who is a director or executive officer of the
       Company. An “executive officer” is the president, a vice president in charge of a
       principal business unit, division or function (such as sales, administration or finance), any
       other officer who performs a policy making function or any other person who performs
       similar policy making functions for the Company.

       The undersigned is an individual that (1) had individual income of more than
       $200,000 in each of the two most recent fiscal years and reasonably expects to have
       individual income in excess of $200,000 in the current year, or (2) had joint income
       together with the undersigned’s spouse in excess of $300,000 in each of the two most
       recent fiscal years and reasonably expects to have joint income in excess of $300,000
       in the current year. “Income” means adjusted gross income, as reported for federal
       income tax purposes, increased by the following amounts: (i) any tax exempt interest
       income under Section 103 of the Internal Revenue Code (the “Code”) received, (ii) any
       losses claimed as a limited partner in a limited partnership as reported on Schedule E of
       Form 1040, (iii) any deduction claimed for depletion under Section 611 of the Code or
       (iv) any amount by which income has been reduced in arriving at adjusted gross income
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       pursuant to the provisions of Section 1202 of the Code. In determining personal income,
       however, unrealized capital gains should not be included.

       The undersigned is an individual with individual net worth, or combined net worth
       together with the undersigned’s spouse, in excess of $1,000,000. “Net worth” means
       the excess of total assets at fair market value, excluding the value of a primary residence,
       over total liabilities.

       The undersigned is a Trust with total assets in excess of $5,000,000, was not formed
       for the specific purpose of acquiring securities of the Company, and the purchase of the
       securities is directed by a person with such knowledge and experience in financial and
       business matters that he is capable of evaluating the risks and merits of the prospective
       investment in such securities.

       The undersigned is a corporation, partnership, limited liability company or limited
       liability partnership that has total assets in excess of $5,000,000 and was not formed
       for the specific purpose of acquiring securities of the Company.

       The undersigned is an entity in which all of its equity owners are “accredited
       investors”.


Dated: [                ]



                                                     Very truly yours,

                                                     [                 ]



                                                     By:
                                                     Name: [                  ]
                                                     Title:
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                               SCHEDULE 3.3

                             CAPITALIZATION




                {00781110.DOCX.3}
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                            SCHEDULE 3.4.1

                 FINANCIAL STATEMENTS – Balance Sheet
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                            SCHEDULE 3.4.1

                 FINANCIAL STATEMENTS – Profit & Loss
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                                        SCHEDULE 3.8(a)

                                 INTELLECTUAL PROPERTY

Patent Registrations and Pending Applications
                                         Patent Number (if
                                           registered) or
 Owner of Record    Patent               Serial Number (if    Filing      Issuance     Jurisdiction
                    Description/Title     applied for only)   Date        Date

SKYBELL
TECHNOLOGIES       LIGHT                   9,165,444          11/6/2014    10/20/201      U.S.
IP, LLC            SOCKET                                                  5
                   CAMERAS

SKYBELL
TECHNOLOGIES       LIGHT                   9,053,622          11/21/201     6/9/2015      U.S.
IP, LLC            SOCKET                                     4
                   CAMERAS


SKYBELL
TECHNOLOGIES       LIGHT                   9,142,214          11/21/201    9/22/2015      U.S.
IP, LLC            SOCKET                                     4
                   CAMERAS

SKYBELL
TECHNOLOGIES       LIGHT                   10,218,932          9/9/2015    2/26/2019      U.S.
IP, LLC            SOCKET
                   CAMERAS

SKYBELL            LIGHT
TECHNOLOGIES       SOCKET                  15/060,282          3/3/2016        -          U.S.
IP, LLC            SURVEILLA
                   NCE
                   SYSTEMS
SKYBELL
TECHNOLOGIES       SMART LOCK              8,947,530          8/27/2014     2/3/2015      U.S.
IP, LLC            SYSTEMS AND
                   METHODS

SKYBELL
TECHNOLOGIES       SMART LOCK              9,109,378          12/17/201    8/18/2015      U.S.
IP, LLC            SYSTEMS AND                                4
                   METHODS

SKYBELL
TECHNOLOGIES       SMART LOCK              9,342,936          7/16/2015    5/17/2016      U.S.
IP, LLC            SYSTEMS AND
                   METHODS
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                                       Patent Number (if
                                         registered) or
Owner of Record    Patent              Serial Number (if    Filing      Issuance     Jurisdiction
                   Description/Title    applied for only)   Date        Date

SKYBELL
TECHNOLOGIES      SMART LOCK             10,204,467         4/15/2016    2/12/2019      U.S.
IP, LLC           SYSTEMS AND
                  METHODS

SKYBELL
TECHNOLOGIES      SMART LOCK             15/608,825         5/30/2017        -          U.S.
IP, LLC           SYSTEMS AND
                  METHODS


                  DOORBELL
SKYBELL           COMMUNICAT
                                         8,780,201          12/6/2013    7/15/2014      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS

                  DOORBELL
SKYBELL           COMMUNICAT
                                         8,823,795          12/6/2013     9/2/2014      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS

                  DOORBELL
SKYBELL           COMMUNICAT
                                         8,842,180          12/28/201    9/23/2014      U.S.
TECHNOLOGIES      ION SYSTEMS                               3
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         8,872,915          5/12/2014    10/28/201      U.S.
TECHNOLOGIES      ION SYSTEMS                                            4
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,065,987          9/22/2014    6/23/2015      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,094,584          9/30/2014    7/28/2015      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,060,104           1/5/2015    6/16/2015      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,058,738           2/3/2015    6/16/2015      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
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                                       Patent Number (if
                                         registered) or
Owner of Record    Patent              Serial Number (if    Filing      Issuance     Jurisdiction
                   Description/Title    applied for only)   Date        Date

                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,179,109          5/30/2015    11/3/2015      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,172,922          6/18/2015    10/27/201      U.S.
TECHNOLOGIES      ION SYSTEMS                                            5
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         15/806,322         11/7/2017        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,743,049          5/16/2016    8/22/2017      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         15/205,959          7/8/2016        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
SKYBELL           IDENTITY
TECHNOLOGIES      VERIFICATION           9,197,867          6/15/2015    11/24/201      U.S.
IP, LLC           USING A SOCIAL                                         5
                  DOORBELL
SKYBELL           COMMUNICAT
                                         15/701,451         9/12/2017        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         15/701,453         9/12/2017        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
SKYBELL
TECHNOLOGIES      POWER                  9,113,051          2/17/2015    8/18/2015      U.S.
IP, LLC           OUTLET
                  CAMERAS
SKYBELL
TECHNOLOGIES      POWER                  15/292,019         10/12/201        -          U.S.
IP, LLC           OUTLET                                    6
                  CAMERAS
SKYBELL
TECHNOLOGIES      POWER                  9,997,036           6/6/2017    6/12/2018      U.S.
IP, LLC           OUTLET
                  CAMERAS
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                                       Patent Number (if
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Owner of Record    Patent              Serial Number (if    Filing      Issuance     Jurisdiction
                   Description/Title    applied for only)   Date        Date

SKYBELL           DOORBELL
TECHNOLOGIES      COMMUNICATION          8,937,659           9/1/2014    1/20/2015      U.S.
IP, LLC           AND ELECTRICAL
                  METHODS
SKYBELL           DOORBELL
TECHNOLOGIES      COMMUNICATION          8,953,040           9/1/2014    2/10/2015      U.S.
IP, LLC           AND ELECTRICAL
                  SYSTEMS
SKYBELL           DOORBELL
TECHNOLOGIES      COMMUNICATION          9,736,284           1/2/2015    8/15/2017      U.S.
IP, LLC           AND ELECTRICAL
                  SYSTEMS
SKYBELL
TECHNOLOGIES      DOORBEL                9,172,920          3/27/2015    10/27/201      U.S.
IP, LLC           L                                                      5
                  DIAGNOST
SKYBELL           DOORBELL
TECHNOLOGIES      COMMUNICATION          10,440,165         8/10/2017    10/8/2019      U.S.
IP, LLC           AND ELECTRICAL
                  SYSTEMS
SKYBELL           DOORBELL
TECHNOLOGIES      COMMUNICATION          10,440,166         5/26/2018    10/8/2019      U.S.
IP, LLC           AND ELECTRICAL
                  SYSTEMS
SKYBELL           DOORBELL
TECHNOLOGIES      COMMUNICATION          16/557,753         8/30/2019        -          U.S.
IP, LLC           AND ELECTRICAL
                  SYSTEMS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         8,941,736          8/19/2014    1/27/2015      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,013,575          10/31/201    4/21/2015      U.S.
TECHNOLOGIES      ION SYSTEMS                               4
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,055,202          2/12/2015     6/9/2015      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
SKYBELL           POOL
TECHNOLOGIES      MONITOR                9,049,352          12/10/201     6/2/2015      U.S.
IP, LLC           SYSTEMS                                   4
                  AND
                  METHODS
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                                       Patent Number (if
                                         registered) or
Owner of Record    Patent              Serial Number (if    Filing      Issuance     Jurisdiction
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SKYBELL
TECHNOLOGIES      MONITORING             9,769,435          5/18/2015    9/19/2017      U.S.
IP, LLC           SYSTEMS AND
                  METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         15/719,543         9/28/2017        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
SKYBELL
TECHNOLOGIES      DOORBELL               9,060,103          11/17/201    6/16/2015      U.S.
IP, LLC           SECURITY AND                              4
                  SAFETY
SKYBELL
TECHNOLOGIES                             9,172,921          4/13/2015    10/27/201      U.S.
IP, LLC           DOORBELL                                               5
SKYBELL
TECHNOLOGIES      DOORBELL               10,062,251          6/2/2015    8/28/2018      U.S.
IP, LLC           BATTERY
                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,118,819          3/20/2015    8/25/2015      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,113,052          4/10/2015    8/18/2015      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,196,133          4/24/2015    11/24/201      U.S.
TECHNOLOGIES      ION SYSTEMS                                            5
IP, LLC           AND METHODS
SKYBELL           DOORBELL
TECHNOLOGIES      CHIME                  9,179,107          5/28/2015    11/3/2015      U.S.
IP, LLC           SYSTEMS AND
SKYBELL           DOORBELL
TECHNOLOGIES      CHIME                  9,179,108          5/28/2015    11/3/2015      U.S.
IP, LLC           SYSTEMS AND
SKYBELL           DOORBELL
TECHNOLOGIES      CHIME                  9,160,987          6/11/2015    10/13/201      U.S.
IP, LLC           SYSTEMS AND                                            5
                  DOORBELL
SKYBELL           COMMUNICAT
                                         16/057,169          8/7/2018        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
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                                      Patent Number (if
                                        registered) or
Owner of Record   Patent              Serial Number (if    Filing      Issuance     Jurisdiction
                  Description/Title    applied for only)   Date        Date

                  DOORBELL
SKYBELL           COMMUNICAT
                                        9,247,219          7/13/2015    1/26/2016      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                        9,237,318          7/13/2015    1/12/2016      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                        9,253,455          7/30/2015     2/2/2016      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
SKYBELL
TECHNOLOGIES      DOORBELL              9,230,424          6/23/2015     1/5/2016      U.S.
IP, LLC           COMMUNIT
SKYBELL
TECHNOLOGIES      DOORBELL              15/789,121         10/20/201        -          U.S.
IP, LLC           COMMUNIT                                 7
SKYBELL
TECHNOLOGIES      DOORBELL              15/951,534         4/12/2018        -          U.S.
IP, LLC           COMMUNIT
SKYBELL
TECHNOLOGIES      DOORBELL              15/793,720         10/25/201        -          U.S.
IP, LLC           COMMUNIT                                 7
                  GARAGE DOOR
SKYBELL           COMMUNICAT
                                        15/060,332          3/3/2016        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  GARAGE DOOR
SKYBELL           COMMUNICAT
                                        15/293,334         10/14/201        -          U.S.
TECHNOLOGIES      ION SYSTEMS                              6
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                        10,044,519         9/22/2015     8/7/2018      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                        16/054,961          8/3/2018        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
SKYBELL           DOORBELL
TECHNOLOGIES      CHIME                 9,786,133          1/27/2016    10/10/201      U.S.
IP, LLC           SYSTEMS AND                                           7
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                                         registered) or
Owner of Record    Patent              Serial Number (if    Filing      Issuance     Jurisdiction
                   Description/Title    applied for only)   Date        Date

SKYBELL           DOORBELL
TECHNOLOGIES      PACKAGE                9,799,183          1/27/2016    10/24/201      U.S.
IP, LLC           DETECTION                                              7
                  SYSTEMS        AND
                  METHODS
SKYBELL           DOORBELL
TECHNOLOGIES      PACKAGE                15/785,605         10/17/201        -          U.S.
IP, LLC           DETECTION                                 7
                  SYSTEMS        AND
                  METHODS
SKYBELL           DOORBELL
TECHNOLOGIES      PACKAGE                9,508,239          5/27/2016    11/29/201      U.S.
IP, LLC           DETECTION                                              6
                  SYSTEMS        AND
                  METHODS
SKYBELL           DOORBELL
TECHNOLOGIES      PACKAGE                10,043,332         10/25/201     8/7/2018      U.S.
IP, LLC           DETECTION                                 7
SKYBELL           DOORBELL
TECHNOLOGIES      PACKAGE                15/806,326         11/8/2017        -          U.S.
IP, LLC           DETECTION
                  SYSTEMS     AND
                  METHODS
SKYBELL           DOORBELL
TECHNOLOGIES      PACKAGE                15/815,490         11/16/201        -          U.S.
IP, LLC           DETECTION                                 7
                  SYSTEMS     AND
                  METHODS
SKYBELL           DOORBELL
TECHNOLOGIES      PACKAGE                15/815,555         11/16/201        -          U.S.
IP, LLC           DETECTION                                 7
                  SYSTEMS     AND
                  METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         15/214,451         7/20/2016        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         15/341,125         11/2/2016        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         15/341,140         11/2/2016        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
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                                       Patent Number (if
                                         registered) or
Owner of Record    Patent              Serial Number (if    Filing      Issuance     Jurisdiction
                   Description/Title    applied for only)   Date        Date

                  DOORBELL
SKYBELL           COMMUNICAT
                                         9,888,216          3/10/2017     2/6/2018      U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         15/811,829         11/14/201        -          U.S.
TECHNOLOGIES      ION SYSTEMS                               7
IP, LLC           AND METHODS
SKYBELL           OUTDOOR
TECHNOLOGIES      SECURITY               16/055,115          8/5/2018        -          U.S.
IP, LLC           SYSTEMS AND
                  METHODS
SKYBELL           VEHICLE
TECHNOLOGIES      TRACKING               9,933,270           3/9/2016     4/3/2018      U.S.
IP, LLC           SYSTEMS AND
                  METHODS
                  ACTIVATING
SKYBELL           BUILDING ASSETS
                                         14/485,990         9/15/2014        -          U.S.
TECHNOLOGIES      BASED ON AN
IP, LLC           INDIVIDUAL'S
                  LOCATION
SKYBELL           REMOTE
TECHNOLOGIES      IDENTITY               9,235,943          10/10/201    1/12/2016      U.S.
IP, LLC           VERIFICATION                              4
                  OF LODGING
                  GUESTS
                  REMOTE
SKYBELL           INTERACTIVE
                                         9,426,432          12/2/2015    8/23/2016      U.S.
TECHNOLOGIES      IDENTITY
IP, LLC           VERIFICATION OF
                  LODGING GUESTS

SKYBELL
TECHNOLOGIES                             D711,275           7/26/2013    8/19/2014      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES      LIGHT                  D740,873           7/28/2014    10/13/201      U.S.
IP, LLC           SOCKET                                                 5
SKYBELL
TECHNOLOGIES                             D747,640           10/27/201    1/19/2016      U.S.
IP, LLC           SMART LOCK                                4
                  DISPLAY SCREEN
SKYBELL           OR PORTION
                                         D747,733           8/30/2013    1/19/2016      U.S.
TECHNOLOGIES      THEREOF WITH A
IP, LLC           GRAPHICAL
                  USER INTERFACE
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                                         registered) or
Owner of Record    Patent              Serial Number (if    Filing      Issuance     Jurisdiction
                   Description/Title    applied for only)   Date        Date

                  DISPLAY SCREEN
SKYBELL           OR PORTION
                                         D737,283           8/30/2013    8/25/2015      U.S.
TECHNOLOGIES      THEREOF WITH A
IP, LLC           GRAPHICAL
                  USER INTERFACE
                  DISPLAY SCREEN
SKYBELL           OR PORTION
                                         D747,732           8/30/2013    1/19/2016      U.S.
TECHNOLOGIES      THEREOF WITH A
IP, LLC           GRAPHICAL
                  USER INTERFACE
                  DISPLAY SCREEN
SKYBELL           OR A PORTION
                                         D762,688           5/16/2014     8/2/2016      U.S.
TECHNOLOGIES      THEREOF WITH A
IP, LLC           GRAPHICAL USER
SKYBELL
TECHNOLOGIES      POWER                  D736,294           7/28/2014    8/11/2015      U.S.
IP, LLC           OUTLET
                  CAMERA
SKYBELL
TECHNOLOGIES                             D729,678           8/19/2014    5/19/2015      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                             D727,769           12/18/201    4/28/2015      U.S.
IP, LLC           DOORBELL                                  4
                  DISPLAY SCREEN
SKYBELL           OR A PORTION
                                         29/514,707         1/15/2015        -          U.S.
TECHNOLOGIES      THEREOF WITH A
IP, LLC           GRAPHICAL USER
                  DISPLAY SCREEN
SKYBELL           OR A PORTION
                                         D760,738           1/15/2015     7/5/2016      U.S.
TECHNOLOGIES      THEREOF WITH A
IP, LLC           GRAPHICAL USER
                  DISPLAY SCREEN
SKYBELL           OR A PORTION
                                         D759,702           1/15/2015    6/21/2016      U.S.
TECHNOLOGIES      THEREOF WITH A
IP, LLC           GRAPHICAL USER
SKYBELL
TECHNOLOGIES                             D747,755           1/27/2015    1/19/2016      U.S.
IP, LLC           VIDEO CAMERA
SKYBELL
TECHNOLOGIES                             D747,756           1/27/2015    1/19/2016      U.S.
IP, LLC           VIDEO CAMERA
SKYBELL
TECHNOLOGIES                             D747,384           1/27/2015    1/12/2016      U.S.
IP, LLC           VIDEO CAMERA
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                                         registered) or
Owner of Record    Patent              Serial Number (if    Filing      Issuance     Jurisdiction
                   Description/Title    applied for only)   Date        Date

SKYBELL
TECHNOLOGIES                             D747,385           1/27/2015    1/12/2016      U.S.
IP, LLC           VIDEO CAMERA
SKYBELL
TECHNOLOGIES                             D748,178           2/17/2015    1/26/2016      U.S.
IP, LLC           VIDEO CAMERA
SKYBELL
TECHNOLOGIES                             D748,179           2/17/2015    1/26/2016      U.S.
IP, LLC           VIDEO CAMERA
SKYBELL
TECHNOLOGIES                             D762,762           2/17/2015     8/2/2016      U.S.
IP, LLC           VIDEO CAMERA
SKYBELL
TECHNOLOGIES                             D748,180           5/28/2015    1/26/2016      U.S.
IP, LLC           VIDEO CAMERA
SKYBELL           LIGHT
TECHNOLOGIES      SOCKET                 D749,161           2/17/2015     2/9/2016      U.S.
IP, LLC           SURVEILLA
                  NCE
                  SYSTEM
SKYBELL
TECHNOLOGIES                             D764,958            8/7/2015    8/30/2016      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                             D765,530           8/12/2015     9/6/2016      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                             D766,121           10/8/2015    9/13/2016      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                             D820,136           1/22/2016    6/12/2018      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                             D787,359           1/22/2016    5/23/2017      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                             D840,258            1/2/2017    2/12/2019      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                             D813,700            1/2/2017    3/27/2018      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                             D817,207            1/2/2017     5/8/2018      U.S.
IP, LLC           DOORBELL
  Case 2:22-cv-00612-CDS-EJY Document 2-6 Filed 04/13/22 Page 224 of 309


                                       Patent Number (if
                                         registered) or
Owner of Record    Patent              Serial Number (if    Filing      Issuance     Jurisdiction
                   Description/Title    applied for only)   Date        Date

SKYBELL
TECHNOLOGIES                             D813,701            1/2/2017    3/27/2018      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                             D824,791           8/15/2017     8/7/2018      U.S.
IP, LLC           DOORBELL CHIME
SKYBELL
TECHNOLOGIES      POWER                  D840,460           8/14/2017    2/12/2019      U.S.
IP, LLC           OUTLET
                  CAMERA
SKYBELL
TECHNOLOGIES                             D840,856           9/25/2017    2/19/2019      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                             D840,857           9/25/2017    2/19/2019      U.S.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                             D852,077            2/2/2018    6/25/2019      U.S.
IP, LLC           CHIME
SKYBELL
TECHNOLOGIES                             29/706,774         9/24/2019        -          U.S.
IP, LLC           DOORBELL
                  DOORBELL
SKYBELL           COMMUNICAT
                                         61/859,070         7/26/2013        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         61/872,439         8/30/2013        -          U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
SKYBELL
TECHNOLOGIES      LIGHT                  62/018,605         6/29/2014        -          U.S.
IP, LLC           SOCKET
                  CAMERAS
SKYBELL
TECHNOLOGIES      LIGHT                  62/039,394         8/19/2014        -          U.S.
IP, LLC           SOCKET
                  CAMERAS
SKYBELL           LIGHT
TECHNOLOGIES      SOCKET                 62/129,816          3/7/2015        -          U.S.
IP, LLC           SURVEILLA
                  NCE
                  SYSTEMS
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                                          registered) or
 Owner of Record    Patent              Serial Number (if    Filing      Issuance   Jurisdiction
                    Description/Title    applied for only)   Date        Date

                   DOORBELL
SKYBELL            COMMUNICAT
                                          62/106,705         1/22/2015        -        U.S.
TECHNOLOGIES       ION SYSTEMS
IP, LLC            AND METHODS
                   DOORBELL
SKYBELL            COMMUNICAT
                                          62/158,750          5/8/2015        -        U.S.
TECHNOLOGIES       ION SYSTEMS
IP, LLC            AND METHODS
SKYBELL            REMOTE
TECHNOLOGIES       IDENTITY               62/011,038         6/12/2014        -        U.S.
IP, LLC            VERIFICATION
                   OF LODGING
                   GUESTS
                   REMOTE
                   IDENTITY
                   VERIFICATION OF        62/011,039         6/12/2014        -        U.S.
SKYBELL            LODGING GUESTS
TECHNOLOGIES       BY
IP, LLC            SIMULTANEOUSL
                   Y DISPLAYING
                   IMAGES FROM
                   REMOTE
SKYBELL            IDENTITY
                                          62/011,040         6/12/2014        -        U.S.
TECHNOLOGIES       VERIFICATION
IP, LLC            OF MULTIPLE
SKYBELL            IDENTITY
TECHNOLOGIES       VERIFICATION           62/016,050         6/23/2014        -        U.S.
IP, LLC            USING A SOCIAL
                   IDENTITY
SKYBELL            VERIFICATION
                                          62/016,053         6/23/2014        -        U.S.
TECHNOLOGIES       USING A SOCIAL
IP, LLC            NETWORK AND A
                   NAME OF A VISITOR
SKYBELL            IDENTITY
TECHNOLOGIES       VERIFICATION OF
                                          62/016,057         6/23/2014        -        U.S.
IP, LLC            FREQUENT AND
                   NON- FREQUENT
                   VISITORS
SKYBELL            DOORBELL
TECHNOLOGIES       COMMUNICAT
                                          62/135,133         3/18/2015        -        U.S.
IP, LLC            ION SYSTEMS
                   AND METHODS
SKYBELL            WALL PLUG
TECHNOLOGIES       CAMERAS                62/016,863         6/25/2014        -        U.S.
IP, LLC
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                                      Patent Number (if
                                        registered) or
Owner of Record   Patent              Serial Number (if    Filing      Issuance   Jurisdiction
                  Description/Title    applied for only)   Date        Date

SKYBELL           DOOR LOCK
TECHNOLOGIES      CHARGING              62/018,606         6/29/2014        -        U.S.
IP, LLC           SYSTEMS AND
                  DOORBELL
SKYBELL           COMMUNICAT
                                        62/035,646         8/11/2014        -        U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                        62/072,943         10/30/201        -        U.S.
TECHNOLOGIES      ION SYSTEMS                              4
IP, LLC           AND METHODS
SKYBELL           DOORBELL
TECHNOLOGIES      CHIME                 62/161,616         5/14/2015        -        U.S.
IP, LLC           SYSTEMS AND
                  DOORBELL
SKYBELL           COMMUNICAT
                                        62/127,660          3/3/2015        -        U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  WIRED
SKYBELL           HOME
                                        62/026,639         7/19/2014        -        U.S.
TECHNOLOGIES      AUTOMATI
IP, LLC           ON
                  DOORBELL
SKYBELL           COMMUNICAT
                                        62/139,497         3/27/2015        -        U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
SKYBELL
TECHNOLOGIES      DOORBELL              62/143,032          4/4/2015        -        U.S.
IP, LLC           COMMUNIT
                  GARAGE DOOR
SKYBELL           COMMUNICAT
                                        62/129,814          3/7/2015        -        U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  GARAGE DOOR
SKYBELL           COMMUNICAT
                                        62/616,287         1/11/2018        -        U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                        62/221,489         9/21/2015        -        U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
SKYBELL           DOORBELL
TECHNOLOGIES      CHIME                 62/260,508         11/28/201        -        U.S.
IP, LLC           SYSTEMS AND                              5
SKYBELL           DOORBELL
TECHNOLOGIES      PACKAGE               62/571,465         10/12/201        -        U.S.
IP, LLC           DETECTION                                7
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                                       Patent Number (if
                                         registered) or
Owner of Record    Patent              Serial Number (if    Filing      Issuance   Jurisdiction
                   Description/Title    applied for only)   Date        Date

                  DOORBELL
SKYBELL           COMMUNICAT
                                         62/400,611         9/27/2016        -        U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  SMART HOME
SKYBELL           COMMUNICAT
                                         62/456,104          2/7/2017        -        U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         62/539,472         7/31/2017        -        U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                         62/583,311         11/8/2017        -        U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
SKYBELL           OUTDOOR
TECHNOLOGIES      SECURITY               62/560,118         9/18/2017        -        U.S.
IP, LLC           SYSTEMS AND
                  DOORBELL
SKYBELL           COMMUNICAT
                                         62/891,344         8/24/2019        -        U.S.
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
SKYBELL           DOORBELL
TECHNOLOGIES      COMMUNICATION        201510309496          6/8/2015        -        China
IP, LLC           AND ELECTRICAL
                  SYSTEM
SKYBELL           DOORBELL
TECHNOLOGIES      COMMUNICAT
                                       201510309104          6/8/2015        -        China
IP, LLC           ION SYSTEMS
                  AND METHODS
                  SMART HOME
SKYBELL           COMMUNICAT
                                        2017-159937         8/23/2017        -        Japan
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT            PCT/US14/4762
                                                            7/22/2014        -        PCT
TECHNOLOGIES      ION SYSTEMS                2
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                       AU2014293304         7/22/2014        -      Australia
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                        CA2917915            1/8/2016        -       Canada
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
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                                      Patent Number (if
                                        registered) or
Owner of Record   Patent              Serial Number (if    Filing      Issuance   Jurisdiction
                  Description/Title    applied for only)   Date        Date

SKYBELL           DOORBELL
TECHNOLOGIES      COMMUNICATION       2014800526797        7/22/2014        -        China
IP, LLC           SYSTEM AND
                  METHOD
SKYBELL           DOORBELL
TECHNOLOGIES      COMMUNICATION        14828831.9          7/22/2014        -         EU
IP, LLC           SYSTEM AND
                  METHOD
                  DOORBELL
SKYBELL           COMMUNICAT           PCT/US14/5350
                                                           8/29/2014        -        PCT
TECHNOLOGIES      ION SYSTEMS               6
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                      AU2014312083         8/29/2014        -      Australia
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                       CA2917926            1/8/2016        -       Canada
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                      2014800579366        8/29/2014        -        China
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                       14839945.4          8/29/2014                  EU
TECHNOLOGIES      ION SYSTEMS
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT           PCT/US16/6383
                                                           11/28/201        -        PCT
TECHNOLOGIES      ION SYSTEMS               3              6
IP, LLC           AND METHODS
                  DOORBELL
SKYBELL           COMMUNICAT
                                       2017-549516         11/28/201        -        Japan
TECHNOLOGIES      ION SYSTEMS                              6
IP, LLC           AND METHODS
SKYBELL
                                       PCT/US18/3635
TECHNOLOGIES      POWER                                     6/6/2018        -        PCT
                                            8
IP, LLC           OUTLET
                  CAMERAS

                  DOORBELL
SKYBELL           COMMUNICAT           PCT/US18/4466
                                                           7/31/2018        -        PCT
TECHNOLOGIES      ION SYSTEMS               2
IP, LLC           AND METHODS
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                                       Patent Number (if
                                         registered) or
Owner of Record    Patent              Serial Number (if    Filing      Issuance     Jurisdiction
                   Description/Title    applied for only)   Date        Date

SKYBELL           DOORBELL
                                        PCT/US19/2890
TECHNOLOGIES      COMMUNICATION                             4/24/2019        -          PCT
                                             6
IP, LLC           AND ELECTRICAL
                  SYSTEMS
SKYBELL
TECHNOLOGIES                           002386094-0001       1/17/2014    2/18/2014      E.U.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                              1503072           1/24/2014    6/20/2014      Japan
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                           002613448-0001       1/14/2015    1/27/2015      E.U.
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                           CN303508623S         6/12/2015    12/16/201      China
IP, LLC           WIFI VIDEO                                             5
                  DOORBELL
SKYBELL
TECHNOLOGIES                           002720755-0001       6/17/2015    7/27/2015      E.U.
IP, LLC           VIDEO CAMERA
SKYBELL
TECHNOLOGIES                            2017-018324         8/25/2017        -          Japan
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                              1601609           8/25/2017    3/16/2018      Japan
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                              1601610           8/25/2017    3/16/2018      Japan
IP, LLC           DOORBELL CHIME

SKYBELL
TECHNOLOGIES      POWER                   1606870           8/25/2017    5/25/2018      Japan
IP, LLC           OUTLET
                  CAMERA
SKYBELL
TECHNOLOGIES                              1623497           3/23/2018    1/11/2019      Japan
IP, LLC           DOORBELL
SKYBELL
TECHNOLOGIES                              1623498           3/23/2018    1/11/2019      Japan
IP, LLC           DOORBELL
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Trademark Registrations and Pending Applications
                                           Registration
                                           Number (if
                                            registered)                 Registration
 Owner of Record            Trademark                     Filing Date                  Jurisdiction
                                             or Serial                     Date
                                           Number (if
                                           applied for
SKYBELL
TECHNOLOGIES       SkyBell                    4540717     9/18/2013      5/27/2014        U.S.
IP, LLC
SKYBELL
                   We Have the Outside
TECHNOLOGIES                                  4878219     6/17/2014      12/29/2015       U.S.
                   Covered
IP, LLC
SKYBELL
TECHNOLOGIES       SkyBell Circle Logo        4742565     8/11/2014      5/26/2015        U.S.
IP, LLC            (Color)
SKYBELL
TECHNOLOGIES       SkyBell Circle Logo        4730715     8/11/2014       5/5/2015        U.S.
IP, LLC            (Black)
SKYBELL
TECHNOLOGIES       SkyBulb                   86527898      2/7/2015          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES       SkyBulb                   88509600     7/11/2019          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES       SkyWall                   86610657     4/27/2015          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES       SkyPool                   86611042     4/27/2015          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES       SkyChime                   5590596     4/27/2015      10/23/2018       U.S.
IP, LLC
SKYBELL
TECHNOLOGIES       SkyTop                    86611170     4/27/2015          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES       Your Home Starts Here     86691650     7/13/2015          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES       SkyBell Tribe             86805070     10/30/2015         -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES       SkyBell Village           86805110     10/30/2015         -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES       SkyBell HD                 4978196     12/30/2015     6/14/2016        U.S.
IP, LLC
SKYBELL
TECHNOLOGIES       Go Anywhere Do            86973334     4/12/2016          -            U.S.
IP, LLC            Anything
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                                             Registration
                                             Number (if
                                              registered)                 Registration
Owner of Record           Trademark                         Filing Date                  Jurisdiction
                                               or Serial                     Date
                                             Number (if
                                             applied for
SKYBELL
TECHNOLOGIES      Keeping up with the          86972903     4/12/2016          -            U.S.
IP, LLC           Jetsons
SKYBELL
                  The Connected Home
TECHNOLOGIES                                   87001429     4/14/2016          -            U.S.
                  Starts at the Front Door
IP, LLC
SKYBELL
TECHNOLOGIES      Micro                        87076316     6/18/2016          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES      Zen                           5492779     6/20/2016      6/12/2018        U.S.
IP, LLC
SKYBELL
TECHNOLOGIES      One                          87076933     6/20/2016          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES      Instacam                     87076982     6/20/2016          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES      Shine                        87077015     6/20/2016          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES      The Eyes to the Smart        87122879      8/1/2016          -            U.S.
IP, LLC           Home
SKYBELL
TECHNOLOGIES      Trim                         87193774     10/5/2016          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES      Trim Pro                      5465377     10/5/2016       5/8/2018        U.S.
IP, LLC
SKYBELL
TECHNOLOGIES      Max                          87215865     10/26/2016         -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES      Trim Plus                     5308248     11/9/2016      10/10/2017       U.S.
IP, LLC
SKYBELL
TECHNOLOGIES      Guardian                      5503941     11/9/2016      6/26/2018        U.S.
IP, LLC
SKYBELL
TECHNOLOGIES      Chime                        87232076     11/9/2016          -            U.S.
IP, LLC
SKYBELL
TECHNOLOGIES      Let's be realistic           88528493     7/22/2019          -            U.S.
IP, LLC
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                                     SCHEDULE 3.8(b)

                        INTELLECTUAL PROPERTY LICENSES


Exclusive Agreement           Eyetalk365, LLC (Langer)
U.S. Patent No.               7,429,924
U.S. Patent No.               7,477,134
U.S. Patent No.               8,193,919

License Agreement             EyeTalk365, LLC
U.S. Patent No.               8,139,098
U.S. Patent No.               7,193,644
U.S. Patent No.               8,144,183
U.S. Patent No.               8,144,184
U.S. Patent No.               8,164,614
U.S. Patent No.               9,432,638
U.S. Patent No.               9,414,030
U.S. Patent No.               9,485,478
U.S. Patent No.               9,516,284
U.S. Patent No.               9,635,323
U.S. Patent No.               9,706,178
U.S. Patent No.               9,648,290
U.S. Patent No.               9,554,090
U.S. Patent No.               7,429,924 (partial interest)
U.S. Patent No.               7,477,134 (partial interest)
U.S. Patent No.               8,193,919 (partial interest)
U.S. Patent Application No.   11/929,449
U.S. Patent Application No.   11/929,457
U.S. Patent Application No.   15/238,393
U.S. Patent Application No.   15/238,228
U.S. Patent Application No.   15/237,933
U.S. Patent Application No.   15/237,797
U.S. Patent Application No.   15/237,222

License Agreement             Duke Zinser (May 31,
                              2013)
U.S. Patent No.               7,583,191
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                                       SCHEDULE 3.11

                                         LITIGATION


  1. SkyBell v. Ring, Inc. and related counterclaims, US District Court for the Central of
     California, Southern Division, Case No. 8:18 cv – 00014-JVS-JDE, filed January 2018;
     Inter Partes Review of Patents at Issue in District Court litigation, filed by Ring Inc., with
     United States Patent and Trademark Office, December 7, 2018; SkyBell has sued Ring
     for infringing on 5 of SkyBell’s patents. Ring has challenged the validity of those patents
     in filings with the USPTO. The District Court case is stayed in the meantime.

Name                             Proceeding Number                  Court
Ring LLC et al v. SkyBell        IPR2019-00443                      Patent Trial and Appeal
Technologies, Inc.                                                  Board



Ring LLC et al v. SkyBell        IPR2019-00444                      Patent Trial and Appeal
Technologies, Inc.                                                  Board



Ring LLC et al v. SkyBell        IPR2019-00445                      Patent Trial and Appeal
Technologies, Inc.                                                  Board


Ring LLC et al v. SkyBell        IPR2019-00446                      Patent Trial and Appeal
Technologies, Inc.                                                  Board



Ring LLC et al v. SkyBell        IPR2019-00447                      Patent Trial and Appeal
Technologies, Inc.                                                  Board



SkyBell Technologies, Inc. v.    8-18-cv-00014-JVS-JDE              U.S. District Court, Central
Ring Inc.                                                           District of California
    Case 2:22-cv-00612-CDS-EJY Document 2-6 Filed 04/13/22 Page 236 of 309
                                  STOCK PURCHASE AGREEMENT

        This STOCK PURCHASE AGREEMENT (this “Agreement”), dated as of October ___, 2020 (the
“Effective Date”), is by and between H-Cap Investments LLC, a Utah limited liability company, SkyBell
series only (“Seller”), and [ ], a [       ] company (“Buyer”).

                                                 RECITAL

        WHEREAS, Buyer desires to purchase from Seller, and Seller desires to sell to Buyer, Three
Million Three Hundred Eighty-Nine Thousand Eight Hundred Thirty (3,389,830) shares of Series B
Preferred Stock of SkyBell Technologies, Inc. (“SkyBell”), par value $0.0001 (the “Shares”), on the date
hereof.

                                              AGREEMENT

        NOW, THEREFORE, in consideration of the mutual agreements contained herein and other good
and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, Seller and Buyer
agree as follows:

        1.        Purchase and Sale of Shares; Repurchase Rights. On the Effective Date, Seller shall sell
the Shares to Buyer for an aggregate purchase price of Three Million Sixteen Thousand Nine Hundred
Forty-Eight Dollars ($3,016,948) (the “Purchase Price”) and Buyer shall pay Seller the Purchase Price by
wire transfer of immediately available funds to the account designated on Exhibit A within one (1) business
day following the Effective Date by wire transfer of immediately available funds to an account designated
by Seller.

        2.      Closing; Delivery of Shares. Upon (a) receipt of the Purchase Price, and (b) Buyer’s
execution of and delivery to SkyBell of the “Statement of Accredited Investor,” attached hereto as Exhibit
B (the “Statement of Accredited Investor”), Seller will direct SkyBell to transfer the Shares on the stock
ledger and books and records of SkyBell into the name of Buyer.

         3.      Seller’s Representations and Warranties. Seller represents and warrants to Buyer that the
following representations are true as of the date of this Agreement. These representations and warranties
shall survive indefinitely:

                 (a)      The execution, delivery and performance of this Agreement by Seller have been
authorized by all requisite action of Seller and will not violate the governing documents of Seller. Seller is
not a party to any other agreement with any other party which would limit or impede the transfer of the
Shares.

                  (b)     Seller is a Utah limited liability company and has full power and authority to
execute, deliver and perform this Agreement. This Agreement, when executed and delivered by Seller, will
constitute valid and legally binding obligations of Seller, enforceable against it in accordance with their
respective terms except (a) as limited by applicable bankruptcy, insolvency, reorganization, moratorium,
fraudulent conveyance, or other laws of general application relating to or affecting the enforcement of
creditors’ rights generally, (b) as limited by laws relating to the availability of specific performance,
injunctive relief, or other equitable remedies, and (c) to the extent the indemnification provisions may be
limited by applicable federal or state securities laws.

                (c)      Seller owns the Shares free and clear of all liens and encumbrances of any kind.

        4.       Buyer’s Representations and Warranties. Buyer represents and warrants to Seller that the
following representations and warranties are true and complete as of the date of this Agreement. These
representations and warranties shall survive indefinitely.
                                                      1
    Case 2:22-cv-00612-CDS-EJY Document 2-6 Filed 04/13/22 Page 237 of 309
         (a)      The execution, delivery and performance of this Agreement by Buyer have been authorized
by all requisite action of Buyer and will not violate the governing documents of Buyer or any law, ordinance
or regulation or any order, judgment or decree of any court or any governmental authority, or conflict with,
result in a breach of or constitute a default under any agreement to which Buyer is a party or by which
Buyer or any of its properties or assets may be bound.

        (b)    Buyer is a [             ] duly organized, validly existing and in good standing under the
laws of the [            ] and has all requisite power and authority to carry on its business as presently
conducted and as proposed to be conducted.

         (c)      Buyer has full power and authority to execute, deliver and perform this Agreement. This
Agreement, when executed and delivered by Buyer, will constitute valid and legally binding obligations of
Buyer, enforceable against it in accordance with their respective terms except (a) as limited by applicable
bankruptcy, insolvency, reorganization, moratorium, fraudulent conveyance, or other laws of general
application relating to or affecting the enforcement of creditors’ rights generally, (b) as limited by laws
relating to the availability of specific performance, injunctive relief, or other equitable remedies, and (c) to
the extent the indemnification provisions may be limited by applicable federal or state securities laws.

         (d)      Buyer has requested and has been provided all information that it requires for purposes of
deciding whether to acquire the Shares (including the rights and preferences associated with shares of Series
B Preferred Stock of SkyBell and their rights and preferences compared to all other classes and series of
equity and debt issued by SkyBell) and has independently made a determination about the appropriateness
of the investment in SkyBell. The Buyer has had an opportunity to review the business, management,
offices, and financial affairs of SkyBell and its subsidiaries and affiliates. Buyer is familiar with SkyBell’s
business objectives and financial arrangements in connection therewith and believes the Shares that Buyer
is purchasing are the kind of securities that Buyer wishes to hold for investment and that the nature and
purchase price of the Shares are consistent with the Buyer’s investment program. Buyer acknowledges that
SkyBell’s governing documents grant broad discretion to the Board of Directors of SkyBell and that Buyer
is subject to the decisions made by the Board of Directors pursuant thereto. Buyer is aware of the substantial
risks associated with its investment in SkyBell and acknowledges that Buyer may lose its entire investment
in SkyBell. Except as set forth in this Agreement, Buyer is not relying upon any representation or warranty
of Seller and its subsidiaries or affiliates, or of any of officer, manager, employee or agent of the foregoing
for purposes of making its decision to acquire the Shares. However, this representation by Buyer does not
limit or modify the representations and warranties of the Seller in Section 3 of this Agreement or the right
of the Buyer to rely thereon.

         (e)     This Agreement is made with the Buyer in reliance upon the Buyer’s representation to the
Seller, which by the Buyer’s execution of this Agreement, the Buyer hereby confirms, that the Shares to be
acquired by the Buyer will be acquired for investment for the Buyer’s own account, not as a nominee or
agent, and not with a view to the resale or distribution of any part thereof, and that the Buyer has no present
intention of selling, granting any participation in, or otherwise distributing the same. By executing this
Agreement, the Buyer further represents that the Buyer does not presently have any contract, undertaking,
agreement or arrangement with any person to sell, transfer or grant participations to such person or to any
third person, with respect to any of the Shares. The Buyer has not been formed for the specific purpose of
acquiring the Shares.

         (f)     The Buyer understands that the Shares have not been, and will not be, registered under the
Securities Act, by reason of a specific exemption from the registration provisions of the Securities Act
which depends upon, among other things, the bona fide nature of the investment intent and the accuracy of
the Buyer’s representations as expressed herein. The Buyer understands that the Shares are “restricted
securities” under applicable U.S. federal and state securities laws and that, pursuant to these laws, the Buyer
must hold the Shares indefinitely unless they are registered with the Securities and Exchange Commission
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and qualified by state authorities, or an exemption from such registration and qualification requirements is
available. Buyer acknowledges that additional restrictions on the transfer of the Shares could be imposed
by the Board of Directors of SkyBell. The Buyer acknowledges that the Seller has no obligation to register
or qualify the Shares for resale. The Buyer further acknowledges that if an exemption from registration
limited to, the time and manner of sale, the holding period for the Shares, and on requirements relating to
the Seller which are outside of the Buyer’s control, and which the Seller is under no obligation and may not
be able to satisfy.

       (g)     The Buyer understands that no public market now exists for the Shares, and that the Seller
has made no assurances that a public market will ever exist for the Shares.

         (h)     The Buyer understands that the Shares and any securities issued in respect of or exchange
for the Shares, may bear one or all of the following legends:

        “THE SHARES REPRESENTED BY THIS CERTIFICATE HAVE NOT BEEN
        REGISTERED UNDER THE SECURITIES ACT OF 1933, AND HAVE BEEN
        ACQUIRED FOR INVESTMENT AND NOT WITH A VIEW TO, OR IN
        CONNECTION WITH, THE SALE OR DISTRIBUTION THEREOF. NO SUCH
        TRANSFER MAY BE EFFECTED WITHOUT AN EFFECTIVE REGISTRATION
        STATEMENT RELATED THERETO OR AN OPINION OF COUNSEL IN A FORM
        SATISFACTORY TO THE SELLER THAT SUCH REGISTRATION IS NOT
        REQUIRED UNDER THE SECURITIES ACT OF 1933.”

        Any legend required by the securities laws of any state to the extent such laws are applicable to the
Shares represented by the certificate so legended.

          (i)      The Buyer is an accredited investor as defined in Rule 501(a) of Regulation D promulgated
under the Securities Act and has executed and delivered to the SkyBell the Statement of Accredited Investor
attached hereto as Exhibit B. Such Buyer is an investor in securities of companies in the development stage
and acknowledges that such Buyer is able to fend for itself, can bear the economic risk of its investment for
an indefinite period of time, and has such knowledge and experience in financial or business matters that it
is capable of evaluating the merits and risks of the investment in the Shares. Buyer acknowledges that no
public market exists with respect to the Shares and no representation has been made to Buyer that such a
public market will exist at a future date and that it may not be possible to liquidate this investment readily,
if at all, in the case of an emergency or for any other reason. If other than an individual, such Buyer also
represents it has not been organized for the purpose of acquiring the Shares.

        (j)      The Shares have not been offered to the Buyer by any form of general solicitation or general
advertising, including, without limitation, (i) any advertisement, article, notice or other communication
published in any newspaper, magazine or similar media, or broadcast over television or radio, or (ii) any
seminar or meeting whose attendees (including the Buyer) have been invited by any general solicitation or
general advertising.

        The representations and warranties contained in this Section 4 shall survive indefinitely.

         5.      Mutual Indemnification. Seller agrees to indemnify, defend and hold harmless Buyer and
its agents, stockholders, officers, directors, affiliates, employees, insurers, successors, representatives,
attorneys and assigns, from and against any and all losses arising out of or due to a breach of any of its
representations, warranties or covenants contained in this Agreement. Buyer agrees to indemnify, defend
and hold harmless Seller and each of their respective agents, stockholders, officers, directors, affiliates,
employees, insurers, successors, representatives, attorneys and assigns, from and against any and all losses
arising out of or due to a breach of any of the representations, warranties or covenants of Buyer contained
in this Agreement.
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        6.      Remedies. If any party to this Agreement obtains judgment against any other party hereto
by reason of any breach of this Agreement or the failure of such other party to comply with the provisions
hereof, a reasonable attorney's fee as fixed by the court shall be included in such judgment. No remedy
conferred upon any party to this Agreement is intended to be exclusive of any other remedy herein or by
law provided or permitted, but each such remedy shall be cumulative and shall be in addition to every other
remedy given hereunder or now or hereafter existing at law or in equity or by statute.

         7.      Waiver. None of the terms of this Agreement shall be deemed to have been waived by any
party hereto, unless such waiver is in writing and signed by that party. The waiver by any party hereto of
a breach of any provision of this Agreement shall not operate or be construed as a waiver of any other
provision of this Agreement or of any further breach of the provision so waived or of any other provision
of this Agreement. No extension of time for the performance of any obligation or act hereunder shall be
deemed an extension of time for the performance of any other obligation or act. The waiver by any party
of any of the conditions precedent to its obligations under this Agreement shall not preclude it from seeking
redress for breach of this Agreement.

      8.    Choice of Law and Venue. THE VALIDITY OF THIS AGREEMENT, ITS
CONSTRUCTION, INTERPRETATION, AND ENFORCEMENT, AND THE RIGHTS OF SELLER
AND BUYER SHALL BE DETERMINED UNDER, GOVERNED BY, AND CONSTRUED IN
ACCORDANCE WITH THE INTERNAL LAWS OF THE STATE OF UTAH, WITHOUT REGARD TO
CONFLICTS OF LAW RULES OF ANY JURISDICTION. TO THE MAXIMUM EXTENT
PERMITTED BY LAW, SELLER AND BUYER AGREE THAT ALL ACTIONS OR PROCEEDINGS
ARISING IN CONNECTION WITH THIS AGREEMENT SHALL BE TRIED AND DETERMINED
ONLY IN THE STATE AND FEDERAL COURTS LOCATED IN UTAH.

      9.    Waiver of Jury Trial. TO THE MAXIMUM EXTENT PERMITTED BY LAW, BUYER
AND SELLER EXPRESSLY WAIVE ANY RIGHT TO TRIAL BY JURY FOR ANY ACTION, CAUSE
OF ACTION, CLAIM, DEMAND OR PROCEEDING ARISING UNDER OR RELATING TO THIS
AGREEMENT, OR IN ANY WAY CONNECTED WITH, RELATED TO OR INCIDENTAL TO THE
DEALINGS OF BUYER AND SELLER WITH RESPECT TO THIS AGREEMENT OR THE
TRANSACTIONS RELATED TO THIS AGREEMENT, IN EACH CASE WHETHER NOW EXISTING
OR HEREAFTER ARISING, AND WHETHER SOUNDING IN CONTRACT, TORT, OR
OTHERWISE. TO THE MAXIMUM EXTENT PERMITTED BY LAW, BUYER AND SELLER
AGREE THAT ANY SUCH ACTION, CAUSE OF ACTION, CLAIM, DEMAND OR PROCEEDING
SHALL BE DECIDED BY A COURT TRIAL WITHOUT A JURY AND THAT EACH PARTY TO THIS
AGREEMENT MAY FILE AN ORIGINAL COUNTERPART OF THIS SECTION WITH ANY COURT
OR OTHER TRIBUNAL AS WRITTEN EVIDENCE OF THE CONSENT OF THE OTHER PARTY TO
THE WAIVER OF SUCH PARTY’S RIGHT TO TRIAL BY JURY.

         10.     Entire Agreement. This Agreement constitutes the sole and entire agreement of the parties
with respect to the subject matter hereof and supersedes all prior agreements or understandings with respect
to its subject matter.

        11.      Amendment. This Agreement may not be amended, modified or changed in any respect
except in writing duly signed by Seller and Buyer.

         12.     Assignment and Succession; Benefit. This Agreement may not be assigned by either party
without the prior written consent of the other party, but is binding upon and inures to the benefit of the
parties and their respective successors and assigns.

         13.       Severability. The invalidity or unenforceability of any particular provision of this
Agreement will not affect the other provisions of the Agreement, and this Agreement will be construed in
all respects as if those invalid or unenforceable provisions were omitted.
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        14.     Review by Professionals. Each party has had the opportunity to seek advice from such
party’s own business, financial, tax, legal and other relevant advisors as to the contents of this Agreement
and the advisability of entering into it.

         15.    Headings. The section headings contained in this Agreement are for convenience only and
are not intended to define or limit the contents of those sections.

        16.      Counterparts. This Agreement may be executed in any number of counterparts, each of
which shall be effective only upon delivery and thereafter shall be deemed to be an original, and all of
which shall be taken to be one and the same instrument with the same effect as if each of the parties hereto
had signed the same signature page. Any signature page of this Agreement may be detached from any
counterpart of this Agreement without impairing the legal effect of any signature thereon and may be
attached to another counterpart of this Agreement identical in form hereto and having attached to it one or
more additional signature pages. Facsimile signature pages and PDF signature pages transmitted by e-mail
shall have the same effect as original signature pages for all purposes.

                   (remainder of page intentionally left blank; signature page follows)
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                    SIGNATURE PAGE TO STOCK PURCHASE AGREEMENT

         IN WITNESS WHEREOF, the parties have executed this Agreement as of the date first written
above.


                                                 H-CAP INVESTMENTS LLC (“SELLER”)
                                                 SkyBell series only



                                                 By:
                                                 Name:
                                                 Title:




                                                 [          ] (“BUYER”)



                                                 By:
                                                 Name: [           ]
                                                 Title: [          ]




                                                 6
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                                      EXHIBIT A


                     Wire Instructions for payment of Purchase Price:

Amount of Wire: $3,016,948

Bank Name:
Address:
ABA No.:
Account No:
Account Name:
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                                            EXHIBIT B

                        STATEMENT OF ACCREDITED INVESTOR


To: SkyBell Technologies, Inc. (the “Company”)

Ladies and Gentlemen:

        The undersigned hereby refers to that certain Stock Purchase Agreement executed and by
and between H-Cap Investments LLC and the undersigned as of the date hereof. In connection
with the purchase thereunder by the undersigned to purchase securities of the Company, the
undersigned hereby represents and warrants that such individual or entity meets at least one of
the tests listed below for an "accredited investor" (as such term is defined under Regulation D
promulgated pursuant to the Securities Act of 1933, as amended).

        "Accredited Investors" are accorded special status under the federal securities laws.
Individuals who hold certain positions with an issuer or its affiliates, or who have certain
minimum individual income or certain minimum net worth (each as described below) may
qualify as Accredited Investors. Partnerships, corporations or other entities may qualify as
Accredited Investors if they fulfill certain financial and other standards, or if all of their equity
owners have incomes and/or net worth which qualify them individually as Accredited Investors,
and trusts may qualify as Accredited Investors if they meet certain financial and other tests (as
described below).

        You may qualify as an Accredited Investor under Regulation D promulgated under the
Securities Act of 1933 (the "1933 Act") if you meet any of the following tests (please check all
that apply):

       The undersigned is an individual who is a director or executive officer of the
       Company. An “executive officer” is the president, a vice president in charge of a
       principal business unit, division or function (such as sales, administration or finance), any
       other officer who performs a policy making function or any other person who performs
       similar policy making functions for the Company.

       The undersigned is an individual that (1) had individual income of more than
       $200,000 in each of the two most recent fiscal years and reasonably expects to have
       individual income in excess of $200,000 in the current year, or (2) had joint income
       together with the undersigned’s spouse in excess of $300,000 in each of the two most
       recent fiscal years and reasonably expects to have joint income in excess of $300,000
       in the current year. “Income” means adjusted gross income, as reported for federal
       income tax purposes, increased by the following amounts: (i) any tax exempt interest
       income under Section 103 of the Internal Revenue Code (the “Code”) received, (ii) any
       losses claimed as a limited partner in a limited partnership as reported on Schedule E of
       Form 1040, (iii) any deduction claimed for depletion under Section 611 of the Code or
       (iv) any amount by which income has been reduced in arriving at adjusted gross income
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       pursuant to the provisions of Section 1202 of the Code. In determining personal income,
       however, unrealized capital gains should not be included.

       The undersigned is an individual with individual net worth, or combined net worth
       together with the undersigned’s spouse, in excess of $1,000,000. “Net worth” means
       the excess of total assets at fair market value, excluding the value of a primary residence,
       over total liabilities.

       The undersigned is a Trust with total assets in excess of $5,000,000, was not formed
       for the specific purpose of acquiring securities of the Company, and the purchase of the
       securities is directed by a person with such knowledge and experience in financial and
       business matters that he is capable of evaluating the risks and merits of the prospective
       investment in such securities.

       The undersigned is a corporation, partnership, limited liability company or limited
       liability partnership that has total assets in excess of $5,000,000 and was not formed
       for the specific purpose of acquiring securities of the Company.

       The undersigned is an entity in which all of its equity owners are “accredited
       investors”.


Dated: [          ]


                                                     Very truly yours,

                                                     [           ]


                                                     By:
                                                     Name: [               ]
                                                     Title: [          ]
5:26 PM                              SkyBell Technologies, Inc. 04/13/22 Page 245 of 309
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Accrual Basis                            Balance Sheet
                                                     As of December 31, 2020

                                                            Dec 31, 20
ASSETS
   Current Assets
       Checking/Savings
            10000 · Cash and equivalents                     231,495.63
       Total Checking/Savings                                231,495.63
       Accounts Receivable
            11000 · Accounts Receivable                    14,108,637.11
       Total Accounts Receivable                           14,108,637.11
       Other Current Assets
            Other Current Assets                            4,170,150.46
            10900 · Undeposited Funds                             20.01
            12000 · Inventory                                421,266.43
            13000 · Prepaid Expenses                       17,908,351.92
       Total Other Current Assets                          22,499,788.82
   Total Current Assets                                    36,839,921.56
   Other Assets
       Long-Term Assets                                    22,312,502.44
   Total Other Assets                                      22,312,502.44
TOTAL ASSETS                                               59,152,424.00
LIABILITIES & EQUITY
   Liabilities
       Current Liabilities
            Accounts Payable
                 20000 · Accounts Payable                   5,218,783.98
            Total Accounts Payable                          5,218,783.98
            Credit Cards
                 21000 · Credit Cards Payable                 16,698.24
            Total Credit Cards                                16,698.24
            Other Current Liabilities
                 22125 · Accrued Wages (PTO)                 222,346.67
                 23000 · Deferred Compensation               741,947.27
                 23100 · Other Current Liabilities         13,545,069.86
                 23200 · American Express Settlement                0.00
                 24000 · Notes Payable - Current            8,000,000.00
            Total Other Current Liabilities                22,509,363.80
       Total Current Liabilities                           27,744,846.02
       Long Term Liabilities
            24985 · Lynx Holdings I, LLC                    7,363,237.83
            25000 · Star Mtn Diversified Credit            39,625,000.00
            27000 · Other Long-Term Liabilities             2,281,669.49
       Total Long Term Liabilities                         49,269,907.32
   Total Liabilities                                       77,014,753.34
   Equity
       30500 · Preferred Stock                             57,514,297.28
       32000 · Common Stock                                 9,464,762.69
       34000 · Retained Earnings                          -84,084,599.86
       34050 · Retained Earnings Adjustment                         0.00
       Net Income                                            -756,789.45
   Total Equity                                           -17,862,329.34
TOTAL LIABILITIES & EQUITY                                 59,152,424.00




                                                                                       Page 1 of 1
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                 Exhibit 14
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                 Exhibit 15
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  From: Jason Jongeward <jason.jcd@gmail.com>
  Date: November 5, 2021 at 4:25:01 PM PDT
  To: undisclosed-recipients:;
  Subject: Spacestation Mining - investment opportunity



  Fellow Investors,

  I would like to present the Spacestation Mining Deck. This is a big deal and I
  wanted to share it with our group. This is the utilization of landfill bio gas to
  generate green inexpensive power for bitcoin mining. This deck just came to me.
  I wanted to get this out to our investor base so each of you had a chance. Those
  who are interested need to get back to me by this weekend as the window is
  closing next week. This is their first raise and will potentially do a second raise in
  the near future as well. Take a look. Jason Jongeward


  https://docsend.com/view/r4r2eazejit5n7v9


    
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                 Exhibit 16
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  From: Marshall Gibbs                      >
  Date: February 18, 2022 at 8:07:43 AM PST
  To: Unknown                           >
  Subject: Fwd: Deck/ Pics




  Best Regards,
  Marshall Gibbs, DDS

  Begin forwarded message:


       From: Jason Jongeward <jason.jcd@gmail.com>
       Date: January 14, 2022 at 7:15:36 PM PST
       To: undisclosed-recipients:;
       Subject: Fwd: Fw: Deck/ Pics




       Hello Everyone,

       I wanted to share this invesment opportunity with you. You are receiving this as you have
       been interested in or are already invested in the legal contract investment. I received this
       Investment deck from Shane Jager today. He is really excited for this company and it's
       potential, so much so that he has joined the group. You will see him in the deck. I am
       sharing this with you as it has an opportunty to get in on the ground floor as this
       company gets ready to take off. We are looking to raise 2 mil by next Friday and see
       another investment window by the last week of February or march 1. Please see the
       attached email and deck from Shane. Take a look and let me know if you are interested.
       Have a great weekend.

        Jason Jongeward

       ---
       I'm forwarding the Eco battery Deck to you, see it attached below as well as cash flow
       analysis for PO's and fulfillment. I've decided to partner up with them and am infusing
       the business with 4.5mill personally. They have a better mousetrap then the few others
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      out there. The common golf cart lead acid battery set up weighs anywhere from 480-600
      lbs depending on the batteries. Eco batteries "1" battery takes the place of all 6 lead acid
      and weighs in only at 68lbs or 94lbs depending on the battery size plus provides better
      consistent power, smart tech, charges in 4-5hrs where lead acid is 10-12 hours and
      really no maintenance w/ lithium vs the acid. Most acid batteries last 2-4 years before
      needing replacing and eco's battery will go 3500 life cycles which for traditional use will
      be 10-14 years before replacing.

      I see this as a amazing opportunity and believe this company is well positioned and has
      the runway to see a multi billion dollar exit when all aspects of their business are firing.
      The goal is a 3-5 year play then look to get acquired. They have patents and IP to take
      over and be a big player in the industry. Their batteries along with solar panels can
      power most auxiliaries for anything from Rv's, Marine (house boats/yachts) Housing etc.
      The golf carts are not used in conjunction with solar. They have retrofitted
      RV's/Houseboats and soon residential housing and these other areas will be other
      income generating opportunities for the company. They expect to do 75 mill in revenue in
      2022 and the company and team is top notch and based in St. George Utah. The Ceo
      had a previous 40mill exit on his last company. They did nearly 5mill in revenue in 2021
      and only just started selling in March also have already developed some big
      relationships already with the worlds top golf cart Oem's.

      They need 20-30 million pretty quickly to lock in discounted rates w/the manufacturers
      and fulfill Po demands. They are open to exchange equity for investment capital and or
      looking for lines of credit & will pay 8% on those lines for those that want to diversify and
      additionally offer some equity in conjunction with the LOC. Also The founder is the
      majority share holder and will sell some of his equity for the right investor(s). Let me
      know if you are interested and I can connect you on a call with the team to answer any
      further questions.

      Shane

      ------

      *The vid below shows what their cart can do and you can control speed, regenerative
      breaking from an app on your smart phone etc. If the kids are driving you can set a
      governor on the app to restrict faster speeds on the cart. They have been working on a
      bluetooth connection feature that will be a game changer theres already over 100 units
      sold and being used currently. By March 1st all units will be Bluetooth controlled. Enjoy




      --
      Noah Schone
      CRO
      (435) 879-3116
      www.EcoBattery.com




      --

        
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  <EB- Pitch Deck (1).pdf>

  <cm-chat-media-video-e79maRNclUMXY9SyS5nUW.mov>

  <Cash Flow in detail - Sheet1.pdf>
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                 Exhibit 17
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       From: Jason Jongeward <jason.jcd@gmail.com>
       Date: January 27, 2022 at 11:51:37 PM PST
       To: undisclosed-recipients:;
       Subject: Fwd: Eco Battery Updates




       Fellow investors,
               A quick update on the Eco Battery. I was able to visit Eco
       Battery headquarters in St George, Utah yesterday. I went with one of
       our fellow investors and met with Casey Shirts and Noah Schone.
       They were able to give us a tour of the facility, share with us exactly
       what they do, and bring us up to speed on the opportunities that lie
       ahead for them in the battery Industry. I was impressed with the
       savvy mindset of Casey and Noah as they explained the current
       market environment and their plans to capture a large portion of
       the market with their unique battery design and unmatched battery
       performance. We discussed what sets them apart from their
       competitors and how they are capturing the largest OEM's in the US. I
       asked Noah to give me some updated information with OEM's and
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       market adjustments since the investment deck was created. ( See
       Below). We also discussed their supply chains and processes in place
       to acquire overseas components to fill currents demand for their
       goods. After speaking with them today, we will see a forecasted 2022
       balance Sheet and P/ L to explain more about their
       expected performance and growth trajectory this coming week. I see
       incredible growth for Eco Battery right away and do not want to
       miss this opportunity to invest in a company that is exploding.

        As we have discussed in previous emails, the real win for us as
       investors is to reach 5 million, or more, and gain a % of equity in the
       company. That multiple has a 4x-8x potential. I am wanting to get an
       idea of those who are interested in investing within our group. We
       have been given a lengthened 90 day period to gather our capital.
       Feel free to call me to go over any questions you may have. I would
       like to get an idea by Sunday of those interested. Another potential
       investment window may be available if Icon and other OEM's come
       on board. I look forward to discussing with you.


       Jason Jongeward

       509-768-4990



       Jason,

       Thanks for taking the time to meet with us today. We are
       excited about the opportunity to have your group be a part of
       Eco Battery. We know that with the right funding and timing, we
       can really kick start the growth of our company. Hopefully you
       now have a better understanding of the company needs, and
       why urgent funding is vital to our growth.

       The lithium supply chain has evolved incredibly in the last 90
       days, and has unexpectedly caused turmoil to our cash flow.
       The good news is that if we can secure funds, we will be well
       positioned to greatly increase both our market share and profit
       margins. Many of our smaller competitors will not be able to
       keep up with the cash demand and may have to drop out of the
       market entirely.

       Most of the information on the deck is up to date. Here are a
       few updates that may not be on there.

       We are opening a 24k Sq ft facility strictly for fulfillment in West
       Columbia, South Carolina. We will have this up and running
       by March 1st with a warehouse manager and 3 shipping hands.
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       This location will greatly reduce customer delivery times, as
       75% of our current customers are within 500 miles of this
       facility. This location also gives us great access to the Port of
       Charleston, which will help combat the major delays we are
       currently experiencing at the Port of LA/Long Beach.

       We are moving our current headquarters into a larger facility in
       southern Utah, which will allow us to keep more inventory on
       hand and make the necessary hires.

       We currently have over 260 registered Dealers that purchase
       batteries from us. We also have a contact list with name, email,
       address, and phone number of 4000+ dealers that we will
       market to as inventory becomes available. We believe we will
       have 700+ dealers collectively purchasing 5000+ batteries per
       month by the end of 2022.

       Sales in 2021 was just shy of 5 million, with sales only
       beginning in late March. With the right capital, we forecast
       $75M in revenue in 2022 (golf cart batteries alone). We
       currently have around $6M in backorders and have over $5M in
       paid for inventory either at the port or on the water.

       The goal of the company is to ramp up and take as much
       market share as possible in the next 4-5 years, then look to get
       acquired for a healthy multiple. To get to the exit goal, we will
       need to venture into other lithium battery markets, including RV,
       marine, and residential solar storage.


       OEM Golf Cart Manufacturers
       Over the past year, we have developed many key relationships
       with several of the world’s top golf cart OEM's. Currently, we
       are the exclusive lithium battery supplier to 4 out of the 17 US
       golf cart manufacturers. We have verbal commitments from 2
       more and are currently in negotiations with 1 other. All but 1 of
       these manufacturers reached out to us first.

       Currently Selling:
             ·                     ROYAL EV https://www.royal-ev.com/ 1500 carts
             per month. Currently buying 300-400 batteries. They
             have verbally committed to double their orders in the
             next 6 months
             ·                     VIVID EV https://vivid-ev.com/ 50-200 carts per
             month. Currently buying 50 batteries per month, and
             have sent PO’s increasing to 200 per month by June
             ·                     Renegade EV https://tidewatercarts.com/ 50-100
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               carts per month. Currently buying 40-50 batteries per
               month. Potential to double sales this year.
               ·                     Kodiak EV https://drivekodiak.com/ 90-100 carts
               per month. Currently buying 50-100 batteries per month.
               Potential to double sales this year.

       Verbally Committed:
             ·                     MOKE of
             America https://mokeamerica.com/ 250+ carts per
             month. Currently not buying lithium batteries. We are
             designing a new battery specifically for their cart, and
             they have committed to installing a lithium battery in
             every cart.
             ·                     Pilot Car https://pilotcarev.com/ 75-100 carts per
             month, increasing to 250+ per month by year end. They
             are waiting for our new battery design to arrive and will
             begin buying batteries for about half of their carts sold.

       In Negotiations:
       ICON https://iconev.com/ 4000+ carts per month, increasing to
       8,000 carts per month by year end. ICON ownership directly
       contacted Eco Battery and asked us to design a battery
       specifically for their cart. They have tried several other
       companies’ lithium batteries, but so far have not been satisfied
       with the design or performance. This is a great opportunity for
       long term stable sales.

       Residential Solar Storage
       This has the potential to be 5X-10X the revenue of the golf cart
       industry. Our plans are to leverage our current component
       suppliers and offer a complete solar package to the residential
       user. With most western lakes at all-time lows, and the
       population increasing at record paces, the threat of energy
       shortages and rolling blackouts are real. Having the peace of
       mind knowing that your house will continue to function in the
       event of a blackout is priceless. We feel we can penetrate this
       market heavily by early to mid 2023.


       RV/Marine
       We currently own RV Solar & Battery, LLC and the
       corresponding website, www.rvsolarandbattery.com. Our plan
       is to market batteries heavily to RV and marine customers
       under this brand name. With the RV, van life, and camping
       craze currently at its peak, we feel there is as huge potential for
       Eco Battery in the RV space. We plan to utilize our unique
       distributorship position with Victron
       Energy https://www.victronenergy.com/ to market a complete
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       solar package utilizing our batteries.

       Thanks again for your consideration in joining us at Eco
       Battery, we look forward to hearing from you very soon. Let us
       know if there is any other information you need.

       Thank you




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                 Exhibit 18
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  From: Jason Jongeward <jason.jcd@gmail.com>
  Date: February 24, 2022 at 2:23:37 PM PST
  To: Jason Jongeward <jason.jcd@gmail.com>
  Subject: JL2 Investment Group, llc- Eco Battery ( 2nd Agreement). Wire
  instructions




  Hello JL2 Investment Group Partners,

  I have sent you the partnership agreement via docusign. I am awaiting the 2nd
  agreement from the Eco Attorney. I will send that out for your review. I anticipate
  it will be very similar to the first agreement. They will become part of the
  partnership agreement and will be sent to you for your approval.
  You may wire your capital contribution to the JL2 inv group/eco account today or
  tomorrow. I will be wiring this capital on Monday, Feb 28th, 2022, at 12 noon,
  once each of you approve the documents.   

  Please wire funds to:

  Jason Jongeward -Eco Battery
  6311 Crest view Lane
  Cheney WA, 99004
  Acct #        33 14

  Wells Fargo Bank
  420 Montgomery Ave
  San Francisco, CA 94104
  RT # 121 000 248

  Please review the partnership agreement to ensure the investment amounts are
  correct and coordinate with your wire amounts. LMK if you have any questions
  or concerns.
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  Sincerely,

  Jason Jongeward
  --

    
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                 Exhibit 19
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Redacted




    DISCLAIMER OF TAX ADVICE: Any discussion contained herein cannot be
    considered to be tax advice. Actual tax advice would require a detailed and
    careful analysis of the facts and applicable law, which we expect would be time
    consuming and costly. We have not made and have not been asked to make that
    type of analysis in connection with any advice given in this e-mail. As a result,
    we are required to advise you that any Federal, state, or local tax advice
    rendered in this e-mail is not intended or written to be used and cannot be used
    for the purpose of avoiding penalties that may be imposed by the IRS or state
    and local taxing authorities. In the event you would like us to perform the type
    of analysis that is necessary for us to provide an opinion, that does not require
    the above disclaimer, as always, please feel free to contact us.
    =====================================================================================
    ================
    This electronic mail message and any attachments may contain confidential or
    privileged
    information and is intended for use solely by the above-referenced recipient. Any
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      Redacted




         DISCLAIMER OF TAX ADVICE: Any discussion contained herein
         cannot be considered to be tax advice. Actual tax advice would
         require a detailed and careful analysis of the facts and applicable
         law, which we expect would be time consuming and costly. We
         have not made and have not been asked to make that type of
         analysis in connection with any advice given in this e-mail. As a
         result, we are required to advise you that any Federal, state, or
         local tax advice rendered in this e-mail is not intended or written to
         be used and cannot be used for the purpose of avoiding penalties
         that may be imposed by the IRS or state and local taxing
         authorities. In the event you would like us to perform the type of
         analysis that is necessary for us to provide an opinion, that does
         not require the above disclaimer, as always, please feel free to
         contact us.
         ========================================================================
         =============================
         This electronic mail message and any attachments may contain
         confidential or privileged
         information and is intended for use solely by the above-referenced
         recipient. Any review,
         copying, printing, disclosure, distribution, or other use by any other
         person or entity is
         strictly prohibited under applicable law. If you are not the named
         recipient, or believe
         you have received this message in error, please immediately notify the
         sender by replying
         to this message and delete the copy you received.
         ========================================================================
         =============================




         From: Jason Jongeward <jason.jcd@gmail.com>
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        Redacted




              DISCLAIMER OF TAX ADVICE: Any discussion
              contained herein cannot be considered to be tax
              advice. Actual tax advice would require a detailed and
              careful analysis of the facts and applicable law, which
              we expect would be time consuming and costly. We
              have not made and have not been asked to make that
              type of analysis in connection with any advice given in
              this e-mail. As a result, we are required to advise you
              that any Federal, state, or local tax advice rendered in
              this e-mail is not intended or written to be used and
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              cannot be used for the purpose of avoiding penalties
              that may be imposed by the IRS or state and local
              taxing authorities. In the event you would like us to
              perform the type of analysis that is necessary for us to
              provide an opinion, that does not require the above
              disclaimer, as always, please feel free to contact us.
              ===========================================================
              ==========================================
              This electronic mail message and any attachments may
              contain confidential or privileged
              information and is intended for use solely by the above-
              referenced recipient. Any review,
              copying, printing, disclosure, distribution, or other use
              by any other person or entity is
              strictly prohibited under applicable law. If you are not
              the named recipient, or believe
              you have received this message in error, please immediately
              notify the sender by replying
              to this message and delete the copy you received.
              ===========================================================
              ==========================================




              From: Jason Jongeward <jason.jcd@gmail.com>
              Sent: Thursday, February 24, 2022 2:23 PM
              To: Jason Jongeward <jason.jcd@gmail.com>
              Subject: JL2 Investment Group, llc- Eco Battery ( 2nd
              Agreement). Wire instructions




              Hello JL2 Investment Group Partners,



              I have sent you the partnership agreement via
              docusign. I am awaiting the 2nd agreement from the
              Eco Attorney. I will send that out for your review. I
              anticipate it will be very similar to the first agreement.
              They will become part of the partnership agreement
              and will be sent to you for your approval.

              You may wire your capital contribution to the JL2
              inv group/eco account today or tomorrow. I will be
              wiring this capital on Monday, Feb 28th, 2022, at 12
              noon, once each of you approve the documents.   



              Please wire funds to:



              Jason Jongeward -Eco Battery
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              6311 Crest view Lane

              Cheney WA, 99004

              Acct #        33 14



              Wells Fargo Bank

              420 Montgomery Ave

              San Francisco, CA 94104

              RT # 121 000 248



              Please review the partnership agreement to ensure the
              investment amounts are correct and coordinate with
              your wire amounts. LMK if you have any questions or
              concerns.



              Sincerely,



              Jason Jongeward

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                 Exhibit 20
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  From: Jason Jongeward <jason.jcd@gmail.com>
  Date: March 3, 2022 at 9:36:36 AM PST
  To: undisclosed-recipients:;
  Subject: JL2 Investment Group- Eco Battery Investment 2nd Raise



  Hello Fellow Eco Battery Investors,

  Please see the attached partnership agreement with wiring instructions for the Eco
  Battery 2nd raise. Please review the document to make sure your information and
  contribution amount is correct. I am awaiting the executed promissory note and
  loan agreement from Eco Battery for the 2nd raise and will send these with the
  JL2 partnership agreement via docusign once received.

  I expect to see the executed documents sometime today. It is anticipated that each
  investor will wire their contributions to the JL2 Investment Group- Eco Battery
  account by Friday March 4th. If you would like to wire funds today, be assured
  that no contributions will be wired to Eco without signed documents from each
  investor. I will make a single wire to Eco Battery on Monday.

  Let me know if you have any questions.

  Thanks,
  Jason
    
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                                    JL2 Investment Group, LLC
                                PARTNERSHIP/ TERM AGREEMENT

  THIS PARTNERSHIP AGREEMENT (the "Agreement") made and entered into this 11th day of
  February, 2022 (the "Execution Date"),

AMONGST:
                             First Raise Contributors: February 15, 2022

                     JL2 Investments, LLC of 3084 Regal Ct, Washington, UT 84780

                      TJI, LLC of 6805 S W Terrace Dr, Cheney, WA 99004

                       ME14, LLC of 3104 S Park Ln, Spokane, WA 99212,

                       Bam Investments, LLC of 6408 Crestview Ln, Cheney, WA 99004

                          CorpInvest, LLC of Ruby Way, Nine Mile Falls, WA 99026

                         Twelve 27 Inc of 822 N Swing St, Liberty Lake, WA 99019

                        Ricardo Ramirez 321 243 Ave SE, Sammamish, WA 98074

                               Second Raise Contributors: March 2, 2022

                      TJI, LLC of 6805 S W Terrace Dr, Cheney, WA 99004

                       Roundy Taxidermy of 950 S 175 W, Glendale, UT 84729

            MCMH Investments, LLC of 1715 Saint Charles Rd, Spokane Valley, WA 99037

           Crestview Capital, LLC of 6314 Crestview Ln, Cheney, WA 99004

                      Mountain West IRA, INC FBO Thomas Robinson IRA-Member
                               13905 W Waynewright Dr, Boise, ID 83713

                     Ryan Love of 2437 E Glenn Ct, Spokane, WA 99223

                 WE Capital Investments, LLC of 924 N Wright Blvd, Liberty Lake, WA 99019

                   PWHE INC. of 5118 S Linke Rd, Greenacres, WA 99016

                    QIC Investments, LLC of 18712 E 4th Ave, Spokane Valley, WA 99016

                   Michael Buck of 1682 Summit Park Lane, Creston, IA 50801



                                                                                            1
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                        (individually the "Partner" and collectively the "Partners").

BACKGROUND:

    A. The Partners wish to associate themselves as partners in business.

    B. This Agreement sets out the terms and conditions that govern the Partners within the Partnership.

IN CONSIDERATION OF and as a condition of the Partners entering into this Agreement and other
valuable consideration, the receipt and sufficiency of which consideration is acknowledged, the parties to
this Agreement agree as follows:

       Formation

    1. By this Agreement the Partners enter into a general partnership (the "Partnership") in accordance
       with the laws of The State of Utah. The rights and obligations of the Partners will be as stated in
       the applicable legislation of The State of Utah (the 'Act') except as otherwise provided in this
       Agreement.

       Name

    2. The firm name of the Partnership will be: JL2 Investment Group, LLC.

       Purpose

    3. The purpose of the Partnership will be: Investments.

       Term

    4. The Partnership will begin on February 10th, 2022 and will continue until terminated as provided
       in this Agreement.




                                                                                                             2
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        Place of Business

     5. The principal office of the business of the Partnership will be located at 3084 Regal Ct,
        Washington, UT 84780, USA or such other place as the Partners may from time to time
        designate.

        Initial Capital Contributions

     6. Each of the Partners has contributed or will contribute to the capital of the Partnership, in cash or
        property or in non-monetary contributions in agreed upon value, as follows (the “Initial Capital
        Contribution"):


             Partner                     Contribution Description                     Agreed Value

1st Raise

JL2 Investments, LLC                  Cash: $1,400,000.00                   Cash: $1,400,000.00

ME14, LLC                             Cash: $1,000,000.00                   Cash: $1,000,000.00

TJI, LLC                              Cash: $100,000.00                     Cash: $100,000.00

BAM Investments, LLC                  Cash: $50,000.00                      Cash: $50,000.00

Corp Invest, LLC                      Cash: $100,000.00                     Cash: $100,000.00

Twelve 27 Inc                         Cash: $100,000.00                     Cash: $100,000.00

Ricardo Ramirez                       Cash: $200,000.00                     Cash: $200,000.00

2nd Raise

Crestview Capital, LLC                Cash: $200,000.00                     Cash: $200,000.00

TJI, LLC                              Cash: $100,000.00                     Cash: $100,000.00

Roundy Taxidermy                      Cash: $100,000.00                     Cash: $100,000.00

MCMH Inv. LLC                         Cash: $50,000.00                      Cash: $50,000.00

Ryan Love                             Cash: $400,000.00                     Cash: $400,000.00

Mountain West IRA, INC FBO            Cash: $100,000.00                     Cash: $100,000.00

WE Captial INV, LLC                   Cash: $200,000.00                     Cash: $200,000.00


                                                                                                                3
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QIC INV. LLC                Cash: $100,000.00           Cash: $100,000.00

Michael Buck                Cash: $100,000.00           Cash: $100,000.00

PWHE INC                    Cash: $100,000.00           Cash: $100,000.00




FUTURE INVESTORS




                                                                                4
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 7. All Partners must contribute their respective Initial Capital Contributions fully by
    February 15, 2022.

    Additional Capital

  8. The capital contribution of a Partner comprises that Partner’s Initial Capital
     Contribution and any additional capital contribution (the “Additional Capital
     Contribution”) made by that Partner to the Partnership at a later date (together the
     “Capital Contribution”). No Partner will berequired to make an Additional Capital
    Contribution. When the Partnership requires additional capital, each Partner will have
    the opportunity to make an Additional Capital Contribution in proportion to that
    Partner’s share of the total Capital Contributions to the Partnership. If an individual
    Partner is unwilling or unable to meet the additional contribution requirement within a
    reasonable period, as required by Partnership business obligations, then by a unanimous
    vote of the Partners the remaining Partners may contribute in proportion totheir existing
    Capital Contributions to resolve the amount in default.

  9. Any advance of money to the Partnership by any Partner in excess of the amounts
    provided for in this Agreement or subsequently agreed to as Additional Capital
    Contribution will be deemed a debt owed by the Partnership and not an increase in
    Capital Contribution of the Partner. This liability will be repaid with interest at rates and
    times to be determined by a majority of the Partners within the limits of what is required
    or permitted in the Act. This liabilitywill not entitle the lending Partner to anyincreased
    share of the Partnership's profits nor to a greater voting power. Such debts may have
    preference or priority over any other payments to Partners as may be determined by a
    majority of the Partners.

    Withdrawal of Capital

10. No Partner will withdraw any portion of their Capital Contribution without the
    express writtenconsent of the remaining Partners.

    Capital Accounts

11. An individual capital account (the "Capital Accounts") will be maintained for each




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         Partner and their Initial Capital Contribution will be credited to this account. Any
         Additional Capital Contributions made by any Partner will be credited to that
         Partner's individual Capital Account.

         Interest on Capital

     12. No borrowing charge or loan interest will be due or payable to any Partner on their
         agreed CapitalContribution inclusive of any agreed Additional Capital Contributions.

    Financial Decisions


13. Decisions regarding the distribution of profits, allocation of losses, and the requirement for
    Additional Capital Contributions as well as all other financial matters will be decided by a
    unanimous vote of the Partners.

    Profit and Loss

14. Subject to the other provisions of this Agreement, the net profits and losses of the Partnership, for
    both accounting and tax purposes, will accrue to and be borne by the Partners in proportion to the
    Partner's Capital Contributions inclusive of any Additional Capital Contributions (the "Profit and
    Loss Contribution").

    Compensation for Services Rendered

15. Partners may be compensated for services actually rendered as from time to time may be agreed
    by unanimous consent of the Partners.

    Books of Account

16. Accurate and complete books of account of the transactions of the Partnership will be kept in
    accordance with generally accepted accounting principles (GAAP) and at all reasonable times
    will be available and open to inspection and examination by any Partner. The books and records
    of the Partnership will reflect all the Partnership’s transactions and will be appropriate and
    adequate for the business conducted by the Partnership.

    Annual Report

17. As soon as practicable after the close of each fiscal year, the Partnership will furnish to each
    Partner an annual report showing a full and complete account of the condition of the Partnership.
    This report will consist of at least the following documents:
               a. a statement of all information as will be necessary for the preparation of each
                                                                                                            6
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               b. Partner's income or other tax returns;

               c. a copy of the Partnership's federal income tax returns for that fiscal year;

               d. a balance sheet; and

               e. any additional information that the Partners may require.

    Banking and Partnership Funds

18. The funds of the Partnership will be placed in such investments and banking accounts as will be
    designated by the Partners. Partnership funds will be held in the name of the Partnership and will
    not be commingled with those of any other person or entity.

    Fiscal Year

19. The fiscal year will end on January 1 of each year.

    Audit

20. Any of the Partners will have the right to request an audit of the Partnership books. The cost of
    the audit will be borne by the Partnership. The audit will be performed by an accounting firm
    acceptable to all the Partners. Not more than one (1) audit will be required by any or all of the
    Partners for any fiscal year.

    Management

21. All the Partners will be consulted and the advice and opinions of the Partners will be obtained as
    much as is practicable. However, the Managing Partner will have management and control of the
    day-to-day business of the Partnership for the purposes stated in this Agreement. All matters
    outside the day-to-day business of the Partnership will be decided by a unanimous vote of the
    Partners.

22. JL2 Investments, LLC will be the Managing Partner. The term "Managing Partner" will also
    include any party subsequently appointed to that role.




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23. In addition to day-to-day management tasks, the Managing Partner's duties will include keeping,
     or causing to be kept, full and accurate business records for the Partnership according to
     generally accepted accounting principles (GAAP) and overseeing the preparation of any reports

    considered reasonably necessary to keep the Partners informed of the business performance of the
    Partnership.

24. A Managing Partner can voluntarily withdraw from the position of Managing Partner or can be
    replaced by a majority vote of the remaining Partners. In the event of a withdrawal or removal of
    the Managing Partner from the position of Managing Partner or from the Partnership, the
    remaining Partners will have equal rights in the management of the Partnership until they appointa
    successor Managing Partner.

25. The Managing Partner will not be liable to the remaining Partners for any action or failure to act
    resulting in loss or harm to the Partnership except in the case of gross negligence or willful
    misconduct.

26. The Managing Partner is authorized and may retain, or otherwise secure or enter into contracts
    with persons or firms as from time to time may be required in the management of the
    Partnership's business including, but not limited to, arrangements with sales companies,
    attorneys, accountants, brokers, advertising and insurance companies.



    Contract Binding Authority

27. Only the Managing Partner will have the authority to bind the Partnership in contract.




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    Partnership Representative

28. JL2 Investments, LLC will be the partnership representative (“the Partnership Representative”)
    with the sole authority to act on behalf of the Partnership in relation to IRS tax audits pursuant to
    Chapter 63 Subchapter C of the Internal Revenue Code of 1986 ("the Tax Rules").

29. The Partnership Representative is appointed for the current tax year and subsequent tax years
    until otherwise designated by the Partners.

30. The Partners will indemnify the Partnership Representative from and against all claims, actions,
    suits, demands, damages, obligations, losses, settlements, judgments, costs and expenses brought
    by the Partners or any of them in relation to any acts or omissions in the conduct of the role of
    Partnership Representative provided that the Partnership Representative is a Partner, except to the
    extent that such losses result from, in whole or in part, the negligence, wilful misconduct or
    unlawful action of the Partnership Representative.

31. The Partnership Representative will promptly advise the Partners of any audit of the Partnership
    initiated by the IRS and provide regular updates to the Partners on the progress of such audits and
    any resulting settlement negotiations. The Partnership Representative will be generally accountable
    to the Partners and will obtain the majority approval of the Partners for (i) any decisions affecting
    the tax liability of the Partnership or the Partners; and (ii) any decision finalizing tax settlement
    with the IRS.

32. The Partnership Representative may resign from the position by serving notice in writing on both
    the Partnership and the IRS. The Partnership, acting by majority vote, may revoke the
    designation of the Partnership Representative by serving notice on the Partnership Representative
    and the IRS and simultaneously appointing a new Partnership Representative for that taxable year.




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33. Whether serving in an active capacity or not, any person who has served as Partnership
    Representative in respect of any given taxable year or portion thereof will remain accountable to
    the Partnership, throughout the period of limitation relating to that taxable year, in respect of any
    notification received from the IRS and will promptly advise the Partnership of any and all such
    correspondence.

34. In the event that a tax settlement reached between the IRS and the Partnership Representative is
    not satisfactory to one or more of the Partners and the matter cannot be resolved through
    negotiation in good faith at a meeting of the Partners, then, two weeks, or such longer period as
    the partners may agree, following such meeting the Partners agree to submit the dispute to
    mediation.

    Meetings

35. Regular meetings of the Partners will be held annually.

36. Any Partner can call a special meeting to resolve issues that require a vote, as indicated by this
    Agreement, by providing all Partners with reasonable notice. In the case of a special vote, the
    meeting will be restricted to the specific purpose for which the meeting was held.

37. All meetings will be held at a time and in a location that is reasonable, convenient and practical
    considering the situation of all Partners.

    Admitting a New Partner

38. A new Partner may only be admitted to the Partnership with a majority vote of the existing
    Partners, except in the case of a prospective partner, the admission of which would render the
    Partnership ineligible to elect out of the application of the Tax Rules, in which case a unanimous
    vote of the existing Partners will be required to admit that partner.

39. Any new Partner agrees to be bound by all the covenants, terms, and conditions of this
    Agreement, inclusive of all current and future amendments. Further, a new Partner will execute
    such documents as are needed to effect the admission of the new Partner. Any new Partner will




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    receive such business interest in the Partnership as determined by a unanimous decision of theother
    Partners.

    Transfer of Partnership Interest

40. A Partner may assign their distribution interest in the Partnership and its assets provided that,
    where the acquisition of the interest by the prospective partner will render the Partnership
    ineligible to elect out of the application of the Tax Rules, the assigning Partner must first obtain
    the unanimous consent of the remaining Partners. This transfer will only include that Partner's
    economic rights and interests and will not include any other rights of that Partner nor will it
    include an automatic admission as a Partner of the Partnership or the right to exercise any
    management or voting interests. A Partner who assigns any or all of their partnership interest to
    any third party will relinquish their status as Partner including all management and voting rights.
    Assignment of Partner status, under this clause, including any management and voting interests,
    will require the consent of all the remaining Partners.

    Voluntary Withdrawal of a Partner

41. Any Partner will have the right to voluntarily withdraw from the Partnership at any time. Written
    notice of intention to withdraw must be served upon the remaining Partners at least three (3)
    months prior to the withdrawal date.

42. Except as otherwise provided elsewhere in this Agreement, the voluntary withdrawal of a Partner
    will have no effect upon the continuance of the Partnership business.

43. In the event that a Partner's interest in the Partnership is to be sold, the remaining Partners have a
     right of first purchase on that interest. If any of the remaining Partners elect to purchase the
    interest of the Dissociated Partner, those Partners will serve written notice of such election upon
    the Dissociated Partner within thirty (30) days after receipt of the Dissociated Partner's notice of
    intention to withdraw, including the purchase price and method and schedule of payment for the
    Dissociated Partner's interest. The purchase amount of any buyout of the Dissociated Partner's
    interest will be determined as outlined in the Valuation of Interest section of this Agreement.

44. A Dissociated Partner will only exercise the right to withdraw in good faith and will act to
    minimize any present or future harm done to the remaining Partners as a result of the withdrawal.

    Involuntary Withdrawal of a Partner




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45. Events resulting in the involuntary withdrawal of a Partner from the Partnership will include but
    not be limited to: death of a Partner; Partner mental incapacity; Partner disability preventing
    reasonable participation in the Partnership; Partner incompetence; breach of fiduciary duties by a
    Partner; criminal conviction of a Partner; Expulsion of a Partner; Operation of Law against a
    Partner; or any act or omission of a Partner that can reasonably be expected to bring the business
    or societal reputation of the Partnership into disrepute.

46. Except as otherwise provided elsewhere in this Agreement, the involuntary withdrawal of a
    Partner will have no effect upon the continuance of the Partnership business.

47. In the event that a Partner's interest in the Partnership is to be sold, the remaining Partners have a
     right of first purchase on that interest. If any of the remaining Partners elect to purchase the
     interest of the Dissociated Partner, those Partners will serve written notice of such election,
     including the purchase price and method and schedule of payment upon the Dissociated Partner,
     their executor, administrator, trustee, committee or analogous fiduciary within a reasonable period
     after acquiring knowledge of the change in circumstance to the Dissociated Partner. The purchase
     amount of any buyout of a Partner's interest will be determined as outlined in the Valuation of
     Interest section of this Agreement.

48. A trustee in bankruptcy or similar third party who may acquire that Dissociated Partner's interestin
    the Partnership will only acquire that Partner's economic rights and interests and will not acquire
    any other rights of that Partner or be admitted as a Partner of the Partnership or have theright to
    exercise any management or voting interests.

    Dissociation of a Partner

49. Where the remaining Partners have purchased the interest of a Dissociated Partner, the purchase
    amount will be paid in full, but without interest, within 90 days of the date of withdrawal.

50. The Partnership will retain exclusive rights to use of the trade name and firm name and all related
    brand and model names of the Partnership.

51. Where the voluntary or involuntary withdrawal of a Partner results in only one Partner remaining
    or where no buyer is found to purchase the interest of the Dissociated Partner then the Partnership
    will proceed in a reasonable and timely manner to dissolve the Partnership, with all debts being
    paid first, prior to any distribution of the remaining funds. Valuation and distribution will be
    determined as described in the Valuation of Interest section of this Agreement.




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52. The remaining Partners retain the right to seek damages from a Dissociated Partner where the
    dissociation resulted from a malicious or criminal act by the Dissociated Partner or where the
    Dissociated Partner had breached their fiduciary duty to the Partnership or was in breach of this
    Agreement or had acted in a way that could reasonably be foreseen to bring harm or damage to
    the Partnership or to the reputation of the Partnership.

53. On any purchase and sale of a Partnership interest, a Dissociated Partner will only have liability for
    Partnership obligations that were incurred during their time as a Partner. Immediately upon the
    sale of a withdrawing Partner's interest, the Partnership will prepare, file, serve, and publish all
    notices required by law to protect the withdrawing Partner from liability for future Partnership
    obligations.

    Dissolution

54. Except as otherwise provided in this Agreement, the Partnership will be dissolved upon a
    majority vote of all Partners.

    Distribution of Property on Dissolution of Partnership

55. In the event of the dissolution of the Partnership, each Partner will share in any remaining assetsor
     liabilities of the Partnership in proportion to the Partners' Capital Contributions inclusive of any
     Additional Capital Contributions (the "Dissolution Distribution").

56. Upon Dissolution of the Partnership and liquidation of Partnership Property, and after payment of all
    selling costs and expenses, the liquidator will distribute the Partnership assets to the following groups
    according to the following order of priority:

               a. in satisfaction of liabilities to creditors except Partnership obligations to current
                  Partners;

               b. in satisfaction of Partnership debt obligations to current Partners; and then

               c. to the Partners according to the Dissolution Distribution described above.

57. The claims of each priority group will be satisfied in full before satisfying any claims of a lower
    priority group. Any excess of Partnership assets after liabilities or any insufficiency in
    Partnership assets in resolving liabilities under this section will be shared by the Partners
    according to the Dissolution Distribution described above.




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    Valuation of Interest

58. In the absence of a written agreement setting a value, the value of the Partnership will be based on
     the fair market value appraisal of all Partnership assets (less liabilities) determined in accordance
    with generally accepted accounting principles (GAAP). This appraisal will be conducted by an
    independent accounting firm agreed to by all Partners. An appraiser will be appointed within a
    reasonable period of the date of withdrawal or dissolution. The results of the appraisal will be
    binding on all Partners. A withdrawing Partner's interest will be based on that Partner's proportion
    of the Dissolution Distribution described above, less any outstanding liabilities the withdrawing
    Partner may have to the Partnership. The intent of this section is to ensure the survival of the
    Partnership despite the withdrawal of any individual Partner.

59. No allowance will be made for goodwill, trade name, patents or other intangible assets, except
    where those assets have been reflected on the Partnership books immediately prior to valuation.

    Goodwill

60. The goodwill of the Partnership business will be assessed at an amount to be determined by
    appraisal using generally accepted accounting principles (GAAP).

    Title to Partnership Property

61. Title to all Partnership Property will remain in the name of the Partnership. No Partner or groupof
    Partners will have any ownership interest in such Partnership Property in whole or in part.

    Voting

62. Any vote required by the Partnership will be assessed where each Partner receives one vote
    carrying equal weight, unless an Additional Capital Contribution has been made which changed
    the Initial Capital Contribution proportions of the Partners in which case each Partner will have
    voting strength in proportion to Capital Contributions.

    Force Majeure

63. A Partner will be free of liability to the Partnership where the Partner is prevented from executing
    their obligations under this Agreement in whole or in part due to force majeure, such as
    earthquake, typhoon, flood, fire, and war or any other unforeseen and uncontrollable event where
    the Partner has communicated the circumstance of said event to any and all other Partners and
    taken any and all appropriate action to mitigate said event.



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    Duty of Loyalty

64. No Partner will engage in any business, venture or transaction, whether directly or indirectly, that
    might be competitive with the business of the Partnership or that would be in direct conflict of
    interest to the Partnership without the unanimous written consent of the remaining Partners. Any
    and all businesses, ventures or transactions with any appearance of conflict of interest must be
    fully disclosed to all other Partners. Failure to comply with any of the terms of this clause will be
    deemed an Involuntary Withdrawal of the offending Partner and may be treated accordingly by the
    remaining Partners.

65. A withdrawing Partner will not carry on a similar business to the business of the Partnership
    within any established or contemplated market regions of the Partnership for a period of at least
    three (3) months after the date of withdrawal.

    Duty of Accountability for Private Profits

66. Each Partner must account to the Partnership for any benefit derived by that Partner without the
    consent of the other Partners from any transaction concerning the Partnership or any use by that
    Partner of the Partnership property, name or business connection. This duty continues to apply to
    any transactions undertaken after the Partnership has been dissolved but before the affairs of the
    Partnership have been completely wound up by the surviving Partner or Partners or their agent or
    agents.

    Duty to Devote Time

67. Each Partner will devote such time and attention to the business of the Partnership as the majority
    of the Partners will from time to time reasonably determine for the conduct of the Partnership
    business.

    Forbidden Acts

68. No Partner may do any act in contravention of this Agreement.

69. No Partner may permit, intentionally or unintentionally, the assignment of express, implied or
    apparent authority to a third party that is not a Partner in the Partnership.

70. No Partner may do any act that would make it impossible to carry on the ordinary business of the
    Partnership.




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71. No Partner may confess a judgment against the Partnership.

72. No Partner will have the right or authority to bind or obligate the Partnership to any extent with
    regard to any matter outside the intended purpose of the Partnership.

73. Any violation of the above Forbidden Acts will be deemed an Involuntary Withdrawal of the
    offending Partner and may be treated accordingly by the remaining Partners.

    Indemnification

74. All Partners will be indemnified and held harmless by the Partnership from and against any and all
    claims of any nature, whatsoever, arising out of a Partner's participation in Partnership affairs. A
    Partner will not be entitled to indemnification under this section for liability arising out of gross
    negligence or willful misconduct of the Partner or the breach by the Partner of any provisions of
    this Agreement.

    Liability

75. A Partner will not be liable to the Partnership, or to any other Partner, for any mistake or error in
    judgment or for any act or omission done in good faith and believed to be within the scope of
    authority conferred or implied by this Agreement or the Partnership.

    Liability Insurance

76. The Partnership may acquire insurance on behalf of any Partner, employee, agent or other person
    engaged in the business interest of the Partnership against any liability asserted against them or
    incurred by them while acting in good faith on behalf of the Partnership.

    Life Insurance

77. The Partnership will have the right to acquire life insurance on the lives of any or all of the
    Partners, whenever it is deemed necessary by the Partnership. Each Partner will cooperate fully
    with the Partnership in obtaining any such policies of life insurance.

    Amendments

78. This Agreement may not be amended in whole or in part without the unanimous written consent
    of all Partners.




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    Governing Law and Jurisdiction

79. This Agreement will be construed in accordance with and exclusively governed by the laws of
    The State of Utah.

80. The Partners submit to the jurisdiction of the courts of The State of Utah for the enforcement of
    this Agreement or any arbitration award or decision arising from this Agreement.

    Definitions

81. For the purpose of this Agreement, the following terms are defined as follows:

               a. "Additional Capital Contributions" means Capital Contributions, other than Initial
                  Capital Contributions, made by Partners to the Partnership.

               b. "Capital Contribution" means the total amount of cash or Property contributed to
                  the Partnership by any one Partner.

               c. "Dissociated Partner" means any Partner who is removed from the Partnership
                  through a voluntary or involuntary withdrawal as provided in this Agreement.

               d. "Expulsion of a Partner" can occur on application by the Partnership or another
                  Partner, where it has been determined that the Partner:

                                    i. has engaged in wrongful conduct that adversely and materially
                                       affected the Partnership's business;

                                   ii. has willfully or persistently committed a material breach of this
                                      Agreement or of a duty owed to the Partnership or to the other
                                      Partners; or

                                  iii. has engaged in conduct relating to the Partnership's business that
                                       makes it not reasonably practicable to carry on the business with
                                       the Partner.

               e. "Initial Capital Contribution" means Capital Contributions made by any Partner to
                  acquire an interest in the Partnership.




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                f. "Operation of Law" means rights or duties that are cast upon a party by the law,
                   without any act or agreement on the part of the individual including, but not limited
                   to, an assignment for the benefit of creditors, a divorce, or a bankruptcy.

    Miscellaneous

82. Time is of the essence in this Agreement.

83. This Agreement may be executed in counterpart.

84. Headings are inserted for the convenience of the parties only and are not to be considered when
    interpreting this Agreement. Words in the singular mean and include the plural and vice versa.
    Words in the masculine gender include the feminine gender and vice versa. Words in the neuter
    gender include the masculine gender and the feminine gender and vice versa.

85. If any term, covenant, condition or provision of this Agreement is held by a court of competent
     jurisdiction to be invalid, void or unenforceable, it is the parties' intent that such provision be
     reduced in scope by the court only to the extent deemed necessary by that court to render the
    provision reasonable and enforceable and the remainder of the provisions of this Agreement will
    in no way be affected, impaired or invalidated as a result.

86. This Agreement contains the entire agreement between the parties. All negotiations and
    understandings have been included in this Agreement. Statements or representations which may
    have been made by any party to this Agreement in the negotiation stages of this Agreement may
    in some way be inconsistent with this final written Agreement. All such statements are declared
    to be of no value in this Agreement. Only the written terms of this Agreement will bind the
    parties.

87. This Agreement and the terms and conditions contained in this Agreement apply to and are
    binding upon the Partner's successors, assigns, executors, administrators, beneficiaries, and
    representatives.

88. Any notices or delivery required here will be deemed completed when hand-delivered, delivered
    by agent, or seven (7) days after being placed in the post, postage prepaid, to the parties at the
    addresses contained in this Agreement or as the parties may later designate in writing.

89. All of the rights, remedies and benefits provided by this Agreement will be cumulative and will
    not be exclusive of any other such rights, remedies and benefits allowed by law.




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IN WITNESS WHEREOF the Partners have dully affixed their signatures:


                                                 JL2 Investments, LLC
                                                 Jason M. Jongeward

                                                 Per:



                                                 ME14, LLC
                                                 Efrain Ramirez

                                                 Per:



                                                 TJI, LLC
                                                 Tammy Jongeward

                                                 Per:




                                                 BAM Investments, LLC
                                                 Brent Jongeward

                                                 Per:



                                                 Corp Invest, LLC

                                                 Richard Volz

                                                 Per:


                                                 Twelve 27, INC
                                                 Scott Williams

                                                 Per:




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                                      Ricardo Ramirez

                                      Per:


                                      TJI, LLC
                                      Tammy Jongeward

                                      Per:


                                      Roundy Taxidermy
                                      Travis Roundy

                                      Per:



                                      MCMH Inv, LLC
                                      Ryan Robinson

                                      Per:


                                      Crestview Capital, LLC
                                      M.G.

                                      Per:


                                      Mountain West IRA, INC FBO
                                      Thomas Robinson

                                      Per:


                                      Ryan Love

                                      Per:




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                                      WE Capital Inv. LLC
                                      Jared Wiberg

                                      Per:



                                      PWHE, INC
                                      Kirk Fuhriman

                                      Per:




                                      QIC Investments, LLC
                                      Jerry Ward


                                      Per:




                                      Per:




                                      Per:




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                                          TERM AGREEMENT


Let it be known that the terms of this agreement are for the Eco Battery investment.
The terms are as follows:
   1. Eco Battery is offering an 8% return on investor contributions within the first year.
   2. Investor Contributions will be used as a 12-month line of credit.
   3. Contributions will be returned to the investor after said 12 months with associated interest.
   4. Eco Battery will offer a percentage of ownership in the company according to the following
       contribution amounts:
           a. 5 million = 2% equity ownership
           b. 10 million = 4% equity ownership
           c. 15 million = 6% equity ownership
           d. 20 million = 8 % equity ownership
           e. 25 million = 10% equity ownership
           f. 30 million = 12% equity ownership
   5. JL2 Investment Group has currently raised 7.6 million and qualifies for the 2% equity ownership.
   6. It is anticipated that Eco Battery will sell their company in the next 3 to 5 years at which time the
       equity ownership valuation will be understood and distributed.
   7. Eco Battery will be issuing documentation (Terms and Agreements) to JL2 Investment Group and
       will be included as an addendum to this agreement.
   8. The requested investor contribution time frames are as follows:
           a. First Raise: February 15, 2022
           b. Second Raise: March 7, 2022
           c. Third Raise: May 1, 2022
   9. As Eco Battery continues to increase their sales, it is anticipated that there will be additional
       opportunities to increase investor contributions with potential increased % of equity.
   10. It is understood that Jason Jongeward is the Manager for JL2 Investment Group, LLC. A 2%
       management fee will be charged to each member of the group which will cover any and all costs
       associated with the creation, execution, or administration of the LLC. It is anticipated that final
       distributions will be issued by the end of the calendar year of 2027 or when Eco Battery sells,
       whichever comes first. The 2% fee will be assessed by the Manager upon final proceed distributions.


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                 Exhibit 21
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                 Exhibit 22
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  From: Jason Jongeward <jason.jcd@gmail.com>
  Date: March 11, 2022 at 9:33:42 AM PST
  To: undisclosed-recipients:;
  Subject: update 3-11-22



  Fellow Friends, I am just receiving this from Shane Jager. Please send your
  emails today if possible. I will be speaking to another attorney, Egglet-Addams
  Law Firm, today to represent our group. I will keep you posted as I have
  information for us. I will continue to reachout to each of you personally.

  Sincerely, Jason Jongeward



  --------------



  Dear Family & Friends,

  I’m saddened by the recent events surrounding attorney Matthew Beasley. It’s
  affected all of us in so many ways.

  Unfortunately, there are many more questions than answers at this time. He’s in
  custody and it's now in the hands of the Legal system. We will all need to be
  patient with the process. Communication will be limited from me now at the
  request of my attorney which will be a challenge for me.

  Fast forwarding, the end goal in all of this will be to make you “whole” again
  meaning you would receive your total amount back that you wired into attorney
  Beasley’s Account less any principal withdrawals & payments received
  throughout your time in the investment. It is our hope that the capital investment
  funds will be recovered to be able to be dispersed to those that are not whole.
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  An example of this would be if you originally wired 100k to Beasley & have
  received 50k back in payments while invested then it would take 50k to make you
  whole again.

  I’d like to be prepared with this detail when the courts request it. To help expedite
  this reconciliation process please send your individual/entity details requested
  above direct to my email at

  Stirlingconsulting1@gmail.com

  I will audit your emailed detail individually to confirm it matches what I show.

  Recapping, the only detail needed in your email is,
      1.    Total amount you or your entity wired to attorney Beasley less any
  principal withdrawals along the way.
      2.    Total dollar amount in payments you’ve received since your inception in
  the investment.

  I know we all have many questions right now, but I will not be able to respond
  back to you due to my attorney's request so please do not ask any other questions
  in the email. Just email the requested detail only, please.

  Some of you have asked questions about amending your 1099’s for 2021. The tax
  firm we’ve been using has let us go due to the recent events so please contact your
  individual CPAs and ask these questions to them as I am not qualified to answer
  tax questions.

  In the end, we hope justice is served & lost capital will be returned to those that
  rightfully deserve it.

  Respectfully,

  Shane Jager

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                 Exhibit 23
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  From: Jason Jongeward <jason.jcd@gmail.com>
  Date: March 13, 2022 at 11:00:06 AM PDT
  To: undisclosed-recipients:;
  Subject: update - 3-13-22



  Dear Friends,

  I wanted to reach out and update our group with information that I have been
  finding out these last couple of days.

  1st- According to the news, Mathew Beasley is in custody and has not been
  granted bail. He is awaiting his trial as the investigation continues.
  The Beasely Law firm IOLTA account has been frozen as well as all of Beasley's
  assets.

  2nd- For those of you who wired money to others through the buyout process, be
  assured that your documentation with J and J Purchasing will represent all of your
  monies given to the investment and will be accounted for. This Documentation,
  along with my spreadsheets, and your individual request for your capital to be
  returned, are all that is needed at this time. Please be assured that your financial
  investment is understood.

  3rd- Please understand that your documentation is your representation in this
  matter. The investigation will reveal all of the individuals involved. For those of
  you who do not want your identity to be associated with this situation, I have
  alerted my Attorney to those individuals.

  I have tried to reach out to each of you personally through this last week. My
  apologies if I haven't connected with you. I want you all to know of my concern
  for each of you in this situation and I am remaining positive that we will have
  some restitution. I will not be discussing any further details until we know what
  the situation is on the other side of the investigation, per my attorney's request. I
  know that we can all find resolve and strength from each other during this time.
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  Very Sincerely,   

  Jason Jongeward

    
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                 Exhibit 24
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  From: Jason Jongeward <jason.jcd@gmail.com>
  Date: March 22, 2022 at 11:13:30 AM PDT
  To: undisclosed-recipients:;
  Subject: group update 3-22-22



  Hello Family and friends,

  I wanted to reach out to you to let you know that the investigation is ongoing and
  that I have retained an attorney. Oronoz/Ericson I met with him yesterday. I asked
  him questions specifically in regards to you as the investor and our group. He
  encouraged me to let each of you decide on your own how you would like to
  move forward. Some of you have been asking me about the FBI Questionnaire
  that is available on the Las Vegas Journal articles and other sites and about
  retaining a lawyer for yourself personally. Please feel free to do what you feel is
  correct for yourself individually. It is my understanding, that through
  the investigation, that all of you will be understood and that your invested capital
  information is in the documentation with Jeff Judd as well as my records for each
  of you as well. I will be working through my attorneys to provide all of my
  records and investor records. I am anxious to help this investigation along and
  looking forward towards restitution for each of us..

  The FBI and SEC are both working on this case.

  My Family and I pray for each of you. We are staying positive and looking to
  help each other during this time. Please know that this may take some time to
  identify all the details.

  As things progress, I will share the facts as I receive them.

  Sincerely,

  Jason Jongeward
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